Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 1 of 103 PageID #: 1614




                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

AMGEN INC.,                                )
                                           )
                     Plaintiff,            )
                                           )   C.A. No. 18-956 (MSG)
                v.                         )
                                           )
ACCORD HEALTHCARE, INC.,                   )
                                           )
                     Defendant.            )


     DECLARATION OF JOSHUA I. ROTHMAN IN SUPPORT OF PLAINTIFF’S
               OPENING CLAIM CONSTRUCTION BRIEF


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June 28, 2019
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 2 of 103 PageID #: 1615



        I, Joshua I. Rothman, an attorney duly admitted to practice law in the State of New York,

hereby declare that the following is true to the best of my knowledge:

                  1.   I am a Partner at Venable LLP (formerly Fitzpatrick, Cella, Harper &

Scinto), 1290 Avenue of the Americas, New York, New York 10104, and counsel for Plaintiff

Amgen Inc. (“Amgen”) in the instant action. I am fully familiar with the facts and circumstances

of this matter.

                  2.   I submit this declaration in support of Amgen’s Opening Claim

Construction Brief.

                  3.   Attached hereto as Exhibit 1 is a true and correct copy of U.S. Patent No.

9,375,405.

                  4.   Attached hereto as Exhibit 2 is a true and correct copy of

PHARMACEUTICS: THE SCIENCE OF DOSAGE FORM DESIGN, 366-368, 406-408, Michael E.

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                  5.   Attached hereto as Exhibit 3 is a true and correct copy of HANDBOOK OF

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                  6.   Attached hereto as Exhibit 4 is a true and correct copy of REMINGTON:

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                  7.   Attached hereto as Exhibit 5 is a true and correct copy of the December

10, 2015 Notice of Allowability with Bates Range Numbers SENS-AMG00001587-1596.

                  8.   Attached hereto as Exhibit 6 is a true and correct copy of the October 18,

2015 Notice of Allowability with Bates Range Numbers SENS-AMG00001064-1070.
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 3 of 103 PageID #: 1616



              9.       Attached hereto as Exhibit 7 is a true and correct copy of the April 6, 2016

Notice of Allowability with Bates Range Numbers SENS-AMG00001643-1650.



Dated: June 28, 2019                                         By:    /s/ Joshua I. Rothman
                                                                    Joshua I. Rothman




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Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 4 of 103 PageID #: 1617




                        EXHIBIT 1
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                                                                                     United States Patent and Trademark Office


                                                                                                                                                               April 06, 2017

                            THIS IS TO CERTIFY THAT ANNEXED HERETO IS A TRUE COPY FROM
            r
                            THE RECORDS OF THIS OFFICE OF:




                            U.S. PATENT: 9,375,405
                            ISSUE DATE: June 28, 2016




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                                                                                                 Under Secretary of Commerce for Intellectual Property
                                                                                                 and Director of the United States Patent and Trademark Office




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Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 6 of 103 PageID #: 1619


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Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 9 of 103 PageID #: 1622




                                                           US 9,375,405 B2
                                                                    Page 4


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Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 10 of 103 PageID #: 1623




 U.S. Patent                                               Jun. 28, 2016                 US 9,375,405 B2




                                                                                    Critical Process
               Equipment                 Components            Unit Operation           Controls
                                      purified water and                              water level,
          PMA 800L granulator           intra-granular          granulationb        impeller speed,
                                        corn ponentsa                               water spray rate

              Comil (In-line)                                      wet mill

             Aeromatic MP6                                      fluid bed dry

      Quadro Mill 196S (Comil)                                     dry mill
                                                                      1
           Gallay tote blender          extra-granular
                                                                  pre-blend
                (650 L)                 components°

                                     combine granulation
           Gallay tote blender
                                       mix A and B and           final blend           blend time
                (1000 L)              extra-granular mix
                                                                      1,
           Gallay tote blender
                                     magnesium stearate          lubrication
                (1000 L)

                                                                                  tablet press speed,
                                                                                     tablet weight,
                                                                                       thickness,
               Unipress 27                                      compressiond
                                                                                       hardness,
                                                                                        friability,
                                                                                  disintegration time
                                                                      1,
         3 X Vector Hi-Coater pan   color coat (Opadry® II),
                                                               film coating and       spray rate,
          (3 spray guns) delivery    clear coat (Opadry®              wax         exhaust tern perature
             (peristaltic pump)     Clear), carnauba Wax

         Ackley ink-based offset
                                       Opacode® black               print
                  printer
     a
       cinacalcet HCI, pregelatinized starch, microcrystalline cellulose, povidone, and crospovidone
     b The granulation step to dry milling step is repeated to generate 2 bowls of wet granulation
       (Mix A and B).
     ° Extra-granular components are microcrystalline cellulose, crospovidone, and colloidal silicon
       dioxide
     d Tooling dimension is dependent on tablet size and strength, (30 mg; 0.2372" x 0.3800" oval
       shape plain, 60 mg; 0.3000" x 0.4800" modified oval (double radius) plain, 90 mg;
       0.3420" x 0.5480" modified oval (double radius) plain)




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Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 11 of 103 PageID #: 1624




                                                       US 9,375,405 B2
                      1                                                                               2
     RAPID DISSOLUTION FORMULATION OF A                               comprising producing the formulation in a granulator which
     CALCIUM RECEPTOR-ACTIVE COMPOUND                                 has a volume ranging from about 1 L to about 2000 L, and
                                                                      contains water in a granulation level ranging from about 10%
    This application claims the benefit of priority of U.S. Pro-      to about 50% relative to the weight of the dry powders in the
 visional Patent Application No. 60/502,219, filed Sep. 12, 5 granulator.
 2003.                                                                   The calcium receptor-active compound useful in the
    Calcium receptor-active compounds are known in the art.           claimed invention may be a calcimimetic compound or a
 One example of a calcium receptor-active compound is cina-           calcilytic compound. As used herein, the term "calcimimetic
 calcet HC1, which is described, for example, in U.S. Pat. No.        compounds" refers to compounds that bind to a calcium
 6,001,884. Such calcium receptor-active compounds may be 1° receptor, and induce a conformational change that reduces the
 insoluble or sparingly soluble in water, particularly in their       threshold for calcium receptor activation by the endogenous
 non-ionized state. For example, cinacalcet has a solubility in       ligand Ca', thereby reducing parathyroid hormone ("PTH")
 water of less than about 1 trg/mL at neutral pH. The solubility      secretion. These calcimimetic compounds can also be con-
 of cinacalcet can reach about 1.6 mg/mL when the pH ranges           sidered allosteric modulators of the calcium receptor. As used
 from about 3 to about 5. However, when the pH is about 1, the 1 5 herein, the term "calcilytic compounds" refers to compounds
 solubility decreases to about 0.1 mg/mL. Such limited solu-          that act as calcium receptor antagonists, and stimulate PTH
 bility can reduce the number of formulation and delivery             secretion.
 options available for these calcium receptor-active com-                The calcimimetic compounds and calcilytic compounds
 pounds. Limited water solubility can also result in low bio-         useful in the present invention include those disclosed in, for
 availability of the compounds.                                    20 example, European Patent No. 933 354; International Publi-
    There is therefore a need to maximize the dissolution of the      cation Nos. WO 01/34562, WO 93/04373, WO 94/18959,
 calcium receptor-active compound from a dosage form, and             WO 95/11221, WO 96/12697, WO 97/41090; U.S. Pat. Nos.
 potentially during in vivo exposure. There is also a need to         5,981,599, 6,001,884, 6,011,068, 6,031,003, 6,172,091,
 improve the bioavailability of the calcium receptor-active           6,211,244, 6,313,146, 6,342,532, 6,363,231, 6,432,656, and
 compound during in vivo exposure.                                 25 U.S. Patent Application Publication
                                                                                                              No. 2002/0107406. The
    One aspect of the present invention provides a pharmaceu-         calcimimetic compounds and/or calcilytic compounds dis-
 tical composition comprising at least one calcium receptor           closed in these patents and published applications are incor-
 active compound in combination with at least one pharma-             porated herein by reference.
 ceutically acceptable carrier. Certain embodiments of the               In certain embodiments, the calcium receptor-active com-
 present invention are directed to a pharmaceutical composi- 3° pounds are chosen from compounds of formula (I) and
                                                                                                                                 phar-
 tion with a defined dissolution profile.                             maceutically acceptable salts thereof
    The invention also provides a method of manufacturing the
 pharmaceutical composition to achieve the desired dissolu-
 tion profile, as well as a method of treating a disease using the
                                                                                                                                     (I)
 pharmaceutical composition. In addition, certain embodi- 35
 ments of the present invention are directed to a method for
 controlling dissolution rate of a formulation comprising the                                 (alkyl)—
 pharmaceutical composition.
    According to one aspect of the invention, the invention
                                                                                                             CH3
 provides a pharmaceutical composition comprising an effec- ao
 tive dosage amount of at least one calcium receptor-active
 compound and at least one pharmaceutically acceptable                   wherein:
 excipient, wherein the composition has a dissolution profile            X1 and X2, which may be identical or different, are each a
 in 0.05 N HC1, measured according to a dissolution test con-         radical chosen from CH3, CH3O, CH3CH2O, Br, Cl, F, CF3,
 ducted in United States Pharmacopeia (USP)—National For- 45 CHF2, CH2F, CF3O, CH3S, OH, CH2OH, CONH2, CN, NO2,
 mulary (NF) (USP 26/NF 21), chapter 711 using a USP 2                CH3CH2, propyl, isopropyl, butyl, isobutyl, t-butyl, acetoxy,
 apparatus at a temperature of 37° C.±0.5° C., and at a rotation      and acetyl radicals, or two of X, may together form an entity
 speed of 75 r.p.m., which comprises from about 50% to about          chosen from fused cycloaliphatic rings, fused aromatic rings,
 125% of a target amount of the calcium receptor-active com-          and a methylene dioxy radical, or two of X2 may together
 pound being released from the composition no later than 50 form an entity chosen from fused cycloaliphatic rings, fused
 about 30 minutes from the start of the test.                         aromatic rings, and a methylene dioxy radical; provided that
    According to another aspect of the invention, the invention       X2 is not a 3-t-butyl radical;
 provides a pharmaceutical composition comprising an effec-              n ranges from 0 to 5;
 tive dosage amount of at least one calcium receptor-active              m ranges from 1 to 5; and
 compound and at least one pharmaceutically acceptable 55                the alkyl radical is chosen from Cl -C3 alkyl radicals,
 excipient, wherein the composition has a dissolution profile         which are optionally substituted with at least one group cho-
 in 0.05 N HCl, measured according to a dissolution test con-         sen from saturated and unsaturated, linear, branched, and
 ducted in USP 26/NF 21, chapter 711 using a USP 2 apparatus          cyclic CI -C9 alkyl groups, dihydroindolyl and thiodihy-
 at a temperature of about 37° C., and at a rotation speed of         droindolyl groups, and 2-, 3-, and 4-piperid(in)yl groups; and
 about 75 r.p.m., which comprises from about 50% to about 60 the stereoisomers thereof.
 125% of a target amount of the calcium receptor-active com-             Calcium receptor-active compounds useful in the present
 pound being released from the composition no later than              invention can be used in the form of pharmaceutically accept-
 about 30 minutes from the start of the test.                         able salts derived from inorganic or organic acids. The salts
    The invention also provides a method of controlling the           include, but are not limited to, the following: acetate, adipate,
 dissolution rate of a formulation comprising an effective dos- 65 alginate, citrate, aspartate, benzoate, benzenesulfonate, bisul-
 age amount of a calcium receptor-active compound and at              fate, butyrate, camphorate, camphorsulfonate, digluconate,
 least one pharmaceutically acceptable excipient, the method          cyclopentanepropionate, dodecylsulfate, ethanesulfonate,




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Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 12 of 103 PageID #: 1625




                                                       US 9,375,405 B2
                               3                                                                           4
 glucoheptanoate, glycerophosphate, hemisulfate, hep-                    in less than an effective amount for one or more periods of
 tanoate, hexanoate, fumarate, hydrochloride, hydrobromide,              time (i.e., a once-a-day administration, and a twice-a-day
 hydroiodide, 2-hydroxy-ethanesulfonate, lactate, maleate,               administration), for example to ascertain the effective dose
 mandelate, methanesulfonate, nicotinate, 2-naphthalene-                 for an individual subject, to desensitize an individual subject
 sulfonate, oxalate, palmoate, pectinate, persulfate, 2-phenyl-     5    to potential side effects, to permit effective dosing readjust-
 propionate, picrate, pivalate, propionate, salicylate, succi-           ment or depletion of one or more other therapeutics admin-
 nate, sulfate, tartrate, thiocyanate, tosylate, mesylate, and           istered to an individual subject, and/or the like.
 undecanoate. When compounds of the invention include an                    The effective dosage amount of the pharmaceutical com-
 acidic function such as a carboxy group, then suitable phar-            position disclosed herein ranges from about 1 mg to about 360
 maceutically acceptable salts for the carboxy group are well       10   mg from a unit dosage form, for example about 5 mg, about 15
 known to those skilled in the art and include, for example,             mg, about 30 mg, about 50 mg, about 60 mg, about 75 mg,
 alkaline, alkaline earth, ammonium, quaternary ammonium                 about 90 mg, about 120 mg, about 150 mg, about 180 mg,
 cations and the like. For additional examples of "pharmaco-             about 210 mg, about 240 mg, about 300 mg, or about 360 mg
 logically acceptable salts," see infra and Berge et al., J.             from a unit dosage form.
 Pharm. Sci. 66:1 (1977). In certain embodiments of the inven-      15      In some embodiments of the present invention, the com-
 tion salts of hydrochloride and salts of methanesulfonic acid           positions disclosed herein comprise a therapeutically effec-
 can be used.                                                            tive amount of cinacalcet HCI for the treatment of hyperpar-
    In some embodiments of the present invention, the cal-               athyroidism, such as primary hyperparathyroidism and
 cium-receptor active compound can be chosen from cinacal-               secondary hyperparathyroidism, hyperphosphonia, hypercal-
 cet, i.e., N-(1-(R)-(1-naphthyl)ethy11-3[3-(trifluoromethyl)       20   cemia, and elevated calcium-phosphorus product. For
 phenyl]-1-aminopropane, cinacalcet HC1, and cinacalcet                  example, in certain embodiments, the cinacalcet HC1 can be
 methanesulfonate. The cinacalcet HC1 and cinacalcet meth-               present in an amount ranging from about 1% to about 70%,
 anesulfonate can be in various forms, such as amorphous                 such as from about 5% to about 40%, from about 10% to
 powders, crystalline powders, and mixtures thereof. For                 about 30%, or from about 15% to about 20%, by weight
 example, the crystalline powders can be in forms including         25   relative to the total weight of the composition.
 polymorphs, psuedopolymorphs, crystal habits, micromer-                    The compositions of the invention may contain one or
 etics, and particle morphology.                                         more active ingredients in addition to the calcium receptor-
    The therapeutically effective amount of the calcium recep-           active compound. The additional active ingredient may be
 tor-active compound in the compositions disclosed herein                another calcium receptor-active compound, or it may be an
 ranges from about 1 mg to about 360 mg, for example from           30   active ingredient having a different therapeutic activity.
 about 5 mg to about 240 mg, or from about 20 mg to about 100            Examples of such additional active ingredients include, for
 mg. As used herein, the "therapeutically effective amount" is           example, vitamins and their analogs, such as vitamin D and
 an amount that changes in a desired manner at least one of the          analogs thereof, antibiotics, and cardiovascular agents.
 calcium level, the phosphorus level, the PTH level, and the                The cinacalcet HCI or other calcium receptor-active corn-
 calcium phosphorus product in a subject. In some embodi-           35   pound that can be used in the composition is typically present
 ments, the therapeutically effective amount of cinacalcet HCl           in the form of particles. These particles can have a particle D„
 in the composition disclosed herein can be chosen from about            of, for example, less than or equal to about 50 gm. As used
 5 mg, about 15 mg, about 30 mg, about 50 mg, about 60 mg,               herein, the "particle D50" is the particle size of the active
 about 75 mg, about 90 mg, about 120 mg, about 150 mg,                   pharmaceutical ingredient at the 50th percentile of a particle
 about 180 mg, about 210 mg, about 240 mg, about 300 mg, or         40   size distribution. According to certain embodiments of the
 about 360 mg.                                                           invention, the active pharmaceutical ingredient in the formu-
    While it may be possible to administer a compound of the             lation has a particle D50 that is less than the granule D50 of the
 invention alone, the compound administered will normally be             formulation, discussed in detail below.
 present as an active ingredient in a pharmaceutical composi-               The particle D50 of the cinacalcet HC1 particles can be
 tion. Thus, a pharmaceutical composition of the invention          45   determined by one of ordinary skill in the art using known
 may comprise a therapeutically effective amount of at least             light scattering techniques. In one embodiment of the inven-
 one calcium receptor-active compound, or an effective dos-              tion, the particle D50 of the cinacalcet HCI particles is deter-
 age amount of at least one calcium receptor-active compound.            mined by using a particle size analyzer, such as a Malvern
    As used herein, an "effective dosage amount" is an amount            Mastersizer analyzer, that uses a laser to scan a suspension of
 that provides a therapeutically effective amount of the at least   so   particles. The particles diffract the incoming light to detec-
 one calcium receptor active compound when provided as a                 tors: smaller particles diffract light at larger angles, while
 single dose, in multiple doses, or as a partial dose. Thus, an          larger particles diffract light at smaller angles. The light inten-
 effective dosage amount of the at least one calcium receptor            sities observed at each detector are translated into a particle
 active compound of the invention includes an amount less                size distribution based on the diameter of a sphere that has an
 than, equal to or greater than an effective amount of the          55   equivalent volume to that of the measured particles.
 compound; for example, a pharmaceutical composition in                     Specifically, the particle size distribution of the active phar-
 which two or more unit dosages, such as in tablets, capsules            maceutical ingredient, for example, cinacalcet HCI, can be
 and the like, are required to administer an effective amount of         determined according to the following procedure. The fol-
 the compound, or alternatively, a multidose pharmaceutical              lowing instrument conditions in a Malvern Mastersizer par-
 composition, such as powders, liquids and the like, in which       60   tide size analyzer are specified in its software:
 an effective amount of the at least one calcium receptor-active
 compound is administered by administering a portion of the
 composition.                                                                Refractive Index Sample                    1.630
                                                                             Absorptive Index                           0.1
    Alternatively, a pharmaceutical composition in which two                 Refractive Index Dispersant                1.375
 or more unit dosages, such as in tablets, capsules and the like,   65       Analysis model                    General purpose spherical
 are required to administer an effective amount of the at least              Calculation sensitivity                  Enhanced
 one calcium receptor active compound may be administered




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Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 13 of 103 PageID #: 1626




                                                                  US 9,375,405 B2
                                     5                                                                                6
                             -continued                                         is determined by the hole size of the screen (lower limit) and
                                                                                one sieve size larger (upper limit). In the case of the 40 mesh
     Measurement snaps and                  20,000 snaps over 20 seconds        sieve screen, the hole size of about 1410 gm is used as an
     time
     Background snaps and time              20,000 snaps over 20 seconds        upper limit. Table 1 set forth below shows the particle size
     Stir speed                                      1750 rpm              5    range of any retained material on each screen and the mean of
                                                                                the particle size range.
    While stirring, about 170 mL of a dispersion of about 0.1%
 sorbitan trioleate (for example Span 85®, available from                                                          TABLE 1
 Kishida Chemical) in hexane ("dispersant-B"), is added to the             10                                              Particle size
 sampling unit, and the laser is aligned to take a background                                                                range of
 measurement of the dispersant-B.                                                                                            retained            Median
                                                                                                       Hole size of          material            particle
    The entire suspension containing the cinacalcet HC1 is                                             each screen        on each screen       size of the
 added until a suitable obscuration range ranging from about                        Screens               (pm)                 (pm)           screen (pm)
 10 to about 20% is obtained. The sample is measured after the             15
                                                                                     40 mesh                 425             425-1410             918
 obscuration value has stabilized. After the measurement, the                        60 mesh                 250             250-424              337
 system is drained and rinsed once with about 170 mL of                              80 mesh                 180             180-249              215
                                                                                    100 mesh                 150             150-179              165
 dispersant-B, the dispersant-B is drained, and the sampling                        140 mesh                 106             106-149              128
 unit is refilled with about 170 mL of dispersant-B. The mea-                       200 mesh                  75              75-105               90
 surement are repeated two more times with different riffled               20       325 mesh                  45              45-74                60
                                                                                    Bottom pan                 0               1-44                23
 fractions. The riffling is performed on large samples to obtain
 small representative particle size fractions about 15 mg in
 size.                                                                             The weight fraction of each sieve is added to generate
    The Obscuration, D(v,0.1), D(v,0.5), D(v,0.9) values are                    cumulative frequency distribution starting from the bottom
                                                                           25
 then calculated from these measurements. The average, stan-                    pan to 40 mesh screen. Once the cumulative frequency dis-
 dard deviation, and relative standard deviation (RSD) of the                   tribution is generated, the corresponding particle size at 10
 D(v,0.1), D(v,0.5), D(v,0.9) values is also calculated. The                    percentile (D10), 50-percentile (D50), and 90-percentile (D90)
 RSD (%) is calculated as follows:                                              are determined. The particle size of the corresponding per-
                                                                           30
                                                                                centile is determined by linear interpolation between two
                                                                                consecutive data from the cumulative frequency distribution.
                                       IN                  12                   For example, particle size of 50-percentile (D50) is interpo-
                                               (Xi - TO2                        lated by,
                                 100    i.i.
                    RSD (%) =
                                 X             N —1
                                                                           35
                                                                                                            [(50 —    ci.+1 + (X,,+1 — 50) *del
                                                                                              D50 (pin) =
    where X, is an individual measurement in a set of N mea-                                        X +1 - Xn)

 surements and is the arithmetic mean of the set.
    The composition disclosed herein can be in various forms,          where,
 for example, in granular form. The granules that can be used 40       X„cumulative quantity of sample that is just below
 in the present invention can have a granule D50 ranging from       50-percentile (in %);
 about 50 pm to about 150 pm, such as from about 80 pm to              d„=mean of the particle size range from the sieve screen
 about 130 gm. As defined herein, the "granule D50" is the          where X„ occurs (in mm);
 particle size of the composition at the 50th percentile of a          X„+1=next cumulative quantity of sample that is above
 particle size distribution. The granule D50 can readily be 45 50-percentile (in %).
 determined by one of ordinary skill in the art using sieve            d„,i=mean of the particle size range from the sieve screen
 analysis techniques. Specifically, the granule D50 is deter-       where X„+1 occurs (in mm).
 mined according to the following procedure.                           According to all embodiments of the present invention, the
    Approximately 100 g of sample is added to sieve shaker          particle size of active pharmaceutical ingredient is measured
 equipped with 40 mesh, 60 mesh, 80 mesh, 100 mesh, 140 so according to light scattering techniques, and the particle size
 mesh, 200 mesh, 325 mesh, and the bottom pan. The sieve            of the granules of composition is measured according to sieve
 shaker is then turned on for about 10 minutes to separate the      analysis.
 sample according to particle size. Each sieve is weighed to           The compositions disclosed herein can be in a form chosen
 determine the amount of sample retained on each sieve and          from, for example, tablets, capsules, and powders. The tablets
 the bottom pan. The individual sieve weight is normalized to 55 can be made by pressing the granules into the form of tablets.
 generate sieve weight fraction. The individual sieve weight        The capsules can also be made using the granules.
 fraction is calculated by dividing each sieve weight with the         The at least one pharmaceutically acceptable excipient can
 sum of all sieve weights.                                          be chosen from, for example, diluents such as starch, micro-
                                                                    crystalline cellulose, dicalcium phosphate, lactose, sorbitol,
                                                                 60 mannitol, sucrose, methyl dextrins; binders such as povidone,
                                          Weight of each sieve
          Weight Fraction of each sieve =                           hydroxypropyl methylcellulose, dihydroxy propylcellulose,
                                           Sum of all sieves
                                                                    and sodium carboxyl methylcellulose; and disintegrants such
                                                                    as crospovidone, sodium starch glycolate, croscarmellose
    Before the particle size calculation, the mean size range       sodium, and mixtures of any of the foregoing. The at least one
 must be determined for each sieve and the bottom pan. This 65 pharmaceutically acceptable excipient can further be chosen
 mean size of each sieve screen represents the mean particle        from lubricants such as magnesium stearate, calcium stearate,
 size retained on the screen. The mean size of each sieve screen    stearic acid, glyceryl behenate, hygrogenated vegetable oil,




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Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 14 of 103 PageID #: 1627




                                                        US 9,375,405 B2
                                7                                                                       8
 glycerine fumarate and glidants such as colloidal silicon                   The composition can further comprise from about 0.05% to
 dioxide, and mixtures thereof. In some embodiments of the                about 5% by weight, relative to the total weight of the com-
 present invention, the at least one pharmaceutically accept-             position, of at least one additive chosen from colloidal silicon
 able excipient is chosen from microcrystalline cellulose,                dioxide, magnesium stearate, talc, and the like, and mixtures
 starch, talc, povidone, crospovidone, magnesium stearate,           5    of any of the foregoing. In certain embodiments of the inven-
 colloidal silicon dioxide, sodium dodecyl sulfate, and mix-              tion, the composition comprises from about 0.05% to about
 tures of any of the foregoing. The excipients of the present             1.5% of colloidal silicon dioxide, from about 0.05% to about
 invention, can be intragranular, intergranular, or mixtures              1.5% of magnesium stearate, from about 0.05% to about
 thereof.                                                                 1.5% of talc, or mixtures of any of the foregoing. The com-
    In some embodiments of the present invention, the com-           10   position can even further comprise from about 1% to about
 position and/or the granules within the composition can com-             6% by weight of at least one coating material, relative to the
                                                                          total weight of the composition.
 prise microcrystalline cellulose and starch in a weight ratio
                                                                             As mentioned above, the compositions of certain embodi-
 ranging from about 1:1 to about 15:1. For example, in the                ments of the present invention have a dissolution profile that
 composition, the weight ratio of the microcrystalline cellu-        15   results in about 50% to about 125% of a target amount of the
 lose and starch can range from about 1:1 to about 15:1, such             calcium receptor-active compound being released from the
 as about 10:1, and in the granules within the composition, the           composition no later that about 30 minutes from the start of a
 weight ratio of the microcrystalline cellulose and starch can            dissolution test that is conducted in 0.05 N HCl in a U.S.P. 2
 range from about 1:1 to about 10:1, such as about 5:1.                   apparatus at a temperature of 37° C.±0.5° C. at a rotation
    The microcrystalline cellulose can be present in an amount       20   speed of 75 r.p.m. The dissolution test is conducted using a
 ranging from about 25% to about 85%, for example from                    USP 2 apparatus, and according to the dissolution protocol
 about 50% to about 80%, or from about 60% to about 75% by                described in USP 26/NF 21, chapter 711, which is incorpo-
 weight relative to the total weight of the composition. The              rated herein by reference. According to this embodiment
 starch can be present in an amount ranging from about 5% to              using this dissolution protocol, a stated volume of the disso-
 about 35%, for example, from about 5% to about 25%, or              25   lution medium (±1%) is placed in the vessel of the USP 2
 from about 5% to about 10% by weight relative to the total               apparatus, the apparatus is assembled, the dissolution
 weight of the composition.                                               medium is equilibrated to 37° C.±0.5° C., the thermometer is
    The compositions disclosed herein can further comprise at             removed, the dosage form is placed in the vessel, and the
 least one ingredient chosen from coating materials that are              amount of active pharmaceutical ingredient that is released as
 known in the art such as, for example, hydroxypropyl meth-          30   a function of time is measured.
 ylcellulose.                                                                According to another embodiment of the invention, a stated
    Certain compositions can comprise:                                    volume of the dissolution medium is placed in the vessel of
    (a) from about 10% to about 40% by weight of a calcium                the USP 2 apparatus, the apparatus is assembled, the disso-
 receptor-active compound chosen from cinacalcet HC1 and                  lution medium is equilibrated to about 37° C., the thermom-
 cinacalcet methanesulfonate;                                        35   eter is removed, the dosage form is placed in the vessel, and
    (b) from about 45% to about 85% by weight of at least one             the amount of active pharmaceutical ingredient that is
 diluent;                                                                 released as a function of time is measured.
    (c) from about 1% to about 5% by weight of at least one                  The dissolution profile represents the percentage of the
 binder; and                                                              active pharmaceutical ingredient released based on a target
    (d) from about 1% to about 10% by weight of at least one         ao   amount of the active pharmaceutical ingredient in the formu-
 disintegrant;                                                            lation. As used herein "target amount" refers to the amount of
 wherein the percentage by weight is relative to the total                active pharmaceutical ingredient in each formulation. In cer-
 weight of the composition. The compositions can further                  tain embodiments, the target amount refers to the label
 comprise from about 0.05% to about 5% by weight, relative to             amount and/or label claim.
 the total weight of the composition, of at least one additive       45      USP 26/NF 21, chapter 905, defines a protocol used to
 chosen from glidants, lubricants, and adherents. The compo-              determine the dosage-unit conformity according to the
 sition can additionally comprise from about 1% to about 6%               present invention, and this content uniformity protocol is
 by weight of at least one coating material, relative to the total        incorporated herein by reference. According to this protocol,
 weight of the composition.                                               the content uniformity is determined by measuring the
    In another embodiment, the composition disclosed herein          so   amount of active pharmaceutical ingredient in 10 dosage unit
 comprises:                                                               samples, and calculating whether the amount of active phar-
    (a) from about 10% to about 40% by weight of cinacalcet               maceutical ingredient in all the dosage unit samples falls
 HC1;                                                                     within a range of 85% to 115% of the target amount. If one
    (b) from about 5% to about 10% by weight of starch;                   dosage unit sample is outside the range of 85% to 115% of the
    (c) from about 40% to about 75% by weight of microcrys-          55   target amount and no unit is outside a range of 75% to 125%
 talline cellulose;                                                       of the target amount, or if the Relative Standard Deviation
    (d) from about 1% to about 5% by weight of povidone; and              (RSD), which is the sample standard deviation expressed as a
    (e) from about 1% to about 10% by weight of crospovi-                 percentage of the mean, is not greater than 6%, then 20
 done;                                                                    additional dosage unit samples are tested. After treating at
 wherein the percentage by weight is relative to the total           60   least 30 dosage units, the content uniformity requirement is
 weight of the composition.                                               met if not more than one dosage unit sample is outside the
    The povidone can be present in an amount ranging from                 range of 85% to 115% of the target amount, and no unit is
 about 1% to about 5%, for example, from about 1% to about                outside a range of 75% to 125% of the target amount, and the
 3% by weight relative to the total weight of the composition.            RSD of the at least 30 dosage units does not exceed 7.8%.
 The crospovidone can be present in an amount ranging from           65      In certain embodiments, the dissolution profile of the com-
 about 1% to about 10%, for example from about 3% to about                positions disclosed herein can result in, for example, at least
 6%, by weight relative to the total weight of the composition.           about 50%, at least about 70%, at least about 75%, or at least




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Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 15 of 103 PageID #: 1628




                                                        US 9,375,405 B2
                                 9                                                                       10
 about 85%, of the target amount of the calcium receptor-                  compound and at least one pharmaceutically acceptable
 active compound being released from the composition no                    excipient as disclosed herein; and
 later than about 30 minutes from the start of the test. In certain           (b) controlling the particle size of the calcium receptor-
 embodiments, the dissolution profile of the compositions dis-             active compound such that from about 50% to about 125% of
 closed herein can comprise at most about 125%, for example           5    a target amount of the calcium receptor-active compound is
 at most about 115%, at most about 110%, or at most about                  released from the composition no later than about 30 minutes
 100% of the target amount of the calcium receptor-active                  from the start of a test in 0.05 N HCl according to a dissolution
 compound being released from the composition no later than                test conducted in a USP 2 apparatus at a temperature of 37°
 about 30 minutes from the start of the test. In additional
                                                                           C.±0.5° C., and a rotation speed of 75 r.p.m.
 embodiments, the dissolution profile of the compositions dis-        10
                                                                              Additional embodiments of the present invention are
 closed herein can comprise from about 50% to about 125%,
 for example from about 70% to about 110%, of the target                   directed to a method of making a pharmaceutical composition
 amount of the calcium receptor-active compound being                      comprising
 released from the composition no later than about 30 minutes                 (a) forming a composition comprising a therapeutically
 from the start of the test.                                          15
                                                                           effective amount of particles of a calcium receptor-active
    Other embodiments of the present invention are directed to             compound and at least one pharmaceutically acceptable
 a method of making a pharmaceutical composition compris-                  excipient as disclosed herein; and
 ing:                                                                         (b) controlling the particle size of the calcium receptor-
    (a) forming a granule comprising a calcium receptor-active             active compound such that from about 50% to about 125% of
 compound and at least one pharmaceutically acceptable                20   a target amount of the calcium receptor-active compound is
 excipient as disclosed herein; and                                        released from the composition no later than about 30 minutes
    (b) controlling the particle size of the granule such that             from the start of a test in 0.05 N HC1 according to a dissolution
 from about 50% to about 125% of a target amount of calcium                test conducted in a USP 2 apparatus at a temperature of about
 receptor-active compound is released from the composition                 37° C., and a rotation speed of about 75 r.p.m.
 no later than about 30 minutes from the start of a test in 0.05      25      The size of the particles is controlled during the production
 N HC1 according to a dissolution test conducted in a USP 2                of the active pharmaceutical ingredient, for example, by use
 apparatus at a temperature of 37° C.±0.5° C., and a rotation              of a milling step, or a controlled crystallization process. For
 speed of 75 r.p.m.                                                        example, the active pharmaceutical ingredient can be milled
    Further embodiments of the present invention are directed              using a stainless steel hammer mill with 5 ram screen and 12
 to a method of making a pharmaceutical composition corn-             30   hammers forward at a mill speed of 8100±100 rpm, with the
 prising:                                                                  feed speed is set at 90±10 rpm.
    (b) forming a granule comprising a calcium receptor-active                Yet other embodiments of the present invention are
 compound and at least one pharmaceutically acceptable                     directed to a method for the treatment of a disease or disorder
 excipient as disclosed herein; and                                        that can be treated by altering a subject's calcium receptor
    (b) controlling the particle size of the granule such that        35   activity. In some embodiments, a method for the treatment of
 from about 50% to about 125% of a target amount of calcium                a disease chosen from hyperparathyroidism, such as primary
 receptor-active compound is released from the composition                 hyperparathyroidism and secondary hyperparathyroidism,
 no later than about 30 minutes from the start of a test in 0.05           hyperphosphonia, hypercalcemia, and elevated calcium-
 N HC1 according to a dissolution test conducted in a USP 2                phosphorus product comprises administering to a patient,
 apparatus at a temperature of about 37° C., and a rotation           ao   such as human, an effective dosage amount of a pharmaceu-
 speed of about 75 r.p.m.                                                  tical composition comprising a calcium receptor-active com-
    The granule can be formed by any known process, such as                pound and at least one pharmaceutically acceptable excipient
 high wet shear granulation, low wet shear granulation, fluid              as disclosed herein, wherein the composition has a dissolu-
 bed granulation, rotary granulation, extrusion-spheroniza-                tion profile in 0.05 N HC1, measured according to a dissolu-
 tion, dry granulation, roller compaction, and the like.              45   tion test conducted in a USP 2 apparatus at a temperature of
    The particle size of the granule of the composition can be             37° C.±0.5° C., and at a rotation speed of 75 r.p.m., which
 controlled by various factors. In certain embodiments of the              comprises from about 50% to about 125% of a target amount
 present invention, the particle size of the granule of the com-           of the calcium receptor-active compound being released from
 position can be controlled by the amount of water added to the            the composition in no later than about 30 minutes from the
 materials present in a granulator. For example, a desired            so   start of the test.
 particle size of the granule can be achieved when the granu-                 A further embodiment of the present invention is directed
 lator has a volume ranging from about 1 L to about 1200 L,                to a method for the treatment of a disease chosen from hyper-
 such as from about 65 L to about 1200 L, or from about 300                parathyroidism, hyperphosphonia, hypercalcemia, and
 L to about 800 L, and the amount of water added ranges from               elevated calcium-phosphorus product comprises administer-
 about 20% to about 40%, such as from about 30% to about              55   ing to a patient, such as human, an effective dosage amount of
 36%, relative to the amount of dry powders present in the                 a pharmaceutical composition comprising a calcium recep-
 granulator to form the granules.                                          tor-active compound and at least one pharmaceutically
    The granulator's impeller tip speed can also affect the                acceptable excipient as disclosed herein, wherein the compo-
 particle size of the granules. In some embodiments, the                   sition has a dissolution profile in 0.05 N HC1, measured
 impeller tip speed, measured in meters per second (m/s), can         60   according to a dissolution test conducted M a USP 2 apparatus
 range from about 5 m/s to about 10 m/s, such as from about 7              at a temperature of about 37° C., and at a rotation speed of
 m/s to about 9 m/s.                                                       about 75 r.p.m., which comprises from about 50% to about
    Other embodiments of the present invention are directed to             125% of a target amount of the calcium receptor-active com-
 a method of making a pharmaceutical composition compris-                  pound being released from the composition in no later than
 ing                                                                  65   about 30 minutes from the start of the test.
    (a) forming a composition comprising a therapeutically                    Reference will now be made to the following examples
 effective amount of particles of a calcium receptor-active                which are not intended to limit the invention. To the contrary,




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Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 16 of 103 PageID #: 1629




                                                                                US 9,375,405 B2
                                            11                                                                               12
 it will be appreciated that various alternatives, modifications,                                  The dried granulation mixture was milled through a
 and equivalents may be included within the spirit and scope of                                 Quadro Mill 196S (Comil) equipped with a 0.055" (0.140 cm)
 the invention.                                                                                 opening screen at an impeller speed of 1650±50 rpm into a
                                                                                                1000 L Gallay tote.
          BRIEF DESCRIPTION OF THE DRAWINGS                                                5       Except for magnesium stearate, the extra-granular excipi-
   FIG. 1: A process Flow diagram showing a process by                                          ents were blended in a 650 L Gallay tote blender for 7±1
 which 30-, 60- and 90-mg tablets of active pharmaceutical                                      minutes at 12±1 rpm. This mixture was further blended with
 ingredient are prepared.                                                                       the dry-milled granulation in a 1000 L Gallay tote blender for
                                                                                                15±5 minutes at 12±1 rpm, and then for 6±1 minutes at 12±1
                                    EXAMPLES                                                0
                                                                                                rpm after magnesium stearate was added for lubrication.
                                                                                                   The final lubricated blend was compressed into tablets
   Three pharmaceutical formulations with target amounts of                                     containing 30-, 60-, or 90 mg of the free base equivalent of
 30 mg, 60 mg, and 90 mg active pharmaceutical ingredient                                       active cinacalcet HC1 using a Unipress 27 tablet press set to a
 with the following components were prepared:                                                   speed of 2000±300 tablets per minute and equipped with a
                                                                                           15
                                                                                                force feeder. Throughout the compression operation, indi-
                                                                                                vidual tablet weights (target weights of 180, 360, and 540 mg
                                                      30 mg   60 mg 90 mg
                                               Weight Tablet  Tablet Tablet                     for 30-, 60-, and 90-mg tablets, respectively), the average
                                                 %    Amount Amount Amount                      weight of 10 tablets, tablet hardness and thickness were moni -
                                               (w/w)   (mg)    (mg)  (mg)                       tored at pre-determined intervals.
                                                                                           20
 Cinacalcet HCl                                 18.367        33.06     66.12     99.18            The color-coating suspension and clear-coating solution
 Pregelatinized starch (Starch                  33.378        60.08    120.16    180.24         were prepared by slowly adding either the Opadry® II (green)
 1500)                                                                                          or Opadry® Clear into purified water while mixing until
 Microcrystalline cellulose                      6.678        12.02     24.04     36.06
 (Avicel PH102)
                                                                                                uniform (45 minutes). The color suspension and clear solu-
 Povidone (Plasdone K29/32)                      2.044         3.68      7.36     11.04    25   tion deaerated for a45 minutes before the spraying process
 Crospovidone (Polyplasdone                      1.233         2.22      4.44      6.66         began, and were used within a pre-determined time limit.
 XL)                                                                                               Each lot was film-coated with color and clear coats in a
 Purified Water'
 Microcrystalline cellulose                     34.300        61.74    123.48    185.22
                                                                                                Vector Hi-Coater 48" pan. The color-coating suspension was
 (Avicel PH102)                                                                                 applied onto a moving core tablet bed (pan speed=4 to 7 rpm)
 Magnesium stearate                              0.500         0.90      1.80      2.70    30   and a spray rate of 250±50 grams per minute per 3 guns. The
 Colloidal silicon dioxide                       0.500         0.90      1.80      2.70         distance between the spray guns and the tablet bed was
 (Colloidal anhydrous silica)
 (Cab-O-SiI M5P)                                                                                approximately 8" (20 cm) to 11" (28 cm), and the air volume
 Crospovidone (Polyplasdone                      3.000         5.40     10.80     16.20         was 600±200 ft3 per minute (17.1±5.7 m3 per minute) with a
 XL)                                                                                            pan pressure differential maintained between -0.1" (-0.25
                                                                                           35   cm) to -0.3" (-0.76 cm) of water. Supply air temperature was
 Core Tablet                                  100.000 180.00           360.00    540.00
 Purified Water'
                                                                                                adjusted to 80±10° C. to maintain an exhaust temperature of
 Opadry ® II (colored film former)               4.000         7.20     14.40     21.60         41±3° C.
 Purified Water'                                                                                   When the clear-coating application was completed, the
 Opadry ® Clear (clear film                      1.500         2.70      5.40      8.10         heater and the air supply was turned off and the wax was
 former)
 Carnauba Wax Powder                             0.010         0.018     0.036     0.054
                                                                                           ao   spread evenly over the moving tablet bed (after it reached
 Opacode (II) Ink (Black)2                                                                      s37° C.) with a pan speed of 4 to 7 rpm. The tablets were
 1                                                                                              rotated for 5±1 minutes, and after the supply air and exhaust
                                                                                                fan were turned on, the tablets were rotated for an additional
 'The purified Water was removed during processing.
 2Trace quantities of ink were applied to the coated tablet                                     5±1 minutes with a pan speed of 4 to 7 rpm and supply air of
                                                                45                              600±200 ft3 per minute (17.1±5.7 m3 per minute). The pan
    The wet granulation process was conducted in a PMA 800                                      was jogged until the tablet bed temperature reached s30° C.
 L high-shear granulator with water serving as the granulation                                     An Ackley ink-based offset printer was used to produce
 fluid. The cinacalcet HC1 and the intra-granulation excipients                                 2-sided printed tablets.
 (pregelatinized starch, microcrystalline cellulose, povidone,                                     The dissolution profile of the three formulations were mea-
 and crospovidone) were dry-mixed for 1 to 2 minutes with an 5n                                 sured according the dissolution protocol described in the USP
 impeller speed set point at 116±10 rpm, followed by granu-                                     26/NF 21, chapter 711 using a USP 2 apparatus at a tempera-
 lation with 30.0% to 36.0% w/w water (based on intra-granu-                                    ture of about 37° C., and at a rotation speed of about 75 r.p.m.
 lar lot size; target was 34.9% w/w) with an impeller speed set                                 The dissolution profile of the formulations in which at least
 point at 116±10 rpm and at a slow or fast chopper speed                                        about 75% of the cinacalcet HC1 was released from the corn-
 (target was slow speed). During the granulation process water 5s                               position in no later than about 30 minutes from the start of the
 was delivered at 9.8±0.5 kg/min.                                                               test is set forth in Table 2.
    Following granulation, the mixture was wet-milled using
 an in-line Comil equipped with a 0.375" (0.953 cm) opening                                 TABLE 2
 screen and an impeller speed set point at 1400±50 rpm. The
 mixture was then discharged into a fluid-bed dryer.            60     Time (min)  30 mg Tablet 60 mg Tablet 90 mg Tablet
    After completion of the wet-milling process, the granula-             15           85.3         81.9         80.8
 tion mixture was dried in an Aeromatic MP6 fluid bed dryer               30           95.2         93.8         93.4
 with an inlet temperature set point at 70°±5° C. When the                45           97.7         97.7         97.9
                                                                          60           98.7         98.8         99.8
 outlet temperature reached 37° C. to 41° C., samples were
 taken to determine moisture levels by loss on drying (LOD). 65
 The granules were dried until the average moisture levels          The content uniformity of the three formulations were
 reached 1.0% to 2.5%.                                             measured in accordance with USP 26/NF 21, chapter 905,




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Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 17 of 103 PageID #: 1630




                                                            US 9,375,405 B2
                                13                                                                     14
 described in detail above. The content uniformity and for each             10. The composition according to claim 9, wherein the
 of the three formulations is set forth in Table 3.                      granules have a granule D50 measured using a sieve analysis
                                                                         ranging from about 50 pm to about 150 gm.
                              TABLE 3                                       11. The composition according to claim 9, wherein the
                                                                    5    granules have a granule D50 measured using a sieve analysis
              30 mg Tablet       60 mg Tablet       90 mg Tablet
                                                                         ranging from about 80 pm to about 130 pm.
              Mean             Mean               Mean                      12. The composition according to claim 11, wherein the
               (10              (10                (10                   crospovidone is present intergranularly.
 Container   tablets) % RSD   tablets)   % RSD   tablets)   % RSD
                                                                            13. The composition according to claim 11, wherein the
  1 (beg.)                                                          10
              98.5     0.8     96.7       1.6     99.7        1.2        crospovidone is present intragranularly.
  5           98.8     0.8     98.5       0.8    100.7        0.9
 11           98.5     0.6     98.3       1.0     99.9        0.7
                                                                            14. The composition according to claim 9, wherein the
 16           98.3     0.8     97.6       1.3     99.9        0.5        disintegrant is crospovidone and the crospovidone is present
 22           98.3     1.0     96.3       1.8    100.7        0.9        intergranularly, intragranularly, or a combination thereof.
 end          98.0     0.6     95.8       1.9     99.3        0.8
                                                                    15
                                                                            15. The composition according to claim 1 wherein the
                                                                         composition comprises granules.
    What is claimed is:                                                     16. The composition according to claim 1 further compris-
    1. A pharmaceutical composition comprising:                          ing from about 0.05% to about 1.5% by weight of colloidal
    (a) from about 10% to about 40% by weight of cinacalcet              silicon dioxide relative to the total weight of the composition.
       HCl in an amount of from about 20 mg to about 100 mg; 20             17. The composition according to claim 1 further compris-
    (b) from about 45% to about 85% by weight of a diluent               ing from about 0.05% to about 1.5% by weight of magnesium
       selected from the group consisting of microcrystalline            stearate relative to the total weight of the composition.
       cellulose, starch, dicalcium phosphate, lactose, sorbitol,           18. The composition according to claim 1, wherein the
       mannitol, sucrose, methyl dextrins, and mixtures                  hyperparathyroidism is primary hyperparathyroidism or sec-
       thereof,                                                    25    ondary hyperparathyroidism.
    (c) from about 1% to about 5% by weight of at least one                 19. The composition according to claim 1, wherein the
       binder selected from the group consisting of povidone,            diluent is microcrystalline cellulose or starch.
       hydroxypropyl methylcellulose, hydroxypropyl cellu-                  20. A pharmaceutical composition comprising:
       lose, sodium carboxymethylcellulose, and mixtures                    (a) from about 10% to about 40% by weight of cinacalcet
       thereof; and                                                30
                                                                               HCl in an amount of from about 20 mg to about 100 mg;
    (d) from about 1% to 10% by weight of at least one disin-
                                                                            (b) from about 45% to about 85% by weight of a diluent
       tegrant selected from the group consisting of crospovi-
       dine, sodium starch glycolate, croscarmellose sodium,                   selected from the group consisting of microcrystalline
       and mixtures thereof,                                                   cellulose, starch, dicalcium phosphate, lactose, sorbitol,
    wherein the percentage by weight is relative to the total 35               mannitol, sucrose, methyl dextrins, and mixtures
       weight of the composition, and wherein the composition                  thereof,
       is for the treatment of at least one of hyperparathyroid-            (c) from about 1% to about 5% by weight of at least one
       ism, hyperphosphonia, hypercalcemia, and elevated cal-                  binder selected from the group consisting of povidone,
       cium phosphorus product.                                                hydroxypropyl methylcellulose, hydroxypropyl cellu-
    2. The composition according to claim 1, further compris- 40               lose, sodium carboxymethylcellulose, and mixtures
 ing at least one excipient selected from the group consisting                 thereof; and
 of lubricants and clear and color coating materials.                       (d) from about 1% to 10% by weight of at least one disin-
    3. The composition according to claim 1, further compris-                  tegrant selected from the group consisting of crospovi-
 ing from about 1% to about 6% by weight of at least one                       dine, sodium starch glycolate, croscarmellose sodium,
 coating material selected from the group consisting of clear 45               and mixtures thereof,
 and color coating materials wherein the percentage by weight               wherein the disintegrant is at least present intragranularly
 is relative to the total weight of the composition.                           and wherein the composition is for the treatment of at
    4. The composition according to claim 1, further compris-                  least one of hyperparathyroidism, hyperphosphonia,
 ing from about 0.05% to about 5% of at least one additive                     hypercalcemia, and elevated calcium phosphorus prod-
 selected from the group consisting of glidants, lubricants and 50          UCt.
 adherents, wherein the percentage by weight is relative to the          21. A pharmaceutical composition comprising:
 total weight of the composition.                                        (a) from about 10% to about 40% by weight of cinacalcet
    5. The composition according to claim 1, wherein the at                 HC1 in an amount of from about 20 mg to about 100 mg;
 least one binder is povidone.                                           (b) from about 5% to about 10% by weight of starch;
    6. The composition according to claim 1, wherein the at 55           (b) from about 40% to about 75% by weight of microcrys-
 least one disintegrant is crospovidone.                                    talline cellulose,
    7. The composition according to claim 6 wherein the form             (c) from about 1% to about 5% by weight of povidone, and
 of the cinacalcet HC1 is selected from the group consisting of          (d) from about 1% to 10% by weight of crospovidone,
 needle-shape particles, rod-shape particles, plate-shaped par-          wherein the percentage by weight is relative to the total
 ticles, and mixtures thereof.                                     60       weight of the composition, and wherein the composition
    8. The composition according to claim 1, wherein the cina-              is for the treatment of at least one of hyperparathyroid-
 calcet HC1 is in a form selected from the group consisting of              ism, hyperphosphonia, hypercalcemia, and elevated cal-
 amorphous powders, crystalline particles, and mixtures                     cium phosphorus product.
 thereof.                                                                22. The composition according to claim 21 further corn-
    9. The composition according to claim 8 wherein the par- 65 prising from about 0.05% to about 1.5% by weight of colloi-
 ticle D50 of the cinacalcet HC1particles is less than or equal to    dal silicon dioxide relative to the total weight of the compo-
 about 50 gm.                                                         sition.




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Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 18 of 103 PageID #: 1631




                                                        US 9,375,405 B2
                                 15                                                  16
     23. The composition according to claim 21 further com-
  prising from about 0.05% to about 1.5% by weight of mag-
  nesium stearate relative to the total weight of the composition.
                         *   *   *    *   *




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Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 19 of 103 PageID #: 1632




                        EXHIBIT 2
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 20 of 103 PageID #: 1633
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 21 of 103 PageID #: 1634
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 22 of 103 PageID #: 1635
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 23 of 103 PageID #: 1636
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 24 of 103 PageID #: 1637
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 25 of 103 PageID #: 1638
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 26 of 103 PageID #: 1639
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 27 of 103 PageID #: 1640
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 28 of 103 PageID #: 1641




                        EXHIBIT 3
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 29 of 103 PageID #: 1642
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 30 of 103 PageID #: 1643



                                 Ø¿²¼¾±±µ ±º Ð¸¿®³¿½»«¬·½¿´ Û¨½·°·»²¬-
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 31 of 103 PageID #: 1644
  Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 32 of 103 PageID #: 1645




Ø¿²¼¾±±µ ±º
Ð¸¿®³¿½»«¬·½¿´ Û¨½·°·»²¬-
Í×ÈÌØ ÛÜ×Ì×ÑÒ


Û¼·¬»¼ ¾§

Î¿§³±²¼ Ý Î±©» ÞÐ¸¿®³ô Ð¸Üô ÜÍÝô ÚÎÐ¸¿®³Íô ÚÎÍÝô ÝÐ¸§-ô Ó×²-¬Ð
Ý¸·»º Í½·»²¬·-¬
×²¬»´´·¹»²-§- Ô¬¼ô Í¬±µ»-´»§ô Ò±®¬¸ Ç±®µ-¸·®»ô ËÕ


Ð¿«´ Ö Í¸»-µ»§          ÞÍ½ô ÎÐ¸
ß°°´·½¿¬·±² Ü»ª»´±°³»²¬ Ô»¿¼»®
Ì¸» Ü±© Ý¸»³·½¿´ Ý±³°¿²§ô Ó·¼´¿²¼ô Ó×ô ËÍß


Ó¿®·¿² Û Ï«·²² ÞÍ½ô ÓÍ½
Ü»ª»´±°³»²¬ Û¼·¬±®
Î±§¿´ Ð¸¿®³¿½»«¬·½¿´ Í±½·»¬§ ±º Ù®»¿¬ Þ®·¬¿·²ô Ô±²¼±²ô ËÕ




                                                             Ô±²¼±² ò Ý¸·½¿¹±
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 33 of 103 PageID #: 1646




               Ð«¾´·-¸»¼ ¾§ ¬¸» Ð¸¿®³¿½»«¬·½¿´ Ð®»--
               ß² ·³°®·²¬ ±º ÎÐÍ Ð«¾´·-¸·²¹

               ï Ô¿³¾»¬¸ Ø·¹¸ Í¬®»»¬ô Ô±²¼±² ÍÛï éÖÒô ËÕ
               ïðð Í±«¬¸ ß¬µ·²-±² Î±¿¼ô Í«·¬» îððô Ù®¿§-´¿µ»ô ×Ô êððíðóéèîðô ËÍß

               ¿²¼ ¬¸» ß³»®·½¿² Ð¸¿®³¿½·-¬- ß--±½·¿¬·±²
               îîïë Ý±²-¬·¬«¬·±² ßª»²«»ô ÒÉô É¿-¸·²¹¬±²ô ÜÝ îððíéóîçèëô ËÍß

               ý Ð¸¿®³¿½»«¬·½¿´ Ð®»-- ¿²¼ ß³»®·½¿² Ð¸¿®³¿½·-¬- ß--±½·¿¬·±² îððç




                        ·- ¿ ¬®¿¼» ³¿®µ ±º ÎÐÍ Ð«¾´·-¸·²¹


               ÎÐÍ Ð«¾´·-¸·²¹ ·- ¬¸» °«¾´·-¸·²¹ ±®¹¿²·-¿¬·±² ±º ¬¸» Î±§¿´ Ð¸¿®³¿½»«¬·½¿´ Í±½·»¬§ ±º Ù®»¿¬ Þ®·¬¿·²

               Ú·®-¬ °«¾´·-¸»¼ ïçèê
               Í»½±²¼ »¼·¬·±² °«¾´·-¸»¼ ïççì
               Ì¸·®¼ »¼·¬·±² °«¾´·-¸»¼ îððð
               Ú±«®¬¸ »¼·¬·±² °«¾´·-¸»¼ îððí
               Ú·º¬¸ »¼·¬·±² °«¾´·-¸»¼ îððê
               Í·¨¬¸ »¼·¬·±² °«¾´·-¸»¼ îððç

               Ì§°»-»¬ ¾§ Ü¿¬¿ Í¬¿²¼¿®¼- Ô¬¼ô Ú®±³»ô Í±³»®-»¬
               Ð®·²¬»¼ ·² ×¬¿´§ ¾§ ÔòÛòÙòÑò Íò°òßò

               ×ÍÞÒ çéè ð èëíêç éçî í øËÕ÷
               ×ÍÞÒ çéè ï ëèîïî ïíë î øËÍß÷

               ß´´ ®·¹¸¬- ®»-»®ª»¼ò Ò± °¿®¬ ±º ¬¸·- °«¾´·½¿¬·±² ³¿§ ¾»
               ®»°®±¼«½»¼ô -¬±®»¼ ·² ¿ ®»¬®·»ª¿´ -§-¬»³ô ±® ¬®¿²-³·¬¬»¼ ·² ¿²§
               º±®³ ±® ¾§ ¿²§ ³»¿²-ô ©·¬¸±«¬ ¬¸» °®·±® ©®·¬¬»² °»®³·--·±²
               ±º ¬¸» ½±°§®·¹¸¬ ¸±´¼»®ò
                  Ì¸» °«¾´·-¸»® ³¿µ»- ²± ®»°®»-»²¬¿¬·±²ô »¨°®»-- ±® ·³°´·»¼ô
               ©·¬¸ ®»¹¿®¼ ¬± ¬¸» ¿½½«®¿½§ ±º ¬¸» ·²º±®³¿¬·±² ½±²¬¿·²»¼ ·²
               ¬¸·- ¾±±µ ¿²¼ ½¿²²±¬ ¿½½»°¬ ¿²§ ´»¹¿´ ®»-°±²-·¾·´·¬§ ±®
               ´·¿¾·´·¬§ º±® ¿²§ »®®±®- ±® ±³·--·±²- ¬¸¿¬ ³¿§ ¾» ³¿¼»ò

               ß ½¿¬¿´±¹«» ®»½±®¼ º±® ¬¸·- ¾±±µ ·- ¿ª¿·´¿¾´» º®±³ ¬¸» Þ®·¬·-¸ Ô·¾®¿®§
           Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 34 of 103 PageID #: 1647
    ï ïè      Ý¿®¾±¨§³»¬¸§´½»´´«´±-» Í±¼·«³

    ³¿¬»®·¿´ò Ø±©»ª»®ô ¿- ©·¬¸ ±¬¸»® ½»´´«´±-» ¼»®·ª¿¬·ª»-ô ±®¿´          ïç    Í°»½·º·½ Î»º»®»²½»-
    ½±²-«³°¬·±² ±º ´¿®¹» ¿³±«²¬- ±º ½¿®¾±¨§³»¬¸§´½»´´«´±-» ½¿´½·«³         ï Õ¸¿² Õßô Î±±µ» ÜÖò Ûºº»½¬ ±º ¼·-·²¬»¹®¿²¬ ¬§°» «°±² ¬¸» ®»´¿¬·±²-¸·°
    ³¿§ ¸¿ª» ¿ ´¿¨¿¬·ª» »ºº»½¬ò                                              ¾»¬©»»² ½±³°®»--·±²¿´ °®»--«®» ¿²¼ ¼·--±´«¬·±² »ºº·½·»²½§ò Ö Ð¸¿®³
       Í»» ¿´-± Ý¿®¾±¨§³»¬¸§´½»´´«´±-» Í±¼·«³ò                               Ð¸¿®³¿½±´ ïçéêå îèøè÷æ êííêíêò
                                                                           î Õ·¬¿³±®· Òô Ó¿µ·²± Ìò ×³°®±ª»³»²¬ ·² °®»--«®»ó¼»°»²¼»²¬ ¼·--±´«¬·±²
    ïë Ø¿²¼´·²¹ Ð®»½¿«¬·±²-                                                  ±º ¬®»°·¾«¬±²» ¬¿¾´»¬- ¾§ «-·²¹ ·²¬®¿¹®¿²«´¿® ¼·-·²¬»¹®¿²¬-ò Ü®«¹ Ü»ª
Ý   Ñ¾-»®ª» ²±®³¿´ °®»½¿«¬·±²- ¿°°®±°®·¿¬» ¬± ¬¸» ½·®½«³-¬¿²½»- ¿²¼
                                                                             ×²¼ Ð¸¿®³ ïçèîå èøï÷æ ïîëïíçò
                                                                           í Î±» ÌÍô Ý¸¿²¹ ÕÇò Ì¸» -¬«¼§ ±º Õ»§óÖ± ½´¿§ ¿- ¿ ¬¿¾´»¬ ¼·-·²¬»¹®¿¬±®ò
    ¯«¿²¬·¬§ ±º ³¿¬»®·¿´ ¸¿²¼´»¼ò Ý¿®¾±¨§³»¬¸§´½»´´«´±-» ½¿´½·«³ ³¿§         Ü®«¹ Ü»ª ×²¼ Ð¸¿®³ ïçèêå ïîøïïïí÷æ ïëêéïëèëò
    ¾» ·®®·¬¿²¬ ¬± ¬¸» »§»-å »§» °®±¬»½¬·±² ·- ®»½±³³»²¼»¼ò                ì Ñ¦»µ· Ì »¬ ¿´ò Ü»-·¹² ±º ®¿°·¼´§ ¼·-·²¬»¹®¿¬·²¹ ±®¿´ ¬¿¾´»¬- «-·²¹ ¿½·¼ó
                                                                             ¬®»¿¬»¼ §»¿-¬ ½»´´ ©¿´´æ ¿ ¬»½¸²·½¿´ ²±¬»ò ßßÐÍ Ð¸¿®³ Í½· Ì»½¸ îððíå
    ïê Î»¹«´¿¬±®§ Í¬¿¬«-                                                     ìøì÷æ Ûéðò
    ×²½´«¼»¼ ·² ¬¸» ÚÜß ×²¿½¬·ª» ×²¹®»¼·»²¬- Ü¿¬¿¾¿-» ø±®¿´ô ½¿°-«´»-
    ¿²¼ ¬¿¾´»¬-÷ò ×²½´«¼»¼ ·² ²±²°¿®»²¬»®¿´ ³»¼·½·²»- ´·½»²-»¼ ·² ¬¸»
    ËÕò ×²½´«¼»¼ ·² ¬¸» Ý¿²¿¼·¿² Ô·-¬ ±º ß½½»°¬¿¾´» Ò±²ó³»¼·½·²¿´         îð    Ù»²»®¿´ Î»º»®»²½»-
    ×²¹®»¼·»²¬-ò                                                          Ü±»´µ»® Ûò Ý»´´«´±-» ¼»®·ª¿¬·ª»-ò ß¼ª Ð±´§³ Í½· ïççíå ïðéæ ïççîêëò
                                                                          Û«®±°»¿² Ü·®»½¬±®¿¬» º±® ¬¸» Ï«¿´·¬§ ±º Ó»¼·½·²»- ¿²¼ Ø»¿´¬¸½¿®»
    ïé Î»´¿¬»¼ Í«¾-¬¿²½»-                                                    øÛÜÏÓ÷ò Û«®±°»¿² Ð¸¿®³¿½±°±»·¿  Í¬¿¬» Ñº É±®µ Ñº ×²¬»®²¿¬·±²¿´
                                                                             Ø¿®³±²·-¿¬·±²ò Ð¸¿®³»«®±°¿ îððçå îïøï÷æ ïìîïìíò ¸¬¬°æññ©©©ò»¼¯ó
    Ý¿®¾±¨§³»¬¸§´½»´´«´±-» -±¼·«³å ½®±-½¿®³»´´±-» -±¼·«³ò
                                                                             ³ò»«ñ-·¬»ñóêïìò¸¬³´ ø¿½½»--»¼ í Ú»¾®«¿®§ îððç÷ò

    ïè Ý±³³»²¬-
    Ý¿®¾±¨§³»¬¸§´½»´´«´±-» ½¿´½·«³ ·- ±²» ±º ¬¸» ³¿¬»®·¿´- ¬¸¿¬ ¸¿ª»      îï ß«¬¸±®
    ¾»»² -»´»½¬»¼ º±® ¸¿®³±²·¦¿¬·±² ¾§ ¬¸» Ð¸¿®³¿½±°»·¿´ Ü·-½«--·±²
                                                                          ÖÝ Ø±±¬±²ò
    Ù®±«°ò Ú±® º«®¬¸»® ·²º±®³¿¬·±² -»» ¬¸» Ù»²»®¿´ ×²º±®³¿¬·±²
    Ý¸¿°¬»® äïïçêâ ·² ¬¸» ËÍÐíîÒÚîéô ¬¸» Ù»²»®¿´ Ý¸¿°¬»® ëòè
    ·² Ð¸Û«® êòðô ¿´±²¹ ©·¬¸ ¬¸» Í¬¿¬» ±º É±®µ• ¼±½«³»²¬ ±² ¬¸» Ð¸Û«®
    ÛÜÏÓ ©»¾-·¬»ô ¿²¼ ¿´-± ¬¸» Ù»²»®¿´ ×²º±®³¿¬·±² Ý¸¿°¬»® è ·² ¬¸»       îî Ü¿¬» ±º Î»ª·-·±²
    ÖÐ ÈÊò                                                                í Ú»¾®«¿®§ îððçò




             Ý¿®¾±¨§³»¬¸§´½»´´«´±-» Í±¼·«³

    ï      Ò±²°®±°®·»¬¿®§ Ò¿³»-                                           ë     Í¬®«½¬«®¿´ Ú±®³«´¿
    ÞÐæ Ý¿®³»´´±-» Í±¼·«³
    ÖÐæ Ý¿®³»´´±-» Í±¼·«³
    Ð¸Û«®æ Ý¿®³»´´±-» Í±¼·«³
    ËÍÐæ Ý¿®¾±¨§³»¬¸§´½»´´«´±-» Í±¼·«³



    î    Í§²±²§³-
    ßµ«½»´´å ß¯«¿´±² ÝÓÝå ß¯«¿-±®¾å Þ´¿²±-»å Ý¿®¾±-» Üå ½¿®³»´´±ó
    -«³ ²¿¬®·½«³å Ý»´óÑóÞ®¿²¼¬å ½»´´«´±-» ¹«³å Ý»¬¸§´±-»å ÝÓÝ
    -±¼·«³å Ûìêêå Ú·²²º·¨å Ù´§µ±½»´´¿²å Ò§³½»´ ÆÍÞå ÍÝÓÝå -±¼·«³
    ½¿®¾±¨§³»¬¸§´½»´´«´±-»å -±¼·«³ ½»´´«´±-» ¹´§½±´¿¬»å Í«²®±-»å Ì§´±-»
    ÝÞå Ì§´±-» ÓÙßå É¿´±½»´ Ýå È§´±óÓ«½·²»ò



    í     Ý¸»³·½¿´ Ò¿³» ¿²¼ ÝßÍ Î»¹·-¬®§ Ò«³¾»®
    Ý»´´«´±-»ô ½¿®¾±¨§³»¬¸§´ »¬¸»®ô -±¼·«³ -¿´¬ ÅçððìóíîóìÃ



    ì      Û³°·®·½¿´ Ú±®³«´¿ ¿²¼ Ó±´»½«´¿® É»·¹¸¬                         Í¬®«½¬«®» -¸±©² ©·¬¸ ¿ ¼»¹®»» ±º -«¾-¬·¬«¬·±² øÜÍ÷ ±º ïòðò
    Ì¸» ËÍÐ íî ¼»-½®·¾»- ½¿®¾±¨§³»¬¸§´½»´´«´±-» -±¼·«³ ¿- ¬¸» -±¼·«³
    -¿´¬ ±º ¿ °±´§½¿®¾±¨§³»¬¸§´ »¬¸»® ±º ½»´´«´±-»ò
    Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 35 of 103 PageID #: 1648
                                                                                              Ý¿®¾±¨§³»¬¸§´½»´´«´±-» Í±¼·«³                    ï ïç

ÍÛÓ ïæ Û¨½·°·»²¬æ ½¿®¾±¨§³»¬¸§´½»´´«´±-» -±¼·«³å ³¿²«º¿½¬«®»®æ Þ«½µ»§»    °®»ª»²¬ ¬¸»³ ¼®§·²¹ ±«¬ò Ý¿®¾±¨§³»¬¸§´½»´´«´±-» -±¼·«³ ·- ¿´-±
Ý»´´«´±-» Ý±®°òå ´±¬ ²±òæ çîìé ßÐå ³¿¹²·º·½¿¬·±²æ ïîð å ª±´¬¿¹»æ ïð µÊò   «-»¼ ·² -»´ºó¿¼¸»-·ª» ±-¬±³§ô ©±«²¼ ½¿®»ôøç÷ ¿²¼ ¼»®³¿¬±´±¹·½¿´
                                                                          °¿¬½¸»- ¿- ¿ ³«½±ó¿¼¸»-·ª» ¿²¼ ¬± ¿¾-±®¾ ©±«²¼ »¨«¼¿¬» ±®
                                                                          ¬®¿²-»°·¼»®³¿´ ©¿¬»® ¿²¼ -©»¿¬ò Ì¸·- ³«½±ó¿¼¸»-·ª» °®±°»®¬§ ·-
                                                                          «-»¼ ·² °®±¼«½¬- ¼»-·¹²»¼ ¬± °®»ª»²¬ °±-¬ó-«®¹·½¿´ ¬·--«» ¿¼¸»ó
                                                                          -·±²-åøïðóïî÷ ¿²¼ ¬± ´±½¿´·¦» ¿²¼ ³±¼·º§ ¬¸» ®»´»¿-» µ·²»¬·½- ±º ¿½¬·ª»
                                                                          ·²¹®»¼·»²¬- ¿°°´·»¼ ¬± ³«½±«- ³»³¾®¿²»-å ¿²¼ º±® ¾±²» ®»°¿·®ò
                                                                          Û²½¿°-«´¿¬·±² ©·¬¸ ½¿®¾±¨§³»¬¸§´½»´´«´±-» -±¼·«³ ½¿² ¿ºº»½¬ ¼®«¹
                                                                                                                                                      Ý
                                                                          °®±¬»½¬·±² ¿²¼ ¼»´·ª»®§òøêôïí÷ Ì¸»®» ¸¿ª» ¿´-± ¾»»² ®»°±®¬- ±º ·¬- «-»
                                                                          ¿- ¿ ½§¬±ó°®±¬»½¬·ª» ¿¹»²¬òøïìôïë÷
                                                                              Ý¿®¾±¨§³»¬¸§´½»´´«´±-» -±¼·«³ ·- ¿´-± «-»¼ ·² ½±-³»¬·½-ô
                                                                          ¬±·´»¬®·»-ôøïê÷ -«®¹·½¿´ °®±-¬¸»¬·½-ôøïé÷ ¿²¼ ·²½±²¬·²»²½»ô °»®-±²¿´
                                                                          ¸§¹·»²»ô ¿²¼ º±±¼ °®±¼«½¬-ò
                                                                              Í»» Ì¿¾´» ×ò

                                                                           Ì¿¾´» ×æ Ë-»- ±º ½¿®¾±¨§³»¬¸§´½»´´«´±-» -±¼·«³ò

                                                                          Ë-»                                  Ý±²½»²¬®¿¬·±² øû÷
                                                                          Û³«´-·º§·²¹ ¿¹»²¬                    ðòîëïòð
                                                                          Ù»´óº±®³·²¹ ¿¹»²¬                    íòðêòð
                                                                          ×²¶»½¬·±²-                           ðòðëðòéë
                                                                          Ñ®¿´ -±´«¬·±²-                       ðòïïòð
                                                                          Ì¿¾´»¬ ¾·²¼»®                        ïòðêòð


ÍÛÓ îæ Û¨½·°·»²¬æ ½¿®¾±¨§³»¬¸§´½»´´«´±-» -±¼·«³å ³¿²«º¿½¬«®»®æ ß-¸´¿²¼
ß¯«¿´±² Ú«²½¬·±²¿´ ×²¹®»¼·»²¬-å ´±¬ ²±òæ îï ßóï øììíçð÷å ³¿¹²·º·½¿¬·±²æ   è     Ü»-½®·°¬·±²
êðð å ª±´¬¿¹»æ ïð µÊò
                                                                          Ý¿®¾±¨§³»¬¸§´½»´´«´±-» -±¼·«³ ±½½«®- ¿- ¿ ©¸·¬» ¬± ¿´³±-¬ ©¸·¬»ô
                                                                          ±¼±®´»--ô ¬¿-¬»´»--ô ¹®¿²«´¿® °±©¼»®ò ×¬ ·- ¸§¹®±-½±°·½ ¿º¬»® ¼®§·²¹ò
                                                                          Í»» ¿´-± Í»½¬·±² ïèò

                                                                          ç     Ð¸¿®³¿½±°»·¿´ Í°»½·º·½¿¬·±²-
                                                                          Í»» Ì¿¾´» ××ò Í»» ¿´-± Í»½¬·±² ïèò

                                                                           Ì¿¾´» ××æ Ð¸¿®³¿½±°»·¿´ -°»½·º·½¿¬·±²- º±® ½¿®¾±¨§³»¬¸§´½»´´«´±-»
                                                                           -±¼·«³ò

                                                                          Ì»-¬                     ÖÐ ÈÊ            Ð¸Û«® êòð       ËÍÐ íî
                                                                          ×¼»²¬·º·½¿¬·±²           "                "               "
                                                                          Ý¸¿®¿½¬»®-               "                "               
                                                                          °Ø øïû ©ñª ­±´«¬·±²÷     êòðèòð          êòðèòð         êòëèòë
                                                                          ß°°»¿®¿²½» ±º -±´«¬·±²   "                "               
                                                                          Ê·-½±-·¬§                                "               "
                                                                          Ô±-- ±² ¼®§·²¹           ìïðòðû           ìïðòðû          ìïðòðû
                                                                          Ø»¿ª§ ³»¬¿´-             ìîð °°³          ìîð °°³         ìðòððîû
                                                                          Ý¸´±®·¼»                 ìðòêìðû          ìðòîëû          
                                                                          ß®-»²·½                  ìïð °°³                         
                                                                          Í«´º¿¬»                  ìðòçêðû                         
                                                                          Í·´·½¿¬»                 ìðòëû                           
                                                                          Í±¼·«³ ¹´§½±´¿¬»                         ìðòìû           
                                                                          Í¬¿®½¸                   "                               
                                                                          Í«´º¿¬»¼ ¿-¸                             îðòðííòíû      
ê     Ú«²½¬·±²¿´ Ý¿¬»¹±®§                                                 ß­­¿§ ø±º ­±¼·«³÷        êòëèòëû         êòëïðòèû       êòëçòëû
Ý±¿¬·²¹ ¿¹»²¬å -¬¿¾·´·¦·²¹ ¿¹»²¬å -«-°»²¼·²¹ ¿¹»²¬å ¬¿¾´»¬ ¿²¼
½¿°-«´» ¼·-·²¬»¹®¿²¬å ¬¿¾´»¬ ¾·²¼»®å ª·-½±-·¬§ó·²½®»¿-·²¹ ¿¹»²¬å
©¿¬»®ó¿¾-±®¾·²¹ ¿¹»²¬ò
                                                                          ïð Ì§°·½¿´ Ð®±°»®¬·»-
é     ß°°´·½¿¬·±²- ·² Ð¸¿®³¿½»«¬·½¿´ Ú±®³«´¿¬·±² ±®                       Ü»²-·¬§ ø¾«´µ÷ ðòëî ¹ñ½³í
      Ì»½¸²±´±¹§                                                          Ü»²-·¬§ ø¬¿°°»¼÷ ðòéè ¹ñ½³í
                                                                          Ü·--±½·¿¬·±² ½±²-¬¿²¬ °Õ¿ ã ìòíð
Ý¿®¾±¨§³»¬¸§´½»´´«´±-» -±¼·«³ ·- ©·¼»´§ «-»¼ ·² ±®¿´ ¿²¼ ¬±°·½¿´          Ó»´¬·²¹ °±·²¬ Þ®±©²- ¿¬ ¿°°®±¨·³¿¬»´§ îîéèÝô ¿²¼ ½¸¿®- ¿¬
°¸¿®³¿½»«¬·½¿´ º±®³«´¿¬·±²-ô °®·³¿®·´§ º±® ·¬- ª·-½±-·¬§ó·²½®»¿-·²¹          ¿°°®±¨·³¿¬»´§ îëîèÝò
°®±°»®¬·»-ò Ê·-½±«- ¿¯«»±«- -±´«¬·±²- ¿®» «-»¼ ¬± -«-°»²¼ °±©¼»®-         Ó±·-¬«®» ½±²¬»²¬ Ì§°·½¿´´§ ½±²¬¿·²- ´»-- ¬¸¿² ïðû ©¿¬»®ò
·²¬»²¼»¼ º±® »·¬¸»® ¬±°·½¿´ ¿°°´·½¿¬·±² ±® ±®¿´ ¿²¼ °¿®»²¬»®¿´               Ø±©»ª»®ô ½¿®¾±¨§³»¬¸§´½»´´«´±-» -±¼·«³ ·- ¸§¹®±-½±°·½ ¿²¼
¿¼³·²·-¬®¿¬·±²òøïôî÷ Ý¿®¾±¨§³»¬¸§´½»´´«´±-» -±¼·«³ ³¿§ ¿´-± ¾»               ¿¾-±®¾- -·¹²·º·½¿²¬ ¿³±«²¬- ±º ©¿¬»® ¿¬ ¬»³°»®¿¬«®»- «° ¬± íéèÝ
«-»¼ ¿- ¿ ¬¿¾´»¬ ¾·²¼»® ¿²¼ ¼·-·²¬»¹®¿²¬ôøíê÷ ¿²¼ ¬± -¬¿¾·´·¦»              ¿¬ ®»´¿¬·ª» ¸«³·¼·¬·»- ±º ¿¾±«¬ èðûò Í»» Í»½¬·±² ïïò Í»» ¿´-±
»³«´-·±²-òøéôè÷                                                              Ú·¹«®» ïò
   Ø·¹¸»® ½±²½»²¬®¿¬·±²­ô «­«¿´´§ íêûô ±º ¬¸» ³»¼·«³óª·­½±­·¬§           Ò×Î -°»½¬®¿ -»» Ú·¹«®» îò
¹®¿¼» ¿®» «-»¼ ¬± °®±¼«½» ¹»´- ¬¸¿¬ ½¿² ¾» «-»¼ ¿- ¬¸» ¾¿-» º±®           Í±´«¾·´·¬§ Ð®¿½¬·½¿´´§ ·²-±´«¾´» ·² ¿½»¬±²»ô »¬¸¿²±´ øçëû÷ô »¬¸»®ô
¿°°´·½¿¬·±²- ¿²¼ °¿-¬»-å ¹´§½±´- ¿®» ±º¬»² ·²½´«¼»¼ ·² -«½¸ ¹»´- ¬±          ¿²¼ ¬±´«»²»ò Û¿-·´§ ¼·-°»®-»¼ ·² ©¿¬»® ¿¬ ¿´´ ¬»³°»®¿¬«®»-ô
                                Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 36 of 103 PageID #: 1649
    ï îð                                    Ý¿®¾±¨§³»¬¸§´½»´´«´±-» Í±¼·«³
                                           êð                                                                                 ïï Í¬¿¾·´·¬§ ¿²¼ Í¬±®¿¹» Ý±²¼·¬·±²-
                                                                                                                              Ý¿®¾±¨§³»¬¸§´½»´´«´±-» -±¼·«³ ·- ¿ -¬¿¾´»ô ¬¸±«¹¸ ¸§¹®±-½±°·½
                                                             Í±®°¬·±²                                                         ³¿¬»®·¿´ò Ë²¼»® ¸·¹¸ó¸«³·¼·¬§ ½±²¼·¬·±²-ô ½¿®¾±¨§³»¬¸§´½»´´«´±-»
                                           ëð                Ü»-±®°¬·±²                                                       -±¼·«³ ½¿² ¿¾-±®¾ ¿ ´¿®¹» ¯«¿²¬·¬§ øâëðû÷ ±º ©¿¬»®ò ×² ¬¿¾´»¬-ô ¬¸·-
                                                                                                                              ¸¿- ¾»»² ¿--±½·¿¬»¼ ©·¬¸ ¿ ¼»½®»¿-» ·² ¬¿¾´»¬ ¸¿®¼²»-- ¿²¼ ¿²
               Û¯«·´·¾®·«³ ³±·-¬«®» øû÷




                                                                                                                              ·²½®»¿-» ·² ¼·-·²¬»¹®¿¬·±² ¬·³»òøïè÷
Ý                                          ìð                                                                                     ß¯«»±«­ ­±´«¬·±²­ ¿®» ­¬¿¾´» ¿¬ °Ø îïðå °®»½·°·¬¿¬·±² ½¿² ±½½«®
                                                                                                                              ¾»´±© °Ø îô ¿²¼ -±´«¬·±² ª·-½±-·¬§ ¼»½®»¿-»- ®¿°·¼´§ ¿¾±ª» °Ø ïðò
                                                                                                                              Ù»²»®¿´´§ô -±´«¬·±²- »¨¸·¾·¬ ³¿¨·³«³ ª·-½±-·¬§ ¿²¼ -¬¿¾·´·¬§ ¿¬ °Ø
                                           íð                                                                                 éçò
                                                                                                                                  Ý¿®¾±¨§³»¬¸§´½»´´«´±-» -±¼·«³ ³¿§ ¾» -¬»®·´·¦»¼ ·² ¬¸» ¼®§ -¬¿¬»
                                                                                                                              ¾§ ³¿·²¬¿·²·²¹ ·¬ ¿¬ ¿ ¬»³°»®¿¬«®» ±º ïêðèÝ º±® ï ¸±«®ò Ø±©»ª»®ô
                                           îð                                                                                 ¬¸·- °®±½»-- ®»-«´¬- ·² ¿ -·¹²·º·½¿²¬ ¼»½®»¿-» ·² ª·-½±-·¬§ ¿²¼ -±³»
                                                                                                                              ¼»¬»®·±®¿¬·±² ·² ¬¸» °®±°»®¬·»- ±º -±´«¬·±²- °®»°¿®»¼ º®±³ ¬¸»
                                                                                                                              -¬»®·´·¦»¼ ³¿¬»®·¿´ò
                                           ïð
                                                                                                                                  ß¯«»±«- -±´«¬·±²- ³¿§ -·³·´¿®´§ ¾» -¬»®·´·¦»¼ ¾§ ¸»¿¬·²¹ô
                                                                                                                              ¿´¬¸±«¹¸ ¬¸·- ¿´-± ®»-«´¬- ·² -±³» ®»¼«½¬·±² ·² ª·-½±-·¬§ò ßº¬»®
                                                                                                                              ¿«¬±½´¿ª·²¹ô ª·-½±-·¬§ ·- ®»¼«½»¼ ¾§ ¿¾±«¬ îëûô ¾«¬ ¬¸·- ®»¼«½¬·±² ·-
                                                                                                                              ´»-- ³¿®µ»¼ ¬¸¿² º±® -±´«¬·±²- °®»°¿®»¼ º®±³ ³¿¬»®·¿´ -¬»®·´·¦»¼ ·²
                                            ð                                                                                 ¬¸» ¼®§ -¬¿¬»ò Ì¸» »¨¬»²¬ ±º ¬¸» ®»¼«½¬·±² ·- ¼»°»²¼»²¬ ±² ¬¸»
                                                ð    ïð      îð     íð    ìð    ëð    êð      éð      èð      çð ïðð
                                                                                                                              ³±´»½«´¿® ©»·¹¸¬ ¿²¼ ¼»¹®»» ±º -«¾-¬·¬«¬·±²å ¸·¹¸»® ³±´»½«´¿®
                                                                    Î»´¿¬·ª» ¸«³·¼·¬§ øû÷                                     ©»·¹¸¬ ¹®¿¼»- ¹»²»®¿´´§ «²¼»®¹± ¿ ¹®»¿¬»® °»®½»²¬¿¹» ®»¼«½¬·±² ·²
                                                                                                                              ª·-½±-·¬§òøïç÷ Í¬»®·´·¦¿¬·±² ±º -±´«¬·±²- ¾§ ¹¿³³¿ ·®®¿¼·¿¬·±² ¿´-±
    Ú·¹«®» ïæ Í±®°¬·±²¼»­±®°¬·±² ·­±¬¸»®³ ±º ½¿®¾±¨§³»¬¸§´½»´´«´±­»                                                          ®»-«´¬- ·² ¿ ®»¼«½¬·±² ·² ª·-½±-·¬§ò
    -±¼·«³ò                                                                                                                       ß¯«»±«- -±´«¬·±²- -¬±®»¼ º±® °®±´±²¹»¼ °»®·±¼- -¸±«´¼ ½±²¬¿·²
                                          ìòð                                                                     ðòë         ¿² ¿²¬·³·½®±¾·¿´ °®»-»®ª¿¬·ª»òøîð÷
       ïðððð I Åî²¼ ¼»®·ªò ´±¹øïñÎ÷Ã




                                                                               ïèèë
                                                                                                           îìðî
                                                                                                                                  Ì¸» ¾«´µ ³¿¬»®·¿´ -¸±«´¼ ¾» -¬±®»¼ ·² ¿ ©»´´ó½´±-»¼ ½±²¬¿·²»® ·² ¿
                                                                                                    îîìï                      ½±±´ô ¼®§ °´¿½»ò
                                                            ïíèê                                       îíïð
                                                                                                                              ïî ×²½±³°¿¬·¾·´·¬·»-
                                                                                       îðïè
                                                                                                                              Ý¿®¾±¨§³»¬¸§´½»´´«´±-» -±¼·«³ ·- ·²½±³°¿¬·¾´» ©·¬¸ -¬®±²¹´§
                                                                                                                   ´±¹øïñÎ÷




                                          ðòð                                                                                 ¿½·¼·½ -±´«¬·±²- ¿²¼ ©·¬¸ ¬¸» -±´«¾´» -¿´¬- ±º ·®±² ¿²¼ -±³» ±¬¸»®
                                                    ïïçç           ïìéî                      îðèë                             ³»¬¿´-ô -«½¸ ¿- ¿´«³·²«³ô ³»®½«®§ô ¿²¼ ¦·²½ò ×¬ ·- ¿´-± ·²½±³°¿¬·¾´»
                                                            ïìíð                                          îíêð                ©·¬¸ ¨¿²¬¸¿² ¹«³ò Ð®»½·°·¬¿¬·±² ³¿§ ±½½«® ¿¬ °Ø ä îô ¿²¼ ¿´-±
                                                                                                       îíîê
                                                                                                                              ©¸»² ·¬ ·- ³·¨»¼ ©·¬¸ »¬¸¿²±´ øçëû÷ò
                                                                                                     îîéè
                                                                                                                                 Ý¿®¾±¨§³»¬¸§´½»´´«´±-» -±¼·«³ º±®³- ½±³°´»¨ ½±¿½»®ª¿¬»-
                                                                                                                              ©·¬¸ ¹»´¿¬·² ¿²¼ °»½¬·²ò ×¬ ¿´-± º±®³- ¿ ½±³°´»¨ ©·¬¸ ½±´´¿¹»²
                                                                                      ïçïè                                    ¿²¼ ·- ½¿°¿¾´» ±º °®»½·°·¬¿¬·²¹ ½»®¬¿·² °±-·¬·ª»´§ ½¸¿®¹»¼ °®±¬»·²-ò
                                          ëòð                                    ðòî
                                            ïïðð ïíðð ïëðð ïéðð ïçðð îïðð îíðð îëðð                                           ïí Ó»¬¸±¼ ±º Ó¿²«º¿½¬«®»
                                                                     É¿ª»´»²¹¬¸ñ²³                                            ß´µ¿´· ½»´´«´±-» ·- °®»°¿®»¼ ¾§ -¬»»°·²¹ ½»´´«´±-» ±¾¬¿·²»¼ º®±³
                                                                                                                              ©±±¼ °«´° ±® ½±¬¬±² º·¾»®- ·² -±¼·«³ ¸§¼®±¨·¼» -±´«¬·±²ò Ì¸»
                                                                                                                              ¿´µ¿´·²» ½»´´«´±-» ·- ¬¸»² ®»¿½¬»¼ ©·¬¸ -±¼·«³ ³±²±½¸´±®±¿½»¬¿¬» ¬±
    Ú·¹«®» îæ Ò»¿®ó·²º®¿®»¼ -°»½¬®«³ ±º ½¿®¾±¨§³»¬¸§´½»´´«´±-» -±¼·«³
    ³»¿-«®»¼ ¾§ ®»º´»½¬¿²½»ò
                                                                                                                              °®±¼«½» ½¿®¾±¨§³»¬¸§´½»´´«´±-» -±¼·«³ò Í±¼·«³ ½¸´±®·¼» ¿²¼
                                                                                                                              -±¼·«³ ¹´§½±´¿¬» ¿®» ±¾¬¿·²»¼ ¿- ¾§ó°®±¼«½¬- ±º ¬¸·- »¬¸»®·º·½¿¬·±²ò
     Ì¿¾´» ×××æ Ê·-½±-·¬§ ±º ¿¯«»±«- ½¿®¾±¨§³»¬¸§´½»´´«´±-» -±¼·«³ ïû ©ñª                                                     ïì Í¿º»¬§
     -±´«¬·±²-ò øÓ»¿-«®»³»²¬- ³¿¼» ©·¬¸ ¿ Þ®±±µº·»´¼ ÔÊÌ ª·-½±³»¬»® ¿¬
     îëèÝò÷                                                                                                                   Ý¿®¾±¨§³»¬¸§´½»´´«´±-» -±¼·«³ ·- «-»¼ ·² ±®¿´ô ¬±°·½¿´ô ¿²¼ -±³»
                                                                                                                              °¿®»²¬»®¿´ º±®³«´¿¬·±²-ò ×¬ ·- ¿´-± ©·¼»´§ «-»¼ ·² ½±-³»¬·½-ô
                                                           Ù®¿¼»               Ê·-½±-·¬§ ø³Ð¿ -÷       Í°·²¼´»    Í°»»¼       ¬±·´»¬®·»-ô ¿²¼ º±±¼ °®±¼«½¬-ô ¿²¼ ·- ¹»²»®¿´´§ ®»¹¿®¼»¼ ¿- ¿
                                                                                                                              ²±²¬±¨·½ ¿²¼ ²±²·®®·¬¿²¬ ³¿¬»®·¿´ò Ø±©»ª»®ô ±®¿´ ½±²-«³°¬·±² ±º
    Ô±© ª·-½±-·¬§                                          ßµ«½»´´ ßÚ ðíðë     ïðïë                   ýï         êð ®°³
    Ó»¼·«³ ª·-½±-·¬§                                       ßµ«½»´´ ßÚ îéèë     ïëððîëðð               ýí         íð ®°³      ´¿®¹» ¿³±«²¬- ±º ½¿®¾±¨§³»¬¸§´½»´´«´±-» -±¼·«³ ½¿² ¸¿ª» ¿
    Ø·¹¸ ª·-½±-·¬§                                         ßµ«½»´´ ßÚ íðèë     èðððïîððð              ýì         íð ®°³      ´¿¨¿¬·ª» »ºº»½¬å ¬¸»®¿°»«¬·½¿´´§ô ìïð ¹ ·² ¼¿·´§ ¼·ª·¼»¼ ¼±­»­ ±º ¬¸»
                                                                                                                              ³»¼·«³ó ¿²¼ ¸·¹¸óª·-½±-·¬§ ¹®¿¼»- ±º ½¿®¾±¨§³»¬¸§´½»´´«´±-»
                                                                                                                              -±¼·«³ ¸¿ª» ¾»»² «-»¼ ¿- ¾«´µ ´¿¨¿¬·ª»-òøîï÷
                                                                                                                                  Ì¸» ÉØÑ ¸¿- ²±¬ -°»½·º·»¼ ¿² ¿½½»°¬¿¾´» ¼¿·´§ ·²¬¿µ» º±®
       º±®³·²¹ ½´»¿®ô ½±´´±·¼¿´ -±´«¬·±²-ò Ì¸» ¿¯«»±«- -±´«¾·´·¬§ ª¿®·»-                                                      ½¿®¾±¨§³»¬¸§´½»´´«´±-» -±¼·«³ ¿- ¿ º±±¼ ¿¼¼·¬·ª» -·²½» ¬¸» ´»ª»´-
       ©·¬¸ ¬¸» ¼»¹®»» ±º -«¾-¬·¬«¬·±² øÜÍ÷ò Í»» Í»½¬·±² ïèò                                                                  ²»½»--¿®§ ¬± ¿½¸·»ª» ¿ ¼»-·®»¼ »ºº»½¬ ©»®» ²±¬ ½±²-·¼»®»¼ ¬± ¾» ¿
    Ê·-½±-·¬§ Ê¿®·±«- ¹®¿¼»- ±º ½¿®¾±¨§³»¬¸§´½»´´«´±-» -±¼·«³ ¿®»                                                             ¸¿¦¿®¼ ¬± ¸»¿´¬¸òøîîîë÷ Ø±©»ª»®ô ·² ¿²·³¿´ -¬«¼·»-ô -«¾½«¬¿²»±«-
       ½±³³»®½·¿´´§ ¿ª¿·´¿¾´» ¬¸¿¬ ¸¿ª» ¼·ºº»®·²¹ ¿¯«»±«- ª·-½±-·¬·»-å                                                        ¿¼³·²·-¬®¿¬·±² ±º ½¿®¾±¨§³»¬¸§´½»´´«´±-» -±¼·«³ ¸¿- ¾»»² º±«²¼ ¬±
       -»» Ì¿¾´» ×××ò ß¯«»±«- ïû ©ñª -±´«¬·±²- ©·¬¸ ª·-½±-·¬·»- ±º                                                            ½¿«-» ·²º´¿³³¿¬·±²ô ¿²¼ ·² -±³» ½¿-»- ±º ®»°»¿¬»¼ ·²¶»½¬·±²
                                                                                                                              º·¾®±-¿®½±³¿- ¸¿ª» ¾»»² º±«²¼ ¿¬ ¬¸» -·¬» ±º ·²¶»½¬·±²òøîê÷
       ëîððð ³Ð¿ ­ øëîððð ½Ð÷ ³¿§ ¾» ±¾¬¿·²»¼ò ß² ·²½®»¿­» ·²
                                                                                                                                  Ø§°»®-»²-·¬·ª·¬§ ¿²¼ ¿²¿°¸§´¿½¬·½ ®»¿½¬·±²- ¸¿ª» ±½½«®®»¼ ·²
       ½±²½»²¬®¿¬·±² ®»-«´¬- ·² ¿² ·²½®»¿-» ·² ¿¯«»±«- -±´«¬·±²
                                                                                                                              ½¿¬¬´» ¿²¼ ¸±®-»-ô ©¸·½¸ ¸¿ª» ¾»»² ¿¬¬®·¾«¬»¼ ¬± ½¿®¾±¨§³»¬¸§´ó
       ª·-½±-·¬§òøïê÷ Ð®±´±²¹»¼ ¸»¿¬·²¹ ¿¬ ¸·¹¸ ¬»³°»®¿¬«®»- ©·´´                                                             ½»´´«´±-» -±¼·«³ ·² °¿®»²¬»®¿´ º±®³«´¿¬·±²- -«½¸ ¿- ª¿½½·²»- ¿²¼
       ¼»°±´§³»®·¦» ¬¸» ¹«³ ¿²¼ °»®³¿²»²¬´§ ¼»½®»¿-» ¬¸» ª·-½±-·¬§ò                                                           °»²·½·´´·²-òøîéíð÷
       Ì¸» ª·-½±-·¬§ ±º -±¼·«³ ½¿®¾±¨§³»¬¸§´½»´´«´±-» -±´«¬·±²- ·-
       º¿·®´§ ­¬¿¾´» ±ª»® ¿ °Ø ®¿²¹» ±º ìïðò Ì¸» ±°¬·³«³ °Ø ®¿²¹» ·­                                                            ÔÜëð ø¹«·²»¿ °·¹ô ±®¿´÷æ ïê ¹ñµ¹øíï÷
       ²»«¬®¿´ò Í»» Í»½¬·±² ïïò                                                                                                  ÔÜëð ø®¿¬ô ±®¿´÷æ îé ¹ñµ¹
   Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 37 of 103 PageID #: 1650
                                                                                                    Ý¿®¾±¨§³»¬¸§´½»´´«´±-» Í±¼·«³                    ï îï

ïë Ø¿²¼´·²¹ Ð®»½¿«¬·±²-                                                       ïï Ø¿§ ÉÐ »¬ ¿´ò Ñ²» °»®½»²¬ -±¼·«³ ½¿®¾±¨§³»¬¸§´½»´´«´±-» °®»ª»²¬-
                                                                                 »¨°»®·³»²¬¿´´§ ·²¼«½»¼ ¿¼¸»-·±²- ·² ¸±®-»-ò Ê»¬ Í«®¹ îððïå íðøí÷æ îîí
Ñ¾-»®ª» ²±®³¿´ °®»½¿«¬·±²- ¿°°®±°®·¿¬» ¬± ¬¸» ½·®½«³-¬¿²½»- ¿²¼                  îîéò
¯«¿²¬·¬§ ±º ³¿¬»®·¿´ ¸¿²¼´»¼ò Ý¿®¾±¨§³»¬¸§´½»´´«´±-» -±¼·«³ ³¿§               ïî Ô·« ÔÍô Þ»®¹ Îßò ß¼¸»-·±² ¾¿®®·»®- ±º ½¿®¾±¨§³»¬¸§´½»´´«´±-» ¿²¼
¾» ·®®·¬¿²¬ ¬± ¬¸» »§»-ò Û§» °®±¬»½¬·±² ·- ®»½±³³»²¼»¼ò                          °±´§»¬¸§´»²» ±¨·¼» ½±³°±-·¬» ¹»´-ò Ö Þ·±³»¼ Ó¿¬»® Î»- îððîå êíøí÷æ
                                                                                 íîêííîò
ïê Î»¹«´¿¬±®§ Í¬¿¬«-                                                          ïí Ó¿®-½¸«¬¦ ÓÕ »¬ ¿´ò Ü»-·¹² ¿²¼ ·² ª·ª± »ª¿´«¿¬·±² ±º ¿² ±®¿´ ¼»´·ª»®§
ÙÎßÍ ´·-¬»¼ò ß½½»°¬»¼ ¿- ¿ º±±¼ ¿¼¼·¬·ª» ·² Û«®±°»ò ×²½´«¼»¼ ·² ¬¸»
                                                                                 -§-¬»³ º±® ·²-«´·²ò Ð¸¿®³ Î»- îðððå ïéøïî÷æ ïìêèïìéìò
                                                                              ïì ß¸»» Öß »¬ ¿´ò Ü»½®»¿-»¼ ·²½·¼»²½» ±º »°·¬¸»´·¿´ ¼»º»½¬- ¼«®·²¹ ´¿-»® ·²
                                                                                                                                                              Ý
ÚÜß ×²¿½¬·ª» ×²¹®»¼·»²¬- Ü¿¬¿¾¿-» ø¼»²¬¿´ °®»°¿®¿¬·±²-å ·²¬®¿ó                   -·¬« µ»®¿¬±³·´»«-·- «-·²¹ ·²¬®¿±°»®¿¬·ª» ²±²°®»-»®ª»¼ ½¿®¾±¨§³»¬¸§´ó
¿®¬·½«´¿®ô ·²¬®¿¾«®-¿´ô ·²¬®¿¼»®³¿´ô ·²¬®¿´»-·±²¿´ô ¿²¼ ·²¬®¿-§²±ª·¿´            ½»´´«´±-» -±¼·«³ ðòëû -±´«¬·±²ò Ö Ý¿¬»®¿½¬ Î»º®¿½¬ Í«®¹ îððîå îèøç÷æ
·²¶»½¬·±²-å ±®¿´ ¼®±°-ô -±´«¬·±²-ô -«-°»²-·±²-ô -§®«°- ¿²¼ ¬¿¾´»¬-å              ïêëïïêëìò
¬±°·½¿´ °®»°¿®¿¬·±²-÷ò ×²½´«¼»¼ ·² ²±²°¿®»²¬»®¿´ ³»¼·½·²»- ´·½»²-»¼           ïë Ê»¸·¹» ÖÙ »¬ ¿´ò Ý§¬±°®±¬»½¬·ª» °®±°»®¬·»- ±º ½¿®¾±¨§³»¬¸§´½»´´«´±-»
·² ¬¸» ËÕò ×²½´«¼»¼ ·² ¬¸» Ý¿²¿¼·¿² Ô·-¬ ±º ß½½»°¬¿¾´» Ò±²ó                      øÝÓÝ÷ ©¸»² «-»¼ °®·±® ¬± ©»¿®·²¹ ½±²¬¿½¬ ´»²-»- ¬®»¿¬»¼ ©·¬¸ ½¿¬·±²·½
³»¼·½·²¿´ ×²¹®»¼·»²¬-ò                                                           ¼·-·²º»½¬·²¹ ¿¹»²¬-ò Û§» Ý±²¬¿½¬ Ô»²- îððíå îçøí÷æ ïééïèðò
                                                                              ïê Ó±³¾»´´»¬ Øô Þ¿´» Ðò Í±¼·«³ ½¿®¾±¨§³»¬¸§´½»´´«´±-» ¬±±¬¸°¿-¬»ò
ïé Î»´¿¬»¼ Í«¾-¬¿²½»-                                                            Ó¿²«º Ý¸»³ ïçèèå ëçøïï÷æ ìéô ìçô ëîò
                                                                              ïé Ê¿´»®·¿²· Ó »¬ ¿´ò Ý¿®¾±¨§³»¬¸§´½»´´«´±-» ¸§¼®±¹»´ ³¿³³¿®§
Ý¿®¾±¨§³»¬¸§´½»´´«´±-» ½¿´½·«³ò                                                  ·³°´¿²¬-æ ±«® »¨°»®·»²½»ò ß½¬¿ Ý¸·® Ð´¿-¬ îððîå ììøí÷æ éééçò
                                                                              ïè Õ¸¿² Õßô Î¸±¼»- ÝÌò É¿¬»®ó-±®°¬·±² °®±°»®¬·»- ±º ¬¿¾´»¬ ¼·-·²¬»¹®¿²¬-ò
ïè Ý±³³»²¬-                                                                      Ö Ð¸¿®³ Í½· ïçéëå êìøê÷æ ììéìëïò
                                                                              ïç Ý¸« Ð×ô Ü±§´» Üò Ü»ª»´±°³»²¬ ¿²¼ »ª¿´«¿¬·±² ±º ¿ ´¿¾±®¿¬±®§ó-½¿´»
Ý¿®¾±¨§³»¬¸§´½»´´«´±-» -±¼·«³ ·- ±²» ±º ¬¸» ³¿¬»®·¿´- ¬¸¿¬ ¸¿ª»                  ¿°°¿®¿¬«- ¬± -·³«´¿¬» ¬¸» -½¿´»ó«° ±º ¿ -¬»®·´» -»³·-±´·¼ ¿²¼ »ºº»½¬- ±º
¾»»² -»´»½¬»¼ º±® ¸¿®³±²·¦¿¬·±² ¾§ ¬¸» Ð¸¿®³¿½±°»·¿´ Ü·-½«--·±²                  ³¿²«º¿½¬«®·²¹ °¿®¿³»¬»®- ±² °®±¼«½¬ ª·-½±-·¬§ò Ð¸¿®³ Ü»ª Ì»½¸²±´
Ù®±«°ò Ú±® º«®¬¸»® ·²º±®³¿¬·±² -»» ¬¸» Ù»²»®¿´ ×²º±®³¿¬·±² Ý¸¿°¬»®               ïçççå ìøì÷æ ëëíëëçò
äïïçêâ ·² ¬¸» ËÍÐíîÒÚîéô ¬¸» Ù»²»®¿´ Ý¸¿°¬»® ëòè ·² Ð¸Û«® êòðô               îð Þ¿²µ»® Ù »¬ ¿´ò Ó·½®±¾·±´±¹·½¿´ ½±²-·¼»®¿¬·±²- ±º °±´§³»® -±´«¬·±²-
¿´±²¹ ©·¬¸ ¬¸» Í¬¿¬» ±º É±®µ• ¼±½«³»²¬ ±² ¬¸» Ð¸Û«® ÛÜÏÓ                        «-»¼ ·² ¿¯«»±«- º·´³ ½±¿¬·²¹ò Ü®«¹ Ü»ª ×²¼ Ð¸¿®³ ïçèîå èøï÷æ ìïëïò
©»¾-·¬»ô ¿²¼ ¿´-± ¬¸» Ù»²»®¿´ ×²º±®³¿¬·±² Ý¸¿°¬»® è ·² ¬¸» ÖÐ ÈÊò             îï É¿°²·® Îß »¬ ¿´ò Ý»´´«´±-» ¼»®·ª¿¬·ª»- ¿²¼ ·²¬»-¬·²¿´ ¿¾-±®°¬·±² ±º
   ß ²«³¾»® ±º ¹®¿¼»- ±º ½¿®¾±¨§³»¬¸§´½»´´«´±-» -±¼·«³ ¿®»                       ©¿¬»® ¿²¼ »´»½¬®±´§¬»-æ °±¬»²¬·¿´ ®±´» ·² ±®¿´ ®»¸§¼®¿¬·±² -±´«¬·±²-ò Ð®±½
½±³³»®½·¿´´§ ¿ª¿·´¿¾´»ô -«½¸ ¿- ß½½»´»®¿¬»ò Ì¸»-» ¸¿ª» ¿ ¼»¹®»» ±º               Í±½ Û¨° Þ·±´ Ó»¼ ïççéå îïëøí÷æ îéëîèðò
­«¾­¬·¬«¬·±² øÜÍ÷ ·² ¬¸» ®¿²¹» ðòéïòîò Ì¸» ÜÍ ·­ ¼»º·²»¼ ¿­ ¬¸»              îî ÚßÑñÉØÑò Ûª¿´«¿¬·±² ±º ½»®¬¿·² º±±¼ ¿¼¼·¬·ª»- ¿²¼ ½±²¬¿³·²¿²¬-ò
¿ª»®¿¹» ²«³¾»® ±º ¸§¼®±¨§´ ¹®±«°- -«¾-¬·¬«¬»¼ °»® ¿²¸§¼®±¹´«½±-»                 Ì¸·®¬§óº·º¬¸ ®»°±®¬ ±º ¬¸» ¶±·²¬ ÚßÑñÉØÑ »¨°»®¬ ½±³³·¬¬»» ±² º±±¼
                                                                                 ¿¼¼·¬·ª»-ò É±®´¼ Ø»¿´¬¸ Ñ®¹¿² Ì»½¸ Î»° Í»® ïççðæ Ò±ò éèçò
«²·¬ ¿²¼ ·¬ ·- ¬¸·- ¬¸¿¬ ¼»¬»®³·²»- ¬¸» ¿¯«»±«- -±´«¾·´·¬§ ±º ¬¸»
                                                                              îí Ì·´ ØÐô Þ¿® ßò Í«¾½¸®±²·½ øïíó©»»µ÷ ±®¿´ ¬±¨·½·¬§ -¬«¼§ ±º ¹¿³³¿ó
°±´§³»®ò Ì¸»®³¿´ ½®±--´·²µ·²¹ ®»¼«½»- -±´«¾·´·¬§ ©¸·´» ®»¬¿·²·²¹                 ½§½´±¼»¨¬®·² ·² ¼±¹-ò Î»¹«´ Ì±¨·½±´ Ð¸¿®³¿½±´ ïççèå îéøî÷æ ïëçïêëò
©¿¬»® ¿¾-±®°¬·±²ô ¬¸»®»º±®» °®±¼«½·²¹ ³¿¬»®·¿´- -«·¬¿¾´» º±® ©¿¬»®            îì Ü·»¾±´¼ Ç »¬ ¿´ò Ý¿®¾±³»®ó ª»®-«- ½»´´«´±-»ó¾¿-»¼ ¿®¬·º·½·¿´ó¬»¿®
¿¾-±®°¬·±²ò                                                                      º±®³«´¿¬·±²-æ ³±®°¸±´±¹·½¿´ ¿²¼ ¬±¨·½±´±¹·½ »ºº»½¬- ±² ¿ ½±®²»¿´ ½»´´
   Ù®¿¼»- ¿®» ¬§°·½¿´´§ ½´¿--·º·»¼ ¿- ¾»·²¹ ±º ´±©ô ³»¼·«³ô ±® ¸·¹¸              ´·²»ò Ý±®²»¿ ïççèå ïéøì÷æ ìííììðò
ª·-½±-·¬§ò Ì¸» ¼»¹®»» ±º -«¾-¬·¬«¬·±² ¿²¼ ¬¸» ³¿¨·³«³ ª·-½±-·¬§ ±º            îë Ë¹©±µ» Ó× »¬ ¿´ò Ì±¨·½±´±¹·½¿´ ·²ª»-¬·¹¿¬·±²- ±º ¬¸» »ºº»½¬- ±º
¿² ¿¯«»±«- -±´«¬·±² ±º -¬¿¬»¼ ½±²½»²¬®¿¬·±² -¸±«´¼ ¾» ·²¼·½¿¬»¼ ±²               ½¿®¾±¨§³»¬¸§´½»´´«´±-» ±² ½·´·¿®§ ¾»¿¬ º®»¯«»²½§ ±º ¸«³¿² ²¿-¿´
¿²§ ½¿®¾±¨§³»¬¸§´½»´´«´±-» -±¼·«³ ´¿¾»´·²¹ò                                      »°·¬¸»´·¿´ ½»´´- ·² °®·³¿®§ -«-°»²-·±² ½«´¬«®» ¿²¼ ·² ª·ª± ±² ®¿¾¾·¬ ²¿-¿´
   Ý¿®¾±¨§³»¬¸§´½»´´«´±-» -±¼·«³ ¸¿- ¾»»² ®»°±®¬»¼ ¬± ¹·ª» º¿´-»                 ³«½±-¿ò ×²¬ Ö Ð¸¿®³ îðððå îðëøïî÷æ ìíëïò
°±-·¬·ª» ®»-«´¬- ·² ¬¸» ÔßÔ ¬»-¬ º±® »²¼±¬±¨·²-òøíî÷                          îê Ì»´´»® ÓÒô Þ®±©² ÙÞò Ý¿®½·²±¹»²·½·¬§ ±º ½¿®¾±¨§³»¬¸§´½»´´«´±-» ·²
   Ì¸» Ð«¾Ý¸»³ Ý±³°±«²¼ ×Ü øÝ×Ü÷ º±® ½¿®¾±¨§³»¬¸§´½»´´«´±-»                      ®¿¬-ò Ð®±½ ß³ ß--±½ Ý¿²½»® Î»- ïçééå ïèæ îîëò
-±¼·«³ ·- îíéðêîïíò                                                           îé Í½¸²»·¼»® ÝØ »¬ ¿´ò Ý¿®¾±¨§³»¬¸§´½»´´«´±-» ¿¼¼·¬·ª»- ·² °»²·½·´´·²- ¿²¼
                                                                                 ¬¸» »´«½·¼¿¬·±² ±º ¿²¿°¸§´¿½¬·½ ®»¿½¬·±²-ò Û¨°»®·»²¬·¿ ïçéïå îéæ ïêé
                                                                                 ïêèò
ïç    Í°»½·º·½ Î»º»®»²½»-                                                     îè ß·¬µ»² ÓÓò ×²¼«½¬·±² ±º ¸§°»®-»²-·¬·ª·¬§ ¬± ½¿®¾±¨§³»¬¸§´½»´´«´±-» ·²
 ï Ø«--¿·² Óß »¬ ¿´ò ×²¶»½¬¿¾´» -«-°»²-·±²- º±® °®±´±²¹»¼ ®»´»¿-»                ½¿¬¬´»ò Î»- Ê»¬ Í½· ïçéëå ïçæ ïïðïïíò
   ²¿´¾«°¸·²»ò Ü®«¹ Ü»ª ×²¼ Ð¸¿®³ ïççïå ïéøï÷æ êééêò                         îç Þ·¹´·¿®¼· ÐÔ »¬ ¿´ò ß²¿°¸§´¿¨·- ¬± ¬¸» ½¿®¾±¸§¼®¿¬» ½¿®¾±¨§³»¬¸§´½»´ó
 î Ý¸¿²¹ ÖØ »¬ ¿´ò Î¿¼·±¹®¿°¸·½ ½±²¬®¿-¬ -¬«¼§ ±º ¬¸» «°°»® ¹¿-¬®±ó              ´«´±-» ·² °¿®»²¬»®¿´ ½±®¬·½±-¬»®±·¼ °®»°¿®¿¬·±²-ò Ü»®³¿¬±´±¹§ îððíå
   ·²¬»-¬·²¿´ ¬®¿½¬ ±º »·¹¸¬ ¼±¹- «-·²¹ ½¿®¾±¨§³»¬¸§´½»´´«´±-» ³·¨»¼ ©·¬¸ ¿      îðéøï÷æ ïððïðíò
   ´±© ½±²½»²¬®¿¬·±² ±º ¾¿®·«³ -«´°¸¿¬»ò Ê»¬ Î»½ îððìå ïëìøé÷æ îðïîðìò       íð Ó±²¬±®± Ö »¬ ¿´ò ß²¿°¸§´¿½¬·½ -¸±½µ ¿º¬»® ·²¬®¿ó¿®¬·½«´¿® ·²¶»½¬·±² ±º
 í Õ¸¿² Õßô Î¸±¼»- ÝÌò Ûª¿´«¿¬·±² ±º ¼·ºº»®»²¬ ª·-½±-·¬§ ¹®¿¼»- ±º               ½¿®¾±¨§³»¬¸§´½»´´«´±-»ò ß´´»®¹±´ ×³³«²±°¿¬¸±´ îðððå îèøê÷æ ííî
   -±¼·«³ ½¿®¾±¨§³»¬¸§´½»´´«´±-» ¿- ¬¿¾´»¬ ¼·-·²¬»¹®¿²¬-ò Ð¸¿®³ ß½¬¿             íííò
   Ø»´ª ïçéëå ëðæ ççïðîò                                                     íï Ô»©·- ÎÖô »¼ò Í¿¨•- Ü¿²¹»®±«- Ð®±°»®¬·»- ±º ×²¼«-¬®·¿´ Ó¿¬»®·¿´-ô ïï¬¸
 ì Í¸¿¸ ÒØ »¬ ¿´ò Ý¿®¾±¨§³»¬¸§´½»´´«´±-»æ »ºº»½¬ ±º ¼»¹®»» ±º °±´§³»®·¦¿ó        »¼²ò Ò»© Ç±®µæ É·´»§ô îððìå íîíêò
   ¬·±² ¿²¼ -«¾-¬·¬«¬·±² ±² ¬¿¾´»¬ ¼·-·²¬»¹®¿¬·±² ¿²¼ ¼·--±´«¬·±²ò Ö Ð¸¿®³    íî Ì¿²¿µ¿ Í »¬ ¿´ò ß½¬·ª¿¬·±² ±º ¿ ´·³«´«- ½±¿¹«´¿¬·±² º¿½¬±® Ù ¾§ øïÿí÷ó¾ó
   Í½· ïçèïå éðøê÷æ êïïêïíò                                                     Üó¹´«½¿²-ò Ý¿®¾±¸§¼® Î»- ïççïå îïèæ ïêéïéìò
 ë Í·²¹¸ Öò Ûºº»½¬ ±º -±¼·«³ ½¿®¾±¨§³»¬¸§´½»´´«´±-»- ±² ¬¸» ¼·-·²¬»¹®¿¬·±²ô
   ¼·--±´«¬·±² ¿²¼ ¾·±¿ª¿·´¿¾·´·¬§ ±º ´±®¿¦»°¿³ º®±³ ¬¿¾´»¬-ò Ü®«¹ Ü»ª
   ×²¼ Ð¸¿®³ ïççîå ïèøí÷æ íéëíèíò                                            îð    Ù»²»®¿´ Î»º»®»²½»-
 ê Ü¿¾¾¿¹¸ Óß »¬ ¿´ò Î»´»¿-» ±º °®±°¿²±´±´ ¸§¼®±½¸´±®·¼» º®±³ ³¿¬®·¨          Ü±»´µ»® Ûò Ý»´´«´±-» ¼»®·ª¿¬·ª»-ò ß¼ª Ð±´§³ Í½· ïççíå ïðéæ ïççîêëò
   ¬¿¾´»¬- ½±²¬¿·²·²¹ -±¼·«³ ½¿®¾±¨§³»¬¸§´½»´´«´±-» ¿²¼ ¸§¼®±¨§°®±°§´ó        Û«®±°»¿² Ü·®»½¬±®¿¬» º±® ¬¸» Ï«¿´·¬§ ±º Ó»¼·½·²»- ¿²¼ Ø»¿´¬¸½¿®»
   ³»¬¸§´½»´´«´±-»ò Ð¸¿®³ Ü»ª Ì»½¸²±´ ïçççå ìøí÷æ íïííîìò                       øÛÜÏÓ÷ò Û«®±°»¿² Ð¸¿®³¿½±°±»·¿  Í¬¿¬» Ñº É±®µ Ñº ×²¬»®²¿¬·±²¿´
 é Ñ¦¿ ÕÐô Ú®¿²µ ÍÙò Ó·½®±½®§-¬¿´´·²» ½»´´«´±-» -¬¿¾·´·¦»¼ »³«´-·±²-ò Ö          Ø¿®³±²·-¿¬·±²ò Ð¸¿®³»«®±°¿ îððçå îïøï÷æ ïìîïìíò ¸¬¬°æññ©©©ò»¼¯ó
   Ü·-°»® Í½· Ì»½¸²±´ ïçèêå éøë÷æ ëìíëêïò                                       ³ò»«ñ-·¬»ñóêïìò¸¬³´ ø¿½½»--»¼ í Ú»¾®«¿®§ îððç÷ò
 è ß¼»§»§» ÓÝ »¬ ¿´ò Ê·-½±»´¿-¬·½ »ª¿´«¿¬·±² ±º ¬±°·½¿´ ½®»¿³- ½±²¬¿·²·²¹
   ³·½®±½®§-¬¿´´·²» ½»´´«´±-»ñ-±¼·«³ ½¿®¾±¨§³»¬¸§´½»´´«´±-» ¿- -¬¿¾·´·¦»®ò
   ßßÐÍ Ð¸¿®³ Í½· Ì»½¸ îððîå íøî÷æ Ûèò
                                                                              îï    ß«¬¸±®
 ç Ú´»¬½¸»® Öò Ì¸» ¾»²»º·¬- ·º «-·²¹ ¸§¼®±½±´´±·¼-ò Ò«®- Ì·³»- îððíå          ÖÝ Ø±±¬±²ò
   ççøîï÷æ ëéò
ïð Ç»´·³´·»- Þ »¬ ¿´ò Ý¿®¾±¨§³»¬¸§´½»´´«´±-» ½±¿¬»¼ ±² ª·-½»®¿´ º¿½» ±º
                                                                              îî    Ü¿¬» ±º Î»ª·-·±²
   °±´§°®±°§´»²» ³»-¸ °®»ª»²¬- ¿¼¸»-·±² ©·¬¸±«¬ ·³°¿·®·²¹ ©±«²¼
   ¸»¿´·²¹ ·² ·²½·-·±²¿´ ¸»®²·¿ ³±¼»´ ·² ®¿¬-ò Ø»®²·¿ îððíå éøí÷æ ïíðïííò    í Ú»¾®«¿®§ îððçò
    Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 38 of 103 PageID #: 1651
                                                                                                   Ý»´´«´±-»ô Ó·½®±½®§-¬¿´´·²»               ï îç

ïì Í¿º»¬§                                                               Í¬»®±¬»¨ Õ øÕ¿®´-¸¿³²- Ô·°·¼ Í°»½·¿´·¬·»-÷ô º±® »¨¿³°´»ô ·- ¿
Ø§¼®±¹»²¿¬»¼ ½¿-¬±® ±·´ ·- «-»¼ ·² ±®¿´ ¿²¼ ¬±°·½¿´ °¸¿®³¿½»«¬·½¿´      ³·¨¬«®» ±º ¸§¼®±¹»²¿¬»¼ ½¿-¬±® ±·´ ¿²¼ ¸§¼®±¹»²¿¬»¼ ½±¬¬±²-»»¼
º±®³«´¿¬·±²- ¿²¼ ·- ¹»²»®¿´´§ ®»¹¿®¼»¼ ¿- ¿² »--»²¬·¿´´§ ²±²¬±¨·½       ±·´ò Í»» Ê»¹»¬¿¾´» Ñ·´ô ¸§¼®±¹»²¿¬»¼ º±® º«®¬¸»® ·²º±®³¿¬·±²ò
¿²¼ ²±²·®®·¬¿²¬ ³¿¬»®·¿´ò                                                   Ì¸» Û×ÒÛÝÍ ²«³¾»® º±® ¸§¼®±¹»²¿¬»¼ ½¿-¬±® ±·´ ·- îíîóîçîóîò
    ß½«¬» ±®¿´ ¬±¨·½·¬§ -¬«¼·»- ·² ¿²·³¿´- ¸¿ª» -¸±©² ¬¸¿¬
¸§¼®±¹»²¿¬»¼ ½¿-¬±® ±·´ ·- ¿ ®»´¿¬·ª»´§ ²±²¬±¨·½ ³¿¬»®·¿´ò ×®®·¬¿¬·±²
¬»-¬- ©·¬¸ ®¿¾¾·¬- -¸±© ¬¸¿¬ ¸§¼®±¹»²¿¬»¼ ½¿-¬±® ±·´ ½¿«-»- ³·´¼ô
¬®¿²-·»²¬ ·®®·¬¿¬·±² ¬± ¬¸» »§»ò
                                                                        ïç   Í°»½·º·½ Î»º»®»²½»-
                                                                        ï Õ´·²» ÝØò Ì¸·¨½·² Îó¬¸·¨±¬®±°»ò Ü®«¹ Ý±-³»¬ ×²¼ ïçêìå çëøê÷æ èçë
                                                                                                                                                      Ý
                                                                          èçéò
    ÔÜëð ø®¿¬ô ±®¿´÷æ âïð ¹ñµ¹                                          î Ç±²»¦¿©¿ Ç »¬ ¿´ò Î»´»¿-» º®±³ ±® ¬¸®±«¹¸ ¿ ©¿¨ ³¿¬®·¨ -§-¬»³ò ×××æ
                                                                          Þ¿-·½ °®±°»®¬·»- ±º ®»´»¿-» ¬¸®±«¹¸ ¬¸» ©¿¨ ³¿¬®·¨ ´¿§»®ò Ý¸»³ Ð¸¿®³
ïë Ø¿²¼´·²¹ Ð®»½¿«¬·±²-                                                   Þ«´´ øÌ±µ§±÷ îððîå ëðøê÷æ èïìèïéò
                                                                        í Ê»®¹±¬» ÙÖ »¬ ¿´ò ß² ±®¿´ ½±²¬®±´´»¼ ®»´»¿-» ³¿¬®·¨ °»´´»¬ º±®³«´¿¬·±²
Ñ¾-»®ª» ²±®³¿´ °®»½¿«¬·±²- ¿°°®±°®·¿¬» ¬± ¬¸» ½·®½«³-¬¿²½»- ¿²¼           ½±²¬¿·²·²¹ ³·½®±½®§-¬¿´´·²» µ»¬±°®±º»²ò ×²¬ Ö Ð¸¿®³ îððîå îïçæ èïèéò
¯«¿²¬·¬§ ±º ³¿¬»®·¿´ ¸¿²¼´»¼ò                                           ì Ü¿²·-¸ ÚÏô Ð¿®®±¬¬ ÛÔò Ûºº»½¬ ±º ½±²½»²¬®¿¬·±² ¿²¼ -·¦» ±º ´«¾®·½¿²¬ ±²
                                                                          º´±© ®¿¬» ±º ¹®¿²«´»-ò Ö Ð¸¿®³ Í½· ïçéïå êðæ éëîéëìò
ïê Î»¹«´¿¬±®§ Í¬¿¬«-                                                    ë Ø±x´¦»® ßÉô Í¶±x¹®»² Öò Ûª¿´«¿¬·±² ±º -±³» ´«¾®·½¿²¬- ¾§ ¬¸» ½±³°¿®·-±²
                                                                          ±º º®·½¬·±² ½±»ºº·½·»²¬- ¿²¼ ¬¿¾´»¬ °®±°»®¬·»-ò ß½¬¿ Ð¸¿®³ Í«»½ ïçèïå ïèæ
ß½½»°¬»¼ ·² ¬¸» ËÍß ¿- ¿² ·²¼·®»½¬ º±±¼ ¿¼¼·¬·ª»ò ×²½´«¼»¼ ·² ¬¸»
                                                                          ïíçïìèò
ÚÜß ×²¿½¬·ª» ×²¹®»¼·»²¬- Ü¿¬¿¾¿-» ø±®¿´ ½¿°-«´»-ô ¬¿¾´»¬-ô ¿²¼
-«¾´·²¹«¿´ ¬¿¾´»¬-÷ò
    ×²½´«¼»¼ ·² ²±²°¿®»²¬»®¿´ ³»¼·½·²»- ´·½»²-»¼ ·² ¬¸» ËÕò ×²½´«¼»¼    îð   Ù»²»®¿´ Î»º»®»²½»-
·² ¬¸» Ý¿²¿¼·¿² Ô·-¬ ±º ß½½»°¬¿¾´» Ò±²ó³»¼·½·²¿´ ×²¹®»¼·»²¬-ò           

ïé Î»´¿¬»¼ Í«¾-¬¿²½»-
                                                                        îï   ß«¬¸±®
Ý¿-¬±® ±·´å ª»¹»¬¿¾´» ±·´ô ¸§¼®±¹»²¿¬»¼ò
                                                                        ÎÌ Ù«»-¬ò
ïè Ý±³³»²¬-
Ê¿®·±«- ¼·ºº»®»²¬ ¹®¿¼»- ±º ¸§¼®±¹»²¿¬»¼ ½¿-¬±® ±·´ ¿®» ½±³³»®ó         îî Ü¿¬» ±º Î»ª·-·±²
½·¿´´§ ¿ª¿·´¿¾´»ô ¬¸» ½±³°±-·¬·±² ±º ©¸·½¸ ³¿§ ª¿®§ ½±²-·¼»®¿¾´§ò       ïï Ú»¾®«¿®§ îððçò




         Ý»´´«´±-»ô Ó·½®±½®§-¬¿´´·²»

ï     Ò±²°®±°®·»¬¿®§ Ò¿³»-                                              ë    Í¬®«½¬«®¿´ Ú±®³«´¿
ÞÐæ Ó·½®±½®§-¬¿´´·²» Ý»´´«´±-»
ÖÐæ Ó·½®±½®§-¬¿´´·²» Ý»´´«´±-»
Ð¸Û«®æ Ý»´´«´±-»ô Ó·½®±½®§-¬¿´´·²»
ËÍÐóÒÚæ Ó·½®±½®§-¬¿´´·²» Ý»´´«´±-»




î     Í§²±²§³-
ßª·½»´ ÐØå Ý»´´»¬-å Ý»´»¨å ½»´´«´±-» ¹»´å ¸»´´«´±-«³ ³·½®±½®·-¬¿´´·ó
²«³å Ý»´°¸»®»å Ý»±´«- ÕÙå ½®§-¬¿´´·²» ½»´´«´±-»å Ûìêðå Û³½±½»´å
Û¬¸·-°¸»®»-å Ú·¾®±½»´å ÓÝÝ Í¿²¿¯å Ð¸¿®³¿½»´å Ì¿¾«´±-»å Ê·ª¿°«®ò




í     Ý¸»³·½¿´ Ò¿³» ¿²¼ ÝßÍ Î»¹·-¬®§ Ò«³¾»®
Ý»´´«´±-» ÅçððìóíìóêÃ




ì     Û³°·®·½¿´ Ú±®³«´¿ ¿²¼ Ó±´»½«´¿® É»·¹¸¬                            ê    Ú«²½¬·±²¿´ Ý¿¬»¹±®§
øÝêØïðÑë÷²        íê ððð                                                ß¼-±®¾»²¬å -«-°»²¼·²¹ ¿¹»²¬å ¬¿¾´»¬ ¿²¼ ½¿°-«´» ¼·´«»²¬å ¬¿¾´»¬
   ©¸»®» ²     îîðò                                                     ¼·-·²¬»¹®¿²¬ò
           Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 39 of 103 PageID #: 1652
    ï íð       Ý»´´«´±-»ô Ó·½®±½®§-¬¿´´·²»

    ÍÛÓ ïæ Û¨½·°·»²¬æ ³·½®±½®§-¬¿´´·²» ½»´´«´±-»å ³¿²«º¿½¬«®»®æ ÖÎÍ Ð¸¿®³¿   ÍÛÓ ìæ Û¨½·°·»²¬æ ³·½®±½®§-¬¿´´·²» ½»´´«´±-» øßª·½»´ ÐØóïðë÷å
    ÔÐå ´±¬ ²±òæ çèêêîå ³¿¹²·º·½¿¬·±²æ ïðð ò                                 ³¿²«º¿½¬«®»®æ ÚÓÝ Þ·±°±´§³»®ò ³¿¹²·º·½¿¬·±²æ ëðð å ª±´¬¿¹»æ í µÊò




Ý




                                                                             ÍÛÓ ëæ Û¨½·°·»²¬æ ³·½®±½®§-¬¿´´·²» ½»´´«´±-» øßª·½»´ ÐØóîðð÷å
                                                                             ³¿²«º¿½¬«®»®æ ÚÓÝ Þ·±°±´§³»®ò ³¿¹²·º·½¿¬·±²æ îðð å ª±´¬¿¹»æ í µÊò




    ÍÛÓ îæ Û¨½·°·»²¬æ ³·½®±½®§-¬¿´´·²» ½»´´«´±-» øßª·½»´ ÐØóïðï÷å
    ³¿²«º¿½¬«®»®æ ÚÓÝ Þ·±°±´§³»®ò ³¿¹²·º·½¿¬·±²æ îðð å ª±´¬¿¹»æ í µÊò




                                                                             ÍÛÓ êæ Û¨½·°·»²¬æ ³·½®±½®§-¬¿´´·²» ½»´´«´±-» øßª·½»´ ÐØóíðî÷å
                                                                             ³¿²«º¿½¬«®»®æ ÚÓÝ Þ·±°±´§³»®ò ³¿¹²·º·½¿¬·±²æ îðð å ª±´¬¿¹»æ í µÊò




    ÍÛÓ íæ Û¨½·°·»²¬æ ³·½®±½®§-¬¿´´·²» ½»´´«´±-» øßª·½»´ ÐØóïðî÷å
    ³¿²«º¿½¬«®»®æ ÚÓÝ Þ·±°±´§³»®ò ³¿¹²·º·½¿¬·±²æ îðð å ª±´¬¿¹»æ í µÊò




                                                                             é     ß°°´·½¿¬·±²- ·² Ð¸¿®³¿½»«¬·½¿´ Ú±®³«´¿¬·±² ±®
                                                                                   Ì»½¸²±´±¹§
                                                                             Ó·½®±½®§-¬¿´´·²» ½»´´«´±-» ·- ©·¼»´§ «-»¼ ·² °¸¿®³¿½»«¬·½¿´-ô
                                                                             °®·³¿®·´§ ¿- ¿ ¾·²¼»®ñ¼·´«»²¬ ·² ±®¿´ ¬¿¾´»¬ ¿²¼ ½¿°-«´» º±®³«´¿¬·±²-
                                                                             ©¸»®» ·¬ ·- «-»¼ ·² ¾±¬¸ ©»¬ó¹®¿²«´¿¬·±² ¿²¼ ¼·®»½¬ó½±³°®»--·±²
                                                                             °®±½»--»-òøïé÷ ×² ¿¼¼·¬·±² ¬± ·¬- «-» ¿- ¿ ¾·²¼»®ñ¼·´«»²¬ô ³·½®±ó
                                                                             ½®§-¬¿´´·²» ½»´´«´±-» ¿´-± ¸¿- -±³» ´«¾®·½¿²¬øè÷ ¿²¼ ¼·-·²¬»¹®¿²¬
                                                                             °®±°»®¬·»- ¬¸¿¬ ³¿µ» ·¬ «-»º«´ ·² ¬¿¾´»¬·²¹ò
   Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 40 of 103 PageID #: 1653
                                                                                                                                Ý»´´«´±-»ô Ó·½®±½®§-¬¿´´·²»                   ï íï
                                                                                                             ìòð                                                           ðòì




                                                                             ïðððð I Åî²¼ ¼»®·ªò ´±¹øïñÎ÷Ã
   Ó·½®±½®§-¬¿´´·²» ½»´´«´±-» ·- ¿´-± «-»¼ ·² ½±-³»¬·½- ¿²¼ º±±¼                                                                                               îîçî
                                                                                                                                                           îîìê     îìîé
°®±¼«½¬-å -»» Ì¿¾´» ×ò                                                                                                                       ïèçð                 îìðì
                                                                                                                       ïìðï                         îðîð
è      Ü»-½®·°¬·±²
Ó·½®±½®§-¬¿´´·²» ½»´´«´±-» ·- ¿ °«®·º·»¼ô °¿®¬·¿´´§ ¼»°±´§³»®·¦»¼                                            ðòð




                                                                                                                                                                            ´±¹øïñÎ÷
½»´´«´±-» ¬¸¿¬ ±½½«®- ¿- ¿ ©¸·¬»ô ±¼±®´»--ô ¬¿-¬»´»--ô ½®§-¬¿´´·²»
°±©¼»® ½±³°±-»¼ ±º °±®±«- °¿®¬·½´»-ò ×¬ ·- ½±³³»®½·¿´´§ ¿ª¿·´¿¾´»                                                   ïíêé ïìîé
                                                                                                                                 ïëçð ïéðê

                                                                                                                                                           îïðê
                                                                                                                                                                                       Ý
·² ¼·ºº»®»²¬ °¿®¬·½´» -·¦»- ¿²¼ ³±·-¬«®» ¹®¿¼»- ¬¸¿¬ ¸¿ª» ¼·ºº»®»²¬                                                                                               îííê
°®±°»®¬·»- ¿²¼ ¿°°´·½¿¬·±²-ò                                                                                                                    ïçîð                îìèí


 Ì¿¾´» ×æ Ë-»- ±º ³·½®±½®§-¬¿´´·²» ½»´´«´±-»ò
                                                                                                                                                                  îîéí
Ë-»                                        Ý±²½»²¬®¿¬·±² øû÷                                                 éòð                                    ðòî
ß¼-±®¾»²¬                                  îðçð                                                               ïïðð ïíðð ïëðð ïéðð ïçðð îïðð îíðð îëðð
ß²¬·¿¼¸»®»²¬                               ëîð                                                                                 É¿ª»´»²¹¬¸ñ²³
Ý¿°-«´» ¾·²¼»®ñ¼·´«»²¬                     îðçð
Ì¿¾´»¬ ¼·-·²¬»¹®¿²¬                        ëïë
Ì¿¾´»¬ ¾·²¼»®ñ¼·´«»²¬                      îðçð                          Ú·¹«®» ïæ Ò»¿®ó·²º®¿®»¼ -°»½¬®«³ ±º ½»´´«´±-»ô ³·½®±½®§-¬¿´´·²» ³»¿-«®»¼
                                                                          ¾§ ®»º´»½¬¿²½»ò

                                                                             ïòìîðïòìêð ¹ñ½³í º±® ßª·½»´ ÐØóïðîòøïï÷
ç     Ð¸¿®³¿½±°»·¿´ Í°»½·º·½¿¬·±²-                                        Ú´±©¿¾·´·¬§ ïòìï ¹ñ- º±® Û³½±½»´ çðÓòøç÷
Í»» Ì¿¾´» ××ò Í»» ¿´-± Í»½¬·±² ïèò                                        Ó»´¬·²¹ °±·²¬ Ý¸¿®­ ¿¬ îêðîéðèÝò
                                                                          Ó±·-¬«®» ½±²¬»²¬ Ì§°·½¿´´§ ´»-- ¬¸¿² ëû ©ñ©ò Ø±©»ª»®ô ¼·ºº»®»²¬
 Ì¿¾´» ××æ Ð¸¿®³¿½±°»·¿´ -°»½·º·½¿¬·±²- º±® ³·½®±½®§-¬¿´´·²» ½»´´«´±-»ò      ¹®¿¼»- ³¿§ ½±²¬¿·² ª¿®§·²¹ ¿³±«²¬- ±º ©¿¬»®ò Ó·½®±½®§-¬¿´´·²»
                                                                             ½»´´«´±-» ·- ¸§¹®±-½±°·½òøïî÷ Í»» Ì¿¾´» ×××ò
Ì»-¬                         ÖÐ ÈÊ              Ð¸Û«® êòí    ËÍÐíîÒÚîé   Ò×Î -°»½¬®¿ -»» Ú·¹«®» ïò
×¼»²¬·º·½¿¬·±²               "                  "            "            Ð¿®¬·½´» -·¦» ¼·-¬®·¾«¬·±² Ì§°·½¿´ ³»¿² °¿®¬·½´» ­·¦» ·­ îðîðð ³³ò
Ý¸¿®¿½¬»®-                   "                  "                           Ü·ºº»®»²¬ ¹®¿¼»- ³¿§ ¸¿ª» ¿ ¼·ºº»®»²¬ ²±³·²¿´ ³»¿² °¿®¬·½´» -·¦»å
°Ø                           ëòðéòë            ëòðéòë      ëòðéòë         -»» Ì¿¾´» ×××ò
Þ«´µ ¼»²-·¬§                 "                              "            Í±´«¾·´·¬§ Í´·¹¸¬´§ -±´«¾´» ·² ëû ©ñª -±¼·«³ ¸§¼®±¨·¼» -±´«¬·±²å
Ô±-- ±² ¼®§·²¹               ìéòðû              ìéòðû        ìéòðû           °®¿½¬·½¿´´§ ·²-±´«¾´» ·² ©¿¬»®ô ¼·´«¬» ¿½·¼-ô ¿²¼ ³±-¬ ±®¹¿²·½
Î»-·¼«» ±² ·¹²·¬·±²          ìðòïû                          ìðòïû           -±´ª»²¬-ò
Ý±²¼«½¬·ª·¬§                 "                  "            "
Í«´º¿¬»¼ ¿-¸                                   ìðòïû        
                                                                          Í°»½·º·½ -«®º¿½» ¿®»¿
Û¬¸»®ó-±´«¾´» -«¾-¬¿²½»-     ìðòðëû             ìðòðëû       ìðòðëû          ïòðêïòïî ³îñ¹ º±® ßª·½»´ ÐØóïðïå
É¿¬»®ó-±´«¾´» -«¾-¬¿²½»-     "                  ìðòîëû       ìðòîëû          ïòîïïòíð ³îñ¹ º±® ßª·½»´ ÐØóïðîå
Ø»¿ª§ ³»¬¿´-                 ìïð °°³            ìïð °°³      ìðòððïû
Ó·½®±¾·¿´ ´·³·¬-             "                  "            "               ðòéèïòïè ³îñ¹ º±® ßª·½»´ ÐØóîððò
    ß»®±¾·½                  ìïðí ½º«ñ¹         ìïðí ½º«ñ¹   ìïðí ½º«ñ¹
    Ó±´¼- ¿²¼ §»¿-¬-         ìïðî ½º«ñ¹         ìïðî ½º«ñ¹   ìïðî ½º«ñ¹   ïï Í¬¿¾·´·¬§ ¿²¼ Í¬±®¿¹» Ý±²¼·¬·±²-
Í±´«¾·´·¬§                                     "            
Ð¿®¬·½´» ­·¦» ¼·­¬®·¾«¬·±²                                 "
                                                                          Ó·½®±½®§-¬¿´´·²» ½»´´«´±-» ·- ¿ -¬¿¾´» ¬¸±«¹¸ ¸§¹®±-½±°·½ ³¿¬»®·¿´ò
                                                                          Ì¸» ¾«´µ ³¿¬»®·¿´ -¸±«´¼ ¾» -¬±®»¼ ·² ¿ ©»´´ó½´±-»¼ ½±²¬¿·²»® ·² ¿
                                                                          ½±±´ô ¼®§ °´¿½»ò

ïð Ì§°·½¿´ Ð®±°»®¬·»-                                                     ïî ×²½±³°¿¬·¾·´·¬·»-
ß²¹´» ±º ®»°±-»                                                           Ó·½®±½®§-¬¿´´·²» ½»´´«´±-» ·- ·²½±³°¿¬·¾´» ©·¬¸ -¬®±²¹ ±¨·¼·¦·²¹
  ìçè º±® Ý»±´«- ÕÙå                                                      ¿¹»²¬-ò
  íìòìè º±® Û³½±½»´ çðÓòøç÷
Ü»²-·¬§ ø¾«´µ÷                                                            ïí Ó»¬¸±¼ ±º Ó¿²«º¿½¬«®»
  ðòííé ¹ñ½³íå                                                            Ó·½®±½®§-¬¿´´·²» ½»´´«´±-» ·- ³¿²«º¿½¬«®»¼ ¾§ ½±²¬®±´´»¼ ¸§¼®±´§-·-
  ðòíî ¹ñ½³í º±® ßª·½»´ ÐØóïðïåøïð÷                                       ©·¬¸ ¼·´«¬» ³·²»®¿´ ¿½·¼ -±´«¬·±²- ±º ¿ó½»´´«´±-»ô ±¾¬¿·²»¼ ¿- ¿ °«´°
  ðòèð ë ¹ñ½³í º±® Ý»´´»¬- ïððô îððô íëðô ëððô éððô ïðððå                 º®±³ º·¾®±«- °´¿²¬ ³¿¬»®·¿´-ò Ú±´´±©·²¹ ¸§¼®±´§-·-ô ¬¸» ¸§¼®±ó
                                                                          ½»´´«´±-» ·- °«®·º·»¼ ¾§ º·´¬®¿¬·±² ¿²¼ ¬¸» ¿¯«»±«- -´«®®§ ·- -°®¿§ó
  ðòîç ¹ñ½³í º±® Û³½±½»´ çðÓåøç÷
                                                                          ¼®·»¼ ¬± º±®³ ¼®§ô °±®±«- °¿®¬·½´»- ±º ¿ ¾®±¿¼ -·¦» ¼·-¬®·¾«¬·±²ò
  ðòîêðòíï ¹ñ½³í º±® ÓÝÝ Í¿²¿¯ ïðïå
  ðòîèðòíí ¹ñ½³í º±® ÓÝÝ Í¿²¿¯ ïðîå                                      ïì Í¿º»¬§
  ðòîçðòíê ¹ñ½³í º±® ÓÝÝ Í¿²¿¯ îððå                                      Ó·½®±½®§-¬¿´´·²» ½»´´«´±-» ·- ©·¼»´§ «-»¼ ·² ±®¿´ °¸¿®³¿½»«¬·½¿´
  ðòíìðòìë ¹ñ½³í º±® ÓÝÝ Í¿²¿¯ íðïå                                      º±®³«´¿¬·±²- ¿²¼ º±±¼ °®±¼«½¬- ¿²¼ ·- ¹»²»®¿´´§ ®»¹¿®¼»¼ ¿- ¿
  ðòíëðòìê ¹ñ½³í º±® ÓÝÝ Í¿²¿¯ íðîå                                      ®»´¿¬·ª»´§ ²±²¬±¨·½ ¿²¼ ²±²·®®·¬¿²¬ ³¿¬»®·¿´ò
  ðòïíðòîí ¹ñ½³í º±® ÓÝÝ Í¿²¿¯ ËÔóððîå                                       Ó·½®±½®§-¬¿´´·²» ½»´´«´±-» ·- ²±¬ ¿¾-±®¾»¼ -§-¬»³·½¿´´§ º±´´±©·²¹
  ðòîç ¹ñ½³í º±® Ê·ª¿°«® ïðïò                                             ±®¿´ ¿¼³·²·-¬®¿¬·±² ¿²¼ ¬¸«- ¸¿- ´·¬¬´» ¬±¨·½ °±¬»²¬·¿´ò Ý±²-«³°¬·±²
Ü»²-·¬§ ø¬¿°°»¼÷                                                          ±º ´¿®¹» ¯«¿²¬·¬·»- ±º ½»´´«´±-» ³¿§ ¸¿ª» ¿ ´¿¨¿¬·ª» »ºº»½¬ô ¿´¬¸±«¹¸
                                                                          ¬¸·- ·- «²´·µ»´§ ¬± ¾» ¿ °®±¾´»³ ©¸»² ½»´´«´±-» ·- «-»¼ ¿- ¿² »¨½·°·»²¬
  ðòìéè ¹ñ½³íå                                                            ·² °¸¿®³¿½»«¬·½¿´ º±®³«´¿¬·±²-ò
  ðòìë ¹ñ½³í º±® ßª·½»´ ÐØóïðïå                                               Ü»´·¾»®¿¬» ¿¾«-» ±º º±®³«´¿¬·±²- ½±²¬¿·²·²¹ ½»´´«´±-»ô »·¬¸»® ¾§
  ðòíë ¹ñ½³í º±® Û³½±½»´ çðÓòøç÷                                          ·²¸¿´¿¬·±² ±® ¾§ ·²¶»½¬·±²ô ¸¿- ®»-«´¬»¼ ·² ¬¸» º±®³¿¬·±² ±º ½»´´«´±-»
Ü»²-·¬§ ø¬®«»÷ ïòëïîïòêêè ¹ñ½³íå                                         ¹®¿²«´±³¿-òøïí÷
           Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 41 of 103 PageID #: 1654
    ï íî         Ý»´´«´±-»ô Ó·½®±½®§-¬¿´´·²»

     Ì¿¾´» ×××æ Ð®±°»®¬·»- ±º -»´»½¬»¼ ½±³³»®½·¿´´§ ¿ª¿·´¿¾´» ¹®¿¼»- ±º                      ïê    Î»¹«´¿¬±®§ Í¬¿¬«-
     ³·½®±½®§-¬¿´´·²» ½»´´«´±-»ò                                                             ÙÎßÍ ´·-¬»¼ò ß½½»°¬»¼ º±® «-» ¿- ¿ º±±¼ ¿¼¼·¬·ª» ·² Û«®±°»ò
                                                                                             ×²½´«¼»¼ ·² ¬¸» ÚÜß ×²¿½¬·ª» ×²¹®»¼·»²¬- Ü¿¬¿¾¿-» ø·²¸¿´¿¬·±²-å
    Ù®¿¼»                          Ò±³·²¿´         Ð¿®¬·½´» -·¦» ¿²¿´§-·-      Ó±·-¬«®»      ±®¿´ ½¿°-«´»-ô °±©¼»®-ô -«-°»²-·±²-ô -§®«°-ô ¿²¼ ¬¿¾´»¬-å ¬±°·½¿´ ¿²¼
                                   ³»¿²                                        ½±²¬»²¬ øû÷
                                   °¿®¬·½´» -·¦»
                                                                                             ª¿¹·²¿´ °®»°¿®¿¬·±²-÷ò ×²½´«¼»¼ ·² ²±²°¿®»²¬»®¿´ ³»¼·½·²»- ´·½»²-»¼
                                                                                             ·² ¬¸» ËÕò ×²½´«¼»¼ ·² ¬¸» Ý¿²¿¼·¿² Ô·-¬ ±º ß½½»°¬¿¾´» Ò±²ó
Ý                                  ø³³÷
                                                   Ó»-¸ -·¦»    ß³±«²¬                       ³»¼·½·²¿´ ×²¹®»¼·»²¬-ò
                                                                ®»¬¿·²»¼ øû÷
    ßª·½»´ ÐØóïðï ø¿÷              ëð              êð           ìïòð           ìëòð          ïé    Î»´¿¬»¼ Í«¾-¬¿²½»-
                                                   îðð          ìíðòð                        Ó·½®±½®§-¬¿´´·²» ½»´´«´±-» ¿²¼ ½¿®®¿¹»»²¿²å ³·½®±½®§-¬¿´´·²» ½»´´«ó
    ßª·½»´ ÐØóïðî ø¿÷              ïðð             êð           ìèòð           ìëòð          ´±-» ¿²¼ ½¿®¾±¨§³»¬¸§´½»´´«´±-» -±¼·«³å ³·½®±½®§-¬¿´´·²» ½»´´«´±-»
                                                   îðð          ëìëòð
                                                                                             ¿²¼ ¹«¿® ¹«³å °±©¼»®»¼ ½»´´«´±-»å -·´·½·º·»¼ ³·½®±½®§-¬¿´´·²»
    ßª·½»´ ÐØóïðí ø¿÷              ëð              êð           ìïòð           ìíòð
                                                   îðð          ìíðòð                        ½»´´«´±-»ò
    ßª·½»´ ÐØóïðë ø¿÷              îð              ìðð          ìïòð           ìëòð          Ó·½®±½®§-¬¿´´·²» ½»´´«´±-» ¿²¼ ½¿®®¿¹»»²¿²
    ßª·½»´ ÐØóïïî ø¿÷              ïðð             êð           ìèòð           ìïòë          Í§²±²§³- Ô«-¬®» Ý´»¿®ò
    ßª·½»´ ÐØóïïí ø¿÷              ëð              êð           ìïòð           ìïòë
                                                                                             Ý±³³»²¬- Ô«-¬®» Ý´»¿® øÚÓÝ Þ·±°±´§³»®÷ ·- ¿² ¿¯«»±«- º·´³
                                                   îðð          ìíðòð
    ßª·½»´ ÐØóîðð ø¿÷              ïèð             êð           ëïðòð          ìëòð             ½±¿¬·²¹ ½±³¾·²·²¹ ³·½®±½®§-¬¿´´·²» ½»´´«´±-» ¿²¼ ½¿®®¿¹»»²¿²ò
                                                   ïðð          ëëðòð                        Ó·½®±½®§-¬¿´´·²» ½»´´«´±-» ¿²¼ ¹«¿® ¹«³
                         ø¿÷
    ßª·½»´ ÐØóíðï                  ëð              êð           ìïòð           ìëòð          Í§²±²§³- ßª·½»´ ÝÛóïëò
                                                   îðð          ìíðòð
                                                                                             Ý±³³»²¬- ßª·½»´ ÝÛóïë øÚÓÝ Þ·±°±´§³»®÷ ·- ¿ ½±°®±½»--»¼
    ßª·½»´ ÐØóíðî ø¿÷              ïðð             êð           ìèòð           ìëòð
                                                   îðð          ëìëòð                           ³·¨¬«®» ±º ³·½®±½®§-¬¿´´·²» ½»´´«´±-» ¿²¼ ¹«¿® ¹«³ «-»¼ ·²
    Ý»´»¨ ïðï    ø¾÷
                                   éë              êð           ìïòð           ìëòð             ½¸»©¿¾´» ¬¿¾´»¬ º±®³«´¿¬·±²-ò
                                                   îðð          ëíðòð
                             ø½÷
    Ý»±´«- ÕÙóèðî                  ëð              êð           ìðòë           ìêòð          ïè    Ý±³³»²¬-
                                                   îðð          ìíðòð
    Û³½±½»´ ëðÓ         ø¼÷
                                   ëð              êð           ìðòîë          ìëòð          Ó·½®±½®§-¬¿´´·²» ½»´´«´±-» ·- ±²» ±º ¬¸» ³¿¬»®·¿´- ¬¸¿¬ ¸¿ª» ¾»»²
                                                   îðð          ìíðòð                        -»´»½¬»¼ º±® ¸¿®³±²·¦¿¬·±² ¾§ ¬¸» Ð¸¿®³¿½±°»·¿´ Ü·-½«--·±²
                        ø¼÷
    Û³½±½»´ çðÓ                    çï              êð           ìèòð           ìëòð          Ù®±«°ò Ú±® º«®¬¸»® ·²º±®³¿¬·±² -»» ¬¸» Ù»²»®¿´ ×²º±®³¿¬·±²
                                                   îðð          ëìëòð                        Ý¸¿°¬»® äïïçêâ ·² ¬¸» ËÍÐíîÒÚîéô ¬¸» Ù»²»®¿´ Ý¸¿°¬»® ëòè
    ÓÝÝ Í¿²¿¯                      ëð              êð           ìïòð           ìêòð          ·² Ð¸Û«® êòðô ¿´±²¹ ©·¬¸ ¬¸» Í¬¿¬» ±º É±®µ• ¼±½«³»²¬ ±² ¬¸» Ð¸Û«®
     ïðïø»÷                                                                                  ÛÜÏÓ ©»¾-·¬»ô ¿²¼ ¿´-± ¬¸» Ù»²»®¿´ ×²º±®³¿¬·±² Ý¸¿°¬»® è ·² ¬¸»
                                                   îðð          ìíðòð                        ÖÐ ÈÊò
    ÓÝÝ Í¿²¿¯                      ïðð             êð           ìèòð           ìêòð
     ïðîø»÷                                                                                      Í»ª»®¿´ ¼·ºº»®»²¬ ¹®¿¼»- ±º ³·½®±½®§-¬¿´´·²» ½»´´«´±-» ¿®» ½±³ó
                                                   îðð          ëìëòð                        ³»®½·¿´´§ ¿ª¿·´¿¾´» ¬¸¿¬ ¼·ºº»® ·² ¬¸»·® ³»¬¸±¼ ±º ³¿²«º¿½¬«®»ôøïëôïê÷
    ÓÝÝ Í¿²¿¯                      ïèð             êð           ëïðòð          ìêòð          °¿®¬·½´» -·¦»ô ³±·-¬«®»ô º´±©ô ¿²¼ ±¬¸»® °¸§-·½¿´ °®±°»®¬·»-òøïéîç÷
     îððø»÷                                                                                  Ì¸» ´¿®¹»®ó°¿®¬·½´»ó-·¦» ¹®¿¼»- ¹»²»®¿´´§ °®±ª·¼» ¾»¬¬»® º´±© °®±°»®ó
                                                   ïðð          ëëðòð                        ¬·»- ·² °¸¿®³¿½»«¬·½¿´ ³¿½¸·²»®§ò Ô±©ó³±·-¬«®» ¹®¿¼»- ¿®» «-»¼
    ÓÝÝ Í¿²¿¯                      ëð              êð           ìïòð           ìêòð          ©·¬¸ ³±·-¬«®»ó-»²-·¬·ª» ³¿¬»®·¿´-ò Ø·¹¸»®ó¼»²-·¬§ ¹®¿¼»- ¸¿ª»
     íðïø»÷                                                                                  ·³°®±ª»¼ º´±©¿¾·´·¬§ò
                                                   îðð          ëíðòð
                                                                                                 Í»ª»®¿´ ½±°®±½»--»¼ ³·¨¬«®»- ±º ³·½®±½®§-¬¿´´·²» ½»´´«´±-» ©·¬¸
    ÓÝÝ Í¿²¿¯                      ïðð             êð           ìèòð           ìêòð
     íðîø»÷                                                                                  ±¬¸»® »¨½·°·»²¬- -«½¸ ¿- ½¿®®¿¹»»²¿²ô ½¿®¾±¨§³»¬¸§´½»´´«´±-»
                                                   îðð          ëìëòð                        -±¼·«³ô ¿²¼ ¹«¿® ¹«³ ¿®» ½±³³»®½·¿´´§ ¿ª¿·´¿¾´»å -»» Í»½¬·±² ïéò
    ÓÝÝ Í¿²¿¯ ËÔó                  ëð              êð           äðòë           ìêòð              Ý»´°¸»®» øß-¿¸· Õ¿-»· Ý±®°±®¿¬·±²÷ ·- ¿ °«®» -°¸»®±²·¦»¼
     ððîø»÷                                                                                  ³·½®±½®§-¬¿´´·²» ½»´´«´±-» ¿ª¿·´¿¾´» ·² -»ª»®¿´ ¼·ºº»®»²¬ °¿®¬·½´» -·¦»
                                                   ïðð          äëòð                         ®¿²¹»-ò Þ¿´±½»´ Í¿²¿¯ øÐ¸¿®³¿¬®¿²- Í¿²¿¯ ßÙ÷ ·- ¿² »¨½·°·»²¬ «-»¼
                                                   îðð          äëòðíðòð                    ³¿·²´§ ·² ¬¸» °®±¼«½¬·±² ±º °»´´»¬- ¿²¼ ¹®¿²«´¿¬»- ·² ¼·®»½¬
    Ê·ª¿°«® ïðï ø¼÷                ëð              êð           ìïòð           ìëòð          ¬¿¾´»¬·²¹ô ©¸·½¸ ½±²¬¿·²- ´¿½¬±-»ô ³·½®±½®§-¬¿´´·²» ½»´´«´±-»ô ¿²¼
                                                   îðð          ìíðòð
                       ø¼÷                                                                   -±¼·«³ ½¿®¾±¨§³»¬¸§´½»´´«´±-»ò
    Ê·ª¿°«® ïðî                    çð              êð           ìèòð           ìëòð
                                                   îðð          ëìëòð                            ß½½±®¼·²¹ ¬± Ð¸Û«® êòíô ³·½®±½®§-¬¿´´·²» ½»´´«´±-» ¸¿- ½»®¬¿·²
    Ê·ª¿°«® ïî    ø¼÷
                                   ïêð             íè           ìïòð           ìëòð          º«²½¬·±²¿´·¬§ ®»´¿¬»¼ ½¸¿®¿½¬»®·-¬·½- ¬¸¿¬ ¿®» ®»½±¹²·-»¼ ¿- ¾»·²¹
                                                   çì           ìëðòð                        ®»´»ª¿²¬ ½±²¬®±´ °¿®¿³»¬»®- º±® ±²» ±® ³±®» º«²½¬·±²- ±º ¬¸»
                                                                                             -«¾-¬¿²½» ©¸»² «-»¼ ¿- ¿² »¨½·°·»²¬ò Ò±²ó³¿²¼¿¬±®§ ¬»-¬·²¹
    Í«°°´·»®-æ                                                                               °®±½»¼«®»- ¸¿ª» ¾»»² ¼»-½®·¾»¼ º±® °¿®¬·½´» -·¦» ¼·-¬®·¾«¬·±² øîòçòíï
    ø¿÷ ÚÓÝ Þ·±°±´§³»®
    ø¾÷ ×²¬»®²¿¬·±²¿´ Í°»½·¿´¬§ Ð®±¼«½¬-                                                     ±® îòçòíè÷ ¿²¼ °±©¼»® º´±© øîòçòíê÷ò
    ø½÷ ß-¿¸· Õ¿-»· Ý±®°±®¿¬·±²                                                                  ß -°»½·º·½¿¬·±² º±® ³·½®±½®§-¬¿´´·²» ½»´´«´±-» ·- ½±²¬¿·²»¼ ·² ¬¸»
    ø¼÷ ÖÎÍ Ð¸¿®³¿                                                                           Ú±±¼ Ý¸»³·½¿´- Ý±¼»¨ øÚÝÝ÷òøíð÷ Ì¸» Ð«¾Ý¸»³ Ý±³°±«²¼ ×Ü
    ø»÷ Ð¸¿®³¿¬®¿²- Í¿²¿¯ ßÙ
                                                                                             øÝ×Ü÷ º±® ³·½®±½®§-¬¿´´·²» ½»´´«´±-» ·- ïìðëëêðîò

    ïë      Ø¿²¼´·²¹ Ð®»½¿«¬·±²-                                                             ïç    Í°»½·º·½ Î»º»®»²½»-
    Ñ¾-»®ª» ²±®³¿´ °®»½¿«¬·±²- ¿°°®±°®·¿¬» ¬± ¬¸» ½·®½«³-¬¿²½»- ¿²¼                           ï Û²»l¦·¿² ÙÓò ÅÜ·®»½¬ ½±³°®»--·±² ±º ¬¿¾´»¬- «-·²¹ ³·½®±½®§-¬¿´´·²»
    ¯«¿²¬·¬§ ±º ³¿¬»®·¿´ ¸¿²¼´»¼ò Ó·½®±½®§-¬¿´´·²» ½»´´«´±-» ³¿§ ¾»                             ½»´´«´±-»òÃ Ð¸¿®³ ß½¬¿ Ø»´ª ïçéîå ìéæ íîïíêíÅ·² Ú®»²½¸Ãò
    ·®®·¬¿²¬ ¬± ¬¸» »§»-ò Ù´±ª»-ô »§» °®±¬»½¬·±²ô ¿²¼ ¿ ¼«-¬ ³¿-µ ¿®»                         î Ô»®µ ÝÚô Þ±´¸«·- ÙÕò Ý±³°¿®¿¬·ª» »ª¿´«¿¬·±² ±º »¨½·°·»²¬- º±® ¼·®»½¬
                                                                                                ½±³°®»--·±² ×ò Ð¸¿®³ É»»µ¾´ ïçéíå ïðèæ ìêçìèïò
    ®»½±³³»²¼»¼ò ×² ¬¸» ËÕô ¬¸» ©±®µ°´¿½» »¨°±-«®» ´·³·¬- º±®
                                                                                              í Ô»®µ ÝÚ »¬ ¿´ò Ý±³°¿®¿¬·ª» »ª¿´«¿¬·±² ±º »¨½·°·»²¬- º±® ¼·®»½¬
    ½»´´«´±-» ¸¿ª» ¾»»² -»¬ ¿¬ ïð ³¹ñ³í ´±²¹ó¬»®³ øèó¸±«® ÌÉß÷ º±®                              ½±³°®»--·±² ××ò Ð¸¿®³ É»»µ¾´ ïçéìå ïðçæ çìëçëëò
    ¬±¬¿´ ·²¸¿´¿¾´» ¼«-¬ ¿²¼ ì ³¹ñ³í º±® ®»-°·®¿¾´» ¼«-¬å ¬¸» -¸±®¬ó¬»®³                      ì Ô¿³¾»®-±² ÎÚô Î¿§²±® ÙÛò Ì¿¾´»¬·²¹ °®±°»®¬·»- ±º ³·½®±½®§-¬¿´´·²»
    ´·³·¬ º±® ¬±¬¿´ ·²¸¿´¿¾´» ¼«-¬ ¸¿- ¾»»² -»¬ ¿¬ îð ³¹ñ³íòøïì÷                                ½»´´«´±-»ò Ó¿²«º Ý¸»³ ß»®±-±´ Ò»©- ïçéêå ìéøê÷æ ëëêïò
   Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 42 of 103 PageID #: 1655
                                                                                                             Ý»´´«´±-»ô Ó·½®±½®§-¬¿´´·²»                 ï íí

 ë Ô»®µ ÝÚ »¬ ¿´ò Ûºº»½¬ ±º ³·½®±½®§-¬¿´´·²» ½»´´«´±-» ±² ´·¯«·¼ °»²»¬®¿¬·±²    îë Ø¿-»¹¿©¿ Óò Ü·®»½¬ ½±³°®»--·±²æ ³·½®±½®§-¬¿´´·²» ½»´´«´±-» ¹®¿¼» ïî
   ·² ¿²¼ ¼·-·²¬»¹®¿¬·±² ±º ¼·®»½¬´§ ½±³°®»--»¼ ¬¿¾´»¬-ò Ö Ð¸¿®³ Í½· ïçéçå         ª»®-«- ½´¿--·½ ¹®¿¼» ïðîò Ð¸¿®³ Ì»½¸²±´ îððîå îêøë÷æ ëðô ëîô ëìô ëêô
   êèæ îðëîïïò                                                                    ëèô êðò
 ê Ý¸·´¿³µ«®¬· ÎÒ »¬ ¿´ò Í±³» -¬«¼·»- ±² ½±³°®»--·±² °®±°»®¬·»- ±º ¬¿¾´»¬       îê Õ±¬¸¿®· ÍØ »¬ ¿´ò Ý±³°¿®¿¬·ª» »ª¿´«¿¬·±²- ±º °±©¼»® ¿²¼ ³»½¸¿²·½¿´
   ³¿¬®·½»- «-·²¹ ¿ ½±³°«¬»®·¦»¼ ·²-¬®«³»²¬»¼ °®»--ò Ü®«¹ Ü»ª ×²¼                  °®±°»®¬·»- ±º ´±© ½®§-¬¿´´·²·¬§ ½»´´«´±-»-ô ³·½®±½®§-¬¿´´·²» ½»´´«´±-»-ô ¿²¼
   Ð¸¿®³ ïçèîå èæ êíèêò                                                           °±©¼»®»¼ ½»´´«´±-»-ò ×²¬ Ö Ð¸¿®³ îððîå îíîæ êçèðò
 é É¿´´¿½» ÖÉ »¬ ¿´ò Ð»®º±®³¿²½» ±º °¸¿®³¿½»«¬·½¿´ º·´´»®ñ¾·²¼»®- ¿-            îé Ô»ª·- ÍÎô Ü»¿-§ ÐÞò Ð®±¼«½¬·±² ¿²¼ »ª¿´«¿¬·±² ±º -·¦»ó®»¼«½»¼ ¹®¿¼»-
   ®»´¿¬»¼ ¬± ³»¬¸±¼- ±º °±©¼»® ½¸¿®¿½¬»®·¦¿¬·±²ò Ð¸¿®³ Ì»½¸²±´ ïçèíå
   éøç÷æ çìïðìò
                                                                                   ±º ³·½®±½®§-¬¿´´·²» ½»´´«´±-»ò ×²¬ Ö Ð¸¿®³ îððïå îïíæ ïíîìò
                                                                                îè É« ÖÍ »¬ ¿´ò ß -¬¿¬·-¬·½¿´ ¼»-·¹² ¬± »ª¿´«¿¬» ¬¸» ·²º´«»²½» ±º
                                                                                                                                                                  Ý
 è Ñ³®¿§ ßô Ñ³®¿§ Ðò Ûª¿´«¿¬·±² ±º ³·½®±½®§-¬¿´´·²» ½»´´«´±-» ¿- ¿                 ³¿²«º¿½¬«®·²¹ º¿½¬±®- ±² ¬¸» ³¿¬»®·¿´ °®±°»®¬·»- ¿²¼ º«²½¬·±²¿´·¬·»-
   ¹´·¼¿²¬ò ×²¼·¿² Ö Ð¸¿®³ Í½· ïçèêå ìèæ îðîîò                                    ±º ³·½®±½®§-¬¿´´·²» ½»´´«´±-»ò Û«® Ö Ð¸¿®³ Í½· îððïå ïîæ ìïéìîëò
 ç Ý»´·µ Óô Ñµ«¬¹»² Ûò ß º»¿-·¾·´·¬§ -¬«¼§ º±® ¬¸» ¼»ª»´±°³»²¬ ±º ¿             îç Í«¦«µ· Ìô Ò¿µ¿¹¿³· Øò Ûºº»½¬ ±º ½®§-¬¿´´·²·¬§ ±º ³·½®±½®§-¬¿´´·²»
   °®±-°»½¬·ª» ½±³°¿½¬·±² º«²½¬·±²¿´·¬§ ¬»-¬ ¿²¼ ¬¸» »-¬¿¾´·-¸³»²¬ ±º ¿            ½»´´«´±-» ±² ¬¸» ½±³°¿½¬¿¾·´·¬§ ¿²¼ ¼·--±´«¬·±² ±º ¬¿¾´»¬-ò Û«® Ö Ð¸¿®³
   ½±³°¿½¬·±² ¼¿¬¿ ¾¿²µò Ü®«¹ Ü»ª ×²¼ Ð¸¿®³ ïççíå ïçæ îíðçîííìò                   Þ·±°¸¿®³ ïçççå ìéæ îîëîíðò
ïð Ð¿®µ»® ÓÜ »¬ ¿´ò Þ·²¼»®­«¾­¬®¿¬» ·²¬»®¿½¬·±²­ ·² ©»¬ ¹®¿²«´¿¬·±² íæ ¬¸»
                                                                                íð Ú±±¼ Ý¸»³·½¿´- Ý±¼»¨ô ê¬¸ »¼²ò Þ»¬¸»-¼¿ô ÓÜæ Ë²·¬»¼ Í¬¿¬»-
   »ºº»½¬ ±º »¨½·°·»²¬ -±«®½» ª¿®·¿¬·±²ò ×²¬ Ö Ð¸¿®³ ïççîå èðæ ïéçïçðò
                                                                                   Ð¸¿®³¿½±°»·¿ô îððèå ïèéò
ïï Í«² ÝÝò Ì®«» ¼»²-·¬§ ±º ³·½®±½®§-¬¿´´·²» ½»´´«´±-»ò Ö Ð¸¿®³ Í½· îððëå
   çìøïð÷æ îïíîîïíìò
ïî Ý¿´´¿¸¿² ÖÝ »¬ ¿´ò Û¯«·´·¾®·«³ ³±·-¬«®» ½±²¬»²¬ ±º °¸¿®³¿½»«¬·½¿´            îð    Ù»²»®¿´ Î»º»®»²½»-
   »¨½·°·»²¬-ò Ü®«¹ Ü»ª ×²¼ Ð¸¿®³ ïçèîå èæ íëëíêçò                             ß-¿¸· Õ¿-»· Ý±®°±®¿¬·±²ò Ý»±´«- ÕÙô Ý»´°¸»®»ò ¸¬¬°æññ©©©ò½»±´«-ò½±³
ïí Ý±±°»® ÝÞ »¬ ¿´ò Ý»´´«´±-» ¹®¿²«´±³¿- ·² ¬¸» ´«²¹- ±º ¿ ½±½¿·²» -²·ºº»®ò         ø¿½½»--»¼ ê Ò±ª»³¾»® îððè÷ò
   Þ® Ó»¼ Ö ïçèíå îèêæ îðîïîðîîò                                               Ü±»´µ»® Ûò Ý±³°¿®¿¬·ª» ½±³°¿½¬·±² °®±°»®¬·»- ±º ª¿®·±«- ³·½®±½®§-¬¿´´·²»
ïì Ø»¿´¬¸ ¿²¼ Í¿º»¬§ Û¨»½«¬·ª»ò ÛØìðñîððëæ É±®µ°´¿½» Û¨°±-«®» Ô·³·¬-ò               ½»´´«´±-» ¬§°»- ¿²¼ ¹»²»®·½ °®±¼«½¬-ò Ü®«¹ Ü»ª ×²¼ Ð¸¿®³ ïççíå ïçæ
   Í«¼¾«®§æ ØÍÛ Þ±±µ-ô îððë ø«°¼¿¬»¼ îððé÷ò ¸¬¬°æññ©©©ò¸-»ò¹±ªò«µñ
                                                                                    îíççîìéïò
   ½±-¸¸ñ¬¿¾´»ïò°¼º ø¿½½»--»¼ ë Ú»¾®«¿®§ îððç÷ò
                                                                                Û«®±°»¿² Ü·®»½¬±®¿¬» º±® ¬¸» Ï«¿´·¬§ ±º Ó»¼·½·²»- ¿²¼ Ø»¿´¬¸½¿®»
ïë Ö¿·² ÖÕ »¬ ¿´ò Ð®»°¿®¿¬·±² ±º ³·½®±½®§-¬¿´´·²» ½»´´«´±-» º®±³ ½»®»¿´ -¬®¿©
                                                                                    øÛÜÏÓ÷ò Û«®±°»¿² Ð¸¿®³¿½±°±»·¿  Í¬¿¬» Ñº É±®µ Ñº ×²¬»®²¿¬·±²¿´
   ¿²¼ ·¬- »ª¿´«¿¬·±² ¿- ¿ ¬¿¾´»¬ »¨½·°·»²¬ò ×²¼·¿² Ö Ð¸¿®³ Í½· ïçèíå ìëæ
   èíèëò                                                                           Ø¿®³±²·-¿¬·±²ò Ð¸¿®³»«®±°¿ îððçå îïøï÷æ ïìîïìíò ¸¬¬°æññ©©©ò»¼¯ó
ïê Í·²¹´¿ ßÕ »¬ ¿´ò Ûª¿´«¿¬·±² ±º ³·½®±½®§-¬¿´´·²» ½»´´«´±-» °®»°¿®»¼ º®±³          ³ò»«ñ-·¬»ñóêïìò¸¬³´ ø¿½½»--»¼ ë Ú»¾®«¿®§ îððç÷ò
   ¿¾-±®¾»²¬ ½±¬¬±² ¿- ¿ ¼·®»½¬ ½±³°®»--·±² ½¿®®·»®ò Ü®«¹ Ü»ª ×²¼ Ð¸¿®³         ÚÓÝ Þ·±°±´§³»®ò Ð®±¾´»³ Í±´ª»®æ ßª·½»´ ÐØô îðððò
   ïçèèå ïìæ ïïíïïïíêò                                                         ×²¬»®²¿¬·±²¿´ Í°»½·¿´¬§ Ð®±¼«½¬-ò Ó¿¬»®·¿´ Í¿º»¬§ ¼¿¬¿ -¸»»¬æ Ý»´»¨ ïðïô
ïé Ü±»´µ»® Û »¬ ¿´ò Ý±³°¿®¿¬·ª» ¬¿¾´»¬·²¹ °®±°»®¬·»- ±º -·¨¬»»² ³·½®±ó              îððíò
   ½®§-¬¿´´·²» ½»´´«´±-»-ò Ü®«¹ Ü»ª ×²¼ Ð¸¿®³ ïçèéå ïíæ ïèìéïèéëò              ÖÎÍ Ð¸¿®³¿ ÔÐò Ì»½¸²·½¿´ ´·¬»®¿¬«®»æ Û³½±½»´ô îððíò
ïè Þ¿--¿³ Ú »¬ ¿´ò Ûºº»½¬ ±º °¿®¬·½´» -·¦» ¿²¼ -±«®½» ±² ª¿®·¿¾·´·¬§ ±º         Ð¸¿®³¿¬®¿²- Í¿²¿¯ ßÙò Ð®±¼«½¬ ´·¬»®¿¬«®»æ Ý»´´»¬-ò ¸¬¬°æññ©©©ò½»´´»¬-ò½±³
   Ç±«²¹•- ³±¼«´«- ±º ³·½®±½®§-¬¿´´·²» ½»´´«´±-» °±©¼»®-ò Ö Ð¸¿®³                   ø¿½½»--»¼ ê Ò±ª»³¾»® îððè÷ò
   Ð¸¿®³¿½±´ ïçèèå ìðæ êèÐò                                                     Ð¸¿®³¿¬®¿²- Í¿²¿¯ ßÙò Ð®±¼«½¬ ´·¬»®¿¬«®»æ ÓÝÝ Í¿²¿¯ò ¸¬¬°æññ©©©ò°¸¿®ó
ïç Ü·¬¬¹»² Ó »¬ ¿´ò Ó·½®±½®§-¬¿´´·²» ½»´´«´±-» ·² ¼·®»½¬ ¬¿¾´»¬¬·²¹ò Ó¿²«º          ³¿¬®¿²-ó-¿²¿¯ò½±³ñ°®±¼ò¸¬³´ ø¿½½»--»¼ ê Ò±ª»³¾»® îððè÷ò
   Ý¸»³ ïççíå êìøé÷æ ïéô ïçô îïò                                                Í³±´·²-µ» ÍÝò Ø¿²¼¾±±µ ±º Ú±±¼ô Ü®«¹ô ¿²¼ Ý±-³»¬·½ Û¨½·°·»²¬-ò Þ±½¿
îð Ô¿²¼·² Ó »¬ ¿´ò Ûºº»½¬ ±º ½±«²¬®§ ±º ±®·¹·² ±² ¬¸» °®±°»®¬·»- ±º                 Î¿¬±²ô ÚÔæ ÝÎÝ Ð®»­­ô ïççîå éïéìò
   ³·½®±½®§-¬¿´´·²» ½»´´«´±-»ò ×²¬ Ö Ð¸¿®³ ïççíå çïæ ïîíïíïò                   Í¬¿²·º±®¬¸ ÖÒ »¬ ¿´ò Ûºº»½¬ ±º ¿¼¼·¬·±² ±º ©¿¬»® ±² ¬¸» ®¸»±´±¹·½¿´ ¿²¼
îï Ô¿²¼·² Ó »¬ ¿´ò Ûºº»½¬ ±º ¾¿¬½¸ ª¿®·¿¬·±² ¿²¼ -±«®½» ±º °«´° ±² ¬¸»              ³»½¸¿²·½¿´ °®±°»®¬·»- ±º ³·½®±½®§-¬¿´´·²» ½»´´«´±-»-ò ×²¬ Ö Ð¸¿®³ ïçèèå
   °®±°»®¬·»- ±º ³·½®±½®§-¬¿´´·²» ½»´´«´±-»ò ×²¬ Ö Ð¸¿®³ ïççíå çïæ ïííïìïò         ìïæ îíïîíêò
îî Ô¿²¼·² Ó »¬ ¿´ò ×²º´«»²½» ±º ³·½®±½®§-¬¿´´·²» ½»´´«´±-» -±«®½» ¿²¼ ¾¿¬½¸
   ª¿®·¿¬·±² ±² ¬¿¾´»¬¬·²¹ ¾»¸¿ª·±® ¿²¼ -¬¿¾·´·¬§ ±º °®»¼²·-±²» º±®³«´¿ó
   ¬·±²-ò ×²¬ Ö Ð¸¿®³ ïççíå çïæ ïìíïìçò
                                                                                îï    ß«¬¸±®
îí Ð±¼½¦»½µ Úô Î»lª»l-¦ Ðò Ûª¿´«¿¬·±² ±º ¬¸» °®±°»®¬·»- ±º ³·½®±½®§-¬¿´´·²»     ß Ù«§ò
   ¿²¼ ³·½®±º·²» ½»´´«´±-» °±©¼»®-ò ×²¬ Ö Ð¸¿®³ ïççíå çïæ ïèíïçíò
îì Î±©» ÎÝ »¬ ¿´ò Ì¸» »ºº»½¬ ±º ¾¿¬½¸ ¿²¼ -±«®½» ª¿®·¿¬·±² ±² ¬¸»
                                                                                îî Ü¿¬» ±º Î»ª·-·±²
   ½®§-¬¿´´·²·¬§ ±º ³·½®±½®§-¬¿´´·²» ½»´´«´±-»ò ×²¬ Ö Ð¸¿®³ ïççìå ïðïæ ïêç
   ïéîò                                                                         ë Ú»¾®«¿®§ îððçò
   Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 43 of 103 PageID #: 1656
                                                                                                               Ø§¼®±¨§°®±°§´ Ý»´´«´±-»               í ïé

   «-» ·² °¿®»²¬»®¿´ º±®³«´¿¬·±²-ò Ì¸» ¼»¹®»» ±º -«¾-¬·¬«¬·±² ±º                ïð Í½¿´·¿ Í »¬ ¿´ò ×²½´«-·±² ½±³°´»¨¿¬·±² ±º ¬¸» -«²-½®»»² ¿¹»²¬ îó
   ¸§¼®±¨§°®±°§´ ¹®±«°- ½¿² ª¿®§ò                                                  »¬¸§´¸»¨§´ó°ó¼·³»¬¸§´¿³·²±¾»²¦±¿¬» ©·¬¸ ¸§¼®±¨§°®±°§´ó¾»¬¿ó½§½´±ó
                                                                                   ¼»¨¬®·²æ »ºº»½¬ ±² °¸±¬±-¬¿¾·´·¬§ò Ö Ð¸¿®³ Ð¸¿®³¿½±´ ïçççå ëïæ ïíêé
                                                                                   ïíéìò
ïè Ý±³³»²¬-
                                                                                ïï Í«·¸µ± Û »¬ ¿´ò Ü»º±®³¿¬·±² ¾»¸¿ª·±®- ±º ¬±´¾«¬¿³·¼»ô ¸§¼®±¨§°®±°§´ó
Ø§¼®±¨§°®±°§´ ¾»¬¿¼»¨ ¸¿- ¾»»² ·²ª»-¬·¹¿¬»¼ ¿- ¿² ¿¾-±®°¬·±²                       ¾»¬¿ó½§½´±¼»¨¬®·²ô ¿²¼ ¬¸»·® ¼·-°»®-·±²-ò Ð¸¿®³ Î»- îðððå ïéæ çìî
ø°»®³»¿¬·±²÷ »²¸¿²½»® ·² ±®¿´ôøïë÷ ¬®¿²-¼»®³¿´ôøïê÷ ¿²¼ ²¿-¿´øïé÷                  çìèò
-§-¬»³-ò ×¬ ©¿- º±«²¼ ¬± ¾» »ºº»½¬·ª» ·² ·²½®»¿-·²¹ °»²»¬®¿¬·±² ·²              ïî Ð·¬¸¿ Ö »¬ ¿´ò Ü·-¬®·¾«¬·±² ±º -«¾-¬·¬«»²¬- ·² îó¸§¼®±¨§°®±°§´ »¬¸»®- ±º
-±³» -¬«¼·»-ô ¿´¬¸±«¹¸ ¬¸» ³»½¸¿²·-³ ±º ¿½¬·±² ³¿§ ¾» ½±³°±«²¼                     ½§½´±³¿´¬±¸»°¬¿±-»ò Ý¿®¾±¸§¼® Î»- ïççðå îððæ ìîçìíëò
-°»½·º·½ò                                                                       ïí Ù±«´¼ Íô Í½±¬¬ ÎÝò îóØ§¼®±¨§°®±°§´ó¾»¬¿ó½§½´±¼»¨¬®·² øØÐó¾»¬¿óÝÜ÷æ
                                                                                   ¿ ¬±¨·½±´±¹§ ®»ª·»©ò Ú±±¼ Ý¸»³ Ì±¨·½±´ îððëå ìíæ ïìëïïìëçò
ïç    Í°»½·º·½ Î»º»®»²½»-                                                       ïì Ø±®-µ§l Öô Ð·¬¸¿ Öò Ø§¼®±¨§°®±°§´ ½§½´±¼»¨¬®·²-æ °±¬»²¬·¿´ -§²»®¹·-³
                                                                                   ©·¬¸ ½¿®½·²±¹»²-ò Ö Ð¸¿®³ Í½· ïççêå èëæ çêïððò
 ï Ð·¬¸¿ Ö »¬ ¿´ò Ø§¼®±¨§°®±°§´ó¾ó½§½´±¼»¨¬®·²æ °®»°¿®¿¬·±² ¿²¼ ½¸¿®ó           ïë Ó¿»-¬®»´´· Ú »¬ ¿´ò Ó·½®±-°¸»®»- º±® ½±´±²·½ ¼»´·ª»®§ ±º µ»¬±°®±º»²ó
   ¿½¬»®·¦¿¬·±²å »ºº»½¬- ±² -±´«¾·´·¬§ ±º ¼®«¹-ò ×²¬ Ö Ð¸¿®³ ïçèêå îçæ éíèîò
                                                                                   ¸§¼®±¨§°®±°§´ó¾»¬¿ó½§½´±¼»¨¬®·² ½±³°´»¨ò Û«® Ö Ð¸¿®³ Í½· îððèå íìæ
 î Í¬®·½µ´»§ ÎÙò Í±´«¾·´·¦·²¹ »¨½·°·»²¬- ·² ±®¿´ ¿²¼ ·²¶»½¬¿¾´» º±®³«´¿ó
                                                                                   ïïïò
   ¬·±²-ò Ð¸¿®³ Î»- îððìå îïæ îðïîíðò
                                                                                ïê Ì¿²¿µ¿ Óò Ûºº»½¬ ±º îó¸§¼®±¨§°®±°§´ó¾»¬¿ó½§½´±¼»¨¬®·² ±² °»®½«¬¿ó
 í ß´¾»®- Ûô Ó«x´´»® ÞÉò Ý§½´±¼»¨¬®·² ¼»®·ª¿¬·ª»- ·² °¸¿®³¿½»«¬·½-ò Ý®·¬
   Î»ª Ì¸»® Ü®«¹ Ý¿®®·»® Í§-¬ ïççëå ïîæ íïïííéò                                   ²»±«- ¿¾-±®°¬·±² ±º ³»¬¸§´ °¿®¿¾»²ò Ö Ð¸¿®³ Ð¸¿®³¿½±´ ïççëå ìéæ
 ì Þ«½¸¿²¿² ÝÓ »¬ ¿´ò Ð¸¿®³¿½±µ·²»¬·½- ±º ·¬®¿½±²¿¦±´» ¿º¬»® ·²¬®¿ª»²±«-           èçéçððò
   ¿²¼ ±®¿´ ¼±-·²¹ ±º ·¬®¿½±²¿¦±´» ½§½´±¼»¨¬®·² º±®³«´¿¬·±²-ò Ö Ð¸¿®³ Í½·       ïé Ý¸¿ª¿²°¿¬·´ ÓÜô Ê¿ª·¿ ÐÎò Ì¸» ·²º´«»²½» ±º ¿¾-±®°¬·±² »²¸¿²½»®- ±²
   îððéå çêæ íïððíïïêò
 ë Ø±´ª±»¬ Ý »¬ ¿´ò Ü»ª»´±°³»²¬ ±º ¿² ±³»°®¿¦±´» °¿®»²¬»®¿´ º±®³«´¿¬·±²
                                                                                   ²¿-¿´ ¿¾-±®°¬·±² ±º ¿½§½´±ª·®ò Û«® Ö Ð¸¿®³ Þ·±°¸¿®³ îððìå ëéæ ìèí
                                                                                   ìèéò                                                                       Ø
   ©·¬¸ ¸§¼®±¨§°®±°§´ó¾»¬¿ó½§½´±¼»¨¬®·²ò Ð¸¿®³ Ü»ª Ì»½¸²±´ îððéå ïîæ
   íîéííêò                                                                     îð    Ù»²»®¿´ Î»º»®»²½»-
 ê É·´´·¿³- ÎÑ ×××ô Ô·« Öò ×²º´«»²½» ±º º±®³«´¿¬·±² ¬»½¸²·¯«» º±®
   ¸§¼®±¨§°®±°§´ó¾»¬¿ó½§½´±¼»¨¬®·² ±² ¬¸» -¬¿¾·´·¬§ ±º ¿-°·®·² ·² ØÚß           É¿½µ»®ò Ó¿¬»®·¿´ -¿º»¬§ ¼¿¬¿ -¸»»¬ Ò±ò êðððéððîæ Ý¿ª¿-±´ Éé ØÐô îððéò
   ïíì¿ò Û«® Ö Ð¸¿®³ Þ·±°¸¿®³ ïçççå ìéæ ïìëïëîò                                É¿½µ»®ò Ó¿¬»®·¿´ -¿º»¬§ ¼¿¬¿ -¸»»¬ Ò±ò êððïîîïðæ Ý¿ª¿-±´ Éé ØÐ Ð¸¿®³¿ô
 é Ë²¹¿®± Ú »¬ ¿´ò Ý§½´±¼»¨¬®·²- ·² ¬¸» °®±¼«½¬·±² ±º ´¿®¹» °±®±«-                îððéò
   °¿®¬·½´»-æ ¼»ª»´±°³»²¬ ±º ¼®§ °±©¼»®- º±® ¬¸» -«-¬¿·²»¼ ®»´»¿-» ±º
   ·²-«´·² ¬± ¬¸» ´«²¹-ò Û«® Ö Ð¸¿®³ Í½· îððêå îèæ ìîíìíîò                     îï    ß«¬¸±®
 è Ù±¼©·² Üß »¬ ¿´ò Ë-·²¹ ½§½´±¼»¨¬®·² ½±³°´»¨¿¬·±² ¬± »²¸¿²½»
   -»½±²¼¿®§ °¸±¬±°®±¬»½¬·±² ±º ¬±°·½¿´´§ ¿°°´·»¼ ·¾«°®±º»²ò Û«® Ö Ð¸¿®³        É Ý±±µò
   Þ·±°¸¿®³ îððêå êîæ èëçíò
 ç Þ®¿²½¸« Í »¬ ¿´ò Ø§¼®±¨§°®±°§´ó¾»¬¿ó½§½´±¼»¨¬®·² ·²¸·¾·¬- -°®¿§ó
                                                                                îî    Ü¿¬» ±º Î»ª·-·±²
   ¼®§·²¹ó·²¼«½»¼ ·²¿½¬·ª¿¬·±² ±º ¾»¬¿ó¹¿´¿½¬±-·¼¿-»ò Ö Ð¸¿®³ Í½· ïçççå
   èèæ çðëçïïò                                                                 îé Ú»¾®«¿®§ îððçò




          Ø§¼®±¨§°®±°§´ Ý»´´«´±-»

ï    Ò±²°®±°®·»¬¿®§ Ò¿³»-                                                       ë     Í¬®«½¬«®¿´ Ú±®³«´¿
ÞÐæ Ø§¼®±¨§°®±°§´½»´´«´±-»
ÖÐæ Ø§¼®±¨§°®±°§´½»´´«´±-»
Ð¸Û«®æ Ø§¼®±¨§°®±°§´½»´´«´±-»
ËÍÐóÒÚæ Ø§¼®±¨§°®±°§´ Ý»´´«´±-»

î     Í§²±²§³-
Ý»´´«´±-»ô ¸§¼®±¨§°®±°§´ »¬¸»®å Ûìêíå ¸§¼®±¨§°®±°§´½»´´«´±-«³å
¸§°®±´±-»å Õ´«½»´å Ò·--± ØÐÝå ±¨§°®±°§´¿¬»¼ ½»´´«´±-»ò

í     Ý¸»³·½¿´ Ò¿³» ¿²¼ ÝßÍ Î»¹·-¬®§ Ò«³¾»®
Ý»´´«´±-»ô îó¸§¼®±¨§°®±°§´ »¬¸»® ÅçððìóêìóîÃ

ì     Û³°·®·½¿´ Ú±®³«´¿ ¿²¼ Ó±´»½«´¿® É»·¹¸¬
Ì¸» Ð¸Û«® êòð ¿²¼ ËÍÐíîÒÚîé ¼»­½®·¾» ¸§¼®±¨§°®±°§´ ½»´´«´±­»
¿- ¿ °¿®¬·¿´´§ -«¾-¬·¬«¬»¼ °±´§ø¸§¼®±¨§°®±°§´÷ »¬¸»® ±º ½»´´«´±-»ò ×¬
³¿§ ½±²¬¿·² ²±¬ ³±®» ¬¸¿² ðòêû ±º -·´·½¿ ±® ¿²±¬¸»® -«·¬¿¾´»                    Î ·- Ø ±® ÅÝØîÝØøÝØí÷ÑÃ³Ø ©¸»®» ³ ·- ¿ ½±³³±² ·²¬»¹®¿´
¿²¬·½¿µ·²¹ ¿¹»²¬ò Ø§¼®±¨§°®±°§´ ½»´´«´±-» ·- ½±³³»®½·¿´´§ ¿ª¿·´ó                ²«³¾»® ±º ½»´´«´±-» ¼»®·ª¿¬·ª»-ò
¿¾´» ·² ¿ ²«³¾»® ±º ¼·ºº»®»²¬ ¹®¿¼»- ¬¸¿¬ ¸¿ª» ª¿®·±«- -±´«¬·±²                    Ø§¼®±¨§°®±°§´ ½»´´«´±-» ·- ¿² »¬¸»® ±º ½»´´«´±-» ©¸»®» -±³» ±º
ª·­½±­·¬·»­ò Ó±´»½«´¿® ©»·¹¸¬ ¸¿­ ¿ ®¿²¹» ±º ëð ðððï îëð ðððå -»»              ¬¸» ¸§¼®±¨§´ ¹®±«°- ±º ¬¸» ½»´´«´±-» ¸¿ª» ¾»»² ¸§¼®±¨§°®±°§´¿¬»¼
¿´-± Í»½¬·±² ïðò                                                                º±®³·²¹ ÑÝØîÝØøÑØ÷ÝØí ¹®±«°-ò Ì¸» ¿ª»®¿¹» ²«³¾»® ±º
           Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 44 of 103 PageID #: 1657
    í ïè       Ø§¼®±¨§°®±°§´ Ý»´´«´±-»

    ¸§¼®±¨§´ ¹®±«°- ·² ¬¸» ¹´«½±-» ®·²¹ -«¾-¬·¬«¬»¼ ·- ®»º»®®»¼ ¬± ¿- ¬¸»     ÍÛÓ ïæ Û¨½·°·»²¬æ ¸§¼®±¨§°®±°§´ ½»´´«´±-» øÕ´«½»´÷å ³¿²«º¿½¬«®»®æ
    ¼»¹®»» ±º -«¾-¬·¬«¬·±² øÜÍ÷ò Ý±³°´»¬» -«¾-¬·¬«¬·±² ©±«´¼ °®±ª·¼» ¿        ß-¸´¿²¼ ß¯«¿´±² Ú«²½¬·±²¿´ ×²¹®»¼·»²¬-å ³¿¹²·º·½¿¬·±²æ êð ò
    ÜÍ ±º íòðò Þ»½¿«-» ¬¸» ¸§¼®±¨§°®±°§´ ¹®±«° ¿¼¼»¼ ½±²¬¿·²- ¿
    ¸§¼®±¨§´ ¹®±«°ô ¬¸·- ½¿² ¿´-± ¾» »¬¸»®·º·»¼ ¼«®·²¹ °®»°¿®¿¬·±² ±º
    ¸§¼®±¨§°®±°§´ ½»´´«´±-»ò É¸»² ¬¸·- ±½½«®-ô ¬¸» ²«³¾»® ±º ³±´»- ±º
    ¸§¼®±¨§°®±°§´ ¹®±«°- °»® ¹´«½±-» ®·²¹ô ±® ³±´»- ±º -«¾-¬·¬«¬·±²
    øÓÍ÷ô ½¿² ¾» ¸·¹¸»® ¬¸¿² íò Ø§¼®±¨§°®±°§´ ½»´´«´±-» ³«-¬ ¸¿ª» ¿²
    ÓÍ ª¿´«» ±º ¿°°®±¨·³¿¬»´§ ì ·² ±®¼»® ¬± ¸¿ª» ¹±±¼ -±´«¾·´·¬§ ·²
    ©¿¬»®ò


    ê     Ú«²½¬·±²¿´ Ý¿¬»¹±®§
    Ý±¿¬·²¹ ¿¹»²¬å »³«´-·º§·²¹ ¿¹»²¬å -¬¿¾·´·¦·²¹ ¿¹»²¬å -«-°»²¼·²¹
    ¿¹»²¬å ¬¿¾´»¬ ¾·²¼»®å ¬¸·½µ»²·²¹ ¿¹»²¬å ª·-½±-·¬§ó·²½®»¿-·²¹ ¿¹»²¬ò


    é     ß°°´·½¿¬·±²- ·² Ð¸¿®³¿½»«¬·½¿´ Ú±®³«´¿¬·±² ±®
          Ì»½¸²±´±¹§
Ø   Ø§¼®±¨§°®±°§´ ½»´´«´±-» ·- ©·¼»´§ «-»¼ ·² ±®¿´ ¿²¼ ¬±°·½¿´
    °¸¿®³¿½»«¬·½¿´ º±®³«´¿¬·±²-å -»» Ì¿¾´» ×ò
       ×² ±®¿´ °®±¼«½¬-ô ¸§¼®±¨§°®±°§´ ½»´´«´±-» ·- °®·³¿®·´§ «-»¼ ·²
    ¬¿¾´»¬·²¹ ¿- ¿ ¾·²¼»®ôøï÷ º·´³ó½±¿¬·²¹ôøî÷ ¿²¼ »¨¬»²¼»¼ó®»´»¿-»ó³¿¬®·¨
    º±®³»®òøíë÷ Ý±²½»²¬®¿¬·±²­ ±º ¸§¼®±¨§°®±°§´ ½»´´«´±­» ±º îêû
    ©ñ© ³¿§ ¾» «-»¼ ¿- ¿ ¾·²¼»® ·² »·¬¸»® ©»¬ó¹®¿²«´¿¬·±² ±® ¼®§ô ¼·®»½¬ó
    ½±³°®»--·±² ¬¿¾´»¬·²¹ °®±½»--»-òøêïð÷ Ý±²½»²¬®¿¬·±²­ ±º ïëíëû           ÍÛÓ îæ Û¨½·°·»²¬æ ¸§¼®±¨§°®±°§´ ½»´´«´±-» øÕ´«½»´÷å ³¿²«º¿½¬«®»®æ
    ©ñ© ±º ¸§¼®±¨§°®±°§´ ½»´´«´±-» ³¿§ ¾» «-»¼ ¬± °®±¼«½» ¬¿¾´»¬- ©·¬¸        ß-¸´¿²¼ ß¯«¿´±² Ú«²½¬·±²¿´ ×²¹®»¼·»²¬-å ³¿¹²·º·½¿¬·±²æ êðð ò
    ¿² »¨¬»²¼»¼ ¼®«¹ ®»´»¿-»òøïï÷ Ì¸» ®»´»¿-» ®¿¬» ±º ¿ ¼®«¹ ·²½®»¿-»-
    ©·¬¸ ¼»½®»¿-·²¹ ª·-½±-·¬§ ±º ¸§¼®±¨§°®±°§´ ½»´´«´±-»ò Ì¸» ¿¼¼·¬·±²
    ±º ¿² ¿²·±²·½ -«®º¿½¬¿²¬ -·³·´¿®´§ ·²½®»¿-»- ¬¸» ª·-½±-·¬§ ±º
    ¸§¼®±¨§°®±°§´ ½»´´«´±-» ¿²¼ ¸»²½» ¼»½®»¿-»- ¬¸» ®»´»¿-» ®¿¬» ±º ¿
    ¼®«¹ò Þ´»²¼- ±º ¸§¼®±¨§°®±°§´ ½»´´«´±-» ¿²¼ ±¬¸»® ½»´´«´±-·½
    °±´§³»®- ¸¿ª» ¾»»² «-»¼ ¬± ·³°®±ª» ©»¬ ¹®¿²«´¿¬·±² ½¸¿®¿½¬»®·-¬·½-
    ¿²¼ ¬¿¾´»¬·²¹ ½¸¿®¿½¬»®·-¬·½-ô ¿- ©»´´ ¿- ¬± ¿½¸·»ª» ¾»¬¬»® ½±²¬®±´ ¿²¼
    ³¿²·°«´¿¬·±² ±º ¬¸» ®¿¬» ±º ¼®«¹ ®»´»¿-»òøïîïë÷ ß- ¿² ¿´¬»®²¿¬·ª»
    ¬»½¸²±´±¹§ ¬± ©»¬ ¹®¿²«´¿¬·±²ô ¼®§ ¹®¿²«´¿¬·±² ¿²¼ ¼·®»½¬
    ½±³°®»--·±² ±º ¸§¼®±¨§°®±°§´ ½»´´«´±-» º±®³«´¿¬·±²- ¸¿ª» ¾»»²
    ®»°±®¬»¼ ¬± »¨¸·¾·¬ ¿½½»°¬¿¾´» ¬¿¾´»¬·²¹ ¿²¼ º´±© ½¸¿®¿½¬»®·-¬·½- º±®
    ¿°°´·½¿¬·±² ·² »¨¬»²¼»¼ó®»´»¿-» ³¿¬®·¨ ¬¿¾´»¬-òøïêôïé÷ Ì§°·½¿´´§ô ¿ ëû
    ©ñ© -±´«¬·±² ±º ¸§¼®±¨§°®±°§´ ½»´´«´±-» ³¿§ ¾» «-»¼ ¬± º·´³ó½±¿¬
    ¬¿¾´»¬-ò ß¯«»±«- -±´«¬·±²- ½±²¬¿·²·²¹ ¸§¼®±¨§°®±°§´ ½»´´«´±-»
    ¬±¹»¬¸»® ©·¬¸ ¿² ¿³±«²¬ ±º ³»¬¸§´ ½»´´«´±-» ±® »¬¸¿²±´·½ -±´«¬·±²-
    ¸¿ª» ¾»»² «-»¼òøïèîð÷ Í¬»¿®·½ ¿½·¼ ±® °¿´³·¬·½ ¿½·¼ ³¿§ ¾» ¿¼¼»¼ ¬±
    »¬¸¿²±´·½ ¸§¼®±¨§°®±°§´ ½»´´«´±-» -±´«¬·±²- ¿- °´¿-¬·½·¦»®-ò Û²ª·®ó
    ±²³»²¬¿´ ½±²½»®²- ¸¿ª» ´·³·¬»¼ ¬¸» «-» ±º »¬¸¿²±´ ·² º·´³ ½±¿¬·²¹
    -±´«¬·±²-ò ß ´±©ó-«¾-¬·¬«¬»¼ ¸§¼®±¨§°®±°§´ ½»´´«´±-» ·- «-»¼ ¿- ¿
    ¬¿¾´»¬ ¼·-·²¬»¹®¿²¬å -»» Ø§¼®±¨§°®±°§´ Ý»´´«´±-»ô Ô±©ó-«¾-¬·¬«¬»¼ò
       Ø§¼®±¨§°®±°§´ ½»´´«´±-» ·- ¿´-± «-»¼ ·² ³·½®±»²½¿°-«´¿¬·±²
    °®±½»--»- ¿²¼ ¿- ¿ ¬¸·½µ»²·²¹ ¿¹»²¬ò ×² ¬±°·½¿´ º±®³«´¿¬·±²-ô
    ¸§¼®±¨§°®±°§´ ½»´´«´±-» ·- «-»¼ ·² ¬®¿²-¼»®³¿´ °¿¬½¸»- ¿²¼
    ±°¸¬¸¿´³·½ °®»°¿®¿¬·±²-òøîïîí÷
       Ø§¼®±¨§°®±°§´ ½»´´«´±-» ·- ¿´-± «-»¼ ·² ½±-³»¬·½- ¿²¼ ·² º±±¼          ç     Ð¸¿®³¿½±°»·¿´ Í°»½·º·½¿¬·±²-
    °®±¼«½¬- ¿- ¿² »³«´-·º·»® ¿²¼ -¬¿¾·´·¦»®ò                                 Í»» Ì¿¾´» ××ò Í»» ¿´-± Í»½¬·±² ïèò

     Ì¿¾´» ×æ Ì§°·½¿´ «-»- ±º ¸§¼®±¨§°®±°§´ ½»´´«´±-»ò                        ïð Ì§°·½¿´ Ð®±°»®¬·»-
    Ë-»                                            Ý±²½»²¬®¿¬·±² øû÷          ß½·¼·¬§ñ¿´µ¿´·²·¬§ °Ø ã ëòðèòë º±® ¿ ïû ©ñ© ¿¯«»±«­ ­±´«¬·±²
                                                                                 ø¿- -¬¿¬»¼ ·² Ð¸Û«® êòð÷ò
    Û¨¬»²¼»¼ ®»´»¿-»ó³¿¬®·¨ º±®³»®                 ïëíë
    Ì¿¾´»¬ ¾·²¼»®                                  îê
                                                                              Ü»²-·¬§ ø¾«´µ÷     ðòë ¹ñ½³í
    Ì¿¾´»¬ º·´³ ½±¿¬·²¹                            ë                          ×²¬»®º¿½·¿´ ¬»²-·±² ïîòë ³Òñ³ º±® ¿ ðòïû ©ñ© ¿¯«»±«- -±´«¬·±²
                                                                                 ½±³°¿®»¼ ©·¬¸ ³·²»®¿´ ±·´ò
                                                                              Ó»´¬·²¹ °±·²¬ Í±º¬»²- ¿¬ ïíðèÝå ½¸¿®­ ¿¬ îêðîéëèÝò
                                                                              Ó±·-¬«®» ½±²¬»²¬ Ø§¼®±¨§°®±°§´ ½»´´«´±-» ¿¾-±®¾- ³±·-¬«®»
                                                                                 º®±³ ¬¸» ¿¬³±-°¸»®»å ¬¸» ¿³±«²¬ ±º ©¿¬»® ¿¾-±®¾»¼ ¼»°»²¼-
    è      Ü»-½®·°¬·±²                                                           «°±² ¬¸» ·²·¬·¿´ ³±·-¬«®» ½±²¬»²¬ ¿²¼ ¬¸» ¬»³°»®¿¬«®» ¿²¼
    Ø§¼®±¨§°®±°§´ ½»´´«´±-» ·- ¿ ©¸·¬» ¬± -´·¹¸¬´§ §»´´±©ó½±´±®»¼ô               ®»´¿¬·ª» ¸«³·¼·¬§ ±º ¬¸» -«®®±«²¼·²¹ ¿·®ò Ì§°·½¿´ »¯«·´·¾®·«³
    ±¼±®´»-- ¿²¼ ¬¿-¬»´»-- °±©¼»®ò Í»» ¿´-± Í»½¬·±² ïðò                          ³±·-¬«®» ½±²¬»²¬ ª¿´«»- ¿¬ îëèÝ ¿®» ìû ©ñ© ¿¬ ëðû ®»´¿¬·ª»
   Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 45 of 103 PageID #: 1658
                                                                                                                                                              Ø§¼®±¨§°®±°§´ Ý»´´«´±-»                        í ïç
                                                                                                                                 îë
 Ì¿¾´» ××æ Ð¸¿®³¿½±°»·¿´ -°»½·º·½¿¬·±²- º±® ¸§¼®±¨§°®±°§´ ½»´´«´±-»ò

Ì»-¬                              ÖÐ ÈÊ            Ð¸Û«® êòð         ËÍÐíîÒÚîé                                                                           Õ´«½»´   ÙÚ øÔ±¬ ýìççê÷




                                                                                            û Û¯«·´·¾®·«³ ³±·-¬«®» ¿¬ îëpÝ øû÷
                                                                                                                                                          Õ´«½»´   ÖÚ øÔ±¬ ýìéëí÷
×¼»²¬·º·½¿¬·±²                    "                "                 "                                                           îð                       Õ´«½»´   ÔÚ øÔ±¬ ýìçêë÷
Ý¸¿®¿½¬»®-                                        "                 
                                                                                                                                                          Õ´«½»´   ÛÚ øÔ±¬ ýïîîí÷
ß°°¿®»²¬ ª·-½±-·¬§                                "                 "
ß°°»¿®¿²½» ±º -±´«¬·±²            "                "                 
°Øø¿÷                             ëòðéòë          ëòðèòë           ëòðèòð
                                                                                                                                 ïë
Ô±-- ±² ¼®§·²¹                    ìëòðû            ìéòðû             ìëòðû
Î»-·¼«» ±² ·¹²·¬·±²               ìðòëû                             ìðòîû
Í«´º¿¬»¼ ¿-¸                                      ìïòêû             
ß®-»²·½                           ìî °°³                            
Ý¸´±®·¼»-                         ìðòïìîû          ìðòëû                                                                        ïð
Ô»¿¼                                                               ìðòððïû
Ø»¿ª§ ³»¬¿´-                      ìîð °°³          ìîð °°³           ìîð ³¹ñ¹
Í·´·½¿                                            ìðòêû             
Í«´º¿¬»                           ìðòðìèû                                                                                       ë
ß--¿§ ±º ¸§¼®±¨§°®±°±¨§           ëíòìééòëû                        ìèðòëû
   ¹®±«°-

ø¿÷ °Øæ ï ¹ ·² ëð ³Ô º±® ÖÐÈÊå ï ¹ ·² ïðð ¹ º±® Ð¸Û«® êòðå ï ¹ ·² ïðð ³Ô º±® ËÍÐíî
ÒÚîéò                                                                                                                                  ð     ïð     îð   íð     ìð     ëð        êð    éð    èð        çð ïðð         Ø
                                                                                                                                                         Î»´¿¬·ª» ¸«³·¼·¬§ øû÷
 Ì¿¾´» ×××æ Ó±·-¬«®» ½±²¬»²¬ ±º Õ´«½»´ øß¯«¿´±²÷ò
                                                                                      Ú·¹«®» ïæ Û¯«·´·¾®·«³ ³±·-¬«®» ½±²¬»²¬ ±º ª¿®·±«- ¹®¿¼»- ±º
Ù®¿¼»                 Ó±´»½«´¿® ©»·¹¸¬                     Ó±·-¬«®» øû÷               ¸§¼®±¨§°®±°§´ ½»´´«´±-» øÕ´«½»´ô ß-¸´¿²¼ ß¯«¿´±² Ú«²½¬·±²¿´ ×²¹®»¼·»²¬-÷ò
Õ´«½»´   ÛÚ             èð ððð                             ðòëç                                                                  ïòë                                                                      ðòé

                                                                                         ïððð I Åî²¼ ¼»®·ªò ´±¹øïñÎ÷Ã
Õ´«½»´   ÔÚ             çë ððð                             îòîï
Õ´«½»´   ÖÚ             ïìð ððð                            ïòìì                                                                                               ïêêè
Õ´«½»´   ÙÚ             íéð ððð                            ïòêé                                                                                                        ïéëð
                                                                                                                                                                                         îîìð
Õ´«½»´   ÓÚ             èëð ððð                            ïòëî                                                                                                 ïéðê
                                                                                                                                                                          ïèéè                  îîéç
Õ´«½»´   ØÚ             ï ïëð ððð                          ìòîé




                                                                                                                                                                                                           ´±¹øïñÎ÷
                                                                                                                                 ðòð
   ¸«³·¼·¬§ ¿²¼ ïîû ©ñ© ¿¬ èìû ®»´¿¬·ª» ¸«³·¼·¬§ò Í»» Ì¿¾´» ×××ò
                                                                                                                                                  ïíëë                                îïðê
   Í»» ¿´-± Ú·¹«®» ïò                                                                                                                      ïïèí
                                                                                                                                                  ïìîç             ïéíï     ïçîè
Ò×Î -°»½¬®¿ -»» Ú·¹«®» îò
Ð¿®¬·½´» -·¦» ¼·-¬®·¾«¬·±²                                                                                                                                      ïêèí
                                                                                                                                                                                                îíðë
   Õ´«½»´ ø®»¹«´¿® ¹®·²¼÷ô ³·²·³«³ èëû ø³·²·³«² èðû º±® Õ´«½»´                                                                                                                           îîêî
      Ø ¹®¿¼»-÷ ¬¸®±«¹¸ ¿ ËÍ ýíð ³»-¸ øëçð ³³÷ô ¿²¼ ³·²·³«³                                                           ïòë                                     ðòî
      ççû ¬¸®±«¹¸ ¿ ËÍ ýîð ³»-¸ øèìð ³³÷å                                                                                ïïðð ïíðð ïëðð ïéðð ïçðð îïðð îíðð îëðð
   Õ´«½»´ øº·²»ó¹®·²¼÷ô ³·²·³«³ ççû ¬¸®±«¹¸ ¿ ËÍ ýêð ³»-¸                                                                                                É¿ª»´»²¹¬¸ñ²³
      øîëð ³³÷ô ³·²·³«³ çðû ¬¸®±«¹¸ ¿ ËÍ ýèð ³»-¸ øïéé ³³÷ô
      ¿²¼ ³·²·³«³ èðû ¬¸®±«¹¸ ¿ ËÍ ýïðð ³»-¸ øïìç ³³÷å                                Ú·¹«®» îæ Ò»¿®ó·²º®¿®»¼ -°»½¬®«³ ±º ¸§¼®±¨§°®±°§´ ½»´´«´±-» ³»¿-«®»¼
   Ò·--± ØÐÝóÔ ø®»¹«´¿® ¬§°»÷æ ççû ¬¸®±«¹¸ ¿ ËÍ ýìð ³»-¸ -·»ª»                        ¾§ ®»º´»½¬¿²½»ò
      øíëð ³³÷å
   Ò·--± ØÐÝóÔ øº·²» °±©¼»® ¬§°»÷æ ççû ¬¸®±«¹¸ ¿ ËÍ ýïðð ³»-¸                                Ì¸» ¸·¹¸»®óª·-½±-·¬§ ¹®¿¼»- ±º ¸§¼®±¨§°®±°§´ ½»´´«´±-» ¬»²¼
      -·»ª» øïëð ³³÷ò                                                                        ¬± °®±¼«½» -´·¹¸¬´§ ·²º»®·±® -±´«¬·±²-ò Ø±©»ª»®ô ¬¸» -±´«¬·±²
Î»º®¿½¬·ª» ·²¼»¨ ² îð                                                                        ¯«¿´·¬§ ·² ¾±®¼»®´·²» -±´ª»²¬- ½¿² ±º¬»² ¾» ¹®»¿¬´§ ·³°®±ª»¼
                      Ü ã ïòííëí º±® ¿ îû ©ñª ¿¯«»±«- -±´«¬·±²ò
Í±´«¾·´·¬§                                                                                   ¾§ ¬¸» «­» ±º ­³¿´´ ¯«¿²¬·¬·»­ øëïëû÷ ±º ¿ ½±­±´ª»²¬ò Ú±®
                                                                                             »¨¿³°´»ô ¼·½¸´±®±³»¬¸¿²» ·- ¿ ¾±®¼»®´·²» -±´ª»²¬ º±® Õ´«½»´
   Í±´«¾´» ï ·² ïð °¿®¬- ¼·½¸´±®±³»¬¸¿²»å ï ·² îòë °¿®¬- »¬¸¿²±´                             ØÚ ¿²¼ -±´«¬·±²- ¸¿ª» ¿ ¹®¿²«´¿® ¬»¨¬«®»ô ¾«¬ ¿ -³±±¬¸
      øçëû÷å ï ·² î °¿®¬- ³»¬¸¿²±´å ï ·² ë °¿®¬- °®±°¿²óîó±´å ï ·² ë                         -±´«¬·±² ³¿§ ¾» °®±¼«½»¼ ¾§ ¿¼¼·²¹ ïðû ³»¬¸¿²±´ò
      °¿®¬- °®±°§´»²» ¹´§½±´å ¿²¼ ï ·² î °¿®¬- ©¿¬»®ò Ð®¿½¬·½¿´´§
                                                                                         Ø§¼®±¨§°®±°§´ ½»´´«´±-» ·- ½±³°¿¬·¾´» ©·¬¸ ¿ ²«³¾»® ±º ¸·¹¸ó
      ·²-±´«¾´» ·² ¿´·°¸¿¬·½ ¸§¼®±½¿®¾±²-å ¿®±³¿¬·½ ¸§¼®±½¿®¾±²-å
                                                                                             ³±´»½«´¿®ó©»·¹¸¬ô ¸·¹¸ó¾±·´·²¹ ©¿¨»- ¿²¼ ±·´-ô ¿²¼ ½¿² ¾»
      ½¿®¾±² ¬»¬®¿½¸´±®·¼»å °»¬®±´»«³ ¼·-¬·´´¿¬»-å ¹´§½»®·²å ¿²¼ ±·´-ò
                                                                                             «-»¼ ¬± ³±¼·º§ ½»®¬¿·² °®±°»®¬·»- ±º ¬¸»-» ³¿¬»®·¿´-ò Û¨¿³°´»-
   Ø§¼®±¨§°®±°§´ ½»´´«´±-» ·- º®»»´§ -±´«¾´» ·² ©¿¬»® ¾»´±© íèèÝô                            ±º ³¿¬»®·¿´- ¬¸¿¬ ¿®» ¹±±¼ -±´ª»²¬- º±® ¸§¼®±¨§°®±°§´
      º±®³·²¹ ¿ -³±±¬¸ô ½´»¿®ô ½±´´±·¼¿´ -±´«¬·±²ò ×² ¸±¬ ©¿¬»®ô ·¬ ·-                       ½»´´«´±-» ¿¬ ¿² »´»ª¿¬»¼ ¬»³°»®¿¬«®» ¿®» ¿½»¬§´¿¬»¼ ³±²±ó
      ·²-±´«¾´» ¿²¼ ·- °®»½·°·¬¿¬»¼ ¿- ¿ ¸·¹¸´§ -©±´´»² º´±½ ¿¬ ¿                            ¹´§½»®·¼»-ô ¹´§½»®·¼»-ô °·²» ±·´ô °±´§»¬¸§´»²» ¹´§½±´ô ¿²¼
      ¬»³°»®¿¬«®» ¾»¬©»»² ìð ¿²¼ ìëèÝò Ø§¼®±¨§°®±°§´ ½»´´«´±-»                               °±´§°®±°§´»²» ¹´§½±´ò
      ·- -±´«¾´» ·² ³¿²§ ½±´¼ ±® ¸±¬ °±´¿® ±®¹¿²·½ -±´ª»²¬- -«½¸ ¿-                   Í°»½·º·½ ¹®¿ª·¬§ ïòîîîì º±® °¿®¬·½´»-å ïòððêì º±® ¿ îû ©ñª
      ¼·³»¬¸§´ º±®³¿³·¼»å ¼·³»¬¸§´ -«´º±¨·¼»å ¼·±¨¿²»å »¬¸¿²±´                           ¿¯«»±«- -±´«¬·±² ¿¬ îðèÝò
      øçëû÷å ³»¬¸¿²±´å °®±°¿²óîó±´ øçëû÷å ¿²¼ °®±°§´»²» ¹´§½±´ò                       Í«®º¿½» ¬»²-·±² -»» Ì¿¾´» ×Êò
      Ì¸»®» ·- ²± ¬»²¼»²½§ º±® °®»½·°·¬¿¬·±² ·² ¸±¬ ±®¹¿²·½ -±´ª»²¬-ò                 Ê·-½±-·¬§ ø¼§²¿³·½÷ ß ©·¼» ®¿²¹» ±º ª·-½±-·¬§ ¬§°»- ¿®» ½±³³»®ó
      Ø±©»ª»®ô ¬¸» ¹®¿¼» ±º ¸§¼®±¨§°®±°§´ ½»´´«´±-» ½¿² ¸¿ª» ¿                           ½·¿´´§ ¿ª¿·´¿¾´»å -»» Ì¿¾´» Êò Í±´«¬·±²- -¸±«´¼ ¾» °®»°¿®»¼ ¾§
      ³¿®µ»¼ »ºº»½¬ «°±² -±´«¬·±² ¯«¿´·¬§ ·² -±³» ±®¹¿²·½ ´·¯«·¼-                        ¹®¿¼«¿´´§ ¿¼¼·²¹ ¬¸» ¸§¼®±¨§°®±°§´ ½»´´«´±-» ¬± ¿ ª·¹±®±«-´§
      ¬¸¿¬ ¿®» ¾±®¼»®´·²» -±´ª»²¬-ô -«½¸ ¿- ¿½»¬±²»å ¾«¬§´ ¿½»¬¿¬»å                      -¬·®®»¼ -±´ª»²¬ò ×²½®»¿-·²¹ ½±²½»²¬®¿¬·±² °®±¼«½»- -±´«¬·±²- ±º
      ½§½´±¸»¨¿²±´å ¼·½¸´±®±³»¬¸¿²»å ´¿½¬·½ ¿½·¼å ³»¬¸§´ ¿½»¬¿¬»å                        ·²½®»¿-»¼ ª·-½±-·¬§ò Í»» ¿´-± Í»½¬·±² ïï º±® ·²º±®³¿¬·±² ±²
      ³»¬¸§´ »¬¸§´ µ»¬±²»å °®±°¿²óîó±´ øççû÷å ¿²¼ ¬»®¬ó¾«¬¿²±´ò                          -±´«¬·±² -¬¿¾·´·¬§ò
           Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 46 of 103 PageID #: 1659
    í îð        Ø§¼®±¨§°®±°§´ Ý»´´«´±-»

     Ì¿¾´» ×Êæ Í«®º¿½» ¬»²-·±² ø³Òñ³÷ ±º ¿¯«»±«- -±´«¬·±²- ±º Ò·--± ØÐÝ          Ì¿¾´» Ê×æ Ý±³°¿¬·¾·´·¬§ ±º ¸§¼®±¨§°®±°§´ ½»´´«´±-» øÒ·--± ØÐÝ÷ ©·¬¸
     øÒ·°°±² Í±¼¿ Ý±ò Ô¬¼ò÷ ¿¬ îðèÝò                                             ·²±®¹¿²·½ -¿´¬- ·² ¿¯«»±«- -±´«¬·±²-òø¿÷

    Ù®¿¼»            Í«®º¿½» ¬»²-·±² ø³Òñ³÷ ¿¬ îðèÝ º±® ¿¯«»±«- -±´«¬·±²- ±º   Í¿´¬                                             Ý±²½»²¬®¿¬·±² ±º -¿´¬ øû ©ñ©÷
                     -¬¿¬»¼ ½±²½»²¬®¿¬·±²
                                                                                                                                î     í    ë   é   ïð   íð      ëð
                     ðòðïû         ðòïû            ïòðû           ïðòðû
                                                                               ß´«³·²«³ -«´º¿¬»                                 Í     Í    ×   ×   ×    ×       ×
    Ò·--± ØÐÝóÔ      ëïòð          ìçòï            ìêòí           ìëòè         ß³³±²·«³ ²·¬®¿¬»                                 Í     Í    Í   Í   Í    ×       ×
    Ò·--± ØÐÝóÓ      ëìòè          ìçòé            ìêòí                       ß³³±²·«³ -«´º¿¬»                                 Í     Í    ×   ×   ×    ×       ×
                                                                               Ý¿´½·«³ ½¸´±®·¼»                                 Í     Í    Í   Í   Í    Ì       ×
                                                                               Ü·½¸®±³·½ ¿½·¼                                   Í     Í    Í   Í   Í    Í       Í
                                                                               Ü·-±¼·«³ ¸§¼®±¹»²°¸±-°¸¿¬»                       Í     Í    ×   ×   ×    ×       ×
                                                                               Ú»®®·½ ½¸´±®·¼»                                  Í     Í    Í   Í   Í    ×       ×
                                                                               Ð±¬¿--·«³ º»®®±½§¿²·¼»                           Í     Í    Í   ×   ×    ×       ×
                                                                               Í·´ª»® ²·¬®¿¬»                                   Í     Í    Í   Í   Í    Í       Ì
     Ì¿¾´» Êæ Ê·-½±-·¬§ ±º ¿¯«»±«- -±´«¬·±²- ±º Õ´«½»´ øß-¸´¿²¼ ß¯«¿´±²
                                                                               Í±¼·«³ ¿½»¬¿¬»                                   Í     Í    Í   Í   ×    ×       ×
     Ú«²½¬·±²¿´ ×²¹®»¼·»²¬-÷ ¿¬ îëèÝò                                          Í±¼·«³ ½¿®¾±²¿¬»                                 Í     Í    ×   ×   ×    ×       ×
                                                                               Í±¼·«³ ½¸´±®·¼»                                  Í     Í    Í   Í   ×    ×       ×
    Ù®¿¼»       Ê·-½±-·¬§ ø³Ð¿ -÷ ±º ª¿®·±«- ¿¯«»±«- -±´«¬·±²- ±º -¬¿¬»¼       Í±¼·«³ ²·¬®¿¬»                                   Í     Í    Í   Í   Í    ×       ×
                ½±²½»²¬®¿¬·±²                                                  Í±¼·«³ -«´º¿¬»                                   Í     Í    ×   ×   ×    ×       ×

Ø               ïû               îû              ëû              ïðû
                                                                               Í±¼·«³ -«´º·¬»
                                                                               Í±¼·«³ ¬¸·±-«´º¿¬»
                                                                                                                                Í
                                                                                                                                Ì
                                                                                                                                      Í
                                                                                                                                      Ì
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                                                                                                                                                                ×
                                                                                                                                                                ×
    Õ´«½»´ ØÚ   ïëððíððð                                      
    Õ´«½»´ ÓÚ                   ìðððêëðð                                   ø¿÷ Íô ½±³°´»¬»´§ -±´«¾´»å Ìô ¬«®¾·¼ ©¸·¬»å ×ô ·²-±´«¾´»ò
    Õ´«½»´ ÙÚ                   ïëðìðð                        
    Õ´«½»´ ÖÚ                                  ïëðìðð                      ïî ×²½±³°¿¬·¾·´·¬·»-
    Õ´«½»´ ÔÚ                                  éëïëð          
    Õ´«½»´ ÛÚ                                                 îððêðð       Ø§¼®±¨§°®±°§´ ½»´´«´±-» ·² -±´«¬·±² ¼»³±²-¬®¿¬»- -±³» ·²½±³°¿¬ó
                                                                               ·¾·´·¬§ ©·¬¸ -«¾-¬·¬«¬»¼ °¸»²±´ ¼»®·ª¿¬·ª»-ô -«½¸ ¿- ³»¬¸§´°¿®¿¾»²
                                                                               ¿²¼ °®±°§´°¿®¿¾»²ò Ì¸» °®»-»²½» ±º ¿²·±²·½ °±´§³»®- ³¿§ ·²½®»¿-»
                                                                               ¬¸» ª·-½±-·¬§ ±º ¸§¼®±¨§°®±°§´ ½»´´«´±-» -±´«¬·±²-ò
                                                                                   Ì¸» ½±³°¿¬·¾·´·¬§ ±º ¸§¼®±¨§°®±°§´ ½»´´«´±-» ©·¬¸ ·²±®¹¿²·½
                                                                               -¿´¬- ª¿®·»- ¼»°»²¼·²¹ «°±² ¬¸» -¿´¬ ¿²¼ ·¬- ½±²½»²¬®¿¬·±²å -»» Ì¿¾´»
    ïï      Í¬¿¾·´·¬§ ¿²¼ Í¬±®¿¹» Ý±²¼·¬·±²-                                   Ê×ò Ø§¼®±¨§°®±°§´ ½»´´«´±-» ³¿§ ²±¬ ¬±´»®¿¬» ¸·¹¸ ½±²½»²¬®¿¬·±²-
    Ø§¼®±¨§°®±°§´ ½»´´«´±-» °±©¼»® ·- ¿ -¬¿¾´» ³¿¬»®·¿´ô ¿´¬¸±«¹¸ ·¬ ·-        ±º ±¬¸»® ¼·--±´ª»¼ ³¿¬»®·¿´-ò
    ¸§¹®±-½±°·½ ¿º¬»® ¼®§·²¹ò                                                      Ì¸» ¾¿´¿²½» ±º ¬¸» ¸§¼®±°¸·´·½´·°±°¸·´·½ °®±°»®¬·»­ ±º ¬¸»
       ß¯«»±«- -±´«¬·±²- ±º ¸§¼®±¨§°®±°§´ ½»´´«´±-» ¿®» -¬¿¾´» ¿¬ °Ø           °±´§³»®ô ©¸·½¸ ¿®» ®»¯«·®»¼ º±® ¼«¿´ -±´«¾·´·¬§ô ®»¼«½»- ·¬- ¿¾·´·¬§ ¬±
    êòðèòðô ©·¬¸ ¬¸» ª·­½±­·¬§ ±º ­±´«¬·±²­ ¾»·²¹ ®»´¿¬·ª»´§ «²¿ºº»½¬»¼ò      ¸§¼®¿¬» ©·¬¸ ©¿¬»® ¿²¼ ·¬ ¬¸»®»º±®» ¬»²¼- ¬± ¾» -¿´¬»¼ ±«¬ ·² ¬¸»
    Ø±©»ª»®ô ¿¬ ´±© °Ø ¿¯«»±«- -±´«¬·±²- ³¿§ «²¼»®¹± ¿½·¼                      °®»-»²½» ±º ¸·¹¸ ½±²½»²¬®¿¬·±²- ±º ±¬¸»® ¼·--±´ª»¼ ³¿¬»®·¿´-ò
    ¸§¼®±´§-·-ô ®»-«´¬·²¹ ·² ½¸¿·² -½·--·±² ¿²¼ ¸»²½» ¿ ¼»½®»¿-» ·²                Ì¸» °®»½·°·¬¿¬·±² ¬»³°»®¿¬«®» ±º ¸§¼®±¨§°®±°§´ ½»´´«´±-» ·-
    -±´«¬·±² ª·-½±-·¬§ò Ì¸» ®¿¬» ±º ¸§¼®±´§-·- ·²½®»¿-»- ©·¬¸ ·²½®»¿-·²¹       ´±©»® ·² ¬¸» °®»-»²½» ±º ®»´¿¬·ª»´§ ¸·¹¸ ½±²½»²¬®¿¬·±²- ±º ±¬¸»®
    ¬»³°»®¿¬«®» ¿²¼ ¸§¼®±¹»² ·±² ½±²½»²¬®¿¬·±²ò ß¬ ¸·¹¸ °Øô ¿´µ¿´·ó            ¼·--±´ª»¼ ³¿¬»®·¿´- ¬¸¿¬ ½±³°»¬» º±® ¬¸» ©¿¬»® ·² ¬¸» -§-¬»³å -»»
    ½¿¬¿´§¦»¼ ±¨·¼¿¬·±² ³¿§ ¼»¹®¿¼» ¬¸» °±´§³»® ¿²¼ ®»-«´¬ ·² ¿                Ì¿¾´» Ê××ò
    ¼»½®»¿-» ·² ª·-½±-·¬§ ±º -±´«¬·±²-ò Ì¸·- ¼»¹®¿¼¿¬·±² ½¿² ±½½«® ±©·²¹
    ¬± ¬¸» °®»-»²½» ±º ¼·--±´ª»¼ ±¨§¹»² ±® ±¨·¼·¦·²¹ ¿¹»²¬- ·² ¿                 Ì¿¾´» Ê××æ Ê¿®·¿¬·±² ·² °®»½·°·¬¿¬·±² ¬»³°»®¿¬«®» ±º ¸§¼®±¨§°®±°§´
    -±´«¬·±²ò                                                                    ½»´´«´±-» øÕ´«½»´ Ø÷ ·² ¬¸» °®»-»²½» ±º ±¬¸»® ³¿¬»®·¿´-ò
       ×²½®»¿-·²¹ ¬»³°»®¿¬«®» ½¿«-»- ¬¸» ª·-½±-·¬§ ±º ¿¯«»±«- -±´«¬·±²-
    ¬± ¼»½®»¿-» ¹®¿¼«¿´´§ «²¬·´ ¬¸» ª·-½±-·¬§ ¼®±°- -«¼¼»²´§ ¿¬ ¿¾±«¬          ×²¹®»¼·»²¬- ¿²¼ ½±²½»²¬®¿¬·±²-                 Ð®»½·°·¬¿¬·±² ¬»³°»®¿¬«®» øèÝ÷
    ìëèÝ ±©·²¹ ¬± ¬¸» ´·³·¬»¼ -±´«¾·´·¬§ ±º ¸§¼®±¨§°®±°§´ ½»´´«´±-»ò           ïû Õ´«½»´ Ø                        ìï
    Ø±©»ª»®ô ¬¸·- °®±½»-- ·- ®»ª»®-·¾´» ¿²¼ ±² ½±±´·²¹ ¬¸» ±®·¹·²¿´            ïû Õ´«½»´ Ø " ïòðû -±¼·«³ ½¸´±®·¼» íè
    ª·-½±-·¬§ ·- ®»-¬±®»¼ò                                                     ïû Õ´«½»´ Ø " ëòðû -±¼·«³ ½¸´±®·¼» íð
                                                                               ðòëû Õ´«½»´ Ø " ïðû -«½®±-»        ìï
       Ì¸» ¸·¹¸ ´»ª»´ ±º -«¾-¬·¬«¬·±² ±º ¸§¼®±¨§°®±°§´ ½»´´«´±-»               ðòëû Õ´«½»´ Ø " íðû -«½®±-»        íî
    ·³°®±ª»- ¬¸» ®»-·-¬¿²½» ±º ¬¸» °±´§³»® ¬± ¼»¹®¿¼¿¬·±² ¾§ ³±´¼-             ðòëû Õ´«½»´ Ø " ìðû -«½®±-»        îð
    ¿²¼ ¾¿½¬»®·¿òøîð÷ Ø±©»ª»®ô ¿¯«»±«- -±´«¬·±²- ¿®» -«-½»°¬·¾´» ¬±            ðòëû Õ´«½»´ Ø " ëðû -«½®±-»        é
    ¼»¹®¿¼¿¬·±² «²¼»® -»ª»®» ½±²¼·¬·±²- ¿²¼ ¿ ª·-½±-·¬§ ¼»½®»¿-» ³¿§
    ±½½«®ò Ý»®¬¿·² »²¦§³»- °®±¼«½»¼ ¾§ ³·½®±¾·¿´ ¿½¬·±² ©·´´ ¼»¹®¿¼»
    ¸§¼®±¨§°®±°§´ ½»´´«´±-» ·² -±´«¬·±²òøîì÷ Ì¸»®»º±®»ô º±® °®±´±²¹»¼
    -¬±®¿¹»ô ¿² ¿²¬·³·½®±¾·¿´ °®»-»®ª¿¬·ª» -¸±«´¼ ¾» ¿¼¼»¼ ¬± ¿¯«»±«-          ïí      Ó»¬¸±¼ ±º Ó¿²«º¿½¬«®»
    -±´«¬·±²-ò Í±´«¬·±²- ±º ¸§¼®±¨§°®±°§´ ½»´´«´±-» ·² ±®¹¿²·½ -±´ª»²¬-        ß °«®·º·»¼ º±®³ ±º ½»´´«´±-» ·- ®»¿½¬»¼ ©·¬¸ -±¼·«³ ¸§¼®±¨·¼» ¬±
    ¼± ²±¬ ¹»²»®¿´´§ ®»¯«·®» °®»-»®ª¿¬·ª»-ò                                    °®±¼«½» ¿ -©±´´»² ¿´µ¿´· ½»´´«´±-» ¬¸¿¬ ·- ½¸»³·½¿´´§ ³±®» ®»¿½¬·ª»
       Ë´¬®¿ª·±´»¬ ´·¹¸¬ ©·´´ ¿´-± ¼»¹®¿¼» ¸§¼®±¨§°®±°§´ ½»´´«´±-» ¿²¼         ¬¸¿² «²¬®»¿¬»¼ ½»´´«´±-»ò Ì¸» ¿´µ¿´· ½»´´«´±-» ·- ¬¸»² ®»¿½¬»¼ ©·¬¸
    ¿¯«»±«- -±´«¬·±²- ³¿§ ¬¸»®»º±®» ¼»½®»¿-» -´·¹¸¬´§ ·² ª·-½±-·¬§ ·º          °®±°§´»²» ±¨·¼» ¿¬ »´»ª¿¬»¼ ¬»³°»®¿¬«®» ¿²¼ °®»--«®»ò Ì¸»
    »¨°±-»¼ ¬± ´·¹¸¬ º±® -»ª»®¿´ ³±²¬¸-ò                                       °®±°§´»²» ±¨·¼» ½¿² ¾» -«¾-¬·¬«¬»¼ ±² ¬¸» ½»´´«´±-» ¬¸®±«¹¸ ¿²
       ß¯«»±«- ¸§¼®±¨§°®±°§´ ½»´´«´±-» -±´«¬·±²- ¸¿ª» ±°¬·³«³                  »¬¸»® ´·²µ¿¹» ¿¬ ¬¸» ¬¸®»» ®»¿½¬·ª» ¸§¼®±¨§´- °®»-»²¬ ±² »¿½¸
    ­¬¿¾·´·¬§ ©¸»² ¬¸» °Ø ·­ ³¿·²¬¿·²»¼ ¿¬ êòðèòðô ¿²¼ ¿´­± ©¸»² ¬¸»          ¿²¸§¼®±¹´«½±-» ³±²±³»® «²·¬ ±º ¬¸» ½»´´«´±-» ½¸¿·²ò Û¬¸»®·º·½¿¬·±²
    -±´«¬·±² ·- °®±¬»½¬»¼ º®±³ ´·¹¸¬ô ¸»¿¬ô ¿²¼ ¬¸» ¿½¬·±² ±º ³·½®±ó           ¬¿µ»- °´¿½» ·² -«½¸ ¿ ©¿§ ¬¸¿¬ ¸§¼®±¨§°®±°§´ -«¾-¬·¬«»²¬ ¹®±«°-
    ±®¹¿²·-³-ò                                                                 ½±²¬¿·² ¿´³±-¬ »²¬·®»´§ -»½±²¼¿®§ ¸§¼®±¨§´-ò Ì¸» -»½±²¼¿®§
       Ø§¼®±¨§°®±°§´ ½»´´«´±-» °±©¼»® -¸±«´¼ ¾» -¬±®»¼ ·² ¿ ©»´´ó              ¸§¼®±¨§´ °®»-»²¬ ·² ¬¸» -·¼» ½¸¿·² ·- ¿ª¿·´¿¾´» º±® º«®¬¸»® ®»¿½¬·±²
    ½´±-»¼ ½±²¬¿·²»® ·² ¿ ½±±´ô ¼®§ °´¿½»ò                                     ©·¬¸ ¬¸» °®±°§´»²» ±¨·¼»ô ¿²¼ ½¸¿·²·²¹ó±«¬• ³¿§ ¬¿µ» °´¿½»ò Ì¸·-
   Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 47 of 103 PageID #: 1660
                                                                                                            Ø§¼®±¨§°®±°§´ Ý»´´«´±-»                 í îï

®»-«´¬- ·² ¬¸» º±®³¿¬·±² ±º -·¼» ½¸¿·²- ½±²¬¿·²·²¹ ³±®» ¬¸¿² ï ³±´»           í ß¯«¿´±²ò Ì»½¸²·½¿´ ´·¬»®¿¬«®»æ Õ´«½»´ ¸§¼®±¨§°®±°§´½»´´«´±-» ¿°°´·½¿ó
±º ½±³¾·²»¼ °®±°§´»²» ±¨·¼»ò                                                    ¬·±² ·² ¿ -«-¬¿·²»¼ ®»´»¿-» ³¿¬®·¨ ½¿°-«´» ¼±-¿¹» º±®³ô îððìò
                                                                              ì ß´¼»®³¿² Üßò Í«-¬¿·²»¼ ®»´»¿-» ½±³°±-·¬·±²- ½±³°®·-·²¹ ¸§¼®±¨§ó
                                                                                °®±°§´ ½»´´«´±-» »¬¸»®-ò Ë²·¬»¼ Í¬¿¬»- Ð¿¬»²¬ Ò±ò ìôéðìôîèëå ïçèéò
ïì    Í¿º»¬§                                                                  ë Ô»» ÜÇô Ý¸»² ÝÓò Ü»´¿§»¼ °«´-» ®»´»¿-» ¸§¼®±¹»´ ³¿¬®·¨ ¬¿¾´»¬ò
Ø§¼®±¨§°®±°§´ ½»´´«´±-» ·- ©·¼»´§ «-»¼ ¿- ¿² »¨½·°·»²¬ ·² ±®¿´ ¿²¼              òË²·¬»¼ Í¬¿¬»- Ð¿¬»²¬ Ò±ò êôïðíôîêíå îðððò
¬±°·½¿´ °¸¿®³¿½»«¬·½¿´ º±®³«´¿¬·±²-ò ×¬ ·- ¿´-± «-»¼ »¨¬»²-·ª»´§ ·²           ê Ó¿½¸·¼¿ Çô Ò¿¹¿· Ìò Ü·®»½¬´§ ½±³°®»--»¼ ¬¿¾´»¬- ½±²¬¿·²·²¹ ¸§¼®ó
½±-³»¬·½- ¿²¼ º±±¼ °®±¼«½¬-ò                                                    ±¨§°®±°§´ ½»´´«´±-» ·² ¿¼¼·¬·±² ¬± -¬¿®½¸ ±® ´¿½¬±-»ò Ý¸»³ Ð¸¿®³ Þ«´´
                                                                                ïçéìå îîæ îíìêîíëïò
    Ø§¼®±¨§°®±°§´ ½»´´«´±-» ·- ¹»²»®¿´´§ ®»¹¿®¼»¼ ¿- ¿² »--»²¬·¿´´§
                                                                              é Ü»´±²½¿ Ø »¬ ¿´ò Þ·²¼·²¹ ¿½¬·ª·¬§ ±º ¸§¼®±¨§°®±°§´ ½»´´«´±-» øîðð ððð
²±²¬±¨·½ ¿²¼ ²±²·®®·¬¿²¬ ³¿¬»®·¿´òøîëôîê÷ ×¬ ·- ²±¬ ¿¾-±®¾»¼ º®±³ ¬¸»           ¿²¼ ï ððð ððð ³±´ò ©¬ò÷ ¿²¼ ·¬- »ºº»½¬ ±² ¬¸» °¸§-·½¿´ ½¸¿®¿½¬»®·-¬·½- ±º
¹¿-¬®±·²¬»-¬·²¿´ ¬®¿½¬ ¿²¼ ·- º«´´§ ®»½±ª»®»¼ ·² º»½»- ¿º¬»® ±®¿´               ¹®¿²«´»- ¿²¼ ¬¿¾´»¬-ò Ú¿®³¿½± øÐ®¿¬÷ ïçééå íîæ ïëéïéïò
¿¼³·²·-¬®¿¬·±² ·² ®¿¬-ò ×¬ ¼±»- ²±¬ »¨¸·¾·¬ -µ·² ·®®·¬¿¬·±² ±® -µ·²           è Ü»´±²½¿ Ø »¬ ¿´ò ÅÛºº»½¬ ±º ¬»³°»®¿¬«®» ±² ¼·-·²¬»¹®¿¬·±² ¿²¼
-»²-·¬·¦¿¬·±²ò Ø±©»ª»®ô ¬¸» «-» ±º ¸§¼®±¨§°®±°§´ ½»´´«´±-» ¿- ¿ -±´·¼           ¼·--±´«¬·±² ¬·³» ±º ¬¿¾´»¬- ©·¬¸ ¿ ½»´´«´±-» ½±³°±²»²¬ ¿- ¿ ¾·²¼»®òÃ Ö
±½«´¿® ·²-»®¬ ¸¿- ¾»»² ¿--±½·¿¬»¼ ©·¬¸ ®¿®» ®»°±®¬- ±º ¼·-½±³º±®¬ ±®            Ð¸¿®³ Þ»´¹ ïçéèå ííæ ïéïïéèÅ·² Ú®»²½¸Ãò
·®®·¬¿¬·±²ô ·²½´«¼·²¹ ¸§°»®-»²-·¬·ª·¬§ ¿²¼ »¼»³¿ ±º ¬¸» »§»´·¼-ò              ç Í¬¿ºº±®¼ ÖÉ »¬ ¿´ò Ì»³°»®¿¬«®» ¼»°»²¼»²½» ±º ¬¸» ¼·-·²¬»¹®¿¬·±² ¬·³»- ±º
ß¼ª»®-» ®»¿½¬·±²- ¬± ¸§¼®±¨§°®±°§´ ½»´´«´±-» ¿®» ®¿®»ò Ø±©»ª»®ô ·¬              ½±³°®»--»¼ ¬¿¾´»¬- ½±²¬¿·²·²¹ ¸§¼®±¨§°®±°§´ ½»´´«´±-» ¿- ¾·²¼»®ò Ö
¸¿- ¾»»² ®»°±®¬»¼ ¬¸¿¬ ¿ -·²¹´» °¿¬·»²¬ ¼»ª»´±°»¼ ½±²¬¿½¬ ¼»®³¿¬·¬·-            Ð¸¿®³ Ð¸¿®³¿½±´ ïçéèå íðæ ïëò
¼«» ¬± ¸§¼®±¨§°®±°§´ ½»´´«´±-» ·² ¿ ¬®¿²-¼»®³¿´ »-¬®¿¼·±´ °¿¬½¸òøîé÷         ïð Õ·¬¿³±®· Òô Ó¿µ·²± Ìò ×³°®±ª»³»²¬ ·² °®»--«®»ó¼»°»²¼»²¬ ¼·--±´«¬·±²
                                                                                ±º ¬®»°·¾«¬±²» ¬¿¾´»¬- ¾§ «-·²¹ ·²¬®¿¹®¿²«´¿® ¼·-·²¬»¹®¿²¬-ò Ü®«¹ Ü»ª
    Ì¸» ÉØÑ ¸¿- -°»½·º·»¼ ¿² ¿½½»°¬¿¾´» ¼¿·´§ ·²¬¿µ» º±®                        ×²¼ Ð¸¿®³ ïçèîå èæ ïîëïíçò
¸§¼®±¨§°®±°§´ ½»´´«´±-» ±º «° ¬± ïëðð ³¹ñµ¹ ¾±¼§ó©»·¹¸¬òøîè÷
Û¨½»--·ª» ½±²-«³°¬·±² ±º ¸§¼®±¨§°®±°§´ ½»´´«´±-» ³¿§ ¸¿ª» ¿
                                                                             ïï Ö±¸²-±² ÖÔ »¬ ¿´ò ×²º´«»²½» ±º ·±²·½ -¬®»²¹¬¸ ±² ³¿¬®·¨ ·²¬»¹®·¬§ ¿²¼ ¼®«¹
                                                                                ®»´»¿-» º®±³ ¸§¼®±¨§°®±°§´ ½»´´«´±-» ½±³°¿½¬-ò ×²¬ Ö Ð¸¿®³ ïççíå çðæ         Ø
´¿¨¿¬·ª» »ºº»½¬ò                                                                ïëïïëçò
                                                                             ïî Íµ·²²»® ÙÉò Í«-¬¿·²»¼ ®»´»¿-» °±´§³»® ¾´»²¼ º±® °¸¿®³¿½»«¬·½¿´
   ÔÜëð ø®¿¬ô ×Ê÷æ ðòîë ¹ñµ¹øîç÷                                                ¿°°´·½¿¬·±²-ò Ë²·¬»¼ Í¬¿¬»- Ð¿¬»²¬ Ò±ò êôîïðôéïð Þïå îððïò
   ÔÜëð ø®¿¬ô ±®¿´÷æ ïðòî ¹ñµ¹                                               ïí Ù«± ÖØô Íµ·²²»® ÙÉò Í«-¬¿·²»¼ ®»´»¿-» °±´§³»® ¾´»²¼ º±® °¸¿®³¿½»«ó
                                                                                ¬·½¿´ ¿°°´·½¿¬·±²-ò Ë²·¬»¼ Í¬¿¬»- Ð¿¬»²¬ Ò±ò êôíëèôëîë Þïå îððîò
ïë Ø¿²¼´·²¹ Ð®»½¿«¬·±²-                                                      ïì Ü«x®·¹ ÌÖò ß¼ª¿²½»- ·² ½»´´«´±-» »¬¸»®ó¾¿-»¼ ³±¼·º·»¼ó®»´»¿-» ¬»½¸²±´ó
                                                                                ±¹·»-ò Î¿¬¸¾±²» ÓÖ »¬ ¿´ô »¼ò Ó±¼·º·»¼ Î»´»¿-» Ü®«¹ Ü»´·ª»®§
Ñ¾-»®ª» ²±®³¿´ °®»½¿«¬·±²- ¿°°®±°®·¿¬» ¬± ¬¸» ½·®½«³-¬¿²½»- ¿²¼                 Ì»½¸²±´±¹§ô î²¼ »¼²ò îððèå ïìíïëîò
¯«¿²¬·¬§ ±º ³¿¬»®·¿´ ¸¿²¼´»¼ò Ø§¼®±¨§°®±°§´ ½»´´«´±-» ¼«-¬ ³¿§ ¾»            ïë ß²±²ò ß¯«¿´±² Ð¸¿®³¿½»«¬·½¿´ Ì»½¸²±´±¹§ Î»°±®¬ô ÐÌÎóðïêæ Ð±´§³»®
·®®·¬¿²¬ ¬± ¬¸» »§»-å »§» °®±¬»½¬·±² ·- ®»½±³³»²¼»¼ò Û¨½»--·ª» ¼«-¬             ¾´»²¼ ³¿¬®·¨ º±® ±®¿´ -«-¬¿·²»¼ ¼®«¹ ¼»´·ª»®§ô îððîò
¹»²»®¿¬·±² -¸±«´¼ ¾» ¿ª±·¼»¼ ¬± ³·²·³·¦» ¬¸» ®·-µ ±º »¨°´±-·±²-ò             ïê Ø¿®½«³ ÉÉô Íµ·²²»® ÙÉò ß¯«¿´±² Ð¸¿®³¿½»«¬·½¿´ Ì»½¸²±´±¹§
                                                                                Î»°±®¬ ÐÌÎóðïèæ Õ´«½»´ ¸§¼®±¨§°®±°§´½»´´«´±-» ½±²¬®±´´»¼ ®»´»¿-»
                                                                                ³¿¬®·¨ ¬¿¾´»¬­ °®»°¿®»¼ ¾§ ®±´´ ½±³°¿½¬·±²  »ºº»½¬ ±º °±´§³»®ô
ïê Î»¹«´¿¬±®§ Í¬¿¬«-                                                            º±®³«´¿¬·±² ¿²¼ °®±½»--·²¹ ª¿®·¿¾´»-ô îððîò
ÙÎßÍ ´·-¬»¼ò ß½½»°¬»¼ º±® «-» ¿- ¿ º±±¼ ¿¼¼·¬·ª» ·² Û«®±°»ò                  ïé Ü«®·¹ ÌÖò ß¯«¿´±² Ð¸¿®³¿½»«¬·½¿´ Ì»½¸²±´±¹§ Î»°±®¬ ÐÌÎóðïçæ
×²½´«¼»¼ ·² ¬¸» ÚÜß ×²¿½¬·ª» ×²¹®»¼·»²¬- Ü¿¬¿¾¿-» ø±®¿´ ½¿°-«´»-                Ý±³°®»--·±² ¿²¼ ¼®«¹ ®»´»¿-» ½¸¿®¿½¬»®·-¬·½- ±º ¼·®»½¬´§ ½±³°®»--·¾´»
¿²¼ ¬¿¾´»¬-å ¬±°·½¿´ ¿²¼ ¬®¿²-¼»®³¿´ °®»°¿®¿¬·±²-÷ò ×²½´«¼»¼ ·²                 Õ´«½»´ ¸§¼®±¨§°®±°§´½»´´«´±-» ½±²¬®±´´»¼ ®»´»¿-» ³¿¬®·¨ -§-¬»³-ô îððîò
²±²°¿®»²¬»®¿´ ³»¼·½·²»- ´·½»²-»¼ ·² ¬¸» ËÕò ×²½´«¼»¼ ·² ¬¸»                  ïè Ô·²¼¾»®¹ ÒÑò É¿¬»® ª¿°±«® ¬®¿²-³·--·±² ¬¸®±«¹¸ º®»» º·´³- ±º
                                                                                ¸§¼®±¨§°®±°§´ ½»´´«´±-»ò ß½¬¿ Ð¸¿®³ Í«»½ ïçéïå èæ ëìïëìèò
Ý¿²¿¼·¿² Ô·-¬ ±º ß½½»°¬¿¾´» Ò±²ó³»¼·½·²¿´ ×²¹®»¼·»²¬-ò                       ïç Þ¿²µ»® Ù »¬ ¿´ò Ûª¿´«¿¬·±² ±º ¸§¼®±¨§°®±°§´½»´´«´±-» ¿²¼ ¸§¼®ó
                                                                                ±¨§°®±°§´³»¬¸§´½»´´«´±-» ¿- ¿¯«»±«- ¾¿-»¼ º·´³ ½±¿¬·²¹-ò Ü®«¹ Ü»ª
ïé Î»´¿¬»¼ Í«¾-¬¿²½»-                                                           ×²¼ Ð¸¿®³ ïçèïå éæ êçíéïêò
Ø§¼®±¨§»¬¸§´ ½»´´«´±-»å ¸§¼®±¨§°®±°§´ ½»´´«´±-»ô ´±©ó-«¾-¬·¬«¬»¼å            îð Þ¿²µ»® Ù »¬ ¿´ò Ó·½®±¾·±´±¹·½¿´ ½±²-·¼»®¿¬·±²- ±º °±´§³»® -±´«¬·±²-
                                                                                «-»¼ ·² ¿¯«»±«- º·´³ ½±¿¬·²¹ò Ü®«¹ Ü»ª ×²¼ Ð¸¿®³ ïçèîå èæ ìïëïò
¸§°®±³»´´±-»ò                                                                îï Ý±¸»² ÛÓ »¬ ¿´ò Í±´·¼ -¬¿¬» ±°¸¬¸¿´³·½ ³»¼·½¿¬·±²ò Ë²·¬»¼ Í¬¿¬»-
                                                                                Ð¿¬»²¬ Ò±ò ìôïéçôìçéå ïçéçò
ïè    Ý±³³»²¬-                                                               îî Ø¿®©±±¼ ÎÖô Í½¸©¿®¬¦ ÖÞò Ü®«¹ ®»´»¿-» º®±³ ½±³°®»--·±² ³±´¼»¼
                                                                                º·´³-æ °®»´·³·²¿®§ -¬«¼·»- ©·¬¸ °·´±½¿®°·²»ò Ü®«¹ Ü»ª ×²¼ Ð¸¿®³ ïçèîå
Ø§¼®±¨§°®±°§´ ½»´´«´±-» ·- ±²» ±º ¬¸» ³¿¬»®·¿´- ¬¸¿¬ ¸¿ª» ¾»»²
                                                                                èæ êêíêèîò
-»´»½¬»¼ º±® ¸¿®³±²·¦¿¬·±² ¾§ ¬¸» Ð¸¿®³¿½±°»·¿´ Ü·-½«--·±²                   îí Ü«³±®¬·»® Ù »¬ ¿´ò Í§-¬»³·½ ¿¾-±®°¬·±² ±º ³±®°¸·²» ¿º¬»® ±½«´¿®
Ù®±«°ò Ú±® º«®¬¸»® ·²º±®³¿¬·±² -»» ¬¸» Ù»²»®¿´ ×²º±®³¿¬·±²                      ¿¼³·²·-¬®¿¬·±²æ »ª¿´«¿¬·±² ±º ³±®°¸·²» -¿´¬ ·²-»®¬ ·² ª·¬®± ¿²¼ ·² ª·ª±ò
Ý¸¿°¬»® äïïçêâ ·² ¬¸» ËÍÐíîÒÚîéô ¬¸» Ù»²»®¿´ Ý¸¿°¬»® ëòè                       ×²¬ Ö Ð¸¿®³ ïççðå ëçæ ïéò
·² Ð¸Û«® êòðô ¿´±²¹ ©·¬¸ ¬¸» Í¬¿¬» ±º É±®µ• ¼±½«³»²¬ ±² ¬¸» Ð¸Û«®           îì É·®·½µ ÓÙò Í¬«¼§ ±º ¬¸» »²¦§³·½ ¼»¹®¿¼¿¬·±² ±º ÝÓÝ ¿²¼ ±¬¸»®
ÛÜÏÓ ©»¾-·¬»ô ¿²¼ ¿´-± ¬¸» Ù»²»®¿´ ×²º±®³¿¬·±² Ý¸¿°¬»® è ·² ¬¸»                 ½»´´«´±-» »¬¸»®-ò Ö Ð±´§³ Í½· ïçêèå êøÐ¿®¬ ßóï÷æ ïçêëïçéìò
ÖÐ ÈÊò                                                                       îë ß²±²§³±«-ò Ú·²¿´ ®»°±®¬ ±² ¬¸» -¿º»¬§ ¿--»--³»²¬ ±º ¸§¼®±¨§»¬¸§´ó
    Ø§¼®±¨§°®±°§´ ½»´´«´±-» ·- ¿ ¬¸»®³±°´¿-¬·½ °±´§³»® ¬¸¿¬ ½¿² ¾»              ½»´´«´±-»ô ¸§¼®±¨§°®±°§´½»´´«´±-»ô ³»¬¸§´½»´´«´±-»ô ¸§¼®±¨§°®±°§´
°®±½»--»¼ ¾§ ª·®¬«¿´´§ ¿´´ º¿¾®·½¿¬·±² ³»¬¸±¼- «-»¼ º±® °´¿-¬·½-ò               ³»¬¸§´½»´´«´±-» ¿²¼ ½»´´«´±-» ¹«³ò Ö ß³ Ý±´´ Ì±¨·½±´ ïçèêå ëøí÷æ ïêðò
                                                                             îê ß¯«¿´±²ò Ì»½¸²·½¿´ ´·¬»®¿¬«®»æ Õ´«½»´ ¸§¼®±¨§°®±°§´½»´´«´±-» -«³³¿®§
    ×¬ ·- ¿´-± «-»¼ ·² ¸±¬ó³»´¬ »¨¬®«¼»¼ º·´³- º±® ¬±°·½¿´ «-»ò É¸»² ·¬
                                                                                ±º ¬±¨·½±´±¹·½¿´ ·²ª»-¬·¹¿¬·±²-ô îððìò
·- °®±¼«½»¼ ©·¬¸         ½¸´±®°¸»²·®¿³·²» ³¿´»¿¬»ô ¬¸» ³¿¬®·¨ ·-             îé Í½¸©¿®¬¦ ÞÕô Ý´»²¼»²²·²¹ ÉÛò ß´´»®¹·½ ½±²¬¿½¬ ¼»®³¿¬·¬·- º®±³
-¬¿¾·´·¦»¼ô ¿´´±©·²¹ º·´³ °®±½»--·²¹ ¿¬ ´±©»® ¬»³°»®¿¬«®»-òøíð÷                 ¸§¼®±¨§°®±°§´ ½»´´«´±-» ·² ¿ ¬®¿²-¼»®³¿´ »-¬®¿¼·±´ °¿¬½¸ò Ý±²¬¿½¬
Ó«½±¿¼¸»-·ª» ¸§¼®±¨§°®±°§´ ½»´´«´±-» ³·½®±-°¸»®»- ¸¿ª» ¾»»²                     Ü»®³¿¬·¬·- ïçèèå ïèøî÷æ ïðêïðéò
°®»°¿®»¼ º±® °±©¼»® ·²¸¿´¿¬·±² °®»°¿®¿¬·±²-òøíï÷                             îè ÚßÑñÉØÑò Ûª¿´«¿¬·±² ±º ½»®¬¿·² º±±¼ ¿¼¼·¬·ª»- ¿²¼ ½±²¬¿³·²¿²¬-ò
    ß -°»½·º·½¿¬·±² º±® ¸§¼®±¨§°®±°§´ ½»´´«´±-» ·- ·²½´«¼»¼ ·² ¬¸»              Ì¸·®¬§óº·º¬¸ ®»°±®¬ ±º ¬¸» ¶±·²¬ ÚßÑñÉØÑ »¨°»®¬ ½±³³·¬¬»» ±² º±±¼
Ú±±¼ Ý¸»³·½¿´- Ý±¼»¨ øÚÝÝ÷òøíî÷                                                 ¿¼¼·¬·ª»-ò É±®´¼ Ø»¿´¬¸ Ñ®¹¿² Ì»½¸ Î»° Í»® ïççðå Ò±ò éèçò
                                                                             îç Ô»©·- ÎÖô »¼ò Í¿¨•- Ü¿²¹»®±«- Ð®±°»®¬·»- ±º ×²¼«-¬®·¿´ Ó¿¬»®·¿´-ô ïï¬¸
                                                                                »¼²ò Ò»© Ç±®µæ É·´»§ô îððìå îðëíò
ïç    Í°»½·º·½ Î»º»®»²½»-                                                    íð Î»°µ¿ Óßô Ó½Ù·²¬§ ÖÉò ×²º´«»²½» ±º ½¸´±®°¸»²·®¿³·²» ³¿´»¿¬» ±²
 ï Íµ·²²»® ÙÉ »¬ ¿´ò Ì¸» »ª¿´«¿¬·±² ±º º·²»ó°¿®¬·½´» ¸§¼®±¨§°®±°§´½»´´«ó        ¬±°·½¿´ ¸§¼®±¨§°®±°§´½»´´«´±-» º·´³- °®±¼«½»¼ ¾§ ¸±¬ ³»´¬ »¨¬®«-·±²ò
   ´±-» ¿- ¿ ®±´´»® ½±³°¿½¬·±² ¾·²¼»® ·² °¸¿®³¿½»«¬·½¿´ ¿°°´·½¿¬·±²-ò Ü®«¹      Ð¸¿®³ Ü»ª Ì»½¸²±´ îððïå êøí÷æ îçéíðìò
   Ü»ª ×² Ð¸¿®³ ïçççå îëøïð÷æ ïïîïïïîèò                                     íï Í¿µ¿¹¿³· Ó »¬ ¿´ò Û²¸¿²½»¼ °«´³±²¿®§ ¿¾-±®°¬·±² º±´´±©·²¹ ¿»®±-±´
 î ß¯«¿´±²ò Ì»½¸²·½¿´ ´·¬»®¿¬«®»æ Õ´«½»´ ÛÚ Ð¸¿®³ ¸§¼®±¨§°®±°§´½»´´«ó           ¿¼³·²·-¬®¿¬·±² ±º ³«½±¿¼¸»-·ª» °±©¼»® ³·½®±-°¸»®»-ò Ö Ý±²¬®±´
   ´±-»ò Ë-» ·² °´¿-¬·½·¦»®óº®»» ¿¯«»±«- ½±¿¬·²¹òô îðððò                        Î»´»¿-» îððïå ééøïî÷æ ïïéïîçò
           Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 48 of 103 PageID #: 1661
    í îî       Ø§¼®±¨§°®±°§´ Ý»´´«´±-»ô Ô±©ó-«¾-¬·¬«¬»¼

    íî Ú±±¼ Ý¸»³·½¿´- Ý±¼»¨ô ê¬¸ »¼²ò          Þ»¬¸»-¼¿ô ÓÜæ Ë²·¬»¼ Í¬¿¬»-           Ø¿®³±²·-¿¬·±²ò Ð¸¿®³»«®±°¿ îððçå îïøï÷æ ïìîïìíò ¸¬¬°æññ©©©ò»¼¯ó
       Ð¸¿®³¿½±°»·¿ô îððèå ìêçò                                                      ³ò»«ñ-·¬»ñóêïìò¸¬³´ ø¿½½»--»¼ í Ú»¾®«¿®§ îððç÷ò
                                                                                  Ù¿²¦ ßÖò Ì¸»®³±°´¿-¬·½ º±±¼ °®±¼«½¬·±²ò Ë²·¬»¼ Í¬¿¬»- Ð¿¬»²¬ Ò±ò
    îð     Ù»²»®¿´ Î»º»®»²½»-                                                        íôéêçôðîçå ïçéíò
                                                                                  Õ´«¹ ÛÜò Í±³» °®±°»®¬·»- ±º ©¿¬»®ó-±´«¾´» ¸§¼®±¨§¿´µ§´ ½»´´«´±-»- ¿²¼ ¬¸»·®
    ß-¸´¿²¼ ß¯«¿´±² Ú«²½¬·±²¿´ ×²¹®»¼·»²¬-ò Ì»½¸²·½¿´ ´·¬»®¿¬«®»æ Õ´«½»´ô
                                                                                     ¼»®·ª¿¬·ª»-ò Ö Ð±´§³ Í½· ïçéïå íêøÐ¿®¬ Ý÷æ ìçïëðèò
       ¸§¼®±¨§°®±°§´½»´´«´±-»ô ¿ ²±²·±²·½ ©¿¬»®ó-±´«¾´» °±´§³»®ô °¸§-·½¿´
                                                                                  Ò·°°±² Í±¼¿ Ý±ò Ô¬¼ò Ì»½¸²·½¿´ ´·¬»®¿¬«®»æ Ò·--± ØÐÝô ïççëò
       ¿²¼ ½¸»³·½¿´ °®±°»®¬·»-ô ïçèéò
    ß-¸´¿²¼ ß¯«¿´±² Ú«²½¬·±²¿´ ×²¹®»¼·»²¬-ò Ì»½¸²·½¿´ ´·¬»®¿¬«®»æ Õ´«½»´ô         Ñ°±¬¿ Ñ »¬ ¿´ò ÅÎ¸»±´±¹·½¿´ ¾»¸¿ª·±® ±º ¿¯«»±«- -±´«¬·±²- ±º ¸§¼®ó
       ¸§¼®±¨§°®±°§´ ½»´´«´±­» øØÐÝ÷  Í«³³¿®§ ±º ¬±¨·½±´±¹·½¿´ ·²ª»­¬·¹¿ó           ±¨§°®±°§´½»´´«´±-»æ ·²º´«»²½» ±º ½±²½»²¬®¿¬·±² ¿²¼ ³±´»½«´¿® ³¿--òÃ
       ¬·±²-ô ïççìò                                                                  Ð¸¿®³ ß½¬¿ Ø»´ª ïçèèå êíæ îêíîÅ·² Ú®»²½¸Ãò
    ß-¸´¿²¼ ß¯«¿´±² Ú«²½¬·±²¿´ ×²¹®»¼·»²¬-ò Ì»½¸²·½¿´ ´·¬»®¿¬«®»æ Õ´«½»´ô
       Ø§¼®±¨§°®±°§´½»´´«´±-»ô Ð¸¿®³¹®¿¼» º±® °¸¿®³¿½»«¬·½¿´ «-»-ô îððîò
       ¸¬¬°æññ©©©ò¸»®½ò½±³ñ¿¯«¿´±²ñ°®±¼«½¬Á¼¿¬¿ñ°®±¼ñìçìò°¼º ø¿½½»--»¼ ïê         îï ß«¬¸±®-
       Ö¿²«¿®§ îððç÷ò
    ß-¸´¿²¼ ß¯«¿´±² Ú«²½¬·±²¿´ ×²¹®»¼·»²¬-ò Ì»½¸²·½¿´ ´·¬»®¿¬«®»æ ß½½»°¬¿¾´»      Óß Õ¿¾·®ô ÖÐ Î»±ò
       «-» ´»ª»´- ±º Õ´«½»´ ¸§¼®±¨§°®±°§´½»´´«´±-» ·² ³±¼·º·»¼ ®»´»¿-» º±®³«´¿ó
       ¬·±²-ô îððèò
    Ü±»´µ»® Ûò Ý»´´«´±-» ¼»®·ª¿¬·ª»-ò ß¼ª Ð±´§³ Í½· ïççíå ïðéæ ïççîêëò
    Û«®±°»¿² Ü·®»½¬±®¿¬» º±® ¬¸» Ï«¿´·¬§ ±º Ó»¼·½·²»- ¿²¼ Ø»¿´¬¸½¿®»
                                                                                  îî Ü¿¬» ±º Î»ª·-·±²
       øÛÜÏÓ÷ò Û«®±°»¿² Ð¸¿®³¿½±°±»·¿  Í¬¿¬» Ñº É±®µ Ñº ×²¬»®²¿¬·±²¿´            îí Ú»¾®«¿®§ îððçò

Ø


              Ø§¼®±¨§°®±°§´ Ý»´´«´±-»ô Ô±©ó-«¾-¬·¬«¬»¼

    ï      Ò±²°®±°®·»¬¿®§ Ò¿³»-                                                   ë     Í¬®«½¬«®¿´ Ú±®³«´¿
    ÖÐæ Ô±© Í«¾-¬·¬«¬»¼ Ø§¼®±¨§°®±°§´½»´´«´±-»
    ËÍÐóÒÚæ Ô±©óÍ«¾-¬·¬«¬»¼ Ø§¼®±¨§°®±°§´ Ý»´´«´±-»




    î      Í§²±²§³-
    Ý»´´«´±-»ô îó¸§¼®±¨§°®±°§´ »¬¸»®å îó¸§¼®±¨§°®±°§´ »¬¸»® ø´±©ó
    -«¾-¬·¬«¬»¼÷ ½»´´«´±-»å ¸§°®±´±-»ô ´±©ó-«¾-¬·¬«¬»¼å ÔóØÐÝå ±¨§°®±ó
    °§´¿¬»¼ ½»´´«´±-»ò




                                                                                  Î ·- Ø ±® ÅÝØîÝØøÝØí÷ÑÃ³Ø
    í      Ý¸»³·½¿´ Ò¿³» ¿²¼ ÝßÍ Î»¹·-¬®§ Ò«³¾»®
    Ý»´´«´±-»ô îó¸§¼®±¨§°®±°§´ »¬¸»® ø´±©ó-«¾-¬·¬«¬»¼÷ ÅçððìóêìóîÃ                ê     Ú«²½¬·±²¿´ Ý¿¬»¹±®§
                                                                                  Ì¿¾´»¬ ¿²¼ ½¿°-«´» ¼·-·²¬»¹®¿²¬å ¬¿¾´»¬ ¾·²¼»®ò

                                                                                  é     ß°°´·½¿¬·±²- ·² Ð¸¿®³¿½»«¬·½¿´ Ú±®³«´¿¬·±² ±®
                                                                                        Ì»½¸²±´±¹§
    ì      Û³°·®·½¿´ Ú±®³«´¿ ¿²¼ Ó±´»½«´¿® É»·¹¸¬                                 Ô±©ó-«¾-¬·¬«¬»¼ ¸§¼®±¨§°®±°§´ ½»´´«´±-» ·- ©·¼»´§ «-»¼ ·² ±®¿´
                                                                                  -±´·¼ó¼±-¿¹» º±®³-ò ×¬ ·- °®·³¿®·´§ «-»¼ ¿- ¿ ¼·-·²¬»¹®¿²¬ô ¿²¼ ¿- ¿
    Ì¸» ËÍÐíîÒÚîé ¼»­½®·¾»­ ´±©ó­«¾­¬·¬«¬»¼ ¸§¼®±¨§°®±°§´ ½»´´«ó                 ¾·²¼»® º±® ¬¿¾´»¬- ¿²¼ ¹®¿²«´»- ·² ©»¬ ±® ¼®§ ¹®¿²«´¿¬·±²òøï÷ ×¬ ¸¿-
    ´±-» ¿- ¿ ´±©ó-«¾-¬·¬«¬»¼ ¸§¼®±¨§°®±°§´ »¬¸»® ±º ½»´´«´±-»ò                   ¾»»² «-»¼ ·² ¬¸» °®»°¿®¿¬·±² ±º ®¿°·¼´§ ¼·-·²¬»¹®¿¬·²¹ ¬¿¾´»¬-
    Ý±³°¿®»¼ ¬± ¸§¼®±¨§°®±°§´ ½»´´«´±-»ô ´±©ó-«¾-¬·¬«¬»¼ ¸§¼®±¨§ó                 °®±¼«½»¼ ¾§ ¼·®»½¬ ½±³°®»--·±² ³»¬¸±¼-òøîì÷ ×² ¿¼¼·¬·±²ô ´±©ó
    °®±°§´ ½»´´«´±-» ¸¿- ±²´§ ¿ -³¿´´ °®±°±®¬·±² ±º ¬¸» ¬¸®»» º®»»                -«¾-¬·¬«¬»¼ ¸§¼®±¨§°®±°§´ ½»´´«´±-» ¸¿- ¾»»² «-»¼ ¿- ¿ ¾·²¼»®ñ
    ¸§¼®±¨§´ ¹®±«°- °»® ¹´«½±-» -«¾«²·¬ ½±²ª»®¬»¼ ¬± ¿ ¸§¼®±¨§°®±°§´              ¼·-·²¬»¹®¿²¬ ·²½´«¼»¼ ·² ¬¸» °±©¼»® ´¿§»®·²¹ °®±½»-- ±² -°¸»®·½¿´
    »¬¸»®òøï÷ É¸»² ¼®·»¼ ¿¬ ïðëèÝ º±® ï ¸±«®ô ·¬ ½±²¬¿·²- ²±¬ ´»-- ¬¸¿²           ½±®»- ¿²¼ ¬± °®»°¿®» °»´´»¬- ¾§ »¨¬®«-·±²ñ-°¸»®±²·¦¿¬·±²òøïôêôé÷ ß
    ëòðû ¿²¼ ²±¬ ³±®» ¬¸¿² ïêòðû ±º ¸§¼®±¨§°®±°±¨§ ¹®±«°­ ø                      ´±© °¿®¬·½´» -·¦» ¿²¼ ¸·¹¸ ¸§¼®±¨§°®±°§´ ½±²¬»²¬ ·- ®»½±³³»²¼»¼
    ÑÝØîÝØÑØÝØí÷ò Ô±©ó-«¾-¬·¬«¬»¼ ¸§¼®±¨§°®±°§´ ½»´´«´±-» ·-                      ¬± °®±¼«½» ®±«²¼ -°¸»®»- ¿²¼ ®¿°·¼ ¼·--±´«¬·±²òøïôë÷
    ½±³³»®½·¿´´§ ¿ª¿·´¿¾´» ·² ¿ ²«³¾»® ±º ¼·ºº»®»²¬ ¹®¿¼»- ¬¸¿¬ ¸¿ª»                 Ì¸»®» ¿®» ¿ ²«³¾»® ±º ¹®¿¼»- ¬¸¿¬ ¸¿ª» ¼·ºº»®»²¬ °¿®¬·½´» -·¦»-
    ¼·ºº»®»²¬ °¿®¬·½´» -·¦»- ¿²¼ -«¾-¬·¬«¬·±² ´»ª»´-ò                             ¿²¼ -«¾-¬·¬«¬·±² ´»ª»´-ò ÔØóïï ¸¿- ¬¸» ´±²¹»-¬ º·¾®±«- °¿®¬·½´»-ô ¿²¼
           Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 49 of 103 PageID #: 1662
    í îê       Ø§°®±³»´´±-»

     ì Ê»²¿½·± ß »¬ ¿´ò Ûª¿´«¿¬·±² ±º ½®«¼» ¸§¼®±¨§°®±°§´ -¬¿®½¸ ¿- ¿           îð    Ù»²»®¿´ Î»º»®»²½»-
       ¾·±-»°¿®¿¬·±² ¿¯«»±«-ó°¸¿-»óº±®³·²¹ °±´§³»®ò Þ·±¬»½¸²±´ Ð®±¹ ïççíå
       çøê÷æ êíëêíçò
                                                                                
     ë ÚßÑñÉØÑò Ú·º¬»»²¬¸ ®»°±®¬ ±º ¬¸» Ö±·²¬ ÚßÑñÉØÑ Û¨°»®¬ Ý±³³·¬¬»»
       ±² Ú±±¼ ß¼¼·¬·ª»-ò É±®´¼ Ø»¿´¬¸ Ñ®¹¿² Ì»½¸ Î»° Í»® ïçéîå Ò±ò ìèèò
     ê Ô»©·- ÎÖô »¼ò Í¿¨•- Ü¿²¹»®±«- Ð®±°»®¬·»- ±º ×²¼«-¬®·¿´ Ó¿¬»®·¿´-ô ïï¬¸   îï ß«¬¸±®-
       »¼²ò Ò»© Ç±®µæ É·´»§ô îððìå îðëìò                                        Íß Í¸¿¸ô Ü Ì¸¿--«ò
     é Ê·-¿ª¿®«²¹®±¶ Òô Î»³±² ÖÐò ß² »ª¿´«¿¬·±² ±º ¸§¼®±¨§°®±°§´ -¬¿®½¸ ¿-
       ¼·-·²¬»¹®¿²¬ ¿²¼ ¾·²¼»® ·² ¬¿¾´»¬ º±®³«´¿¬·±²ò Ü®«¹ Ü»ª ×²¼ Ð¸¿®³
       ïççïå ïéøïð÷æ ïíèçô ïíçêò
     è Ö¿°¿² Ð¸¿®³¿½»«¬·½¿´ Û¨½·°·»²¬- Ý±«²½·´ò Ö¿°¿²»-» Ð¸¿®³¿½»«¬·½¿´
                                                                                îî    Ü¿¬» ±º Î»ª·-·±²
       Û¨½·°·»²¬- îððìò Ì±µ§±æ Ç¿µ«¶· Ò·°°±ô îððìå ìîëìîéò                     è Ñ½¬±¾»® îððèò




             Ø§°®±³»´´±-»
Ø
    ï      Ò±²°®±°®·»¬¿®§ Ò¿³»-                                                 ë     Í¬®«½¬«®¿´ Ú±®³«´¿
    ÞÐæ Ø§°®±³»´´±-»
    ÖÐæ Ø§°®±³»´´±-»
    Ð¸Û«®æ Ø§°®±³»´´±-»
    ËÍÐæ Ø§°®±³»´´±-»




    î      Í§²±²§³-
    Þ»²»½»´ ÓØÐÝå Ûìêìå ¸§¼®±¨§°®±°§´ ³»¬¸§´½»´´«´±-»å ØÐÓÝå
    ¸§°®±³»´´±-«³å Ó»¬¸±½»´å ³»¬¸§´½»´´«´±-» °®±°§´»²» ¹´§½±´ »¬¸»®å
    ³»¬¸§´ ¸§¼®±¨§°®±°§´½»´´«´±-»å Ó»¬±´±-»å ÓØÐÝå Ð¸¿®³¿½±¿¬å
    Ì§´±°«®å Ì§´±-» ÓÑò

                                                                                ©¸»®» Î ·- Øô ÝØíô ±® ÝØíÝØøÑØ÷ÝØî

                                                                                ê      Ú«²½¬·±²¿´ Ý¿¬»¹±®§
                                                                                Þ·±¿¼¸»-·ª» ³¿¬»®·¿´å ½±¿¬·²¹ ¿¹»²¬å ½±²¬®±´´»¼ó®»´»¿-» ¿¹»²¬å
    í      Ý¸»³·½¿´ Ò¿³» ¿²¼ ÝßÍ Î»¹·-¬®§ Ò«³¾»®                                ¼·-°»®-·²¹ ¿¹»²¬å ¼·--±´«¬·±² »²¸¿²½»®å »³«´-·º§·²¹ ¿¹»²¬å »³«´-·±²
    Ý»´´«´±-» ¸§¼®±¨§°®±°§´ ³»¬¸§´ »¬¸»® ÅçððìóêëóíÃ                            -¬¿¾·´·¦»®å »¨¬»²¼»¼ó®»´»¿-» ¿¹»²¬å º·´³óº±®³·²¹ ¿¹»²¬å º±¿³·²¹
                                                                                ¿¹»²¬å ¹®¿²«´¿¬·±² ¿·¼å ³±¼·º·»¼ó®»´»¿-» ¿¹»²¬å ³«½±¿¼¸»-·ª»å
                                                                                ®»´»¿-»ó³±¼·º§·²¹ ¿¹»²¬å -±´«¾·´·¦·²¹ ¿¹»²¬å -¬¿¾·´·¦·²¹ ¿¹»²¬å
                                                                                -«-°»²¼·²¹ ¿¹»²¬å -«-¬¿·²»¼ó®»´»¿-» ¿¹»²¬å ¬¿¾´»¬ ¾·²¼»®å ¬¸·½µ»²·²¹
                                                                                ¿¹»²¬å ª·-½±-·¬§ó·²½®»¿-·²¹ ¿¹»²¬ò

    ì      Û³°·®·½¿´ Ú±®³«´¿ ¿²¼ Ó±´»½«´¿® É»·¹¸¬                               é      ß°°´·½¿¬·±²- ·² Ð¸¿®³¿½»«¬·½¿´ Ú±®³«´¿¬·±² ±®
                                                                                       Ì»½¸²±´±¹§
    Ì¸» Ð¸Û«® êòí ¼»-½®·¾»- ¸§°®±³»´´±-» ¿- ¿ °¿®¬´§ Ñó³»¬¸§´¿¬»¼ ¿²¼
    Ñóøîó¸§¼®±¨§°®±°§´¿¬»¼÷ ½»´´«´±-»ò ×¬ ·- ¿ª¿·´¿¾´» ·² -»ª»®¿´ ¹®¿¼»-        Ø§°®±³»´´±-» ·- ©·¼»´§ «-»¼ ·² ±®¿´ô ±°¸¬¸¿´³·½ô ²¿-¿´ô ¿²¼ ¬±°·½¿´
                                                                                °¸¿®³¿½»«¬·½¿´ º±®³«´¿¬·±²-ò
    ¬¸¿¬ ª¿®§ ·² ª·-½±-·¬§ ¿²¼ »¨¬»²¬ ±º -«¾-¬·¬«¬·±²ò Ù®¿¼»- ³¿§ ¾»
                                                                                    ×² ±®¿´ °®±¼«½¬-ô ¸§°®±³»´´±-» ·- °®·³¿®·´§ «-»¼ ¿- ¿ ¬¿¾´»¬
    ¼·-¬·²¹«·-¸»¼ ¾§ ¿°°»²¼·²¹ ¿ ²«³¾»® ·²¼·½¿¬·ª» ±º ¬¸» ¿°°¿®»²¬
                                                                                ¾·²¼»®ôøï÷ ·² º·´³ó½±¿¬·²¹ôøîé÷ ¿²¼ ¿- ¿ ³¿¬®·¨ º±® «-» ·² »¨¬»²¼»¼ó
    ª·-½±-·¬§ô ·² ³Ð¿ -ô ±º ¿ îû ©ñ© ¿¯«»±«- -±´«¬·±² ¿¬ îðèÝò                  ®»´»¿-» ¬¿¾´»¬ º±®³«´¿¬·±²-òøèïî÷ Ý±²½»²¬®¿¬·±²- ¾»¬©»»² îû ¿²¼
    Ø§°®±³»´´±-» ¼»º·²»¼ ·² ¬¸» ËÍÐ íî -°»½·º·»- ¬¸» -«¾-¬·¬«¬·±² ¬§°»          ëû ©ñ© ³¿§ ¾» «-»¼ ¿- ¿ ¾·²¼»® ·² »·¬¸»® ©»¬ó ±® ¼®§ó¹®¿²«´¿¬·±²
    ¾§ ¿°°»²¼·²¹ ¿ º±«®ó¼·¹·¬ ²«³¾»® ¬± ¬¸» ²±²°®±°®·»¬¿®§ ²¿³»æ »ò¹ò           °®±½»--»-ò Ø·¹¸óª·-½±-·¬§ ¹®¿¼»- ³¿§ ¾» «-»¼ ¬± ®»¬¿®¼ ¬¸» ®»´»¿-» ±º
    ¸§°®±³»´´±-» ïèîèò Ì¸» º·®-¬ ¬©± ¼·¹·¬- ®»º»® ¬± ¬¸» ¿°°®±¨·³¿¬»            ¼®«¹­ º®±³ ¿ ³¿¬®·¨ ¿¬ ´»ª»´­ ±º ïðèðû ©ñ© ·² ¬¿¾´»¬­ ¿²¼
    °»®½»²¬¿¹» ½±²¬»²¬ ±º ¬¸» ³»¬¸±¨§ ¹®±«° øÑÝØí÷ò Ì¸» -»½±²¼ ¬©±              ½¿°-«´»-ò Ø§°®±³»´´±-» ·- ¿´-± «-»¼ ·² ´·¯«·¼ ±®¿´ ¼±-¿¹» º±®³- ¿- ¿
    ¼·¹·¬- ®»º»® ¬± ¬¸» ¿°°®±¨·³¿¬» °»®½»²¬¿¹» ½±²¬»²¬ ±º ¬¸» ¸§¼®±ó            -«-°»²¼·²¹ ¿²¼ñ±® ¬¸·½µ»²·²¹ ¿¹»²¬ ¿¬ ½±²½»²¬®¿¬·±²- ®¿²¹·²¹ º®±³
    ¨§°®±°±¨§ ¹®±«° øÑÝØîÝØøÑØ÷ÝØí÷ô ½¿´½«´¿¬»¼ ±² ¿ ¼®·»¼                      ðòîëëòðûòøïí÷
    ¾¿-·-ò ×¬ ½±²¬¿·²- ³»¬¸±¨§ ¿²¼ ¸§¼®±¨§°®±°±¨§ ¹®±«°- ½±²º±®³·²¹                 Ü»°»²¼·²¹ «°±² ¬¸» ª·­½±­·¬§ ¹®¿¼»ô ½±²½»²¬®¿¬·±²­ ±º îîðû
    ¬± ¬¸» ´·³·¬- º±® ¬¸» ª¿®·±«- ¬§°»- ±º ¸§°®±³»´´±-»å -»» Í»½¬·±² çò         ©ñ© ¿®» «-»¼ º±® º·´³óº±®³·²¹ -±´«¬·±²- ¬± º·´³ó½±¿¬ ¬¿¾´»¬-ò Ô±©»®ó
    Ó±´»½«´¿® ©»·¹¸¬ ·­ ¿°°®±¨·³¿¬»´§ ïð ðððï ëðð ðððò                         ª·-½±-·¬§ ¹®¿¼»- ¿®» «-»¼ ·² ¿¯«»±«- º·´³ó½±¿¬·²¹ -±´«¬·±²-ô ©¸·´»
   Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 50 of 103 PageID #: 1663
                                                                                                                                 Ø§°®±³»´´±-»         í îé

¸·¹¸»®óª·-½±-·¬§ ¹®¿¼»- ¿®» «-»¼ ©·¬¸ ±®¹¿²·½ -±´ª»²¬-ò Û¨¿³°´»- ±º         Ì¿¾´» ×æ Ð¸¿®³¿½±°»·¿´ -°»½·º·½¿¬·±²- º±® ¸§°®±³»´´±-»ò
º·´³ó½±¿¬·²¹ ³¿¬»®·¿´- ¬¸¿¬ ¿®» ½±³³»®½·¿´´§ ¿ª¿·´¿¾´» ·²½´«¼»
ß²§Ý±¿¬ Ýô Í°»½¬®¿½»´ô Ð¸¿®³¿½±¿¬ô ¿²¼ ¬¸» Ó»¬¸±½»´ Û Ð®»³·«³              Ì»-¬                            ÖÐ ÈÊ                Ð¸Û«® êòí    ËÍÐ íî
ÔÊ -»®·»-ò                                                                 ×¼»²¬·º·½¿¬·±²                  "                    "            "
    Ø§°®±³»´´±-» ·- ¿´-± «-»¼ ¿- ¿ -«-°»²¼·²¹ ¿²¼ ¬¸·½µ»²·²¹ ¿¹»²¬         Ý¸¿®¿½¬»®-                                          "            
·² ¬±°·½¿´ º±®³«´¿¬·±²-ò Ý±³°¿®»¼ ©·¬¸ ³»¬¸§´½»´´«´±-»ô ¸§°®±ó             ß°°»¿®¿²½» ±º ­±´«¬·±²                              "            
³»´´±-» °®±¼«½»- ¿¯«»±«- -±´«¬·±²- ±º ¹®»¿¬»® ½´¿®·¬§ô ©·¬¸ º»©»®          °Ø øîû ©ñ© ­±´«¬·±²÷            ëòðèòð              ëòðèòð      ëòðèòð
«²¼·--±´ª»¼ º·¾»®- °®»-»²¬ô ¿²¼ ·- ¬¸»®»º±®» °®»º»®®»¼ ·² º±®³«´¿ó         ß°°¿®»²¬ ª·-½±-·¬§              "                    "ø¿÷         "
¬·±²- º±® ±°¸¬¸¿´³·½ «-»ò Ø§°®±³»´´±-» ¿¬ ½±²½»²¬®¿¬·±²- ¾»¬©»»²               äêðð ³Ð¿ -                  èðïîðû              èðïîðû      èðïîðû
ðòìëïòðû ©ñ© ³¿§ ¾» ¿¼¼»¼ ¿­ ¿ ¬¸·½µ»²·²¹ ¿¹»²¬ ¬± ª»¸·½´»­ º±®               ëêðð ³Ð¿ ­                  éëïìðû              éëïìðû      éëïìðû
»§» ¼®±°- ¿²¼ ¿®¬·º·½·¿´ ¬»¿® -±´«¬·±²-ò ×¬ ·- ¿´-± «-»¼ ½±³³»®½·¿´´§ ·²   Ô±-- ±² ¼®§·²¹                  ìëòðû                ìëòðû        ìëòðû
´·¯«·¼ ²¿-¿´ º±®³«´¿¬·±²- ¿¬ ¿ ½±²½»²¬®¿¬·±² ±º ðòïûòøïí÷                  Î»-·¼«» ±² ·¹²·¬·±²             ìïòëû                            ìïòëû
                                                                           Í«´º¿¬»¼ ¿-¸                                        ìïòëû        
    Ø§°®±³»´´±-» ·- «-»¼ ¿- ¿² »³«´-·º·»®ô -«-°»²¼·²¹ ¿¹»²¬ô ¿²¼           Ø»¿ª§ ³»¬¿´-                    ìîð °°³              ìîð °°³      ìîð °°³
-¬¿¾·´·¦·²¹ ¿¹»²¬ ·² ¬±°·½¿´ ¹»´- ¿²¼ ±·²¬³»²¬-ò ß- ¿ °®±¬»½¬·ª»           Ó»¬¸±¨§ ½±²¬»²¬                 "                    "ø¿÷         "
½±´´±·¼ô ·¬ ½¿² °®»ª»²¬ ¼®±°´»¬- ¿²¼ °¿®¬·½´»- º®±³ ½±¿´»-½·²¹ ±®              Ì§°» ïèîè                   ïêòëîðòðû           ïêòëîðòðû   ïêòëîðòðû
¿¹¹´±³»®¿¬·²¹ô ¬¸«- ·²¸·¾·¬·²¹ ¬¸» º±®³¿¬·±² ±º -»¼·³»²¬-ò                     Ì§°» îîðè                   ïçòðîìòðû           ïçòðîìòðû   ïçòðîìòðû
    ×² ¿¼¼·¬·±²ô ¸§°®±³»´´±-» ·- «-»¼ ·² ¬¸» ³¿²«º¿½¬«®» ±º ½¿°-«´»-ô          Ì§°» îçðê                   îéòðíðòðû           îéòðíðòðû   îéòðíðòðû
¿- ¿² ¿¼¸»-·ª» ·² °´¿-¬·½ ¾¿²¼¿¹»-ô ¿²¼ ¿- ¿ ©»¬¬·²¹ ¿¹»²¬ º±® ¸¿®¼            Ì§°» îçïð                   îèòðíðòðû           îèòðíðòðû   îèòðíðòðû
½±²¬¿½¬ ´»²-»-ò ×¬ ·- ¿´-± ©·¼»´§ «-»¼ ·² ½±-³»¬·½- ¿²¼ º±±¼ °®±¼«½¬-ò     Ø§¼®±¨§°®±°±¨§ ½±²¬»²¬          "                    "ø¿÷         "
                                                                               Ì§°» ïèîè                   îíòðíîòðû           îíòðíîòðû   îíòðíîòðû
è     Ü»-½®·°¬·±²
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                                                                               Ì§°» îçðê
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                                                                                                           ìòðéòëû
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Ø§°®±³»´´±-» ·- ¿² ±¼±®´»-- ¿²¼ ¬¿-¬»´»--ô ©¸·¬» ±® ½®»¿³§ó©¸·¬»               Ì§°» îçïð                   éòðïîòðû            éòðïîòðû    éòðïîòðû
º·¾®±«- ±® ¹®¿²«´¿® °±©¼»®ò Í»» ¿´-± Í»½¬·±² ïðò
                                                                           ø¿÷ Ó¿§ ¾» ¿ º«²½¬·±²¿´·¬§ ®»´¿¬»¼ ½¸¿®¿½¬»®·-¬·½ò


ÍÛÓ ïæ Û¨½·°·»²¬æ Ó»¬¸±½»´ Ûëå ³¿²«º¿½¬«®»®æ Ü±© É±´ºº Ý»´´«´±-·½-å
³¿¹²·º·½¿¬·±²æ îðð å ª±´¬¿¹»æ í µÊò                                        ïð Ì§°·½¿´ Ð®±°»®¬·»-
                                                                           ß½·¼·¬§ñ¿´µ¿´·²·¬§ °Ø ã ëòðèòð º±® ¿ îû ©ñ© ¿¯«»±«­ ­±´«¬·±²ò
                                                                           ß-¸ ìïòëû
                                                                           ß«¬±·¹²·¬·±² ¬»³°»®¿¬«®» íêðèÝ
                                                                           Ü»²-·¬§ ø¾«´µ÷ ðòíìï ¹ñ½³í
                                                                           Ü»²-·¬§ ø¬¿°°»¼÷ ðòëëé ¹ñ½³í
                                                                           Ü»²-·¬§ ø¬®«»÷ ïòíîê ¹ñ½³í
                                                                           Ó»´¬·²¹ °±·²¬ Þ®±©²­ ¿¬ ïçðîððèÝå ½¸¿®­ ¿¬ îîëîíðèÝò Ù´¿--
                                                                              ¬®¿²­·¬·±² ¬»³°»®¿¬«®» ·­ ïéðïèðèÝò
                                                                           Ó±·-¬«®» ½±²¬»²¬ Ø§°®±³»´´±-» ¿¾-±®¾- ³±·-¬«®» º®±³ ¬¸» ¿¬³±ó
                                                                              -°¸»®»å ¬¸» ¿³±«²¬ ±º ©¿¬»® ¿¾-±®¾»¼ ¼»°»²¼- «°±² ¬¸» ·²·¬·¿´
                                                                              ³±·-¬«®» ½±²¬»²¬ ¿²¼ ¬¸» ¬»³°»®¿¬«®» ¿²¼ ®»´¿¬·ª» ¸«³·¼·¬§ ±º
                                                                              ¬¸» -«®®±«²¼·²¹ ¿·®ò Í»» Ú·¹«®» ïò
                                                                           Ò×Î -°»½¬®¿ -»» Ú·¹«®» îò
                                                                           Í±´«¾·´·¬§ Í±´«¾´» ·² ½±´¼ ©¿¬»®ô º±®³·²¹ ¿ ª·-½±«- ½±´´±·¼¿´
                                                                              -±´«¬·±²å °®¿½¬·½¿´´§ ·²-±´«¾´» ·² ¸±¬ ©¿¬»®ô ½¸´±®±º±®³ô »¬¸¿²±´
                                                                              øçëû÷ô ¿²¼ »¬¸»®ô ¾«¬ -±´«¾´» ·² ³·¨¬«®»- ±º »¬¸¿²±´ ¿²¼
                                                                              ¼·½¸´±®±³»¬¸¿²»ô ³·¨¬«®»- ±º ³»¬¸¿²±´ ¿²¼ ¼·½¸´±®±³»¬¸¿²»ô
                                                                              ¿²¼ ³·¨¬«®»- ±º ©¿¬»® ¿²¼ ¿´½±¸±´ò Ý»®¬¿·² ¹®¿¼»- ±º ¸§°®±ó
ÍÛÓ îæ Û¨½·°·»²¬æ Ó»¬¸±½»´ ÕìÓå ³¿²«º¿½¬«®»®æ Ü±© É±´ºº Ý»´´«´±-·½-å          ³»´´±-» ¿®» -±´«¾´» ·² ¿¯«»±«- ¿½»¬±²» -±´«¬·±²-ô ³·¨¬«®»- ±º
³¿¹²·º·½¿¬·±²æ ëðð å ª±´¬¿¹»æ í µÊò                                           ¼·½¸´±®±³»¬¸¿²» ¿²¼ °®±°¿²óîó±´ô ¿²¼ ±¬¸»® ±®¹¿²·½ -±´ª»²¬-ò
                                                                              Í±³» ¹®¿¼»- ¿®» -©»´´¿¾´» ·² »¬¸¿²±´òøïì÷ Í»» ¿´-± Í»½¬·±² ïïò
                                                                           Í°»½·º·½ ¹®¿ª·¬§ ïòîê
                                                                           Ê·-½±-·¬§ ø¼§²¿³·½÷
                                                                              ß ©·¼» ®¿²¹» ±º ª·-½±-·¬§ ¬§°»- ¿®» ½±³³»®½·¿´´§ ¿ª¿·´¿¾´»ò
                                                                                 ß¯«»±«- -±´«¬·±²- ¿®» ³±-¬ ½±³³±²´§ °®»°¿®»¼ô ¿´¬¸±«¹¸
                                                                                 ¸§°®±³»´´±-» ³¿§ ¿´-± ¾» ¼·--±´ª»¼ ·² ¿¯«»±«- ¿´½±¸±´- -«½¸
                                                                                 ¿- »¬¸¿²±´ ¿²¼ °®±°¿²óîó±´ °®±ª·¼»¼ ¬¸» ¿´½±¸±´ ½±²¬»²¬ ·-
                                                                                 ´»-- ¬¸¿² ëðû ©ñ©ò Ü·½¸´±®±³»¬¸¿²» ¿²¼ »¬¸¿²±´ ³·¨¬«®»-
                                                                                 ³¿§ ¿´-± ¾» «-»¼ ¬± °®»°¿®» ª·-½±«- ¸§°®±³»´´±-» -±´«¬·±²-ò
                                                                                 Í±´«¬·±²- °®»°¿®»¼ «-·²¹ ±®¹¿²·½ -±´ª»²¬- ¬»²¼ ¬± ¾» ³±®»
                                                                                 ª·-½±«-å ·²½®»¿-·²¹ ½±²½»²¬®¿¬·±² ¿´-± °®±¼«½»- ³±®» ª·-½±«-
                                                                                 -±´«¬·±²-å -»» Ì¿¾´» ××ò
                                                                              Ì± °®»°¿®» ¿² ¿¯«»±«- -±´«¬·±²ô ·¬ ·- ®»½±³³»²¼»¼ ¬¸¿¬
                                                                                 ¸§°®±³»´´±-» ·- ¼·-°»®-»¼ ¿²¼ ¬¸±®±«¹¸´§ ¸§¼®¿¬»¼ ·² ¿¾±«¬
                                                                                 îðíðû ±º ¬¸» ®»¯«·®»¼ ¿³±«²¬ ±º ©¿¬»®ò Ì¸» ©¿¬»® ­¸±«´¼
                                                                                 ¾» ª·¹±®±«­´§ ­¬·®®»¼ ¿²¼ ¸»¿¬»¼ ¬± èðçðèÝô ¿²¼ ¬¸»² ¬¸»
                                                                                 ¸§°®±³»´´±-» -¸±«´¼ ¾» ¿¼¼»¼ò Ì¸» ¸»¿¬ -±«®½» ½¿² ¾»
                                                                                 ®»³±ª»¼ ±²½» ¬¸» ¸§°®±³»´´±-» ¸¿- ¾»»² ¬¸±®±«¹¸´§ ¼·-ó
                                                                                 °»®-»¼ ·²¬± ¬¸» ¸±¬ ©¿¬»®ò Í«ºº·½·»²¬ ½±´¼ ©¿¬»® -¸±«´¼ ¬¸»² ¾»
ç     Ð¸¿®³¿½±°»·¿´ Í°»½·º·½¿¬·±²-                                               ¿¼¼»¼ ¬± °®±¼«½» ¬¸» ®»¯«·®»¼ ª±´«³» ©¸·´» ½±²¬·²«·²¹ ¬±
Í»» Ì¿¾´» ×ò                                                                     -¬·®ò
                              Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 51 of 103 PageID #: 1664
    í îè                                          Ø§°®±³»´´±-»
                                                ìð
                                                                                                                                 Ì¿¾´» ××æ Ì§°·½¿´ ª·-½±-·¬§ ª¿´«»- º±® îû ø©ñª÷ ¿¯«»±«- -±´«¬·±²- ±º
                                                                                                                                 Ó»¬¸±½»´ øÜ±© É±´ºº Ý»´´«´±-·½-÷ ¿²¼ Ó»¬±´±-» øÍ¸·²óÛ¬-« Ý¸»³·½¿´ Ý±ò
                       û Û¯«·´·¾®·«³ ³±·-¬«®»
                                                               Í±®°¬·±²
                                                                                                                                 Ô¬¼ò÷ò Ê·-½±-·¬·»- ³»¿-«®»¼ ¿¬ îðèÝò
                                                íð             Ü»-±®°¬·±²
                                                                                                                                Ó»¬¸±½»´ ¿²¼ Ó»¬±´±-» °®±¼«½¬- ÖÐñÐ¸Û«®ñ      Ò±³·²¿´ ª·-½±-·¬§ ø³Ð¿ -÷
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                                                îð                                                                                                             ¼»-·¹²¿¬·±²
                                                                                                                                Ó»¬¸±½»´ Õí Ð®»³·«³ ÔÊ            îîðè        í
                                                                                                                                Ó»¬¸±½»´ Õïðð Ð®»³·«³ ÔÊÛÐ        îîðè        ïðð
                                                ïð                                                                              Ó»¬¸±½»´ ÕìÓ Ð®»³·«³              îîðè        ìððð
                                                                                                                                Ó»¬¸±½»´ ÕïëÓ Ð®»³·«³             îîðè        ïë ððð
                                                                                                                                Ó»¬¸±½»´ ÕïððÓ Ð®»³·«³            îîðè        ïðð ððð
                                                                                                                                Ó»¬¸±½»´ Ûí Ð®»³·«³ ÔÊ            îçïð        í
                                                 ð                                                                              Ó»¬¸±½»´ Ûë Ð®»³·«³ ÔÊ            îçïð        ë
                                                      ð   ïð    îð      íð     ìð     ëð      êð   éð   èð    çð ïðð
                                                                                                                                Ó»¬¸±½»´ Ûê Ð®»³·«³ ÔÊ            îçïð        ê
                                                                     û Î»´¿¬·ª» Ø«³·¼·¬§                                        Ó»¬¸±½»´ Ûïë Ð®»³·«³ ÔÊ           îçïð        ïë
                                                                                                                                Ó»¬¸±½»´ Ûëð Ð®»³·«³ ÔÊ           îçïð        ëð
    Ú·¹«®» ïæ ß¾­±®°¬·±²¼»­±®°¬·±² ·­±¬¸»®³ º±® ¸§°®±³»´´±­»ò                                                                  Ó»¬¸±½»´ ÛìÓ Ð®»³·«³              îçïð        ìððð
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                                                ðòé                                                                 ðòê         Ó»¬¸±½»´ Úëð Ð®»³·«³              îçðê        ëð
       ïððð I Åî²¼ ¼»®·ªò ´±¹øïñÎ÷Ã




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                                                                             ïêèë                                               Ø§°®±³»´´±-» ·- ·²½±³°¿¬·¾´» ©·¬¸ -±³» ±¨·¼·¦·²¹ ¿¹»²¬-ò Í·²½» ·¬ ·-
                                                                         ïéðð                                                   ²±²·±²·½ô ¸§°®±³»´´±-» ©·´´ ²±¬ ½±³°´»¨ ©·¬¸ ³»¬¿´´·½ -¿´¬- ±® ·±²·½
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                                                                                                             îíëï               ±®¹¿²·½- ¬± º±®³ ·²-±´«¾´» °®»½·°·¬¿¬»-ò
                                                                                            ïçîï


                                                                                                         îîêç                   ïí Ó»¬¸±¼ ±º Ó¿²«º¿½¬«®»
                                      ïòð                                     ðòî
                                         ïïðð ïíðð ïëðð ïéðð ïçðð îïðð îíðð îëðð                                                ß °«®·º·»¼ º±®³ ±º ½»´´«´±-»ô ±¾¬¿·²»¼ º®±³ ½±¬¬±² ´·²¬»®- ±® ©±±¼
                                                                                                                                °«´°ô ·- ®»¿½¬»¼ ©·¬¸ -±¼·«³ ¸§¼®±¨·¼» -±´«¬·±² ¬± °®±¼«½» ¿
                                                                        É¿ª»´»²¹¬¸ñ²³                                           -©±´´»² ¿´µ¿´· ½»´´«´±-» ¬¸¿¬ ·- ½¸»³·½¿´´§ ³±®» ®»¿½¬·ª» ¬¸¿²
                                                                                                                                «²¬®»¿¬»¼ ½»´´«´±-»ò Ì¸» ¿´µ¿´· ½»´´«´±-» ·- ¬¸»² ¬®»¿¬»¼ ©·¬¸
    Ú·¹«®» îæ Ò»¿®ó·²º®¿®»¼ -°»½¬®«³ ±º ¸§°®±³»´´±-» ³»¿-«®»¼ ¾§                                                                ½¸´±®±³»¬¸¿²» ¿²¼ °®±°§´»²» ±¨·¼» ¬± °®±¼«½» ³»¬¸§´ ¸§¼®±ó
    ®»º´»½¬¿²½»ò                                                                                                                ¨§°®±°§´ »¬¸»®- ±º ½»´´«´±-»ò Ì¸» º·¾®±«- ®»¿½¬·±² °®±¼«½¬ ·- ¬¸»²
                                                                                                                                °«®·º·»¼ ¿²¼ ¹®±«²¼ ¬± ¿ º·²»ô «²·º±®³ °±©¼»® ±® ¹®¿²«´»-ò
       É¸»² ¿¯«»±«-ñ±®¹¿²·½ ½±-±´ª»²¬ ³·¨¬«®»- ¿®» «-»¼ º±® -±´«¬·±²                                                            Ø§°®±³»´´±-» ½¿² ¬¸»² ¾» »¨°±-»¼ ¬± ¿²¸§¼®±«- ¸§¼®±¹»² ½¸´±®·¼»
        °®»°¿®¿¬·±²ô ¸§°®±³»´´±-» -¸±«´¼ º·®-¬ ¾» ¼·-°»®-»¼ ·²¬± ¬¸»                                                            ¬± ·²¼«½» ¼»°±´§³»®·¦¿¬·±²ô ¬¸«- °®±¼«½·²¹ ´±© ª·-½±-·¬§ ¹®¿¼»-ò
        ±®¹¿²·½ ­±´ª»²¬ ¿¬ ¿ ®¿¬·± ±º ëè °¿®¬­ ±º ­±´ª»²¬ ¬± ï °¿®¬ ±º
        ¸§°®±³»´´±-»ò Ý±´¼ ©¿¬»® ·- ¬¸»² ¿¼¼»¼ ¬± °®±¼«½» ¬¸» º·²¿´                                                             ïì    Í¿º»¬§
        ª±´«³»ò Û¨¿³°´»- ±º -«·¬¿¾´» ©¿¬»®ó³·-½·¾´» ±®¹¿²·½ -±´ª»²¬-                                                            Ø§°®±³»´´±-» ·- ©·¼»´§ «-»¼ ¿- ¿² »¨½·°·»²¬ ·² ±®¿´ô ±°¬¸¿´³·½ô
        ·²½´«¼» »¬¸¿²±´ ¿²¼ ¹´§½±´-ò ß -·³·´¿® °®»°¿®¿¬·±² °®±½»¼«®»                                                            ²¿-¿´ô ¿²¼ ¬±°·½¿´ °¸¿®³¿½»«¬·½¿´ º±®³«´¿¬·±²-ò ×¬ ·- ¿´-± «-»¼
        -¸±«´¼ ¾» «-»¼ ©¸»² »¬¸¿²±´ ¿²¼ ¼·½¸´±®±³»¬¸¿²» ½±²-¬·¬«¬»                                                              »¨¬»²-·ª»´§ ·² ½±-³»¬·½- ¿²¼ º±±¼ °®±¼«½¬-ò
        ¿ ½±³°´»¬»´§ ±®¹¿²·½ ½±-±´ª»²¬ ³·¨¬«®»ò                                                                                     Ø§°®±³»´´±-» ·- ¹»²»®¿´´§ ®»¹¿®¼»¼ ¿- ¿ ²±²¬±¨·½ ¿²¼ ²±²ó
                                                                                                                                ·®®·¬¿¬·²¹ ³¿¬»®·¿´ô ¿´¬¸±«¹¸ »¨½»--·ª» ±®¿´ ½±²-«³°¬·±² ³¿§ ¸¿ª» ¿
    ïï                            Í¬¿¾·´·¬§ ¿²¼ Í¬±®¿¹» Ý±²¼·¬·±²-                                                              ´¿¨¿¬·ª» »ºº»½¬òøïê÷ Ì¸» ÉØÑ ¸¿- ²±¬ -°»½·º·»¼ ¿² ¿½½»°¬¿¾´» ¼¿·´§
    Ø§°®±³»´´±-» °±©¼»® ·- ¿ -¬¿¾´» ³¿¬»®·¿´ô ¿´¬¸±«¹¸ ·¬ ·- ¸§¹®±ó                                                             ·²¬¿µ» º±® ¸§°®±³»´´±-» -·²½» ¬¸» ´»ª»´- ½±²-«³»¼ ©»®» ²±¬
    -½±°·½ ¿º¬»® ¼®§·²¹ò                                                                                                        ½±²-·¼»®»¼ ¬± ®»°®»-»²¬ ¿ ¸¿¦¿®¼ ¬± ¸»¿´¬¸òøïé÷ ×² º¿½¬ô ¸·¹¸ ¼±-¿¹»-
       Í±´«¬·±²­ ¿®» ­¬¿¾´» ¿¬ °Ø íïïò Ø§°®±³»´´±­» «²¼»®¹±»­ ¿                                                                ±º ¸§°®±³»´´±-» ¿®» ¾»·²¹ ·²ª»-¬·¹¿¬»¼ º±® ¬®»¿¬·²¹ ª¿®·±«-
    ®»ª»®­·¾´» ­±´¹»´ ¬®¿²­º±®³¿¬·±² «°±² ¸»¿¬·²¹ ¿²¼ ½±±´·²¹ô                                                                 ³»¬¿¾±´·½ -§²¼®±³»-òøïèôïç÷
    ®»­°»½¬·ª»´§ò Ì¸» ¹»´¿¬·±² ¬»³°»®¿¬«®» ·­ ëðçðèÝô ¼»°»²¼·²¹                                                                   ÔÜëð ø³±«-»ô ×Ð÷æ ë ¹ñµ¹øîð÷
    «°±² ¬¸» ¹®¿¼» ¿²¼ ½±²½»²¬®¿¬·±² ±º ³¿¬»®·¿´ò Ú±® ¬»³°»®¿¬«®»-                                                                 ÔÜëð ø®¿¬ô ×Ð÷æ ëòî ¹ñµ¹
    ¾»´±© ¬¸» ¹»´¿¬·±² ¬»³°»®¿¬«®»ô ª·-½±-·¬§ ±º ¬¸» -±´«¬·±² ¼»½®»¿-»-
    ¿- ¬»³°»®¿¬«®» ·- ·²½®»¿-»¼ò Þ»§±²¼ ¬¸» ¹»´¿¬·±² ¬»³°»®¿¬«®»ô
                                                                                                                                ïë    Ø¿²¼´·²¹ Ð®»½¿«¬·±²-
    ª·-½±-·¬§ ·²½®»¿-»- ¿- ¬»³°»®¿¬«®» ·- ·²½®»¿-»¼ò
       ß¯«»±«- -±´«¬·±²- ¿®» ½±³°¿®¿¬·ª»´§ »²¦§³»ó®»-·-¬¿²¬ô °®±ª·¼ó                                                            Ñ¾-»®ª» ²±®³¿´ °®»½¿«¬·±²- ¿°°®±°®·¿¬» ¬± ¬¸» ½·®½«³-¬¿²½»- ¿²¼
    ·²¹ ¹±±¼ ª·-½±-·¬§ -¬¿¾·´·¬§ ¼«®·²¹ ´±²¹ó¬»®³ -¬±®¿¹»òøïë÷ Ø±©»ª»®ô                                                         ¯«¿²¬·¬§ ±º ³¿¬»®·¿´ ¸¿²¼´»¼ò Ø§°®±³»´´±-» ¼«-¬ ³¿§ ¾» ·®®·¬¿¬·²¹
    ¿¯«»±«- -±´«¬·±²- ¿®» ´·¿¾´» ¬± ³·½®±¾·¿´ -°±·´¿¹» ¿²¼ -¸±«´¼ ¾»                                                            ¬± ¬¸» »§»-ô -± »§» °®±¬»½¬·±² ·- ®»½±³³»²¼»¼ò Û¨½»--·ª» ¼«-¬
    °®»-»®ª»¼ ©·¬¸ ¿² ¿²¬·³·½®±¾·¿´ °®»-»®ª¿¬·ª»æ ©¸»² ¸§°®±³»´´±-» ·-                                                          ¹»²»®¿¬·±² -¸±«´¼ ¾» ¿ª±·¼»¼ ¬± ³·²·³·¦» ¬¸» ®·-µ- ±º »¨°´±-·±²ò
    «-»¼ ¿- ¿ ª·-½±-·¬§ó·²½®»¿-·²¹ ¿¹»²¬ ·² ±°¸¬¸¿´³·½ -±´«¬·±²-ô                                                               Ø§°®±³»´´±-» ·- ½±³¾«-¬·¾´»ò
    ¾»²¦¿´µ±²·«³ ½¸´±®·¼» ·- ½±³³±²´§ «-»¼ ¿- ¬¸» °®»-»®ª¿¬·ª»ò
    ß¯«»±«- -±´«¬·±²- ³¿§ ¿´-± ¾» -¬»®·´·¦»¼ ¾§ ¿«¬±½´¿ª·²¹å ¬¸»                                                                ïê    Î»¹«´¿¬±®§ Í¬¿¬«-
    ½±¿¹«´¿¬»¼ °±´§³»® ³«-¬ ¾» ®»¼·-°»®-»¼ ±² ½±±´·²¹ ¾§ -¸¿µ·²¹ò                                                               ÙÎßÍ ´·-¬»¼ò ß½½»°¬»¼ º±® «-» ¿- ¿ º±±¼ ¿¼¼·¬·ª» ·² Û«®±°»ò
       Ø§°®±³»´´±-» °±©¼»® -¸±«´¼ ¾» -¬±®»¼ ·² ¿ ©»´´ó½´±-»¼                                                                    ×²½´«¼»¼ ·² ¬¸» ÚÜß ×²¿½¬·ª» ×²¹®»¼·»²¬- Ü¿¬¿¾¿-» ø±°¸¬¸¿´³·½ ¿²¼
    ½±²¬¿·²»®ô ·² ¿ ½±±´ô ¼®§ °´¿½»ò                                                                                            ²¿-¿´ °®»°¿®¿¬·±²-å ±®¿´ ½¿°-«´»-ô -«-°»²-·±²-ô -§®«°-ô ¿²¼ ¬¿¾´»¬-å
   Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 52 of 103 PageID #: 1665
                                                                                                                              Ø§°®±³»´´±-»             í îç

¬±°·½¿´ ¿²¼ ª¿¹·²¿´ °®»°¿®¿¬·±²-÷ò ×²½´«¼»¼ ·² ²±²°¿®»²¬»®¿´                   ïì Ç¿³¿-¸·¬¿ Õ »¬ ¿´ò Û-¬¿¾´·-¸³»²¬ ±º ²»© °®»°¿®¿¬·±² ³»¬¸±¼ º±® -±´·¼
³»¼·½·²»- ´·½»²-»¼ ·² ¬¸» ËÕò ×²½´«¼»¼ ·² ¬¸» Ý¿²¿¼·¿² Ô·-¬ ±º                    ¼·-°»®-·±² º±®³«´¿¬·±² ±º ¬¿½®±´·³«-ò ×²¬ Ö Ð¸¿®³ îððíå îêéæ éççïò
ß½½»°¬¿¾´» Ò±²ó³»¼·½·²¿´ ×²¹®»¼·»²¬-ò                                          ïë Þ¿²µ»® Ù »¬ ¿´ò Ó·½®±¾·±´±¹·½¿´ ½±²-·¼»®¿¬·±²- ±º °±´§³»® -±´«¬·±²-
                                                                                  «-»¼ ·² ¿¯«»±«- º·´³ ½±¿¬·²¹ò Ü®«¹ Ü»ª ×²¼ Ð¸¿®³ ïçèîå èæ ìïëïò
                                                                               ïê ß²±²§³±«-ò Ú·²¿´ ®»°±®¬ ±² ¬¸» -¿º»¬§ ¿--»--³»²¬ ±º ¸§¼®±¨§»¬¸§´½»´ó
ïé Î»´¿¬»¼ Í«¾-¬¿²½»-
                                                                                  ´«´±-»ô ¸§¼®±¨§°®±°§´½»´´«´±-»ô ³»¬¸§´½»´´«´±-»ô ¸§¼®±¨§°®±°§´
Û¬¸§´½»´´«´±-»å ¸§¼®±¨§»¬¸§´ ½»´´«´±-»å ¸§¼®±¨§»¬¸§´³»¬¸§´ ½»´´«ó                 ³»¬¸§´½»´´«´±-» ¿²¼ ½»´´«´±-» ¹«³ò Ö ß³ Ý±´´ Ì±¨·½±´ ïçèêå ëøí÷æ ïêðò
´±-»å ¸§¼®±¨§°®±°§´ ½»´´«´±-»å ¸§°®±³»´´±-» ¿½»¬¿¬» -«½½·²¿¬»å                 ïé ÚßÑñÉØÑò Ûª¿´«¿¬·±² ±º ½»®¬¿·² º±±¼ ¿¼¼·¬·ª»- ¿²¼ ½±²¬¿³·²¿²¬-ò
¸§°®±³»´´±-» °¸¬¸¿´¿¬»å ³»¬¸§´½»´´«´±-»ò                                          Ì¸·®¬§óº·º¬¸ ®»°±®¬ ±º ¬¸» ¶±·²¬ ÚßÑñÉØÑ »¨°»®¬ ½±³³·¬¬»» ±² º±±¼
                                                                                  ¿¼¼·¬·ª»-ò É±®´¼ Ø»¿´¬¸ Ñ®¹¿² Ì»½¸ Î»° Í»® ïççðå Ò±ò éèçò
ïè Ý±³³»²¬-                                                                    ïè Ô§²½¸ ÍÕ »¬ ¿´ò Ë-» ±º ©¿¬»®ó-±´«¾´» ½»´´«´±-» ¼»®·ª¿¬·ª»- º±® °®»ª»²¬·²¹
                                                                                  ±® ¬®»¿¬·²¹ ³»¬¿¾±´·½ -§²¼®±³»ò ×²¬»®²¿¬·±²¿´ Ð¿¬»²¬ ÉÑ îððèðëïéçì
Ø§°®±³»´´±-» ¸¿- ¾»»² «-»¼ ·² °¸¿®³¿½»«¬·½¿´ ¼±-¿¹» º±®³-                         ßîå îððéò
°®±¼«½»¼ «-·²¹ ¸±¬ó³»´¬ »¨¬®«-·±²òøîï÷ Ð®»³·¨ ½±¿¬·²¹ º±®³«´¿¬·±²-             ïç Ó¿µ· ÕÝ »¬ ¿´ò Ø§¼®±¨§°®±°§´³»¬¸§´½»´´«´±-» ¿²¼ ³»¬¸§´½»´´«´±-»
©¸·½¸ ½±²¬¿·² ¸§°®±³»´´±-» ¿- ¿ º·´³óº±®³·²¹ ¿¹»²¬ ·²½´«¼»                        ½±²-«³°¬·±² ®»¼«½» °±-¬°®¿²¼·¿´ ·²-«´·²»³·¿ ·² ±ª»®©»·¹¸¬ ¿²¼ ±¾»-»
Ñ°¿¼®§ øÝ±´±®½±²÷ ¿²¼ ß¼ª¿²¬·¿ Ð®·³» Ý±¿¬·²¹ Í§-¬»³- ø×ÍÐ÷ò                       ³»² ¿²¼ ©±³»²ò Ö Ò«¬® îððèå ïíèæ îçîîçêò
Ó»¬¸±½»´ ÕìÓÐ ÜÝ ¿²¼ Ó»¬¸±½»´ ÕïððÓÐ ÜÝ øÜ±© É±´ºº                             îð Ô»©·- ÎÖô »¼ò Í¿¨•- Ü¿²¹»®±«- Ð®±°»®¬·»- ±º ×²¼«-¬®·¿´ Ó¿¬»®·¿´-ô ïï¬¸
Ý»´´«´±-·½-÷å ¬¸»§ ¸¿ª» ¾»»² ¼»ª»´±°»¼ ¿²¼ ½±³³»®½·¿´·¦»¼ ¬±                      »¼²ò Ò»© Ç±®µæ É·´»§ô îððìå îðëìò
º¿½·´·¬¿¬» ¼·®»½¬ ½±³°®»--·±² ±º ¬¿¾´»¬- »¨¸·¾·¬·²¹ ³±¼·º·»¼ó®»´»¿-»           îï Ý±°°»²- Õß »¬ ¿´ò Ø§°®±³»´´±-»ô »¬¸§´½»´´«´±-»ô ¿²¼ °±´§»¬¸§´»²»
°»®º±®³¿²½»ò                                                                      ±¨·¼» «-» ·² ¸±¬ ³»´¬ »¨¬®«-·±²ò Ð¸¿®³ Ì»½¸²±´ îððëå íðøï÷æ êîéðò
   Ð±©¼»®»¼ ±® ¹®¿²«´¿®ô -«®º¿½»ó¬®»¿¬»¼ ¹®¿¼»- ±º ¸§°®±³»´´±-»
¿®» ¿´-± ¿ª¿·´¿¾´» ¬¸¿¬ ¿®» ¼·-°»®-·¾´» ·² ½±´¼ ©¿¬»®ò Ì¸»-» ¿®» ²±¬
                                                                               îî Ú±±¼ Ý¸»³·½¿´- Ý±¼»¨ô ê¬¸ »¼²ò Þ»¬¸»-¼¿ô ÓÜæ Ë²·¬»¼ Í¬¿¬»-
                                                                                  Ð¸¿®³¿½±°»·¿ô îððèå ìéðò                                                      Ø
®»½±³³»²¼»¼ º±® ±®¿´ «-»ò
   ß -°»½·º·½¿¬·±² º±® ¸§°®±³»´´±-» ·- ½±²¬¿·²»¼ ·² ¬¸» Ú±±¼                   îð    Ù»²»®¿´ Î»º»®»²½»-
Ý¸»³·½¿´- Ý±¼»¨ øÚÝÝ÷òøîî÷                                                     Ü±»´µ»® Ûò Ý»´´«´±-» ¼»®·ª¿¬·ª»-ò ß¼ª Ð±´§³ Í½· ïççíå ïðéæ ïççîêëò
   Ì¸» Ð«¾Ý¸»³ Ý±³°±«²¼ ×Ü øÝ×Ü÷ º±® ¸§°®±³»´´±-» ·-                           Ü±© Ý¸»³·½¿´ Ý±³°¿²§ò Ó»¬¸±½»´ Ð®±¼«½¬-ò ¸¬¬°æññ©©©ò¼±©ò½±³ñ¼±©ó
îìèíîðçëò                                                                         »¨½·°·»²¬-ñ°®±¼«½¬-ñ³»¬¸±½»´ò¸¬³ ø¿½½»--»¼ îð Ú»¾®«¿®§ îððç÷ò
                                                                               Ô· ÝÔ »¬ ¿´ò Ì¸» «-» ±º ¸§°®±³»´´±-» ·² ±®¿´ ¼®«¹ ¼»´·ª»®§ò Ö Ð¸¿®³
ïç    Í°»½·º·½ Î»º»®»²½»-                                                         Ð¸¿®³¿½±´ îððëå ëéæ ëííëìêò
 ï Ý¸±©¸¿² ÆÌò Î±´» ±º ¾·²¼»®- ·² ³±·-¬«®»ó·²¼«½»¼ ¸¿®¼²»-- ·²½®»¿-» ·²        Ó¿´¿³¿¬¿®·- Í »¬ ¿´ò Ûºº»½¬ ±º °¿®¬·½´» -·¦» ¿²¼ -±®¾»¼ ³±·-¬«®» ±² ¬¸»
   ½±³°®»--»¼ ¬¿¾´»¬- ¿²¼ ·¬- »ºº»½¬ ±² ·² ª·¬®± ¼·-·²¬»¹®¿¬·±² ¿²¼               ½±³°®»--·±² ¾»¸¿ª·±® ±º -±³» ¸§¼®±¨§°®±°§´ ³»¬¸§´½»´´«´±-» øØÐÓÝ÷
   ¼·--±´«¬·±²ò Ö Ð¸¿®³ Í½· ïçèðå êçæ ïìò                                        °±´§³»®-ò ×²¬ Ö Ð¸¿®³ ïççìå ïðíæ îðëîïëò
 î Î±©» ÎÝò Ì¸» ¿¼¸»­·±² ±º º·´³ ½±¿¬·²¹­ ¬± ¬¿¾´»¬ ­«®º¿½»­  ¬¸» »ºº»½¬ ±º   Ð¿°¿¼·³·¬®·±« Û »¬ ¿´ò Ð®±¾·²¹ ¬¸» ³»½¸¿²·-³- ±º -©»´´·²¹ ±º ¸§¼®ó
   -±³» ¼·®»½¬ ½±³°®»--·±² »¨½·°·»²¬- ¿²¼ ´«¾®·½¿²¬-ò Ö Ð¸¿®³ Ð¸¿®³¿½±´           ±¨§°®±°§´³»¬¸§´½»´´«´±-» ³¿¬®·½»-ò ×²¬ Ö Ð¸¿®³ ïççíå çèæ ëéêîò
   ïçééå îçæ éîíéîêò                                                          Ð¿®¿¾ ÐÊ »¬ ¿´ò ×²º´«»²½» ±º ¸§¼®±¨§°®±°§´ ³»¬¸§´½»´´«´±-» ¿²¼ ±º
 í Î±©» ÎÝò Ì¸» ³±´»½«´¿® ©»·¹¸¬ ¿²¼ ³±´»½«´¿® ©»·¹¸¬ ¼·-¬®·¾«¬·±² ±º             ³¿²«º¿½¬«®·²¹ ¬»½¸²·¯«» ±² ·² ª·¬®± °»®º±®³¿²½» ±º -»´»½¬»¼ ¿²¬¿½·¼-ò
   ¸§¼®±¨§°®±°§´ ³»¬¸§´½»´´«´±-» «-»¼ ·² ¬¸» º·´³ ½±¿¬·²¹ ±º ¬¿¾´»¬-ò Ö           Ü®«¹ Ü»ª ×²¼ Ð¸¿®³ ïçèëå ïïæ ïêçïèëò
   Ð¸¿®³ Ð¸¿®³¿½±´ ïçèðå íîæ ïïêïïçò                                          Î¿¼»¾¿«¹¸ ÙÉ »¬ ¿´ò Ó»¬¸±¼- º±® »ª¿´«¿¬·²¹ ¬¸» °«²½¬«®» ¿²¼ -¸»¿®
 ì Þ¿²µ»® Ù »¬ ¿´ò Ûª¿´«¿¬·±² ±º ¸§¼®±¨§°®±°§´ ½»´´«´±-» ¿²¼ ¸§¼®±ó               °®±°»®¬·»- ±º °¸¿®³¿½»«¬·½¿´ °±´§³»®·½ º·´³-ò ×²¬ Ö Ð¸¿®³ ïçèèå ìëæ íç
   ¨§°®±°§´ ³»¬¸§´ ½»´´«´±-» ¿- ¿¯«»±«- ¾¿-»¼ º·´³ ½±¿¬·²¹-ò Ü®«¹ Ü»ª             ìêò
   ×²¼ Ð¸¿®³ ïçèïå éæ êçíéïêò                                                 Î±©» ÎÝò Ó¿¬»®·¿´- «-»¼ ·² ¬¸» º·´³ ½±¿¬·²¹ ±º ±®¿´ ¼±-¿¹» º±®³-ò Ú´±®»²½»
 ë Ñµ¸¿³¿º» ßÑô Ç±®µ Ðò Ó±·-¬«®» °»®³»¿¬·±² ³»½¸¿²·-³ ±º -±³»                     ßÌô »¼ò Ý®·¬·½¿´ Î»°±®¬- ±² ß°°´·»¼ Ý¸»³·-¬®§ò Ñ¨º±®¼æ Þ´¿½µ©»´´
   ¿¯«»±«-ó¾¿-»¼ º·´³ ½±¿¬-ò Ö Ð¸¿®³ Ð¸¿®³¿½±´ ïçèîå íìøÍ«°°´ò÷æ ëíÐò             Í½·»²¬·º·½ô ïçèìå ïíêò
 ê ß´¼»®³¿² Üßô Í½¸«´¦ ÙÖò Ó»¬¸±¼ ±º ³¿µ·²¹ ¿ ¹®¿²«´¿®ô ½±´¼ ©¿¬»®
                                                                               Í¿µ± Õ »¬ ¿´ò ×²º´«»²½» ±º ©¿¬»® -±´«¾´» º·´´»®- ·² ¸§¼®±¨§°®±°§´³»¬¸§´½»´´«ó
   ¼·-°»®-·¾´» ½±¿¬·²¹ ½±³°±-·¬·±² º±® ¬¿¾´»¬-ò Ë²·¬»¼ Í¬¿¬»- Ð¿¬»²¬ Ò±ò
                                                                                  ´±-» ³¿¬®·½»- ±² ·² ª·¬®± ¿²¼ ·² ª·ª± ¼®«¹ ®»´»¿-»ò Ö Ý±²¬®±´ Î»´»¿-» îððîå
   ìôèïêôîçèå ïçèçò
 é Ð¿¬»´´ ÓÕò Ì¿-¬» ³¿-µ·²¹ °¸¿®³¿½»«¬·½¿´ ¿¹»²¬-ò Ë²·¬»¼ Í¬¿¬»- Ð¿¬»²¬           èïæ ïêëïéîò
   Ò±ò ìôçïêôïêïå ïççðò                                                        Í»¾»®¬ Ð »¬ ¿´ò Ûºº»½¬ ±º ¹¿³³¿ ·®®¿¼·¿¬·±² ±² ¸§¼®±¨§°®±°§´³»¬¸§´½»´´«´±-»
 è Ø¿®¼§ ÖÙ »¬ ¿´ò Î»´»¿-» ®¿¬»- º®±³ -«-¬¿·²»¼ó®»´»¿-» ¾«½½¿´ ¬¿¾´»¬- ·²         °±©¼»®-æ ½±²-»¯«»²½»- ±² °¸§-·½¿´ô ®¸»±´±¹·½¿´ ¿²¼ °¸¿®³¿½±¬»½¸²·½¿´
   ³¿²ò Ö Ð¸¿®³ Ð¸¿®³¿½±´ ïçèîå íìøÍ«°°´ò÷æ çïÐò                                  °®±°»®¬·»-ò ×²¬ Ö Ð¸¿®³ ïççíå ççæ íéìîò
 ç Ø±¹¿² ÖÛò Ø§¼®±¨§°®±°§´³»¬¸§´½»´´«´±-» -«-¬¿·²»¼ ®»´»¿-» ¬»½¸²±´±¹§ò        Í¸·²óÛ¬-« Ý¸»³·½¿´ Ý±ò Ô¬¼ò Ì»½¸²·½¿´ ´·¬»®¿¬«®»æ Ó»¬±´±-»ô îððèò
   Ü®«¹ Ü»ª ×²¼ Ð¸¿®³ ïçèçå ïëæ çéëçççò                                       Í¸·²óÛ¬-« Ý¸»³·½¿´ Ý±ò Ô¬¼ò Ì»½¸²·½¿´ ´·¬»®¿¬«®»æ Ð¸¿®³¿½±¿¬ô îððéò
ïð Í¸¿¸ ßÝ »¬ ¿´ò Ù»´ó³¿¬®·¨ -§-¬»³- »¨¸·¾·¬·²¹ ¾·³±¼¿´ ½±²¬®±´´»¼ ®»´»¿-»     É¿² ÔÍÝ »¬ ¿´ò Ì¸» »ºº»½¬ ±º ¸§¼®±¨§°®±°§´³»¬¸§´½»´´«´±-» ±² ©¿¬»®
   º±® ±®¿´ ¼»´·ª»®§ò Ö Ý±²¬®±´ Î»´»¿-» ïçèçå çæ ïêçïéëò                         °»²»¬®¿¬·±² ·²¬± ¿ ³¿¬®·¨ -§-¬»³ò ×²¬ Ö Ð¸¿®³ ïççïå éíæ ïïïïïêò
ïï É·´-±² ØÝô Ý«ºº ÙÉò Í«-¬¿·²»¼ ®»´»¿-» ±º ·-±³¿¦±´» º®±³ ³¿¬®·¨
   ¬¿¾´»¬- ¿¼³·²·-¬»®»¼ ¬± ¼±¹-ò Ö Ð¸¿®³ Í½· ïçèçå éèæ ëèîëèìò
                                                                               îï    ß«¬¸±®
ïî Ü¿¸´ ÌÝ »¬ ¿´ò ×²º´«»²½» ±º °¸§-·½±½¸»³·½¿´ °®±°»®¬·»- ±º ¸§¼®ó
   ±¨§°®±°§´ ³»¬¸§´½»´´«´±-» ±² ²¿°®±¨»² ®»´»¿-» º®±³ -«-¬¿·²»¼ ®»´»¿-»        ÌÔ Î±¹»®-ò
   ³¿¬®·¨ ¬¿¾´»¬-ò Ö Ý±²¬®±´ Î»´»¿-» ïççðå ïìæ ïïðò
ïí Ú±±¼ ¿²¼ Ü®«¹ ß¼³·²·­¬®¿¬·±²  Ý»²¬»® º±® Ü®«¹ Ûª¿´«¿¬·±² ¿²¼
                                                                               îî Ü¿¬» ±º Î»ª·-·±²
   Î»-»¿®½¸ò       ¸¬¬°æññ©©©ò¿½½»--¼¿¬¿òº¼¿ò¹±ªñ-½®·°¬-ñ½¼»®ñ··¹ñ·²¼»¨ò½º³
   ø¿½½»--»¼ îð Ú»¾®«¿®§ îððç÷ò                                                îð Ú»¾®«¿®§ îððçò
    Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 53 of 103 PageID #: 1666
                                                                                                                             Ð±ª·¼±²»         ë èï

 é Ú±±¼ Ý¸»³·½¿´- Ý±¼»¨ô ê¬¸ »¼²ò         Þ»¬¸»-¼¿ô ÓÜæ Ë²·¬»¼ Í¬¿¬»-       îï    ß«¬¸±®-
   Ð¸¿®³¿½±°»·¿ô îððèå èïèò
                                                                            ÓÛ Ï«·²²ô ÐÖ Í¸»-µ»§ò
îð    Ù»²»®¿´ Î»º»®»²½»-
Í³±´·²-µ» ÍÝô »¼ò Ø¿²¼¾±±µ ±º Ú±±¼ô Ü®«¹ô ¿²¼ Ý±-³»¬·½ Û¨½·°·»²¬-ò Þ±½¿
   Î¿¬±²ô ÚÔæ ÝÎÝ Ð®»­­ô ïççîå íêííêéò
Í±º±- ÖÒô Þ«-¬¿ ÚÚò Í±®¾¿¬»-ò Þ®¿²»² ßÔô Ü¿ª·¼-±² ÐÓô »¼-ò ß²¬·³·½®±¾·¿´-
   ·² Ú±±¼-ò Ò»© Ç±®µæ Ó¿®½»´ Ü»µµ»®ô ïçèíå ïìïïéëò
                                                                            îî Ü¿¬» ±º Î»ª·-·±²
É¿´µ»® Îò Ì±¨·½±´±¹§ ±º -±®¾·½ ¿½·¼ ¿²¼ -±®¾¿¬»-ò Ú±±¼ ß¼¼ Ý±²¬¿³ ïççðå
   éøë÷æ êéïêéêò                                                           ïé Ú»¾®«¿®§ îððçò




         Ð±ª·¼±²»

ï     Ò±²°®±°®·»¬¿®§ Ò¿³»-                                                   Ì¿¾´» ×æ ß°°®±¨·³¿¬» ³±´»½«´¿® ©»·¹¸¬- º±® ¼·ºº»®»²¬ ¹®¿¼»- ±º
ÞÐæ Ð±ª·¼±²»                                                                 °±ª·¼±²»ò
ÖÐæ Ð±ª·¼±²»                                                                Õóª¿´«»        ß°°®±¨·³¿¬» ³±´»½«´¿® ©»·¹¸¬
Ð¸Û«®æ Ð±ª·¼±²»
                                                                            ïî             î ëðð
ËÍÐæ Ð±ª·¼±²»                                                               ïë             è ððð
                                                                            ïé             ïð ððð
                                                                            îë             íð ððð
                                                                            íð             ëð ððð
                                                                            êð             ìðð ððð
î     Í§²±²§³-                                                              çð             ï ððð ððð
                                                                            ïîð            í ððð ððð
Ûïîðïå Õ±´´·¼±²å Ð´¿-¼±²»å °±´§Åïóøîó±¨±óïó°§®®±´·¼·²§´÷»¬¸§´»²»Ãå
°±´§ª·¼±²»å °±´§ª·²§´°§®®±´·¼±²»å °±ª·¼±²«³å Ð±ª·°¸¿®³å ÐÊÐå ïó
ª·²§´óîó°§®®±´·¼·²±²» °±´§³»®ò                                                  Í»» ¿´-± Í»½¬·±² èò

                                                                            ë     Í¬®«½¬«®¿´ Ú±®³«´¿
                                                                                                                                                      Ð
í     Ý¸»³·½¿´ Ò¿³» ¿²¼ ÝßÍ Î»¹·-¬®§ Ò«³¾»®
ïóÛ¬¸»²§´óîó°§®®±´·¼·²±²» ¸±³±°±´§³»® ÅçððíóíçóèÃ




ì     Û³°·®·½¿´ Ú±®³«´¿ ¿²¼ Ó±´»½«´¿® É»·¹¸¬
øÝêØçÒÑ÷²         îëððí ððð ððð
   Ì¸» ËÍÐ íî ¼»-½®·¾»- °±ª·¼±²» ¿- ¿ -§²¬¸»¬·½ °±´§³»® ½±²-·-¬·²¹
»--»²¬·¿´´§ ±º ´·²»¿® ïóª·²§´óîó°§®®±´·¼·²±²» ¹®±«°-ô ¬¸» ¼·ºº»®·²¹         ê     Ú«²½¬·±²¿´ Ý¿¬»¹±®§
¼»¹®»» ±º °±´§³»®·¦¿¬·±² ±º ©¸·½¸ ®»-«´¬- ·² °±´§³»®- ±º ª¿®·±«-            Ü·-·²¬»¹®¿²¬å ¼·--±´«¬·±² »²¸¿²½»®å -«-°»²¼·²¹ ¿¹»²¬å ¬¿¾´»¬ ¾·²¼»®ò
³±´»½«´¿® ©»·¹¸¬-ò ×¬ ·- ½¸¿®¿½¬»®·¦»¼ ¾§ ·¬- ª·-½±-·¬§ ·² ¿¯«»±«-
-±´«¬·±²ô ®»´¿¬·ª» ¬± ¬¸¿¬ ±º ©¿¬»®ô »¨°®»--»¼ ¿- ¿ Õóª¿´«»ô ·² ¬¸»         é     ß°°´·½¿¬·±²- ·² Ð¸¿®³¿½»«¬·½¿´ Ú±®³«´¿¬·±² ±®
®¿²¹» ïðïîðò Ì¸» Õóª¿´«» ·- ½¿´½«´¿¬»¼ «-·²¹ Ú·µ»²¬-½¸»®•-                       Ì»½¸²±´±¹§
»¯«¿¬·±²æøï÷                                                                ß´¬¸±«¹¸ °±ª·¼±²» ·- «-»¼ ·² ¿ ª¿®·»¬§ ±º °¸¿®³¿½»«¬·½¿´
                                                                            º±®³«´¿¬·±²-ô ·¬ ·- °®·³¿®·´§ «-»¼ ·² -±´·¼ó¼±-¿¹» º±®³-ò ×² ¬¿¾´»¬·²¹ô
                                                                            °±ª·¼±²» -±´«¬·±²- ¿®» «-»¼ ¿- ¾·²¼»®- ·² ©»¬ó¹®¿²«´¿¬·±²
                                                                            °®±½»--»-òøîôí÷ Ð±ª·¼±²» ·- ¿´-± ¿¼¼»¼ ¬± °±©¼»® ¾´»²¼- ·² ¬¸» ¼®§
    ©¸»®» ¦ ·- ¬¸» ®»´¿¬·ª» ª·-½±-·¬§ ±º ¬¸» -±´«¬·±² ±º ½±²½»²¬®¿¬·±² ½    º±®³ ¿²¼ ¹®¿²«´¿¬»¼ ·² -·¬« ¾§ ¬¸» ¿¼¼·¬·±² ±º ©¿¬»®ô ¿´½±¸±´ô ±®
ø·² û ©ñª÷ô ¿²¼ µ ·- ¬¸» Õóª¿´«» ïðíò ß´¬»®²¿¬·ª»´§ô ¬¸» Õóª¿´«»           ¸§¼®±¿´½±¸±´·½ -±´«¬·±²-ò Ð±ª·¼±²» ·- «-»¼ ¿- ¿ -±´«¾·´·¦»® ·² ±®¿´
³¿§ ¾» ¼»¬»®³·²»¼ º®±³ ¬¸» º±´´±©·²¹ »¯«¿¬·±²æ                              ¿²¼ °¿®»²¬»®¿´ º±®³«´¿¬·±²-ô ¿²¼ ¸¿- ¾»»² -¸±©² ¬± »²¸¿²½»
                                                                            ¼·--±´«¬·±² ±º °±±®´§ -±´«¾´» ¼®«¹- º®±³ -±´·¼ó¼±-¿¹» º±®³-òøìê÷
                                                                            Ð±ª·¼±²» -±´«¬·±²- ³¿§ ¿´-± ¾» «-»¼ ¿- ½±¿¬·²¹ ¿¹»²¬- ±® ¿- ¾·²¼»®-
                                                                            ©¸»² ½±¿¬·²¹ ¿½¬·ª» °¸¿®³¿½»«¬·½¿´ ·²¹®»¼·»²¬- ±² ¿ -«°°±®¬ -«½¸
                                                                            ¿- -«¹¿® ¾»¿¼-ò
   ©¸»®» ¦ ·- ¬¸» ®»´¿¬·ª» ª·-½±-·¬§ ±º ¬¸» -±´«¬·±² ±º ½±²½»²¬®¿¬·±² ½        Ð±ª·¼±²» ·- ¿¼¼·¬·±²¿´´§ «-»¼ ¿- ¿ -«-°»²¼·²¹ô -¬¿¾·´·¦·²¹ô ±®
ø·² û ©ñª÷ò ß°°®±¨·³¿¬» ³±´»½«´¿® ©»·¹¸¬- º±® ¼·ºº»®»²¬                     ª·-½±-·¬§ó·²½®»¿-·²¹ ¿¹»²¬ ·² ¿ ²«³¾»® ±º ¬±°·½¿´ ¿²¼ ±®¿´
°±ª·¼±²» ¹®¿¼»- ¿®» -¸±©² ·² Ì¿¾´» ×ò                                       -«-°»²-·±²- ¿²¼ -±´«¬·±²-ò Ì¸» -±´«¾·´·¬§ ±º ¿ ²«³¾»® ±º °±±®´§
           Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 54 of 103 PageID #: 1667
    ë èî        Ð±ª·¼±²»

    -±´«¾´» ¿½¬·ª» ¼®«¹- ³¿§ ¾» ·²½®»¿-»¼ ¾§ ³·¨·²¹ ©·¬¸ °±ª·¼±²»ò Í»»        ÍÛÓ îæ Û¨½·°·»²¬æ °±ª·¼±²» Õóïë øÐ´¿-¼±²» Õóïë÷å ³¿²«º¿½¬«®»®æ ×ÍÐå ´±¬
    Ì¿¾´» ××ò                                                                 ²±òæ èîßóïå ³¿¹²·º·½¿¬·±²æ êðð å ª±´¬¿¹»æ ë µÊò
       Í°»½·¿´ ¹®¿¼»- ±º °§®±¹»²óº®»» °±ª·¼±²» ¿®» ¿ª¿·´¿¾´» ¿²¼ ¸¿ª»
    ¾»»² «-»¼ ·² °¿®»²¬»®¿´ º±®³«´¿¬·±²-å -»» Í»½¬·±² ïìò

     Ì¿¾´» ××æ Ë-»- ±º °±ª·¼±²»ò

    Ë-»                                   Ý±²½»²¬®¿¬·±² øû÷
    Ý¿®®·»® º±® ¼®«¹-                     ïðîë
    Ü·-°»®-·²¹ ¿¹»²¬                      Ë° ¬± ë
    Û§» ¼®±°-                             îïð
    Í«-°»²¼·²¹ ¿¹»²¬                      Ë° ¬± ë
    Ì¿¾´»¬ ¾·²¼»®ô ¬¿¾´»¬ ¼·´«»²¬ô ±®     ðòëë
      ½±¿¬·²¹ ¿¹»²¬




    è     Ü»-½®·°¬·±²
    Ð±ª·¼±²» ±½½«®- ¿- ¿ º·²»ô ©¸·¬» ¬± ½®»¿³§ó©¸·¬» ½±´±®»¼ô ±¼±®´»--
    ±® ¿´³±-¬ ±¼±®´»--ô ¸§¹®±-½±°·½ °±©¼»®ò Ð±ª·¼±²»- ©·¬¸ Õóª¿´«»-
    »¯«¿´ ¬± ±® ´±©»® ¬¸¿² íð ¿®» ³¿²«º¿½¬«®»¼ ¾§ -°®¿§ó¼®§·²¹ ¿²¼
    ±½½«® ¿- -°¸»®»-ò Ð±ª·¼±²» Õóçð ¿²¼ ¸·¹¸»® Õóª¿´«» °±ª·¼±²»- ¿®»
    ³¿²«º¿½¬«®»¼ ¾§ ¼®«³ ¼®§·²¹ ¿²¼ ±½½«® ¿- °´¿¬»-ò

                                                                              ÍÛÓ íæ Û¨½·°·»²¬æ °±ª·¼±²» Õóîêñîè øÐ´¿-¼±²» Õóîêñîè÷å ³¿²«º¿½¬«®»®æ
    ç      Ð¸¿®³¿½±°»·¿´ Í°»½·º·½¿¬·±²-                                       ×ÍÐå ´±¬ ²±òæ èîßóîå ³¿¹²·º·½¿¬·±²æ êð å ª±´¬¿¹»æ ë µÊò
    Í»» Ì¿¾´» ×××ò Í»» ¿´-± Í»½¬·±² ïèò

    ïð Ì§°·½¿´ Ð®±°»®¬·»-
    ß½·¼·¬§ñ¿´µ¿´·²·¬§ °Ø ã íòðéòð øëû ©ñª ¿¯«»±«­ ­±´«¬·±²÷å °Ø ã
       ìòðéòð øëû ©ñª ¿¯«»±«­ ­±´«¬·±²÷ º±® Ð±ª·°¸¿®³ Õçðò
    Ü»²-·¬§ ø¾«´µ÷ ðòîçðòíç ¹ñ½³í º±® Ð´¿-¼±²»ò
    Ü»²-·¬§ ø¬¿°°»¼÷ ðòíçðòëì ¹ñ½³í º±® Ð´¿-¼±²»ò
    Ü»²-·¬§ ø¬®«»÷ ïòïèð ¹ñ½³í
    Ú´±©¿¾·´·¬§
       îð ¹ñ- º±® °±ª·¼±²» Õóïëå
Ð      ïê ¹ñ- º±® °±ª·¼±²» Õóîçñíîò
    Ó»´¬·²¹ °±·²¬ Í±º¬»²- ¿¬ ïëðèÝò
    Ó±·-¬«®» ½±²¬»²¬ Ð±ª·¼±²» ·- ª»®§ ¸§¹®±-½±°·½ô -·¹²·º·½¿²¬
       ¿³±«²¬- ±º ³±·-¬«®» ¾»·²¹ ¿¾-±®¾»¼ ¿¬ ´±© ®»´¿¬·ª» ¸«³·¼·¬·»-ò
       Í»» Ú·¹«®»- ï ¿²¼ îò
    Ò×Î -°»½¬®¿ -»» Ú·¹«®» íò

    ÍÛÓ ïæ Û¨½·°·»²¬æ °±ª·¼±²» Õóïë øÐ´¿-¼±²» Õóïë÷å ³¿²«º¿½¬«®»®æ ×ÍÐå ´±¬
    ²±òæ èîßóïå ³¿¹²·º·½¿¬·±²æ êð å ª±´¬¿¹»æ ë µÊò




                                                                              Ð¿®¬·½´» -·¦» ¼·-¬®·¾«¬·±²
                                                                                 Õ±´´·¼±² îëñíðæ çðû âëð ³³ô ëðû âïðð ³³ô ëû âîðð ³³å
                                                                                 Õ±´´·¼±² çðæ çðû âîðð ³³ô çëû âîëð ³³òøé÷
                                                                              Í±´«¾·´·¬§ Ú®»»´§ -±´«¾´» ·² ¿½·¼-ô ½¸´±®±º±®³ô »¬¸¿²±´ øçëû÷ô
                                                                                 µ»¬±²»-ô ³»¬¸¿²±´ô ¿²¼ ©¿¬»®å °®¿½¬·½¿´´§ ·²-±´«¾´» ·² »¬¸»®ô
                                                                                 ¸§¼®±½¿®¾±²-ô ¿²¼ ³·²»®¿´ ±·´ò ×² ©¿¬»®ô ¬¸» ½±²½»²¬®¿¬·±² ±º ¿
                                                                                 -±´«¬·±² ·- ´·³·¬»¼ ±²´§ ¾§ ¬¸» ª·-½±-·¬§ ±º ¬¸» ®»-«´¬·²¹ -±´«¬·±²ô
                                                                                 ©¸·½¸ ·- ¿ º«²½¬·±² ±º ¬¸» Õóª¿´«»ò
                                                                              Ê·-½±-·¬§ ø¼§²¿³·½÷ Ì¸» ª·-½±-·¬§ ±º ¿¯«»±«- °±ª·¼±²» -±´«¬·±²-
                                                                                 ¼»°»²¼- ±² ¾±¬¸ ¬¸» ½±²½»²¬®¿¬·±² ¿²¼ ¬¸» ³±´»½«´¿® ©»·¹¸¬ ±º
                                                                                 ¬¸» °±´§³»® »³°´±§»¼ò Í»» Ì¿¾´»- ×Ê ¿²¼ Êòøé÷

                                                                              ïï Í¬¿¾·´·¬§ ¿²¼ Í¬±®¿¹» Ý±²¼·¬·±²-
                                                                              Ð±ª·¼±²» ¼¿®µ»²- ¬± -±³» »¨¬»²¬ ±² ¸»¿¬·²¹ ¿¬ ïëðèÝô ©·¬¸ ¿
                                                                              ®»¼«½¬·±² ·² ¿¯«»±«- -±´«¾·´·¬§ò ×¬ ·- -¬¿¾´» ¬± ¿ -¸±®¬ ½§½´» ±º ¸»¿¬
                                                                              »¨°±­«®» ¿®±«²¼ ïïðïíðèÝå -¬»¿³ -¬»®·´·¦¿¬·±² ±º ¿² ¿¯«»±«-
                                                                              -±´«¬·±² ¼±»- ²±¬ ¿´¬»® ·¬- °®±°»®¬·»-ò ß¯«»±«- -±´«¬·±²- ¿®»
   Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 55 of 103 PageID #: 1668
                                                                                                                           Ð±ª·¼±²»          ë èí

ÍÛÓ ìæ Û¨½·°·»²¬æ °±ª·¼±²» Õóîêñîè øÐ´¿-¼±²» Õóîêñîè÷å ³¿²«º¿½¬«®»®æ      ÍÛÓ êæ Û¨½·°·»²¬æ °±ª·¼±²» Õóíð øÐ´¿-¼±²» Õóíð÷å ³¿²«º¿½¬«®»®æ ×ÍÐå ´±¬
×ÍÐå ´±¬ ²±òæ èîßóîå ³¿¹²·º·½¿¬·±²æ êðð å ª±´¬¿¹»æ ïð µÊò                 ²±òæ èîßóìå ³¿¹²·º·½¿¬·±²æ êðð å ª±´¬¿¹»æ ïð µÊò




ÍÛÓ ëæ Û¨½·°·»²¬æ °±ª·¼±²» Õóíð øÐ´¿-¼±²» Õóíð÷å ³¿²«º¿½¬«®»®æ ×ÍÐå ´±¬   ÍÛÓ éæ Û¨½·°·»²¬æ °±ª·¼±²» Õóîçñíî øÐ´¿-¼±²» Õóîçñíî÷å ³¿²«º¿½¬«®»®æ
²±òæ èîßóìå ³¿¹²·º·½¿¬·±²æ êð å ª±´¬¿¹»æ ïð µÊò                           ×ÍÐå ´±¬ ²±òæ èîßóíå ³¿¹²·º·½¿¬·±²æ êð å ª±´¬¿¹»æ ë µÊò




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-«-½»°¬·¾´» ¬± ³±´¼ ¹®±©¬¸ ¿²¼ ½±²-»¯«»²¬´§ ®»¯«·®» ¬¸» ¿¼¼·¬·±² ±º       ïí    Ó»¬¸±¼ ±º Ó¿²«º¿½¬«®»
-«·¬¿¾´» °®»-»®ª¿¬·ª»-ò                                                   Ð±ª·¼±²» ·- ³¿²«º¿½¬«®»¼ ¾§ ¬¸» Î»°°» °®±½»--ò ß½»¬§´»²» ¿²¼
   Ð±ª·¼±²» ³¿§ ¾» -¬±®»¼ «²¼»® ±®¼·²¿®§ ½±²¼·¬·±²- ©·¬¸±«¬               º±®³¿´¼»¸§¼» ¿®» ®»¿½¬»¼ ·² ¬¸» °®»-»²½» ±º ¿ ¸·¹¸´§ ¿½¬·ª» ½±°°»®
«²¼»®¹±·²¹ ¼»½±³°±-·¬·±² ±® ¼»¹®¿¼¿¬·±²ò Ø±©»ª»®ô -·²½» ¬¸»               ¿½»¬§´·¼» ½¿¬¿´§-¬ ¬± º±®³ ¾«¬§²»¼·±´ô ©¸·½¸ ·- ¸§¼®±¹»²¿¬»¼ ¬±
°±©¼»® ·- ¸§¹®±-½±°·½ô ·¬ -¸±«´¼ ¾» -¬±®»¼ ·² ¿² ¿·®¬·¹¸¬ ½±²¬¿·²»® ·²    ¾«¬¿²»¼·±´ ¿²¼ ¬¸»² ½§½´±¼»¸§¼®±¹»²¿¬»¼ ¬± º±®³ ¾«¬§®±´¿½¬±²»ò
¿ ½±±´ô ¼®§ °´¿½»ò                                                        Ð§®®±´·¼±²» ·- °®±¼«½»¼ ¾§ ®»¿½¬·²¹ ¾«¬§®±´¿½¬±²» ©·¬¸ ¿³³±²·¿ò
                                                                          Ì¸·- ·- º±´´±©»¼ ¾§ ¿ ª·²§´¿¬·±² ®»¿½¬·±² ·² ©¸·½¸ °§®®±´·¼±²» ¿²¼
                                                                          ¿½»¬§´»²» ¿®» ®»¿½¬»¼ «²¼»® °®»--«®»ò Ì¸» ³±²±³»®ô ª·²§´°§®®±´·ó
                                                                          ¼±²»ô ·- ¬¸»² °±´§³»®·¦»¼ ·² ¬¸» °®»-»²½» ±º ¿ ½±³¾·²¿¬·±² ±º
ïî    ×²½±³°¿¬·¾·´·¬·»-                                                   ½¿¬¿´§-¬- ¬± °®±¼«½» °±ª·¼±²»ò
Ð±ª·¼±²» ·- ½±³°¿¬·¾´» ·² -±´«¬·±² ©·¬¸ ¿ ©·¼» ®¿²¹» ±º ·²±®¹¿²·½
-¿´¬-ô ²¿¬«®¿´ ¿²¼ -§²¬¸»¬·½ ®»-·²-ô ¿²¼ ±¬¸»® ½¸»³·½¿´-ò ×¬ º±®³-
³±´»½«´¿® ¿¼¼«½¬- ·² -±´«¬·±² ©·¬¸ -«´º¿¬¸·¿¦±´»ô -±¼·«³ -¿´·½§´¿¬»ô      ïì Í¿º»¬§
-¿´·½§´·½ ¿½·¼ô °¸»²±¾¿®¾·¬¿´ô ¬¿²²·²ô ¿²¼ ±¬¸»® ½±³°±«²¼-å -»»           Ð±ª·¼±²» ¸¿- ¾»»² «-»¼ ·² °¸¿®³¿½»«¬·½¿´ º±®³«´¿¬·±²- º±® ³¿²§
Í»½¬·±² ïèò Ì¸» »ºº·½¿½§ ±º -±³» °®»-»®ª¿¬·ª»-ô »ò¹ò ¬¸·³»®±-¿´ô ³¿§      §»¿®-ô ¾»·²¹ º·®-¬ «-»¼ ·² ¬¸» ïçìð- ¿- ¿ °´¿-³¿ »¨°¿²¼»®ô ¿´¬¸±«¹¸ ·¬
¾» ¿¼ª»®-»´§ ¿ºº»½¬»¼ ¾§ ¬¸» º±®³¿¬·±² ±º ½±³°´»¨»- ©·¬¸ °±ª·¼±²»ò        ¸¿- ²±© ¾»»² -«°»®-»¼»¼ º±® ¬¸·- °«®°±-» ¾§ ¼»¨¬®¿²òøè÷
           Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 56 of 103 PageID #: 1669
    ë èì        Ð±ª·¼±²»

    ÍÛÓ èæ Û¨½·°·»²¬æ °±ª·¼±²» Õóîçñíî øÐ´¿-¼±²» Õóîçñíî÷å ³¿²«º¿½¬«®»®æ                                              ëð
    ×ÍÐå ´±¬ ²±òæ èîßóíå ³¿¹²·º·½¿¬·±²æ êðð å ª±´¬¿¹»æ ïð µÊò




                                                                                   Û¯«·´·¾®·«³ ³±·-¬«®» ¿¬ îëpÝ øû÷
                                                                                                                      ìð



                                                                                                                      íð



                                                                                                                      îð



                                                                                                                      ïð



                                                                                                                       ð
                                                                                                                           ð   ïð     îð   íð   ìð   ëð    êð    éð    èð     çð ïðð
                                                                                                                                           Î»´¿¬·ª» ¸«³·¼·¬§ øû÷

                                                                           Ú·¹«®» ïæ Í±®°¬·±²¼»­±®°¬·±² ·­±¬¸»®³ ±º °±ª·¼±²» Õóïë øÐ´¿-¼±²» Õó
                                                                           ïëô ×ÍÐ÷ò
     Ì¿¾´» ×××æ Ð¸¿®³¿½±°»·¿´ -°»½·º·½¿¬·±²- º±® °±ª·¼±²»ò                                                            ëð

    Ì»-¬                        ÖÐ ÈÊ          Ð¸Û«® êòë     ËÍÐ íî
                                                                              Û¯«·´·¾®·«³ ³±·-¬«®» ¿¬ îëpÝ øû÷

    ×¼»²¬·º·½¿¬·±²           "                 "             "
                                                                                                                      ìð
    Ý¸¿®¿½¬»®-                                "             
    °Ø                       "                 "             íòðéòð
        Õ ì íð               íòðëòð           íòðëòð       
        Õ â íð               ìòðéòð           ìòðéòð       
    ß°°»¿®¿²½» ±º -±´«¬·±² "                   "                                                                     íð
    Ê·-½±-·¬§                                 "             
    É¿¬»®                    ìëòðû             ìëòðû         ìëòðû
    Î»-·¼«» ±² ·¹²·¬·±²      ìðòïû             ìðòïû         ìðòïû
    Ô»¿¼                                                   ìïð °°³                                                  îð
Ð   ß´¼»¸§¼»-
    Ú±®³·½ ¿½·¼
                             ìëðð °°³ø¿÷
                             
                                               ìëðð °°³ø¿÷
                                               "
                                                             ìðòðëû
                                                             
    Ø§¼®¿¦·²»                ìï °°³            ìï °°³        ìï °°³
    Ê·²§´°§®®±´·¼·²±²»       ìïð °°³           ìïð °°³       ìðòððïû                                                  ïð
    Ð§®®±´·¼±²»                               ìíòðû         
    Ð»®±¨·¼»-                ììðð °°³ø¾÷       ììðð °°³ø¾÷   
    Õóª¿´«»                  îëçð                          
        ìïë                  çðòðïðèòðû       èëòðïïëòðû   èëòðïïëòðû
        âïë                  çðòðïðèòðû       çðòðïðèòðû   çðòðïðèòðû                                               ð
                                                                                                                           ð   ïð     îð   íð   ìð   ëð    êð    éð    èð     çð ïðð
    Ø»¿ª§ ³»¬¿´-             ìïð °°³           ìïð °°³       
    ß­­¿§ ø²·¬®±¹»² ½±²¬»²¬÷ ïïòëïîòèû        ïïòëïîòèû    ïïòëïîòèû                                                                    Î»´¿¬·ª» ¸«³·¼·¬§ øû÷
    ø¿÷ Û¨°®»--»¼ ¿- ¿½»¬¿´¼»¸§¼»ò
    ø¾÷ Û¨°®»--»¼ ¿- ¸§¼®±¹»² °»®±¨·¼»ò                                    Ú·¹«®» îæ Í±®°¬·±²¼»­±®°¬·±² ·­±¬¸»®³ ±º °±ª·¼±²» Õóîçñíî øÐ´¿-¼±²»
                                                                           Õóîçñíîô ×ÍÐ÷ò
     Ì¿¾´» ×Êæ Ü§²¿³·½ ª·-½±-·¬§ ±º ïðû ©ñª ¿¯«»±«- °±ª·¼±²» øÕ±´´·¼±²÷
     -±´«¬·±²- ¿¬ îðèÝòøé÷                                                  Ì¿¾´» Êæ Ü§²¿³·½ ª·-½±-·¬§ ±º ëû ©ñª °±ª·¼±²» øÕ±´´·¼±²÷ -±´«¬·±²- ·²
                                                                            »¬¸¿²±´ øçëû÷ ¿²¼ °®±°¿²óîó±´ ¿¬ îëèÝòøé÷
    Ù®¿¼»                 Ü§²¿³·½ ª·-½±-·¬§ ø³Ð¿ -÷
                                                                           Ù®¿¼»                                               Ü§²¿³·½ ª·-½±-·¬§ ø³Ð¿ -÷
    Õóïïñïì               ïòíîòí
    Õóïêñïè               ïòëíòë                                                                                              Û¬¸¿²±´ øçëû÷                    Ð®±°¿²óîó±´
    Õóîìñîé               íòëëòë
    Õóîèñíî               ëòëèòë                                          ÕóïîÐÚ                                              ïòì                              îòé
    Õóèëñçë               íððéðð                                          ÕóïéÐÚ                                              ïòç                              íòï
                                                                           Õóîë                                                îòé                              ìòé
                                                                           Õóíð                                                íòì                              ëòè
                                                                           Õóçð                                                ëíòð                             çðòð

        Ð±ª·¼±²» ·- ©·¼»´§ «-»¼ ¿- ¿² »¨½·°·»²¬ô °¿®¬·½«´¿®´§ ·² ±®¿´
    ¬¿¾´»¬- ¿²¼ -±´«¬·±²-ò É¸»² ½±²-«³»¼ ±®¿´´§ô °±ª·¼±²» ³¿§ ¾»
    ®»¹¿®¼»¼ ¿- »--»²¬·¿´´§ ²±²¬±¨·½ -·²½» ·¬ ·- ²±¬ ¿¾-±®¾»¼ º®±³ ¬¸»        Î»°±®¬- ±º ¿¼ª»®-» ®»¿½¬·±²- ¬± °±ª·¼±²» °®·³¿®·´§ ½±²½»®² ¬¸»
    ¹¿-¬®±·²¬»-¬·²¿´ ¬®¿½¬ ±® ³«½±«- ³»³¾®¿²»-òøè÷ Ð±ª·¼±²» ¿¼¼·¬·±²ó      º±®³¿¬·±² ±º -«¾½«¬¿²»±«- ¹®¿²«´±³¿- ¿¬ ¬¸» ·²¶»½¬·±² -·¬» ±º
    ¿´´§ ¸¿- ²± ·®®·¬¿²¬ »ºº»½¬ ±² ¬¸» -µ·² ¿²¼ ½¿«-»- ²± -»²-·¬·¦¿¬·±²ò   ·²¬®¿³«-½«´¿® ·²¶»½¬·±²- º±®³«´¿¬»¼ ©·¬¸ °±ª·¼±²»òøç÷ Ûª·¼»²½» ¿´-±
  Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 57 of 103 PageID #: 1670
                                                                                                                                                                Ð±ª·¼±²»          ë èë
                                    ïòð                                                          ðòë          î Þ»½µ»® Ü »¬ ¿´ò Ûºº»½¬·ª»²»-- ±º ¾·²¼»®- ·² ©»¬ ¹®¿²«´¿¬·±²æ ½±³°¿®·-±²
     ïððð I Åî²¼ ¼»®·ªò ´±¹øïñÎ÷Ã                                                                               «-·²¹ ³±¼»´ º±®³«´¿¬·±²- ±º ¼·ºº»®»²¬ ¬¿¾´»¬¿¾·´·¬§ò Ü®«¹ Ü»ª ×²¼
                                                          ïêêç                 îîíç                             Ð¸¿®³ ïççéå îíøè÷æ éçïèðèò
                                                                                                              í Í¬«¾¾»®«¼ Ô »¬ ¿´ò É¿¬»®­±´·¼ ·²¬»®¿½¬·±²­ò Ð¿®¬ íò Ûºº»½¬ ±º ¹´¿­­
                                                                    ïèéé
                                                                             îïîê         îíëí                  ¬®¿²-·¬·±² ¬»³°»®¿¬«®»ô Ì¹ ¿²¼ °®±½»--·²¹ ±² ¬»²-·´» -¬®»²¹¬¸ ±º
                                                                                                                ½±³°¿½¬- ±º ´¿½¬±-» ¿²¼ ´¿½¬±-»ñ°±´§ª·²§´ °§®®±´·¼±²»ò Ð¸¿®³ Ü»ª




                                                                                                  ´±¹øïñÎ÷
                                                                                                                Ì»½¸²±´ ïççêå ïøî÷æ ïçëîðìò
                                    ðòð                                                                       ì ×©¿¬¿ Óô Ë»¼¿ Øò Ü·--±´«¬·±² °®±°»®¬·»- ±º ¹´·¾»²½´¿³·¼» ·²
                                                                                                                ½±³¾·²¿¬·±²- ©·¬¸ °±´§ª·²§´°§®®±´·¼±²»ò Ü®«¹ Ü»ª ×²¼ Ð¸¿®³ ïççêå
                                                 ïíêè                                                           îîæ ïïêïïïêëò
                                          ïïéî                               îïìè                             ë Ô« ÉÙ »¬ ¿´ò Ü»ª»´±°³»²¬ ±º ²·º»¼·°·²» øÒÛ÷ °»´´»¬- ©·¬¸ ¿ ¸·¹¸
                                                             ïéíì
                                                                                                                ¾·±¿ª¿·´¿¾·´·¬§ò Ý¸·² Ð¸¿®³ Ö Æ¸±²¹¹«± Ç¿±¨«» Æ¿¦¸· ïççëå íðæ îì
                                                                                       îîèî
                                                                                îîêï                            îêò
                                                             ïêçî     ïçíî                                    ê Ý¸±©¼¿®§ ÕÐô Î¿³»-¸ ÕÊò Ó·½®±»²½¿°-«´¿¬·±² ±º -±´·¼ ¼·-°»®-·±²- ±º
                             ïòð                                    ðòî                                       ²·º»¼·°·²»  ²±ª»´ ¿°°®±¿½¸ º±® ½±²¬®±´´·²¹ ¼®«¹ ®»´»¿­»ò ×²¼·¿² Ü®«¹-
                               ïïðð ïíðð ïëðð ïéðð ïçðð îïðð îíðð îëðð                                          ïççëå íîøÑ½¬÷æ ìééìèíò
                                                        É¿ª»´»²¹¬¸ñ²³                                         é ÞßÍÚ Ý±®°±®¿¬·±²ò Ì»½¸²·½¿´ ´·¬»®¿¬«®»æ Í±´«¾´» Õ±´´·¼±² Ù®¿¼»-ô
                                                                                                                Í±´«¾´» Ð±´§ª·²§´°§®®±´·¼±²» º±® ¬¸» Ð¸¿®³¿½»«¬·½¿´ ×²¼«-¬®§ô ïççéò
Ú·¹«®» íæ Ò»¿®ó·²º®¿®»¼ -°»½¬®«³ ±º °±ª·¼±²» ³»¿-«®»¼ ¾§ ®»º´»½¬¿²½»ò                                         è É»--»´ É »¬ ¿´ò Ð±´§ª·²§´°§®®±´·¼±²» øÐÊÐ÷ô ·¬- ¼·¿¹²±-¬·½ô ¬¸»®¿°»«¬·½
                                                                                                                ¿²¼ ¬»½¸²·½¿´ ¿°°´·½¿¬·±² ¿²¼ ½±²-»¯«»²½»- ¬¸»®»±ºò ß®¦²»·³·¬¬»´ó
                                                                                                                º±®-½¸«²¹ ïçéïå îïæ ïìêèïìèîò
»¨·-¬- ¬¸¿¬ °±ª·¼±²» ³¿§ ¿½½«³«´¿¬» ·² ¬¸» ±®¹¿²- ±º ¬¸» ¾±¼§                                                 ç Ø·¦¿©¿ Õ »¬ ¿´ò Í«¾½«¬¿²»±«- °-»«¼±-¿®½±³¿¬±«- °±´§ª·²§´°§®®±´·ó
º±´´±©·²¹ ·²¬®¿³«-½«´¿® ·²¶»½¬·±²òøïð÷                                                                          ¼±²» ¹®¿²«´±³¿ò ß³ Ö Í«®¹ Ð¿¬¸±´ ïçèìå èæ íçííçèò
    ß ¬»³°±®¿®§ ¿½½»°¬¿¾´» ¼¿·´§ ·²¬¿µ» º±® °±ª·¼±²» ¸¿- ¾»»² -»¬                                            ïð Ý¸®·-¬»²-»² Ó »¬ ¿´ò Í¬±®¿¹» ±º °±´§ª·²§´°§®®±´·¼±²» øÐÊÐ÷ ·² ¬·--«»-
¾§ ¬¸» ÉØÑ ¿¬ «° ¬± îë ³¹ñµ¹ ¾±¼§ó©»·¹¸¬òøïï÷                                                                   º±´´±©·²¹ ´±²¹ó¬»®³ ¬®»¿¬³»²¬ ©·¬¸ ¿ ÐÊÐ ½±²¬¿·²·²¹ ª¿-±°®»--·²
                                                                                                                °®»°¿®¿¬·±²ò ß½¬¿ Ó»¼ Í½¿²¼ ïçéèå îðìæ îçëîçèò
   ÔÜëð ø³±«-»ô ×Ð÷æ ïî ¹ñµ¹øïî÷                                                                             ïï ÚßÑñÉØÑò Ûª¿´«¿¬·±² ±º ½»®¬¿·² º±±¼ ¿¼¼·¬·ª»- ¿²¼ ½±²¬¿³·²¿²¬-ò
                                                                                                                Ì©»²¬§ó-»ª»²¬¸ ®»°±®¬ ±º ¬¸» ¶±·²¬ ÚßÑñÉØÑ »¨°»®¬ ½±³³·¬¬»» ±²
ïë Ø¿²¼´·²¹ Ð®»½¿«¬·±²-                                                                                         º±±¼ ¿¼¼·¬·ª»-ò É±®´¼ Ø»¿´¬¸ Ñ®¹¿² Ì»½¸ Î»° Í»® ïçèíå Ò±ò êçêò
                                                                                                             ïî Ô»©·- ÎÖô »¼ò Í¿¨•- Ü¿²¹»®±«- Ð®±°»®¬·»- ±º ×²¼«-¬®·¿´ Ó¿¬»®·¿´-ô ïï¬¸
Ñ¾-»®ª» ²±®³¿´ °®»½¿«¬·±²- ¿°°®±°®·¿¬» ¬± ¬¸» ½·®½«³-¬¿²½»- ¿²¼                                                 »¼²ò Ò»© Ç±®µæ É·´»§ô îððìå íðïêíðïéò
¯«¿²¬·¬§ ±º ³¿¬»®·¿´ ¸¿²¼´»¼ò Û§» °®±¬»½¬·±²ô ¹´±ª»-ô ¿²¼ ¿ ¼«-¬                                             ïí Ú±±¼ Ý¸»³·½¿´- Ý±¼»¨ô ê¬¸ »¼²ò Þ»¬¸»-¼¿ô ÓÜæ Ë²·¬»¼ Í¬¿¬»-
³¿-µ ¿®» ®»½±³³»²¼»¼ò                                                                                           Ð¸¿®³¿½±°»·¿ô îððèå éçëò

ïê Î»¹«´¿¬±®§ Í¬¿¬«-                                                                                         îð    Ù»²»®¿´ Î»º»®»²½»-
ß½½»°¬»¼ º±® «-» ·² Û«®±°» ¿- ¿ º±±¼ ¿¼¼·¬·ª»ò ×²½´«¼»¼ ·² ¬¸» ÚÜß                                           ß¼»§»§» ÝÓô Þ¿®¿¾¿- Ûò Ð±ª·¼±²»ò Þ®·¬¬¿·² ØÙô »¼ò ß²¿´§¬·½¿´ Ð®±º·´»- ±º
×²¿½¬·ª» ×²¹®»¼·»²¬- Ü¿¬¿¾¿-» ø×Ó ¿²¼ ×Ê ·²¶»½¬·±²-å ±°¸¬¸¿´³·½                                                  Ü®«¹ Í«¾-¬¿²½»- ¿²¼ Û¨½·°·»²¬-òô ª±´ò îîæ Ô±²¼±²æ ß½¿¼»³·½ Ð®»--ô
°®»°¿®¿¬·±²-å ±®¿´ ½¿°-«´»-ô ¼®±°-ô ¹®¿²«´»-ô -«-°»²-·±²-ô ¿²¼                                                   ïççíå ëëëêèëò
¬¿¾´»¬-å -«¾´·²¹«¿´ ¬¿¾´»¬-å ¬±°·½¿´ ¿²¼ ª¿¹·²¿´ °®»°¿®¿¬·±²-÷ò                                              Û«®±°»¿² Ü·®»½¬±®¿¬» º±® ¬¸» Ï«¿´·¬§ ±º Ó»¼·½·²»- ¿²¼ Ø»¿´¬¸½¿®»
×²½´«¼»¼ ·² ²±²°¿®»²¬»®¿´ ³»¼·½·²»- ´·½»²-»¼ ·² ¬¸» ËÕò ×²½´«¼»¼                                                 øÛÜÏÓ÷ò Û«®±°»¿² Ð¸¿®³¿½±°±»·¿  Í¬¿¬» Ñº É±®µ Ñº ×²¬»®²¿¬·±²¿´
·² ¬¸» Ý¿²¿¼·¿² Ô·-¬ ±º ß½½»°¬¿¾´» Ò±²ó³»¼·½·²¿´ ×²¹®»¼·»²¬-ò                                                    Ø¿®³±²·-¿¬·±²ò Ð¸¿®³»«®±°¿ îððçå îïøï÷æ ïìîïìíò ¸¬¬°æññ©©©ò»¼¯ó
                                                                                                                 ³ò»«ñ-·¬»ñóêïìò¸¬³´ ø¿½½»--»¼ í Ú»¾®«¿®§ îððç÷ò                           Ð
                                                                                                             Ù»²±ª»-· ß »¬ ¿´ò Þ·²¼»® »ª¿´«¿¬·±² ·² ¬¿¾´»¬¬·²¹ò Ó¿²«º Ý¸»³ îððìå ïéëøê÷æ
ïé Î»´¿¬»¼ Í«¾-¬¿²½»-                                                                                            îçíðò
Ý®±-°±ª·¼±²»ò                                                                                                Ø±®² Üô Ü·¬¬»® Éò Ý¸®±³¿¬±¹®¿°¸·½ -¬«¼§ ±º ·²¬»®¿½¬·±²- ¾»¬©»»²
                                                                                                                 °±´§ª·²§´°§®®±´·¼±²» ¿²¼ ¼®«¹-ò Ö Ð¸¿®³ Í½· ïçèîå éïæ ïðîïïðîêò
ïè Ý±³³»²¬-                                                                                                  Ø-·¿± ÝØ »¬ ¿´ò Ú´«±®»-½»²¬ °®±¾» -¬«¼§ ±º -«´º±²¿³·¼» ¾·²¼·²¹ ¬±
                                                                                                                 °±ª·¼±²»ò Ö Ð¸¿®³ Í½· ïçééå êêæ ïïëéïïëçò
Ð±ª·¼±²» ·- ±²» ±º ¬¸» ³¿¬»®·¿´- ¬¸¿¬ ¸¿ª» ¾»»² -»´»½¬»¼ º±®                                                 ×ÍÐò Ì»½¸²·½¿´ ´·¬»®¿¬«®»æ Ð´¿-¼±²» °±ª·¼±²» ËÍÐô ïçççò
¸¿®³±²·¦¿¬·±² ¾§ ¬¸» Ð¸¿®³¿½±°»·¿´ Ü·-½«--·±² Ù®±«°ò Ú±® º«®¬¸»®                                             Ö¿¹»® ÕÚô Þ¿«»® ÕØò Ð±´§³»® ¾´»²¼- º®±³ ÐÊÐ ¿- ¿ ³»¿²- ¬± ±°¬·³·¦»
·²º±®³¿¬·±² -»» ¬¸» Ù»²»®¿´ ×²º±®³¿¬·±² Ý¸¿°¬»® äïïçêâ ·² ¬¸»                                                    °®±°»®¬·»- ±º º´«·¼·¦»¼ ¾»¼ ¹®¿²«´¿¬»- ¿²¼ ¬¿¾´»¬-ò ß½¬¿ Ð¸¿®³ Ì»½¸²±´
ËÍÐíîÒÚîéô ¬¸» Ù»²»®¿´ Ý¸¿°¬»® ëòè ·² Ð¸Û«® êòðô ¿´±²¹ ©·¬¸ ¬¸»                                                 ïçèìå íðøï÷æ èëçîò
Í¬¿¬» ±º É±®µ• ¼±½«³»²¬ ±² ¬¸» Ð¸Û«® ÛÜÏÓ ©»¾-·¬»ô ¿²¼ ¿´-±                                                 ÒÐ Ð¸¿®³ò Ð®±¼«½¬ ¼¿¬¿ -¸»»¬æ Ð±ª·°¸¿®³ô îððèò
¬¸» Ù»²»®¿´ ×²º±®³¿¬·±² Ý¸¿°¬»® è ·² ¬¸» ÖÐ ÈÊò                                                              Ð´¿·¦·»®óÊ»®½¿³³»² Ößô Ü»Ò»Àª» ÎÛò ×²¬»®¿½¬·±² ±º °±ª·¼±²» ©·¬¸ ¿®±³¿¬·½
   Ì¸» ³±´»½«´¿® ¿¼¼«½¬ º±®³¿¬·±² °®±°»®¬·»- ±º °±ª·¼±²» ³¿§ ¾»                                                  ½±³°±«²¼- ×××æ ¬¸»®³±¼§²¿³·½- ±º ¬¸» ¾·²¼·²¹ »¯«·´·¾®·¿ ¿²¼ ·²¬»®¿½¬·±²
«-»¼ ¿¼ª¿²¬¿¹»±«-´§ ·² -±´«¬·±²-ô -´±©ó®»´»¿-» -±´·¼ó¼±-¿¹» º±®³-ô                                               º±®½»- ·² ¾«ºº»® -±´«¬·±²- ¿¬ ª¿®§·²¹ °Ø ª¿´«»- ¿²¼ ª¿®§·²¹ ¼·»´»½¬®·½
¿²¼ °¿®»²¬»®¿´ º±®³«´¿¬·±²-ò Ð»®¸¿°- ¬¸» ¾»-¬óµ²±©² »¨¿³°´» ±º                                                   ½±²-¬¿²¬ò Ö Ð¸¿®³ Í½· ïçèîå éïæ ëëîëëêò
°±ª·¼±²» ½±³°´»¨ º±®³¿¬·±² ·­ °±ª·¼±²»·±¼·²»ô ©¸·½¸ ·­ «­»¼ ¿­ ¿                                            Î±¾·²-±² ÞÊ »¬ ¿´ò ÐÊÐæ ß Ý®·¬·½¿´ Î»ª·»© ±º ¬¸» Õ·²»¬·½- ¿²¼ Ì±¨·½±´±¹§ ±º
¬±°·½¿´ ¼·-·²º»½¬¿²¬ò                                                                                            Ð±´§ª·²§´°§®®±´·¼±²» øÐ±ª·¼±²»÷ò Ý¸»´-»¿ô Ó×æ Ô»©·- Ð«¾´·-¸»®-ô ïççðò
                                                                                                             Í¸»º¬»® Ûô Ý¸»²¹ ÕÝò Ü®«¹°±´§ª·²§´°§®®±´·¼±²» øÐÊÐ÷ ¼·­°»®­·±²­ò ß
   Ú±® ¿½½«®¿¬» -¬¿²¼¿®¼·¦¿¬·±² ±º -±´«¬·±²-ô ¬¸» ©¿¬»® ½±²¬»²¬ ±º
                                                                                                                 ¼·ºº»®»²¬·¿´ -½¿²²·²¹ ½¿´±®·³»¬®·½ -¬«¼§ò ×²¬ Ö Ð¸¿®³ ïçèðå êæ ïéçïèîò
¬¸» -±´·¼ °±ª·¼±²» ³«-¬ ¾» ¼»¬»®³·²»¼ ¾»º±®» «-» ¿²¼ ¬¿µ»² ·²¬±                                              Í³±´·²-µ» ÍÝò Ø¿²¼¾±±µ ±º Ú±±¼ô Ü®«¹ô ¿²¼ Ý±-³»¬·½ Û¨½·°·»²¬-ò Þ±½¿
¿½½±«²¬ º±® ¿²§ ½¿´½«´¿¬·±²-ò Ó¿²§ »¨½·°·»²¬- -«½¸ ¿- °±ª·¼±²»                                                   Î¿¬±²ô ÚÔæ ÝÎÝ Ð®»­­ô ïççîå íðííðëò
³¿§ ½±²¬¿·² °»®±¨·¼»- ¿- ¬®¿½» ½±²¬¿³·²¿²¬-ò Ì¸»-» ½¿² ´»¿¼ ¬±                                               É¿-§´¿-½¸«µ ÉÎ »¬ ¿´ò Ûª¿´«¿¬·±² ±º ¸§¼®±°»®±¨·¼»- ·² ½±³³±²
¼»¹®¿¼¿¬·±² ±º ¿² ¿½¬·ª» °¸¿®³¿½»«¬·½¿´ ·²¹®»¼·»²¬ ¬¸¿¬ ·- -»²-·¬·ª»                                             °¸¿®³¿½»«¬·½¿´ »¨½·°·»²¬-ò Ö Ð¸¿®³ Í½· îððéå çêæ ïðêïïêò
¬± ±¨·¼¿¬·±²ò
   ß -°»½·º·½¿¬·±² º±® °±ª·¼±²» ·- ½±²¬¿·²»¼ ·² ¬¸» Ú±±¼ Ý¸»³·½¿´-                                           îï ß«¬¸±®
Ý±¼»¨ øÚÝÝ÷òøïí÷
                                                                                                             ßØ Õ·¾¾»ò
ïç                          Í°»½·º·½ Î»º»®»²½»-
                                                                                                             îî    Ü¿¬» ±º Î»ª·-·±²
 ï Ú·µ»²¬-½¸»® Øô Ø»®®´» Õò Ð±´§ª·²§´°§®®±´·¼±²»ò Ó±¼»®² Ð´¿-¬·½- ïçìëå
   îíøí÷æ ïëéïêïîïîô îïìô îïêô îïèò                                                                         í Ú»¾®«¿®§ îððçò
    Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 58 of 103 PageID #: 1671
                                                                                                                 Í¬¿®½¸ô Ð®»¹»´¿¬·²·¦»¼             ê çï

îë É»·²»® Óô Þ»®²-¬»·² ×Ôò ß¼ª»®-» Î»¿½¬·±²- ¬± Ü®«¹ Ú±®³«´¿¬·±²               íë Õ«»²¬¦ Ó »¬ ¿´ò ß ¬»½¸²·½¿´ º»¿-·¾·´·¬§ -¬«¼§ ±º -«®º¿½¬¿²¬óº®»» ¼®«¹
   ß¹»²¬-æ ß Ø¿²¼¾±±µ ±º Û¨½·°·»²¬-ò Ò»© Ç±®µæ Ó¿®½»´ Ü»µµ»®ô ïçèçå               -«-°»²-·±²- «-·²¹ ±½¬»²§´ -«½½·²¿¬»ó³±¼·º·»¼ -¬¿®½¸»-ò Û«® Ö Ð¸¿®³
   çïçîò                                                                         Þ·±°¸¿®³ îððêå êíæ íéìíò
îê ÚßÑñÉØÑò Ì±¨·½±´±¹·½¿´ »ª¿´«¿¬·±² ±º ½»®¬¿·² º±±¼ ¿¼¼·¬·ª»- ©·¬¸ ¿          íê Þ¿§¼±«² Ô »¬ ¿´ò Ò»© -«®º¿½»ó¿½¬·ª» °±´§³»®- º±® ±°¸¬¸¿´³·½
   ®»ª·»© ±º ¹»²»®¿´ °®·²½·°´»- ¿²¼ ±º -°»½·º·½¿¬·±²-ò Í»ª»²¬»»²¬¸ ®»°±®¬ ±º      º±®³«´¿¬·±²æ »ª¿´«¿¬·±² ±º ±½«´¿® ¬±´»®¿²½»ò Û«® Ö Ð¸¿®³ Þ·±°¸¿®³
   ¬¸» Ö±·²¬ ÚßÑñÉØÑ Û¨°»®¬ Ý±³³·¬¬»» ±² Ú±±¼ ß¼¼·¬·ª»-ò É±®´¼                    îððìå ëèæ ïêçïéëò
   Ø»¿´¬¸ Ñ®¹¿² Ì»½¸ Î»° Í»® ïçéìå Ò±ò ëíçò                                    íé Ð¿®·--¿«¨ È »¬ ¿´ò Û§» ±² »¨½·°·»²¬-ò Ì¿¾´»¬- ú Ý¿°-«´»- îððèå êøì÷æ ëï
îé Ó·½¸¿»´- Ôô Í¸¿¸ ÒÍò Ü¿²¹»®- ±º ½±®² -¬¿®½¸ °±©¼»® Å´»¬¬»®Ãò Þ® Ó»¼ Ö          ëêò
   ïçéíå îæ éïìò
îè Ô»©·- ÎÖô »¼ò Í¿¨•- Ü¿²¹»®±«- Ð®±°»®¬·»- ±º ×²¼«-¬®·¿´ Ó¿¬»®·¿´-ô ïï¬¸
   »¼²ò Ò»© Ç±®µæ É·´»§ô îððìå íîççò                                           îð    Ù»²»®¿´ Î»º»®»²½»-
îç Ø»¿´¬¸ ¿²¼ Í¿º»¬§ Û¨»½«¬·ª»ò ÛØìðñîððëæ É±®µ°´¿½» Û¨°±-«®» Ô·³·¬-ò          Ý»²¬»® º±® Î»­»¿®½¸ ±² Ó¿½®±³±´»½«´»­ Ê»l¹»l¬¿´»­ò Ý§¾»® Í¬¿®½¸  Í¬¿®½¸
   Í«¼¾«®§æ ØÍÛ Þ±±µ-ô îððë ø«°¼¿¬»¼ îððé÷ò ¸¬¬°æññ©©©ò¸-»ò¹±ªò«µñ                Í¬®«½¬«®» ¿²¼ Ó±®°¸±´±¹§ò ¸¬¬°æññ©©©ò½»®³¿ªò½²®-òº®ñ¹´§½±í¼ñ´»--±²-ñ
   ½±-¸¸ñ¬¿¾´»ïò°¼º ø¿½½»--»¼ í Ú»¾®«¿®§ îððç÷ò                                   -¬¿®½¸ñ·²¼»¨ò¸¬³´ ø¿½½»--»¼ í Ú»¾®«¿®§ îððç÷ò
íð ×©«¿¹« Óßô ß¹·¼· ßßò Ì¸» »ºº»½¬ ±º ¾´»¿½¸·²¹ ±² ¬¸» ¼·-·²¬»¹®¿²¬            Û«®±°»¿² Ü·®»½¬±®¿¬» º±® ¬¸» Ï«¿´·¬§ ±º Ó»¼·½·²»- ¿²¼ Ø»¿´¬¸½¿®»
   °®±°»®¬·»- ±º ³¿·¦» -¬¿®½¸ò ÍÌÐ Ð¸¿®³¿ Í½· îðððå ïðæ ïìíïìéò                  øÛÜÏÓ÷ò Û«®±°»¿² Ð¸¿®³¿½±°±»·¿  Í¬¿¬» Ñº É±®µ Ñº ×²¬»®²¿¬·±²¿´
íï ÛÛÝ Ý±³³·--·±² ±º Û«®±°»¿² Ý±³³«²·¬·»-ò ÛÛÝ í®¼ Ý±³³·--·±²                     Ø¿®³±²·-¿¬·±²ò Ð¸¿®³»«®±°¿ îððçå îïøï÷æ ïìîïìíò ¸¬¬°æññ©©©ò»¼¯ó
   Ü·®»½¬·ª» éîñïççæ Ü»¬»®³·²¿¬·±² ±º Í¬¿®½¸ô ïçççò                               ³ò»«ñ-·¬»ñóêïìò¸¬³´ ø¿½½»--»¼ í Ú»¾®«¿®§ îððç÷ò
íî Þ®«²¬ Õ »¬ ¿´ò Ì¸» »²¦§³¿¬·½ ¼»¬»®³·²¿¬·±² ±º -¬¿®½¸ ·² º±±¼ô º»»¼ ¿²¼
   ®¿© ³¿¬»®·¿´- ±º ¬¸» º±±¼ ·²¼«-¬®§ò Í¬¿®½¸ ïççèå ëðøïð÷æ ìïíìïçò
íí Í¿²¹¸ª· ÐÐ »¬ ¿´ò Ûª¿´«¿¬·±² ±º °®»º´± ³±¼·º·»¼ -¬¿®½¸»- ¿- ²»© ¼·®»½¬
                                                                               îï ß«¬¸±®
   ½±³°®»--·±² »¨½·°·»²¬- ×ò Ì¿¾´»¬¬·²¹ ½¸¿®¿½¬»®·-¬·½-ò Ð¸¿®³ Î»- ïççíå       Ñ Ø¿x«-´»®ò
   ïðøïï÷æ ïëçéïêðíò
íì ª¿² Ê»»² Þ »¬ ¿´ò Ì¸» »ºº»½¬ ±º °±©¼»® ¾´»²¼ ¿²¼ ¬¿¾´»¬ -¬®«½¬«®» ±² ¼®«¹
                                                                               îî    Ü¿¬» ±º Î»ª·-·±²
   ®»´»¿-» ³»½¸¿²·-³ ±º ¸§¼®±°¸±¾·½ -¬¿®½¸ ¿½»¬¿¬» ³¿¬®·¨ ¬¿¾´»¬-ò Û«® Ö
   Ð¸¿®³ Þ·±°¸¿®³ îððëå êïæ ïìçïëéò                                           í Ú»¾®«¿®§ îððçò




          Í¬¿®½¸ô Ð®»¹»´¿¬·²·¦»¼

ï     Ò±²°®±°®·»¬¿®§ Ò¿³»-                                                     ë     Í¬®«½¬«®¿´ Ú±®³«´¿
ÞÐæ Ð®»¹»´¿¬·²·-»¼ Í¬¿®½¸                                                      Í»» Í¬¿®½¸ò
Ð¸Û«®æ Í¬¿®½¸ô Ð®»¹»´¿¬·²·-»¼
ËÍÐóÒÚæ Ð®»¹»´¿¬·²·¦»¼ Í¬¿®½¸
                                                                               ê     Ú«²½¬·±²¿´ Ý¿¬»¹±®§
î     Í§²±²§³-                                                                 Ì¿¾´»¬ ¿²¼ ½¿°-«´» ¼·´«»²¬å ¬¿¾´»¬ ¿²¼ ½¿°-«´» ¼·-·²¬»¹®¿²¬å ¬¿¾´»¬
                                                                               ¾·²¼»®ò
ß³§´«³ °®»¹»´·º·½¿¬«³å ½±³°®»--·¾´» -¬¿®½¸å ÝöÐ¸¿®³Ù»´å ×²-¬¿ó
-¬¿®½¸å Ô§½¿¬¿¾ Ýå Ô§½¿¬¿¾ ÐÙÍå Ó»®·¹»´å Ò¿¬·±²¿´ éèóïëëïå                                                                                                   Í
Ð¸¿®³¿óÙ»´å Ð®»¶»´å Í»°·-¬¿¾ ÍÌîððå Í°®»-- Þèîðå Í¬¿®½¸ ïëðð Ùå
Ì¿¾´·¬¦å Ë²·°«®» ÔÜå Ë²·°«®» ÉÙîîðò                                            é     ß°°´·½¿¬·±²- ·² Ð¸¿®³¿½»«¬·½¿´ Ú±®³«´¿¬·±² ±®
                                                                                     Ì»½¸²±´±¹§
í     Ý¸»³·½¿´ Ò¿³» ¿²¼ ÝßÍ Î»¹·-¬®§ Ò«³¾»®                                    Ð¿®¬·¿´´§ °®»¹»´¿¬·²·¦»¼ -¬¿®½¸ ·- ¿ ³±¼·º·»¼ -¬¿®½¸ «-»¼ ·² ±®¿´
Ð®»¹»´¿¬·²·¦»¼ -¬¿®½¸ ÅçððëóîëóèÃ                                              ½¿°-«´» ¿²¼ ¬¿¾´»¬ º±®³«´¿¬·±²- ¿- ¿ ¾·²¼»®ô ¼·´«»²¬ôøîôí÷ ¿²¼
                                                                               ¼·-·²¬»¹®¿²¬òøì÷
ì      Û³°·®·½¿´ Ú±®³«´¿ ¿²¼ Ó±´»½«´¿® É»·¹¸¬                                      ×² ½±³°¿®·-±² ¬± -¬¿®½¸ô °¿®¬·¿´´§ °®»¹»´¿¬·²·¦»¼ -¬¿®½¸ ³¿§ ¾»
                                                                               °®±¼«½»¼ ©·¬¸ »²¸¿²½»¼ º´±© ¿²¼ ½±³°®»--·±² ½¸¿®¿½¬»®·-¬·½- -«½¸
øÝêØïðÑë÷² ©¸»®» ² ã íððïðððò                                                 ¬¸¿¬ ¬¸» °®»¹»´¿¬·²·¦»¼ ³¿¬»®·¿´ ³¿§ ¾» «-»¼ ¿- ¿ ¬¿¾´»¬ ¾·²¼»® ·²
    Ð®»¹»´¿¬·²·¦»¼ -¬¿®½¸ ·- ¿ -¬¿®½¸ ¬¸¿¬ ¸¿- ¾»»² ½¸»³·½¿´´§ ¿²¼ñ±®          ¼®§ó½±³°®»--·±² ±® ¼·®»½¬ ½±³°®»--·±² °®±½»--»-òøëïë÷ ×² -«½¸
³»½¸¿²·½¿´´§ °®±½»--»¼ ¬± ®«°¬«®» ¿´´ ±® °¿®¬ ±º ¬¸» -¬¿®½¸ ¹®¿²«´»-ò          °®±½»--»-ô °®»¹»´¿¬·²·¦»¼ -¬¿®½¸ ·- -»´ºó´«¾®·½¿¬·²¹ò Ø±©»ª»®ô ©¸»² ·¬
Þ±¬¸ º«´´§ ¿²¼ °¿®¬·¿´´§ °®»¹»´¿¬·²·¦»¼ ¹®¿¼»- ¿®» ½±³³»®½·¿´´§
                                                                               ·- «-»¼ ©·¬¸ ±¬¸»® »¨½·°·»²¬- ·¬ ³¿§ ¾» ²»½»--¿®§ ¬± ¿¼¼ ¿ ´«¾®·½¿²¬
¿ª¿·´¿¾´»ò Ð¿®¬·¿´ °®»¹»´¿¬·²·¦¿¬·±² ®»²¼»®- ¬¸» -¬¿®½¸ º´±©¿¾´» ¿²¼
                                                                               ¬± ¿ º±®³«´¿¬·±²ò ß´¬¸±«¹¸ ³¿¹²»-·«³ -¬»¿®¿¬» ðòîëû ©ñ© ·-
¼·®»½¬´§ ½±³°®»--·¾´»ò Ú«´´ °®»¹»´¿¬·²·¦¿¬·±² °®±¼«½»- ¿ ½±´¼ó©¿¬»®
-±´«¾´» -¬¿®½¸ ¬¸¿¬ ½¿² ¾» «-»¼ ¿- ¿ ©»¬ ¹®¿²«´¿¬·±² ¾·²¼»®ò                   ½±³³±²´§ «-»¼ º±® ¬¸·- °«®°±-»ô ½±²½»²¬®¿¬·±²- ¹®»¿¬»® ¬¸¿² ¬¸·-
Ì§°·½¿´´§ô °®»¹»´¿¬·²·¦»¼ -¬¿®½¸ ½±²¬¿·²- ëû ±º º®»» ¿³§´±-»ô ïëû              ³¿§ ¸¿ª» ¿¼ª»®-» »ºº»½¬- ±² ¬¿¾´»¬ -¬®»²¹¬¸ ¿²¼ ¼·--±´«¬·±²ò
±º º®»» ¿³§´±°»½¬·²ô ¿²¼ èðû «²³±¼·º·»¼ ­¬¿®½¸ò Ì¸» ËÍÐíîÒÚîé                 Ì¸»®»º±®»ô -¬»¿®·½ ¿½·¼ ·- ¹»²»®¿´´§ ¬¸» °®»º»®®»¼ ´«¾®·½¿²¬ ©·¬¸
¼±»- ²±¬ -°»½·º§ ¬¸» ¾±¬¿²·½¿´ ±®·¹·² ±º ¬¸» ±®·¹·²¿´ -¬¿®½¸ô ¾«¬ ¬¸»          °®»¹»´¿¬·²·¦»¼ -¬¿®½¸òøïê÷
Ð¸Û«® êòí -°»½·º·»- ¬¸¿¬ °®»¹»´¿¬·²·¦»¼ -¬¿®½¸ ·- ±¾¬¿·²»¼ º®±³ ³¿·¦»              Ð¿®¬·¿´´§ °®»¹»´¿¬·²·¦»¼ -¬¿®½¸ ·- «-»¼ ·² ±®¿´ ¼®§ °±©¼»® ¸¿®¼
ø½±®²÷ô °±¬¿¬±ô ±® ®·½» -¬¿®½¸ò Í»» ¿´-± Í¬¿®½¸ ¿²¼ Í»½¬·±² ïíò                ½¿°-«´» º±®³«´¿¬·±²-ò
Ò±®³¿´´§ ¬¸» º«´´§ °®»¹»´¿¬·²·¦»¼ ­¬¿®½¸ ½±²¬¿·²­ îðíðû ¿³§´±­»                   Þ±¬¸ °¿®¬·¿´´§ ¿²¼ º«´´§ °®»¹»´¿¬·²·¦»¼ -¬¿®½¸ ³¿§ ¿´-± ¾» «-»¼ ·²
¿²¼ ¬¸» ®»-¬ ¿³§´±°»½¬·²ô ©¸·½¸ ·- ¿¾±«¬ ¬¸» -¿³» ®¿¬·± øï æ í÷ ¿- º±®         ©»¬ ¹®¿²«´¿¬·±² °®±½»--»-òøïé÷ Í»» Ì¿¾´» ×ò
¬¸» °¿®¬·¿´´§ °®»¹»´¿¬·²·¦»¼ º±®³ò Ì¸»®» ¿®» ©¿§- ¬± ·²½®»¿-» ¬¸»                  Ú«´´§ °®»¹»´¿¬·²·¦»¼ -¬¿®½¸»- ½¿² ¾» «-»¼ ¬± ³¿µ» -±º¬ ½¿°-«´»-ô
¿³§´±-» °±®¬·±²òøï÷                                                            -¸»´´-ô ¿²¼ ½±¿¬·²¹- ¿- ©»´´ ¿- ¾·²¼»®- ·² ¬¿¾´»¬-ò
           Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 59 of 103 PageID #: 1672
    ê çî       Í¬¿®½¸ô Ð®»¹»´¿¬·²·¦»¼

                                                                            ÍÛÓ íæ Û¨½·°·»²¬æ °®»¹»´¿¬·²·¦»¼ -¬¿®½¸å ³¿²«º¿½¬«®»®æ Ý¿®¹·´´å
     Ì¿¾´» ×æ Ë-»- ±º °®»¹»´¿¬·²·¦»¼ -¬¿®½¸ò
                                                                            ³¿¹²·º·½¿¬·±²æ îðð å ª±´¬¿¹»æ í µÊò
    Ë-»                                              Ý±²½»²¬®¿¬·±² øû÷
    Ü·´«»²¬ ø¸¿®¼ ¹»´¿¬·² ½¿°-«´»-÷                  ëéë
    Ì¿¾´»¬ ¾·²¼»® ø¼·®»½¬ ½±³°®»--·±²÷               ëîð
    Ì¿¾´»¬ ¾·²¼»® ø©»¬ ¹®¿²«´¿¬·±²÷                  ëïð
    Ì¿¾´»¬ ¼·-·²¬»¹®¿²¬                              ëïð




    è      Ü»-½®·°¬·±²
    Ð®»¹»´¿¬·²·¦»¼ -¬¿®½¸ ±½½«®- ¿- ¿ ³±¼»®¿¬»´§ ½±¿®-» ¬± º·²»ô ©¸·¬» ¬±
    ±ººó©¸·¬» ½±´±®»¼ °±©¼»®ò ×¬ ·- ±¼±®´»-- ¿²¼ ¸¿- ¿ -´·¹¸¬
    ½¸¿®¿½¬»®·-¬·½ ¬¿-¬»ò
       Û¨¿³·²¿¬·±² ±º º«´´§ °®»¹»´¿¬·²·¦»¼ -¬¿®½¸ ¿- ¿ -´«®®§ ·² ½±´¼
    ©¿¬»®ô «²¼»® ¿ °±´¿®·¦·²¹ ³·½®±-½±°»ô ®»ª»¿´- ²± -·¹²·º·½¿²¬
    «²¹»´¿¬·²·¦»¼ ¹®¿²«´»-ô ·ò»ò ²± ³¿´¬»-» ½®±--»-• ½¸¿®¿½¬»®·-¬·½ ±º
    ¬¸» -¬¿®½¸ ¾·®»º®·²¹»²½» °¿¬¬»®²ò Û¨¿³·²¿¬·±² ±º -¿³°´»- -«-°»²¼»¼
    ·² ¹´§½»®·² -¸±©- ½¸¿®¿½¬»®·-¬·½ º±®³- ¼»°»²¼·²¹ «°±² ¬¸» ³»¬¸±¼        ÍÛÓ ìæ Û¨½·°·»²¬æ °®»¹»´¿¬·²·¦»¼ -¬¿®½¸å ³¿²«º¿½¬«®»®æ Ý¿®¹·´´å
    ±º ¼®§·²¹ «-»¼ ¼«®·²¹ ³¿²«º¿½¬«®»æ »·¬¸»® ·®®»¹«´¿® ½¸«²µ- º®±³         ³¿¹²·º·½¿¬·±²æ îðð å ª±´¬¿¹»æ í µÊò
    ¼®«³ ¼®§·²¹ ±® ¬¸·² °´¿¬»-ò Ð¿®¬·¿´´§ °®»¹»´¿¬·²·¦»¼ -¬¿®½¸ ø»ò¹ò
    Í¬¿®½¸ ïëððÙ ¿²¼ Í»°·-¬¿¾ ÍÌîðð÷ -¸±© ®»¬»²¬·±² ±º ¾·®»º®·²¹»²½»
    °¿¬¬»®²- ¬§°·½¿´ ±º «²³±¼·º·»¼ -¬¿®½¸ ¹®¿²«´»-ò

    ÍÛÓ ïæ Û¨½·°·»²¬æ Ô§½¿¬¿¾ ÐÙÍå ³¿²«º¿½¬«®»®æ Î±¯«»¬¬» Ú®»À®»-ò




                                                                            ÍÛÓ ëæ Û¨½·°·»²¬æ °®»¹»´¿¬·²·¦»¼ -¬¿®½¸å ³¿²«º¿½¬«®»®æ Ý¿®¹·´´å
                                                                            ³¿¹²·º·½¿¬·±² îðð å ª±´¬¿¹»æ í µÊò


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    ÍÛÓ îæ Û¨½·°·»²¬æ °®»¹»´¿¬·²·¦»¼ -¬¿®½¸å ³¿²«º¿½¬«®»®æ Ý¿®¹·´´å
    ³¿¹²·º·½¿¬·±²æ îðð å ª±´¬¿¹»æ í µÊò




                                                                            ç     Ð¸¿®³¿½±°»·¿´ Í°»½·º·½¿¬·±²-
                                                                            Í»» Ì¿¾´» ××ò Í»» ¿´-± Í»½¬·±² ïèò

                                                                            ïð Ì§°·½¿´ Ð®±°»®¬·»-
                                                                            ß½·¼·¬§ñ¿´µ¿´·²·¬§ °Ø ã ìòëéòð º±® ¿ ïðû ©ñª ¿¯«»±«­ ¼·­°»®ó
                                                                               -·±²ò
                                                                            ß²¹´» ±º ®»°±-» ìðòéè øê÷
                                                                            Ü»²-·¬§ ø¾«´µ÷ ðòëèê ¹ñ½³í
   Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 60 of 103 PageID #: 1673
                                                                                                                                            Í¬¿®½¸ô Ð®»¹»´¿¬·²·¦»¼                     ê çí
                                                                                                              íë
 Ì¿¾´» ××æ Ð¸¿®³¿½±°»·¿´ -°»½·º·½¿¬·±²- º±® °®»¹»´¿¬·²·¦»¼ -¬¿®½¸ò
                                                                                                                              Í±®°¬·±²
Ì»-¬                          Ð¸Û«® êòí              ËÍÐíîÒÚîé                                               íð
                                                                                                                              Ü»-±®°¬·±²




                                                                                 Û¯«·´·¾®·«³ ³±·-¬«®» øû÷
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Ý¸¿®¿½¬»®-                    "                                                                              îë
°Ø øïðû ©ñª ­´«®®§÷           ìòëéòð                ìòëéòð
×®±²                          ìîð °°³                ìðòððîû
                                                                                                              îð
Ñ¨·¼·¦·²¹ -«¾-¬¿²½»-          "                      "
Í«´º«® ¼·±¨·¼»                ìëð °°³                ìðòððèû
Ó·½®±¾·¿´ ´·³·¬-              "                      "                                                        ïë
Ô±-- ±² ¼®§·²¹                ìïëòðû                 ìïìòðû
Î»-·¼«» ±² ·¹²·¬·±²                                 ìðòëû                                                    ïð
Ú±®»·¹² ³¿¬¬»®                "                      
Í«´º¿¬»¼ ¿-¸                  ìðòêû                  
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Ü»²-·¬§ ø¬¿°°»¼÷ ðòèéç ¹ñ½³í                                                                                   ð
Ü»²-·¬§ ø¬®«»÷ ïòëïê ¹ñ½³í                                                                                         ð    ïð    îð      íð    ìð    ëð     êð      éð     èð     çð ïðð
Ú´±©¿¾·´·¬§ ïèîíû øÝ¿®® ½±³°®»­­·¾·´·¬§ ·²¼»¨÷øïè÷                                                                                   Î»´¿¬·ª» ¸«³·¼·¬§ øû÷
Ó±·-¬«®» ½±²¬»²¬ Ð®»¹»´¿¬·²·¦»¼ ³¿·¦» -¬¿®½¸ ·- ¸§¹®±ó
   -½±°·½òøïëôïçôîð÷ Í»» ¿´-± Ú·¹«®» ïò                                  Ú·¹«®» ïæ Ð®»¹»´¿¬·²·¦»¼ ­¬¿®½¸ ­±®°¬·±²¼»­±®°¬·±² ·­±¬¸»®³ò
Ò×Î -°»½¬®¿ -»» Ú·¹«®»- î ¿²¼ íò
Ð¿®¬·½´» -·¦» ¼·-¬®·¾«¬·±² íðïëð ³³ô ³»¼·¿² ¼·¿³»¬»® ëî ³³ò
   Ú±® °¿®¬·¿´´§ °®»¹»´¿¬·²·¦»¼ -¬¿®½¸ô ¹®»¿¬»® ¬¸¿² çðû ¬¸®±«¹¸ ¿                                           ëòð                                                                    ðòë




                                                                              ïðððð I Åî²¼ ¼»®·ªò ´±¹øïñÎ÷
                                                                                                                                                  ïèèç
   ËÍ ýïðð ³»-¸ øïìç ³³÷å ¿²¼ ´»-- ¬¸¿² ðòëû ®»¬¿·²»¼ ±² ¿ ËÍ
   ýìð ³»-¸ øìîð ³³÷ò                                                                                                                                                      îíçè
                                                                                                                                                                      îîìï
Í±´«¾·´·¬§ Ð®¿½¬·½¿´´§ ·²-±´«¾´» ·² ±®¹¿²·½ -±´ª»²¬-ò Í´·¹¸¬´§                                                                 ïìðí                       îðïð          îíðî
   -±´«¾´» ¬± -±´«¾´» ·² ½±´¼ ©¿¬»®ô ¼»°»²¼·²¹ «°±² ¬¸» ¼»¹®»» ±º




                                                                                                                                                                                     ´±¹øïñÎ÷
   °®»¹»´¿¬·²·¦¿¬·±²ò Ð¿-¬»- ½¿² ¾» °®»°¿®»¼ ¾§ -·º¬·²¹ ¬¸» °®»¹»´¿ó
   ¬·²·¦»¼ -¬¿®½¸ ·²¬± -¬·®®»¼ô ½±´¼ ©¿¬»®ò Ý±´¼ó©¿¬»®ó-±´«¾´» ³¿¬¬»®                                        ðòð
   º±® °¿®¬·¿´´§ °®»¹»´¿¬·²·¦»¼ ­¬¿®½¸ ·­ ïðîðûò
Í°»½·º·½ -«®º¿½» ¿®»¿                                                                                                  ïîðî
                                                                                                                                                                             îíîì
   ðòîê ³îñ¹ øÝ±´±®½±²÷å                                                                                                                                              îîèì
   ðòïèðòîè ³îñ¹ øÎ±¯«»¬¬»÷ò                                                                                                   ïìíí

Ê·-½±-·¬§ ø¼§²¿³·½÷ èïð ³Ð¿ ­ øèïð ½Ð÷ º±® ¿ îû ©ñª ¿¯«»±«­                                                                                            ïçîë
   ¼·-°»®-·±² ¿¬ îëèÝò                                                                                       ëòð                                    ðòî
                                                                                                               ïïðð ïíðð ïëðð ïéðð ïçðð îïðð îíðð îëðð
ïï Í¬¿¾·´·¬§ ¿²¼ Í¬±®¿¹» Ý±²¼·¬·±²-                                                                                                    É¿ª»´»²¹¬¸ñ²³
Ð®»¹»´¿¬·²·¦»¼ -¬¿®½¸ ·- ¿ -¬¿¾´» ¾«¬ ¸§¹®±-½±°·½ ³¿¬»®·¿´ô ©¸·½¸
-¸±«´¼ ¾» -¬±®»¼ ·² ¿ ©»´´ó½´±-»¼ ½±²¬¿·²»® ·² ¿ ½±±´ô ¼®§ °´¿½»ò        Ú·¹«®» îæ Ò»¿®ó·²º®¿®»¼ -°»½¬®«³ ±º °®»¹»´¿¬·²·¦»¼ ³¿·¦» -¬¿®½¸
                                                                         ³»¿-«®»¼ ¾§ ®»º´»½¬¿²½»ò
ïî     ×²½±³°¿¬·¾·´·¬·»-
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                                                                              ïðððð I Åî²¼ ¼»®·ªò ´±¹øïñÎ÷




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ïí Ó»¬¸±¼ ±º Ó¿²«º¿½¬«®»                                                                                                                                          îîìð
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Ú±±¼ó¹®¿¼» °®»¹»´¿¬·²·¦»¼ -¬¿®½¸»- ¿®» °®»°¿®»¼ ¾§ ¸»¿¬·²¹ ¿²
¿¯«»±«­ ­´«®®§ ½±²¬¿·²·²¹ «° ¬± ìîû ©ñ© ±º ­¬¿®½¸ ¿¬ êîéîèÝò                                                                              ïêéç


                                                                                                                                                                                     ´±¹øïñÎ÷
Ý¸»³·½¿´ ¿¼¼·¬·ª»- ¬¸¿¬ ³¿§ ¾» ·²½´«¼»¼ ·² ¬¸» -´«®®§ ¿®»
¹»´¿¬·²·¦¿¬·±² ¿·¼- ø-¿´¬- ±® ¾¿-»-÷ ¿²¼ -«®º¿½¬¿²¬-ô ¿¼¼»¼ ¬± ½±²¬®±´                                       ðòð
®»¸§¼®¿¬·±² ±® ³·²·³·¦» -¬·½µ·²»-- ¼«®·²¹ ¼®§·²¹ò ßº¬»® ¸»¿¬·²¹ô ¬¸»
                                                                                                                       ïîðî
-´«®®§ ³¿§ ¾» -°®¿§ó¼®·»¼ô ®±´´ó¼®·»¼ô »¨¬®«¼»¼ô ±® ¼®«³ó¼®·»¼ò ×²
¬¸» ´¿-¬ ½¿-»ô ¬¸» ¼®·»¼ ³¿¬»®·¿´ ³¿§ ¾» °®±½»--»¼ ¬± °®±¼«½» ¿                                                                                                       îîèí îíîì
¼»-·®»¼ °¿®¬·½´» -·¦» ®¿²¹»ò
   Ð¸¿®³¿½»«¬·½¿´ ¹®¿¼»- ±º º«´´§ °®»¹»´¿¬·²·¦»¼ -¬¿®½¸ «-» ²±                                                                 ïìíí                 ïçîì
¿¼¼·¬·ª»- ¿²¼ ¿®» °®»°¿®»¼ ¾§ -°®»¿¼·²¹ ¿² ¿¯«»±«- -«-°»²-·±² ±º                                        ìòð                                    ðòî
«²¹»´¿¬·²·¦»¼ -¬¿®½¸ ±² ¸±¬ ¼®«³- ©¸»®» ¹»´¿¬·²·¦¿¬·±² ¿²¼                                                ïïðð ïíðð ïëðð ïéðð ïçðð îïðð îíðð îëðð
-«¾-»¯«»²¬ ¼®§·²¹ ¬¿µ» °´¿½»ò Ð¿®¬·¿´´§ °®»¹»´¿¬·²·¦»¼ -¬¿®½¸ ·-
                                                                                                                                       É¿ª»´»²¹¬¸ñ²³
°®±¼«½»¼ ¾§ -«¾¶»½¬·²¹ ³±·-¬»²»¼ -¬¿®½¸ ¬± ³»½¸¿²·½¿´ °®»--«®»ò
Ì¸» ®»-«´¬¿²¬ ³¿¬»®·¿´ ·- ¹®±«²¼ ¿²¼ ¬¸» ³±·-¬«®» ½±²¬»²¬ ·-
¿¼¶«-¬»¼ ¬± -°»½·º·½¿¬·±²-ò                                              Ú·¹«®» íæ Ò»¿®ó·²º®¿®»¼ -°»½¬®«³ ±º °®»¹»´¿¬·²·¦»¼ ®·½» -¬¿®½¸ ³»¿-«®»¼
                                                                         ¾§ ®»º´»½¬¿²½»ò

ïì Í¿º»¬§
Ð®»¹»´¿¬·²·¦»¼ -¬¿®½¸ ¿²¼ -¬¿®½¸ ¿®» ©·¼»´§ «-»¼ ·² ±®¿´ -±´·¼ó¼±-¿¹»    ïë                            Ø¿²¼´·²¹ Ð®»½¿«¬·±²-
º±®³«´¿¬·±²-ò Ð®»¹»´¿¬·²·¦»¼ -¬¿®½¸ ·- ¹»²»®¿´´§ ®»¹¿®¼»¼ ¿- ¿           Ñ¾-»®ª» ²±®³¿´ °®»½¿«¬·±²- ¿°°®±°®·¿¬» ¬± ¬¸» ½·®½«³-¬¿²½»- ¿²¼
²±²¬±¨·½ ¿²¼ ²±²·®®·¬¿²¬ »¨½·°·»²¬ò Ø±©»ª»®ô ±®¿´ ½±²-«³°¬·±² ±º         ¯«¿²¬·¬§ ±º ³¿¬»®·¿´ ¸¿²¼´»¼ò Û§» °®±¬»½¬·±² ¿²¼ ¿ ¼«-¬ ³¿-µ ¿®»
´¿®¹» ¿³±«²¬- ±º °®»¹»´¿¬·²·¦»¼ -¬¿®½¸ ³¿§ ¾» ¸¿®³º«´ò                   ®»½±³³»²¼»¼ò Û¨½»--·ª» ¼«-¬ ¹»²»®¿¬·±² -¸±«´¼ ¾» ¿ª±·¼»¼ ¬±
   Í»» Í¬¿®½¸ º±® º«®¬¸»® ·²º±®³¿¬·±²ò                                   ³·²·³·¦» ¬¸» ®·-µ- ±º »¨°´±-·±²-ò
           Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 61 of 103 PageID #: 1674
    ê çì       Í¬¿®½¸ô Ð®»¹»´¿¬·²·¦»¼

       ×² ¬¸» ËÕô ¬¸» ´±²¹ó¬»®³ øèó¸±«® ÌÉß÷ ©±®µ°´¿½» »¨°±-«®»                    ïð Î»»- ÖÛô Î«» ÐÖò É±®µ ®»¯«·®»¼ ¬± ½¿«-» º¿·´«®» ±º ¬¿¾´»¬- ·² ¼·¿³»¬®¿´
    ´·³·¬- º±® -¬¿®½¸ ¿®» ïð ³¹ñ³í º±® ¬±¬¿´ ·²¸¿´¿¾´» ¼«-¬ ¿²¼ ì ³¹ñ³í               ½±³°®»--·±²ò Ü®«¹ Ü»ª ×²¼ Ð¸¿®³ ïçéèå ìæ ïíïïëêò
    º±® ®»-°·®¿¾´» ¼«-¬òøîï÷                                                       ïï Í¸¿²¹®¿© ÎÚ »¬ ¿´ò Ó±®°¸±´±¹§ ¿²¼ º«²½¬·±²¿´·¬§ ·² ¬¿¾´»¬ »¨½·°·»²¬-
                                                                                      º±® ¼·®»½¬ ½±³°®»--·±²æ °¿®¬ ××ò Ð¸¿®³ Ì»½¸²±´ ïçèïå ëøïð÷æ ììêðò
                                                                                   ïî Ý¸·´¿³µ«®¬· ÎÉ »¬ ¿´ò Í±³» -¬«¼·»- ±² ½±³°®»--·±² °®±°»®¬·»- ±º ¬¿¾´»¬
    ïê Î»¹«´¿¬±®§ Í¬¿¬«-                                                              ³¿¬®·½»- «-·²¹ ¿ ½±³°«¬»®·¦»¼ ·²-¬®«³»²¬¿´ °®»--ò Ü®«¹ Ü»ª ×²¼ Ð¸¿®³
    ×²½´«¼»¼ ·² ¬¸» ÚÜß ×²¿½¬·ª» ×²¹®»¼·»²¬- Ü¿¬¿¾¿-» ø±®¿´ ½¿°-«´»-ô                 ïçèîå èæ êíèêò
    -«-°»²-·±²-ô ¿²¼ ¬¿¾´»¬-å ª¿¹·²¿´ °®»°¿®¿¬·±²-÷ò ×²½´«¼»¼ ·² ²±²ó              ïí Ó¿´¿³¿¬¿®·- Í »¬ ¿´ò Ó±·-¬«®» -±®°¬·±² ¿²¼ ¬»²-·´» -¬®»²¹¬¸ ±º -±³»
    °¿®»²¬»®¿´ ³»¼·½·²»- ´·½»²-»¼ ·² ¬¸» ËÕò                                          ¬¿¾´»¬»¼ ¼·®»½¬ ½±³°®»--·±² »¨½·°·»²¬-ò ×²¬ Ö Ð¸¿®³ ïççïå êèæ ëïêðò
                                                                                   ïì ×-µ¿²¼¿®¿²· Þ »¬ ¿´ò Í½¿´»ó«° º»¿-¿¾·´·¬§ ·² ¸·¹¸ó-¸»¿® ³·¨»®-æ
                                                                                      ¼»¬»®³·²¿¬·±² ¬¸®±«¹¸ -¬¿¬·-¬·½¿´ °®±½»¼«®»-ò Ü®«¹ Ü»ª ×²¼ Ð¸¿®³
    ïé Î»´¿¬»¼ Í«¾-¬¿²½»-                                                             îððïå îéæ êëïêëéò
    Ý±®² -¬¿®½¸ ¿²¼ °®»¹»´¿¬·²·¦»¼ -¬¿®½¸å -¬¿®½¸å         -¬¿®½¸ô -¬»®·´·¦¿¾´»    ïë Í¸·®±³¿²· ÐÕô Ý´¿·® Öò Í¬¿¬·-¬·½¿´ ½±³°¿®·-±² ±º ¸·¹¸ó-¸»¿® ª»®-«- ´±©ó
    ³¿·¦»ò                                                                            -¸»¿® ¹®¿²«´¿¬·±² «-·²¹ ¿ ½±³³±² º±®³«´¿¬·±²ò Ü®«¹ Ü»ª ×²¼ Ð¸¿®³
                                                                                      îðððå îêæ íëéíêìò
                                                                                   ïê Ý±´±®½±²ò Ì»½¸²·½¿´ ´·¬»®¿¬«®»æ Í¬¿®½¸ ïëððò ïççéò
    ïè Ý±³³»²¬-
                                                                                   ïé Ö¿·§»±¾¿ ÕÌô Í°®·²¹ ÓÍò Ì¸» ¹®¿²«´¿¬·±² ±º ¬»®²¿®§ ³·¨¬«®»-æ ¬¸» »ºº»½¬
    Ð®»¹»´¿¬·²·¦»¼ -¬¿®½¸ ·- ±²» ±º ¬¸» ³¿¬»®·¿´- ¬¸¿¬ ¸¿ª» ¾»»² -»´»½¬»¼             ±º ¬¸» -¬¿¾·´·¬§ ±º ¬¸» »¨½·°·»²¬-ò Ö Ð¸¿®³ Ð¸¿®³¿½±´ ïçèðå íîæ ïëò
    º±® ¸¿®³±²·¦¿¬·±² ¾§ ¬¸» Ð¸¿®³¿½±°»·¿´ Ü·-½«--·±² Ù®±«°ò Ú±®                   ïè Ý¿®® ÎÔò Ð¿®¬·½´» ¾»¸¿ª·±«® -¬±®¿¹» ¿²¼ º´±©ò Þ® Ý¸»³ Û²¹ ïçéðå ïëæ
    º«®¬¸»® ·²º±®³¿¬·±² -»» ¬¸» Ù»²»®¿´ ×²º±®³¿¬·±² Ý¸¿°¬»® äïïçêâ                    ïëìïïëìçò
    ·² ¬¸» ËÍÐíîÒÚîéô ¬¸» Ù»²»®¿´ Ý¸¿°¬»® ëòè ·² Ð¸Û«® êòðô ¿´±²¹                 ïç Ý¿´´¿¸¿² ÖÝ »¬ ¿´ò Û¯«·´·¾®·«³ ³±·-¬«®» ½±²¬»²¬ ±º °¸¿®³¿½»«¬·½¿´
    ©·¬¸ ¬¸» Í¬¿¬» ±º É±®µ• ¼±½«³»²¬ ±² ¬¸» Ð¸Û«® ÛÜÏÓ ©»¾-·¬»ô                      »¨½·°·»²¬-ò Ü®«¹ Ü»ª ×²¼ Ð¸¿®³ ïçèîå èæ íëëíêçò
    ¿²¼ ¿´-± ¬¸» Ù»²»®¿´ ×²º±®³¿¬·±² Ý¸¿°¬»® è ·² ¬¸» ÖÐ ÈÊò                       îð É«®-¬»® ÜÛ »¬ ¿´ò ß ½±³°¿®·­±² ±º ¬¸» ³±·­¬«®» ¿¼­±®°¬·±²¼»­±®°¬·±²
        Ì¸» ËÍÐíîÒÚîé ¿´­± ´·­¬­ °®»¹»´¿¬·²·¦»¼ ³±¼·º·»¼ ­¬¿®½¸ò ß                   °®±°»®¬·»- ±º ½±®² -¬¿®½¸ ËÍÐô ¿²¼ ¼·®»½¬´§ ½±³°®»--·¾´» -¬¿®½¸ò Ü®«¹
    ´±©ó³±·-¬«®» ¹®¿¼» ±º °®»¹»´¿¬·²·¦»¼ -¬¿®½¸ô Í¬¿®½¸ ïëðð ÔÓ                       Ü»ª ×²¼ Ð¸¿®³ ïçèîå èæ íìííëìò
    øÝ±´±®½±²÷ô ½±²¬¿·²·²¹ ´»-- ¬¸¿² éû ±º ©¿¬»®ô -°»½·º·½¿´´§ ·²¬»²¼»¼            îï Ø»¿´¬¸ ¿²¼ Í¿º»¬§ Û¨»½«¬·ª»ò ÛØìðñîððëæ É±®µ°´¿½» Û¨°±-«®» Ô·³·¬-ò
                                                                                      Í«¼¾«®§æ ØÍÛ Þ±±µ-ô îððë ø«°¼¿¬»¼ îððé÷ò ¸¬¬°æññ©©©ò¸-»ò¹±ªò«µñ
    º±® «-» ¿- ¿ ¼·´«»²¬ ·² ½¿°-«´» º±®³«´¿¬·±²- ·- ½±³³»®½·¿´´§                      ½±-¸¸ñ¬¿¾´»ïò°¼º ø¿½½»--»¼ ë Ú»¾®«¿®§ îððç÷ò
    ¿ª¿·´¿¾´»òøïê÷                                                                 îî Í»°°·½ò Ì»½¸²·½¿´ Ô·¬»®¿¬«®»æ Í»°·-¬¿¾ ÍÌîððò ïççéò
        Í»°·-¬¿¾ ÍÌîðð ·- ¼»-½®·¾»¼ ¿- ¿² ¿¹¹´±³»®¿¬» ±º -¬¿®½¸ ¹®¿²«´»-           îí ß´»¾·±©« Ùô ×¬·±´¿ Ñßò Ý±³°®»--·±² ½¸¿®¿½¬»®·-¬·½- ±º ²¿¬·ª» ¿²¼
    ½±²-·-¬·²¹ ±º ²¿¬·ª» ¿²¼ °®»¹»´¿¬·²·¦»¼ ½±®² -¬¿®½¸òøîî÷ Ý±³°®»--·±²              °®»¹»´¿¬·²·¦»¼ º±®³- ±º -±®¹¸«³ô °´¿²¬¿·²ô ¿²¼ ½±®² -¬¿®½¸»-ô ¿²¼ ¬¸»
    ½¸¿®¿½¬»®·-¬·½- ±º °®»¹»´¿¬·²·¦»¼ -¬¿®½¸»- º®±³ -±®¹¸«³ ¿²¼                       ³»½¸¿²·½¿´ °®±°»®¬·»- ±º ¬¸»·® ¬¿¾´»¬-ò Ü®«¹ Ü»ª ×²¼ Ð¸¿®³ îððîå
    °´¿²¬¿·² ¸¿ª» ¾»»² »ª¿´«¿¬»¼ ¿¹¿·²-¬ ¬®¿¼·¬·±²¿´ ½±®²ó¾¿-»¼                       îèøê÷æ êêíêéîò
    °®±¼«½¬-òøîí÷
        Í¬¿®Ý¿° ïëðð øÝ±´±®½±²÷ ·- ¿ ½±°®±½»--»¼ ³·¨¬«®» ±º °®»¹»´¿ó               îð    Ù»²»®¿´ Î»º»®»²½»-
    ¬·²·¦»¼ -¬¿®½¸ ¿²¼ ½±®² -¬¿®½¸ °®±³±¬»¼ º±® «-» ·² ¼®§ó°±©¼»®ô
                                                                                   ß´»¾·±©« Ùô ×¬·±´¿ Ñßò Ì¸» ·²º´«»²½» ±º °®»¹»´¿¬·²·¦»¼ -¬¿®½¸ ¼·-·²¬»¹®¿²¬-
    ¸¿®¼ó½¿°-«´» º·´´·²¹-å -»» Ý±®² Í¬¿®½¸ ¿²¼ Ð®»¹»´¿¬·²·¦»¼ Í¬¿®½¸ò                 ±² ·²¬»®¿½¬·²¹ ª¿®·¿¾´»- ¬¸¿¬ ¿½¬ ±² ¼·-·²¬»¹®¿²¬ °®±°»®¬·»-ò Ð¸¿®³ Ì»½¸
                                                                                      îððíå îìøè÷æ îèííò
    ïç     Í°»½·º·½ Î»º»®»²½»-                                                     Û«®±°»¿² Ü·®»½¬±®¿¬» º±® ¬¸» Ï«¿´·¬§ ±º Ó»¼·½·²»- ¿²¼ Ø»¿´¬¸½¿®»
     ï Ý¿®¾±²» Ü »¬ ¿´ò Ð®±½»-- º±® ½±±µ·²¹ñ¼®§·²¹ ¸·¹¸ó¿³§´±-» -¬¿®½¸»-ò             øÛÜÏÓ÷ò Û«®±°»¿² Ð¸¿®³¿½±°±»·¿  Í¬¿¬» Ñº É±®µ Ñº ×²¬»®²¿¬·±²¿´
       Ë²·¬»¼ Í¬¿¬»- Ð¿¬»²¬ éôïïèôéêìå îððîò                                          Ø¿®³±²·-¿¬·±²ò Ð¸¿®³»«®±°¿ îððçå îïøï÷æ ïìîïìíò ¸¬¬°æññ©©©ò»¼¯ó
     î Í³¿´´ ÔÛô ß«¹-¾«®¹»® ÔÔò ß-°»½¬- ±º ¬¸» ´«¾®·½¿¬·±² ®»¯«·®»³»²¬- º±®           ³ò»«ñ-·¬»ñóêïìò¸¬³´ ø¿½½»--»¼ ë Ú»¾®«¿®§ îððç÷ò
       ¿² ¿«¬±³¿¬·½ ½¿°-«´» º·´´·²¹ ³¿½¸·²»ò Ü®«¹ Ü»ª ×²¼ Ð¸¿®³ ïçéèå ìæ           Ó±²»¼»»®± Ð»®¿´»- ÓÝ »¬ ¿´ò Ý±³°¿®¿¬·ª» ¬¿¾´»¬·²¹ ¿²¼ ³·½®±-¬®«½¬«®¿´
       íìëíéîò                                                                       °®±°»®¬·»- ±º ¿ ²»© -¬¿®½¸ º±® ¼·®»½¬ ½±³°®»--·±²ò Ü®«¹ Ü»ª ×²¼ Ð¸¿®³
     í Ó¿¬¬-±² Íô Ò§-¬®±x³ Ýò Ûª¿´«¿¬·±² ±º ½®·¬·½¿´ ¾·²¼»® °®±°»®¬·»- ¿ºº»½¬·²¹      ïççêå îîæ êèçêçëò
       ¬¸» ½±³°¿½¬¿¾·´·¬§ ±º ¾·²¿®§ ³·¨¬«®»-ò Ü®«¹ Ü»ª ×²¼ Ð¸¿®³ îððïå îéæ         Î»»- ÖØô Ì-¿®¼¿µ¿ ÕÜò Í±³» »ºº»½¬- ±º ³±·-¬«®» ±² ¬¸» ª·-½±»´¿-¬·½ ¾»¸¿ª·±®
Í      ïèïïçìò
     ì Î«¼²·½ ÛÓ »¬ ¿´ò Ûª¿´«¿¬·±²- ±º ¬¸» ³»½¸¿²·-³ ±º ¼·-·²¬»¹®¿²¬ ¿½¬·±²ò
                                                                                      ±º ³±¼·º·»¼ -¬¿®½¸ ¼«®·²¹ °±©¼»® ½±³°¿½¬·±²ò Û«® Ö Ð¸¿®³ Þ·±°¸¿®³
                                                                                      ïççìå ìðæ ïçíïçéò
       Ü®«¹ Ü»ª ×²¼ Ð¸¿®³ ïçèîå èæ èéïðçò                                         Î±¯«»¬¬» Ú®»À®»-ò Ì»½¸²·½¿´ ´·¬»®¿¬«®»æ Ô§½¿¬¿¾ ÐÙÍò îððïò
     ë Ó¿²«¼¸¿²» ÕÍ »¬ ¿´ò Ì¿¾´»¬·²¹ °®±°»®¬·»- ±º ¿ ¼·®»½¬´§ ½±³°®»--·¾´»         Í¿²¹¸ª· ÐÐ »¬ ¿´ò Ûª¿´«¿¬·±² ±º Ð®»º´± ³±¼·º·»¼ -¬¿®½¸»- ¿- ²»© ¼·®»½¬
       -¬¿®½¸ò Ö Ð¸¿®³ Í½· ïçêçå ëèæ êïêêîðò                                         ½±³°®»--·±² »¨½·°·»²¬- ×æ ¬¿¾´»¬¬·²¹ ½¸¿®¿½¬»®·-¬·½-ò Ð¸¿®³ Î»- ïççíå ïðæ
     ê Ë²¼»®©±±¼ ÌÉô Ý¿¼©¿´´¿¼»® ÜÛò ×²º´«»²½» ±º ª¿®·±«- -¬¿®½¸»- ±²                 ïëçéïêðíò
       ¼·--±´«¬·±² ®¿¬» ±º -¿´·½§´·½ ¿½·¼ º®±³ ¬¿¾´»¬-ò Ö Ð¸¿®³ Í½· ïçéîå êïæ
       îíçîìíò
     é Þ±´¸«·- ÙÕô Ô»®µ ÝÚò Ý±³°¿®¿¬·ª» »ª¿´«¿¬·±² ±º »¨½·°·»²¬- º±® ¼·®»½¬        îï ß«¬¸±®
       ½±³°®»--·±²ò Ð¸¿®³ É»»µ¾´ ïçéíå ïðèæ ìêçìèïò                               ßØ Õ·¾¾»ò
     è Í¿µ® ßÓ »¬ ¿´ò Í¬¿óÎ¨ ïëðð -¬¿®½¸æ ¿ ²»© ª»¸·½´» º±® ¬¸» ¼·®»½¬
       ½±³°®»--·±² ±º ¬¿¾´»¬-ò ß®½¸ Ð¸¿®³ Ý¸»³ øÍ½·÷ ïçéìå îæ ïìîìò
                                                                                   îî    Ü¿¬» ±º Î»ª·-·±²
     ç Í½¸©¿®¬¦ ÖÞ »¬ ¿´ò ×²¬®¿¹®¿²«´¿® -¬¿®½¸æ ½±³°¿®·-±² ±º -¬¿®½¸ ËÍÐ ¿²¼
       ³±¼·º·»¼ ½±®²-¬¿®½¸ò Ö Ð¸¿®³ Í½· ïçéëå êìæ íîèííîò                         ë Ú»¾®«¿®§ îððçò
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 62 of 103 PageID #: 1675




                        EXHIBIT 4
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 63 of 103 PageID #: 1676
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 64 of 103 PageID #: 1677
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 65 of 103 PageID #: 1678
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 66 of 103 PageID #: 1679
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 67 of 103 PageID #: 1680
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 68 of 103 PageID #: 1681
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 69 of 103 PageID #: 1682
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 70 of 103 PageID #: 1683
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 71 of 103 PageID #: 1684
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 72 of 103 PageID #: 1685
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 73 of 103 PageID #: 1686
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 74 of 103 PageID #: 1687




                        EXHIBIT 5
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 75 of 103 PageID #: 1688
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 76 of 103 PageID #: 1689
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 77 of 103 PageID #: 1690
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 78 of 103 PageID #: 1691
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 79 of 103 PageID #: 1692
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 80 of 103 PageID #: 1693
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 81 of 103 PageID #: 1694
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 82 of 103 PageID #: 1695
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 83 of 103 PageID #: 1696
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 84 of 103 PageID #: 1697
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 85 of 103 PageID #: 1698




                        EXHIBIT 6
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 86 of 103 PageID #: 1699
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 87 of 103 PageID #: 1700
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 88 of 103 PageID #: 1701
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 89 of 103 PageID #: 1702
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 90 of 103 PageID #: 1703
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 91 of 103 PageID #: 1704
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 92 of 103 PageID #: 1705
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 93 of 103 PageID #: 1706




                        EXHIBIT 7
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 94 of 103 PageID #: 1707
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 95 of 103 PageID #: 1708
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 96 of 103 PageID #: 1709
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 97 of 103 PageID #: 1710
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 98 of 103 PageID #: 1711
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 99 of 103 PageID #: 1712
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 100 of 103 PageID #: 1713
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 101 of 103 PageID #: 1714
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 102 of 103 PageID #: 1715
Case 1:18-cv-00956-MSG Document 71 Filed 06/28/19 Page 103 of 103 PageID #: 1716



                                CERTIFICATE OF SERVICE

        I hereby certify that on June 28, 2019, I caused the foregoing to be electronically filed

 with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

 registered participants.

        I further certify that I caused copies of the foregoing document to be served on

 June 28, 2019, upon the following in the manner indicated:

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                                                    /s/ Jack B. Blumenfeld

                                                    Jack B. Blumenfeld (#1014)
